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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


             In re                                                                   Chapter 11

             TRUE VALUE COMPANY, L.L.C., et al.,                                     Case No. 24-12337 (KBO)

                               Debtors. 1                                            (Jointly Administered)


               DISCLOSURE STATEMENT FOR THE SECOND AMENDED JOINT CHAPTER 11
                 PLAN OF TRUE VALUE COMPANY, L.L.C. AND ITS DEBTOR AFFILIATES

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                                                  Counsel to Debtors and Debtors-in-Possession

             Dated: February 12, 2025
                    Wilmington, Delaware



         1
                The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
                are as follows: True Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C. (7025); TV
                GPMC, L.L.C. (8136); True Value Retail, L.L.C. (7946); TrueValue.com Company, L.L.C. (6386); True Value
                Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The address of the Debtors’ corporate
                headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.

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             THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
             ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A
             DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
             COURT. THE DEBTORS RESERVE THE RIGHT TO AMEND, SUPPLEMENT, OR
             OTHERWISE MODIFY THIS DISCLOSURE STATEMENT PRIOR TO AND UP TO
             THE DATE OF SUCH HEARING.

                  IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT

         SOLICITATION OF VOTES ON THE SECOND AMENDED JOINT CHAPTER 11 PLAN
           OF TRUE VALUE COMPANY, L.L.C. AND ITS DEBTOR AFFILIATES FROM THE
                             HOLDERS OF OUTSTANDING:

             VOTING CLASS                        NAME OF CLASS UNDER PLAN

             Class 3                             Prepetition Lender Claims

             Class 4                             General Unsecured Claims

         IF YOU ARE IN CLASS 3 OR CLASS 4, YOU ARE RECEIVING THIS DOCUMENT AND
         THE ACCOMPANYING MATERIALS BECAUSE YOU ARE ENTITLED TO VOTE ON
         THE PLAN.

                                           VOTING DEADLINE
             THE VOTING DEADLINE IS 4:00 P.M. (PREVAILING EASTERN TIME) ON
             MARCH 14, 2025 (UNLESS EXTENDED BY THE DEBTORS).

             FOR YOUR VOTE TO BE COUNTED, YOU MUST RETURN YOUR PROPERLY
             COMPLETED BALLOT TO THE SOLICITATION AGENT, OMNI AGENT
             SOLUTIONS, INC., SO THAT YOUR BALLOT IS ACTUALLY RECEIVED BY THE
             SOLICITATION AGENT BEFORE THE VOTING DEADLINE.

             THE BALLOTS CONTAIN DETAILED VOTING INSTRUCTIONS AND SET FORTH
             THE DEADLINES, PROCEDURES, AND INSTRUCTIONS FOR VOTING TO
             ACCEPT OR REJECT THE PLAN, AND THE APPLICABLE STANDARDS FOR
             TABULATING BALLOTS. PLEASE READ YOUR BALLOT CLOSELY.
             IF YOU HAVE ANY QUESTIONS REGARDING YOUR BALLOT OR THE
             PROCEDURES FOR VOTING ON THE PLAN, YOU CAN CONTACT THE
             SOLICITATION             AGENT          BY    E-MAIL          AT:
             TRUEVALUEINQUIRIES@OMNIAGNT.COM (REFERENCING “TRUE VALUE” IN
             THE SUBJECT LINE) OR BY PHONE TOLL-FREE AT (866) 771-0561 (U.S. &
             CANADA) OR +1 (818) 356-8633 (INTERNATIONAL).




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                                RECOMMENDATION BY THE DEBTORS

             THE DEBTORS BELIEVE THE PLAN IS IN THE BEST INTERESTS OF THEIR
             CREDITORS AND OTHER STAKEHOLDERS. ALL CREDITORS ENTITLED TO
             VOTE ON THE PLAN ARE URGED TO VOTE IN FAVOR OF THE PLAN.

                          IMPORTANT NOTICE REGARDING THIRD-PARTY
                               RELEASE BY HOLDERS OF CLAIMS

         Pursuant to Article VIII of the Plan, each Holder of a Claim is deemed to grant the third-
         party releases described therein (the “Third-Party Releases”), to the maximum extent
         otherwise permitted by law, if such Holder votes to accept the Plan or “opts in” to the Third-
         Party Releases. The Third-Party Releases are discussed further in Articles I and IV of this
         Disclosure Statement. Instructions for “opting in” to the Third-Party Releases are set forth
         in the solicitation materials distributed in connection with this Disclosure Statement.




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                                                      DISCLAIMER 2

              THE INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT IS
         INCLUDED FOR PURPOSES OF SOLICITING ACCEPTANCES OF THE PLAN PURSUANT
         TO CHAPTER 11 OF THE BANKRUPTCY CODE PROPOSED BY THE DEBTORS AND
         MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW
         TO VOTE ON THE PLAN. NO PERSON MAY PROVIDE ANY INFORMATION OR MAKE
         ANY    REPRESENTATIONS,    OTHER    THAN   THE    INFORMATION    AND
         REPRESENTATIONS CONTAINED IN THIS DISCLOSURE STATEMENT, REGARDING
         THE PLAN OR THE SOLICITATION OF ACCEPTANCES OF THE PLAN.

              ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE ADVISED
         AND ENCOURAGED TO READ THIS DISCLOSURE STATEMENT AND THE PLAN IN
         THEIR ENTIRETIES BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. PLAN
         SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT WITH
         RESPECT TO THE PLAN ARE QUALIFIED IN THEIR ENTIRETIES BY REFERENCE TO
         THE PLAN, THE EXHIBITS ATTACHED TO THE PLAN, AND ANY PLAN
         SUPPLEMENT(S).    THE STATEMENTS CONTAINED IN THIS DISCLOSURE
         STATEMENT ARE MADE ONLY AS OF THE DATE HEREOF AND THERE CAN BE NO
         ASSURANCE THAT THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT ANY
         TIME AFTER THE DATE HEREOF.

               THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
         WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016(b) OF THE
         FEDERAL RULES OF BANKRUPTCY PROCEDURE AND NOT IN ACCORDANCE WITH
         FEDERAL OR STATE SECURITIES LAWS OR OTHER NON-APPLICABLE
         BANKRUPTCY LAWS. THIS DISCLOSURE STATEMENT HAS NEITHER BEEN
         APPROVED NOR DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION
         (THE “SEC”), AND THE SEC HAS NOT PASSED UPON THE ACCURACY OR ADEQUACY
         OF THE STATEMENTS CONTAINED HEREIN. PERSONS OR ENTITIES TRADING IN OR
         OTHERWISE PURCHASING, SELLING OR TRANSFERRING SECURITIES OR CLAIMS
         OF THE DEBTORS SHOULD EVALUATE THIS DISCLOSURE STATEMENT AND THE
         PLAN IN LIGHT OF THE PURPOSES FOR WHICH THEY WERE PREPARED.

              AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS AND OTHER
         ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT WILL NOT
         CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
         STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN SETTLEMENT
         NEGOTIATIONS. THIS DISCLOSURE STATEMENT WILL NOT BE ADMISSIBLE IN ANY
         NON-BANKRUPTCY PROCEEDING NOR WILL IT BE CONSTRUED TO CONSTITUTE
         ADVICE ON THE TAX, SECURITIES OR OTHER LEGAL EFFECTS OF THE PLAN AS IT
         RELATES TO HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN, THE DEBTORS.



         2
             Terms used in this Disclaimer that are not otherwise defined will have the meanings ascribed to such terms
             elsewhere in the Disclosure Statement.


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         Exhibit     Title

             A       Second Amended Joint Chapter 11 Plan of True Value Company, L.L.C. and Its
                     Debtor Affiliates

             B       Liquidation Analysis




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                                                           ARTICLE I
                                                         INTRODUCTION

         A.       Purpose of the Disclosure Statement

                 True Value Company, L.L.C. (“TVC”) and certain of its affiliates, as the debtors and
         debtors in possession (collectively, “True Value” or the “Debtors” and, together with their non-
         debtor affiliates, the “Company”) in the chapter 11 cases commenced in the United States
         Bankruptcy Court for the District of Delaware (the “Court” or the “Bankruptcy Court”) under
         chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), submit this disclosure
         statement (including all exhibits and schedules attached thereto, and as may be amended, altered,
         modified or supplemented from time to time, the “Disclosure Statement”), pursuant to Section
         1125 of the Bankruptcy Code, in connection with the solicitation of votes on the Second Amended
         Joint Chapter 11 Plan of True Value Company, L.L.C. and Its Debtor Affiliates (including all
         exhibits and schedules attached thereto, and as may be amended, altered, modified or
         supplemented from time to time, the “Plan”). 3 A copy of the Plan is attached hereto as Exhibit A
         and incorporated herein by reference.

                 The purpose of this Disclosure Statement is to describe the Plan and its provisions and to
         provide certain information, as required under Section 1125 of the Bankruptcy Code, to creditors
         who have the right to vote on the Plan so they can make informed decisions in doing so. Creditors
         entitled to vote to accept or reject the Plan will receive a Ballot (as defined below) together with
         this Disclosure Statement to enable them to vote on the Plan.

                 This Disclosure Statement includes, among other things, information pertaining to the
         Debtors’ prepetition business operations and financial history and the events leading to the filing
         of the Debtors’ chapter 11 cases (the “Chapter 11 Cases”). In addition, the Disclosure Statement
         provides an overview of the Plan, sets forth certain terms and provisions of the Plan, describes the
         effects of confirmation of the Plan, and includes certain risk factors associated with the Plan and
         the Chapter 11 Cases. This Disclosure Statement also discusses the confirmation process and the
         procedures for voting, which procedures must be followed by the creditors entitled to vote under
         the Plan for their votes to be counted.

         B.       Preliminary Statement

                 True Value, one of the world’s leading hardlines (i.e., hard goods) wholesalers,
         commenced the Chapter 11 Cases to consummate the sale of substantially all of their operating
         assets and a restructuring contemplated by the Plan. A nearly century-old brand, True Value
         struggled to weather the long-term impacts of COVID-19 and the macroeconomic challenges that
         resulted therefrom—including supply chain disruptions and cost inflation. In addition,
         unanticipated reductions to the Debtors’ borrowing capacity under their credit facility and the

         3
              Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan;
              provided, however, that any capitalized term used herein that is not defined herein or in the Plan, but is defined
              in the Bankruptcy Code or the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) will have the
              meaning ascribed to that term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.


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         exercise of remedies by the Debtors’ lenders all but eliminated the Company’s access to working
         capital, triggering a liquidity crisis. As discussed more fully below, following a fulsome
         prepetition sale process and postpetition Court-supervised process, the Debtors’ efforts culminated
         in a value-maximizing sale of substantially all of the Debtors’ assets to Do it Best Corp. (“Do it
         Best,” the “Stalking Horse Bidder,” or the “Purchaser”).

                  Prior to the Petition Date, the Debtors’ business and their customers were spread across the
         United States. The Debtors operated twelve distribution centers, servicing approximately 5,000
         retail storefronts, including over 2,000 independently owned and operated True Value retail stores
         across the country. As a measure of the Company’s national reach, 98% of the United States’
         population resided within the trade area of one or more True Value retail stores.

                 True Value-branded retailers accounted for 76% of the Debtors’ sales, while the Debtors’
         other customers (approximately 3,000) accounted for the remaining 24%. The Debtors offered
         their customers approximately 75,000 different products across categories such as “Hardware
         Lumber & Building,” “Electrical & Light,” and “Farm, Ranch & Automotive,” making True Value
         a one-stop-shop for its customers’ needs.

                 Retailer demand for the Debtors’ products was ultimately driven by end consumer demand:
         when retail transactions increased, so did wholesale transactions; when retail transactions
         decreased, so did wholesale transactions. End consumer demand for hard goods spiked during the
         COVID-19 pandemic, as many Americans worked from home and had increased time to focus on
         home improvement projects. The increase in demand coincided with severe disruptions to the
         domestic and global supply chain, which made it more difficult and more expensive for the Debtors
         to source products. Because of the Debtors’ decreased fill rate (i.e., the percentage of orders they
         could ship from available stock without any lost sales, backorders, or other inventory shortages),
         certain of their customers began using other wholesalers in whole or in part.

                 Unfortunately, the COVID-19-induced spike in demand was only temporary—an example
         of demand that had been “pulled forward.” The period of increased demand was followed by a
         period of lower-than-anticipated demand where sales fell beneath the level they were at prior to
         the spike.

                The Debtors continued to experience the repercussions of the COVID-19 demand “pull
         forward,” with sales staying below pre-pandemic levels. In 2019, the Debtors’ revenue totaled
         $1.336 billion. In 2020, that number jumped to $1.557 billion; in 2021, $1.559 billion, and 2022,
         $1.588 billion. In 2023, revenue dropped 8% year over year to $1.455 billion, and 2024 revenue
         through the end of August was $868 million, a decrease of 14% year over year. An unfavorably
         warm winter and spring in 2024, conservative inventory management by retailers, and the Debtors’
         post-COVID-19 reduced market share (as a result of retailers adding additional wholesalers during
         the pandemic) had further contributed to the Company’s declining revenue.

                In addition to these macroeconomic headwinds, over the past several months, the Debtors
         faced significant challenges under their credit facility. The Debtors’ Prepetition Lenders (as
         defined below) imposed changes to the Debtors’ “borrowing base,” or the formula used to
         determine the amount of revolver loans the Debtors can borrow at a given point in time, which led
         to a material reduction in available liquidity. This reduction in liquidity, along with other actions


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         taken and remedies exercised by the Prepetition Lenders, including their exercise of cash
         dominion—sweeping the Debtors’ cash on a daily basis—severely reduced the Company’s access
         to working capital. In cash dominion, the Prepetition Lenders control the Debtors’ access to cash,
         including cash received from operations, and must consent to all disbursements. These changes
         put the Debtors in a profoundly difficult situation.

                 In response, the Debtors explored numerous liquidity solutions and other strategic
         alternatives while negotiating with the Prepetition Lenders. In July 2024, the Company formally
         launched a marketing process to sell its business as a going concern. Five parties submitted
         indications of interest. Following extensive negotiations, the Debtors reached an agreement with
         Do it Best to serve as the stalking horse bidder in connection with a Bankruptcy Court-supervised
         sale process to be effectuated through a sale under Section 363 of the Bankruptcy Code. Do it
         Best’s stalking horse bid for substantially all of the Debtors’ assets, which was subject to higher
         or otherwise better offers, contemplated a $153 million purchase price and the assumption and
         cure of certain contracts and leases and the assumption of up to $45 million of trade payables that
         are administrative claims (the “Stalking Horse Bid”). The sale to Do it Best was approved by the
         Court on November 13, 2024 [Docket No. 411] and closed on November 22, 2024.

         C.     Confirmation of the Plan

                1.      Plan

                  The Plan provides for the distribution of the Distributable Proceeds in accordance with the
         priorities and requirements of the Bankruptcy Code. As described in more detail below, the Plan
         provides for, among other things, the treatment of approximately $238.2 million of the Prepetition
         Lenders’ Claims and approximately $1.45 billion of General Unsecured Claims, maximizing
         creditor recoveries.

                 The Plan provides for the appointment of a Plan Administrator to be the sole director,
         officer, and manager of the Debtors to implement the Plan and ultimately wind-down the Debtors’
         business affairs. The Plan Administrator, who shall also serve as Litigation Trustee, shall be
         empowered to, among other things, administer and liquidate all Assets, object to and settle Claims,
         and prosecute Retained Causes of Action in accordance with the Plan.

                2.      Plan Supplement

                The Debtors propose to file the Plan Supplement (which may be further amended, modified,
         or supplemented) at least seven (7) days before the deadline to object to confirmation of the Plan.
         The Debtors will transmit a copy of the Plan Supplement to: (a) the Office of the United States
         Trustee for the District of Delaware; (b) counsel to the prepetition Lenders, (c) counsel to the
         Committee (as defined below), (d) the Internal Revenue Service, (e) the Office of the United States
         Attorney for the District of Delaware, (f) any party that has requested notice pursuant to
         Bankruptcy Rule 2002, and (g) all parties entitled to notice pursuant to Rules 2002-1(b) and 9013-
         1(m) of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy
         Court for the District of Delaware (the “Local Bankruptcy Rules”). The Plan Supplement will
         include all exhibits and Plan schedules that were not already filed or sent to parties entitled to vote



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         on the Plan in connection with solicitation. The Plan Supplement will be incorporated by reference
         into, and an integral part of, the Plan.

                3.      Combined HearingSection 1128(a) of the Bankruptcy Code requires the
                        Bankruptcy Court to hold a confirmation hearing upon appropriate notice to all
                        required parties. The Bankruptcy Court entered the Disclosure Statement Order,
                        which, among other things, scheduled a Combined Hearing to consider
                        confirmation of the Plan and final approval of the adequacy of the disclosures
                        contained in this Disclosure Statement. The Combined Hearing will commence on
                        March 27, 2025 at 10:30 a.m. (prevailing Eastern Time), before the Honorable
                        Karen B. Owens, United States Bankruptcy Judge, at the United States Bankruptcy
                        Court for the District of Delaware, 824 N. Market St, Sixth Floor, Courtroom 3,
                        Wilmington, Delaware 19801. The Combined Hearing may be adjourned from
                        time to time by the Bankruptcy Court without further notice except for the
                        announcement of the continuation date made at the Combined Hearing or at any
                        subsequent continued Combined Hearing, or pursuant to a notice filed on the docket
                        for the Chapter 11 Cases.

                4.      Objection Deadline

                 Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
         the confirmation of a plan. The Disclosure Statement Order established March 14, 2025 at 4:00
         p.m. (prevailing Eastern Time) as the deadline for parties to object to the Plan or the adequacy of
         the disclosures contained in the Disclosure Statement (the “Plan Objection Deadline”). Any
         objection to confirmation of the Plan or the Disclosure Statement must be in writing, must conform
         to the Bankruptcy Rules and the Local Bankruptcy Rules, must set forth the name of the objector,
         the nature and amount of the Claims and/or Interests held or asserted by the objector against the
         Debtors’ Estates or properties, the basis for the objection and the specific grounds therefor, and
         must be filed with the Bankruptcy Court, with a copy to the chambers of Bankruptcy Judge Karen
         B. Owens, together with proof of service thereof, and served upon the following parties, including
         such other parties as the Bankruptcy Court may order (the “Notice Parties”): (a) True Value
         Company, L.L.C., 8600 West Bryn Mawr Ave., Chicago, IL, 60631 (Attn: Susan Radde, Esq.
         (susan.radde@truevalue.com)); (b) counsel for the Debtors, (i) Skadden, Arps, Slate, Meagher &
         Flom LLP, 320 S. Canal St., Chicago, IL 60606 (Attn: Ron Meisler, Esq.
         (ron.meisler@skadden.com) and Jennifer Madden, Esq. (jennifer.madden@skadden.com)), One
         Manhattan West, 395 9th Ave., New York, NY 10001 (Attn: Evan Hill, Esq.
         (evan.hill@skadden.com) and Moshe Jacob, Esq. (moshe.jacob@skadden.com)), and 920 North
         King Street, Wilmington, DE 19801 (Attn: Joseph O. Larkin, Esq. (joseph.larkin@skadden.com)),
         (ii) Glenn Agre Bergman & Fuentes LLP, 1185 Avenue of the Americas, 22nd Floor, New York,
         NY 10036 (Attn: Andrew K. Glenn, Esq. (aglenn@glennagre.com) and Malak S. Doss, Esq.
         (mdoss@glennagre.com)) and (iii) Young Conaway Stargatt & Taylor, LLP, 1000 North King
         Street, Wilmington, DE 19801 (Attn: Edmon L. Morton, Esq. (emorton@ycst.com) and Timothy
         R. Powell, Esq. (tpowell@ycst.com)); (c) the United States Trustee for the District of Delaware,
         844 King Street, Suite 2207, Wilmington, DE 19801 (Attn: Benjaman A. Hackman, Esq.
         (benjamin.a.hackman@usdoj.gov)); (d) counsel to the Prepetition Lenders, (i) Otterbourg P.C.,
         230 Park Avenue, New York, NY 10169 (Attn: Daniel Fiorillo, Esq. (dfiorillo@otterbourg.com));
         (ii) Blank Rome LLP, 1201 Market Street, Suite 800, Wilmington, DE 19801 (Attn: Regina S.

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         Kelbon (regina.kelbon@blankrome.com) and Stanley B. Tarr (Stanley.tarr@blankrome.com)),
         and 130 North 18th Street, Philadelphia, PA 19103 (Attn: John E. Lucian
         (john.lucian@blankrome.com)); (e) counsel to the Purchaser, Taft Stettinius & Hollister LLP, 425
         Walnut Street, Suite 1800, Cincinnati, OH 45202 (Attn: W. Timothy Miller, Esq.
         (miller@taftlaw.com)); (f) counsel to the Committee, Pachulski Stang Ziehl & Jones LLP, 919
         North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899 (Attn: Bradford J. Sandler
         (bsandler@pszjlaw.com)); and (g) counsel to any other statutory committee appointed in the
         Chapter 11 Cases. CONFIRMATION OBJECTIONS NOT TIMELY FILED AND SERVED
         MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

                     5.          Effect of Confirmation

                 The Bankruptcy Court’s confirmation of the Plan will bind the Debtors, any entity
         acquiring property under the Plan, any Holder of a Claim or Interest in the Debtors, and all other
         entities as may be ordered by the Bankruptcy Court in accordance with the applicable provisions
         of the Bankruptcy Code to the terms and conditions of the confirmed Plan, whether or not such
         entity votes on the Plan or affirmatively votes to reject the Plan.

         D.          Voting Rights, Treatment and Classification of Claims and Interests Under the Plan

                 As described in Article IV of this Disclosure Statement (Summary of Plan) and in
         accordance with Sections 1122 and 1123(a)(1) of the Bankruptcy Code, Article III of the Plan
         (i) designates Classes of Claims and Interests and (ii) specifies the treatment (including whether
         each class is impaired or unimpaired) and the voting rights of each Class. The table below
         summarizes these terms as well as the estimated percentage recoveries of classified Claims and
         Interests under the Plan.

         THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
         ESTIMATES ONLY AND ARE SUBJECT TO CHANGE. FOR A COMPLETE
         DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND TREATMENT OF
         CLAIMS AND INTERESTS, REFERENCE SHOULD BE MADE TO THE ENTIRE PLAN
         AND THE RISK FACTORS DESCRIBED IN ARTICLE VII BELOW. THIS TABLE IS
         INTENDED FOR ILLUSTRATIVE PURPOSES ONLY AND IS NOT A SUBSTITUTE
         FOR A REVIEW OF THE PLAN AND DISCLOSURE STATEMENT IN THEIR
         ENTIRETY. FOR CERTAIN CLASSES OF CLAIMS, THE ACTUAL AMOUNT OF
         ALLOWED CLAIMS COULD BE MATERIALLY DIFFERENT THAN THE
         ESTIMATED AMOUNTS SHOWN IN THE TABLE BELOW.

                          CLAIM              OR                 VOTING
             CLASS                                STATUS                        PROPOSED TREATMENT
                          INTEREST                              RIGHTS
                          Other Priority Claims                                 Holders of Allowed Other Priority Claims will be
                                                                Presumed to
             1            Estimated Recovery      Unimpaired                    paid in full in cash or paid in the ordinary course
                                                                Accept
                          (%): 100%                                             of business.

                          Other Secured Claims                                  Holders of Allowed Other Secured Claims will be
                                                                Presumed to
             2            Estimated Recovery      Unimpaired                    paid in full in cash or receive such other treatment
                                                                Accept
                          (%): 100%                                             so that their Claims are unimpaired.




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                                                                          Holders of Prepetition Lender Claims shall
                                                                          receive:
                                                                          (i) Subject to the terms and conditions of the Cash
                                                                          Collateral Order:
                                                                          (A) upon the conclusion of the Administrative
                                                                          Claims Reconciliation Period (as defined in the
                                                                          Cash Collateral Order), i.e., February 20, 2025,
                                                                          any Retained Funds that were not used, or
                                                                          identified for use on account of incurred or
                                                                          accrued Administrative Claims that have been
                                                                          reconciled, by the Debtors’ Estates to pay
                                                                          Allowed Administrative Claims up to the full
                                                                          amount of the Indebtedness (as defined in the Cash
                                                                          Collateral Order);
                                                                          (B) no later than 90 days following the closing of
                                                                          the Sale (i.e., February 20, 2025), any excess
                                                                          funds in any of the 90 Day Buckets that are not
                                                                          required to address or pay the Allowed
                                                                          Administrative Claims or priority Claims for
                                                                          which such 90 Day Buckets were established to
                 Prepetition Lender                                       address, or to cover shortfalls in other 90 Day
                 Claims                                                   Buckets in accordance with the Fungibility
                                                                          Mechanisms up to the full amount of the
                 Estimated Recovery                                       Indebtedness;
                 (%): [84.4]% (includes
                 payments made prior to                                   (C) no later than the earlier of (1) the Effective
                                                          Entitled to     Date and (2) 90 days following the termination of
             3   the Effective Date)      Impaired
                                                          Vote            the Transition Services Agreement, any excess
                 Estimated Recovery                                       funds in any of the 90+ Day Buckets other than the
                 ($): [$201.0] million                                    Wind Down Budget Reserve that are not required
                 (includes payments                                       to address or pay the Allowed Administrative
                 made prior to the                                        Claims or priority Claims for which such 90+ Day
                 Effective Date)                                          Buckets were established to address, or to cover
                                                                          shortfalls in other reserves in accordance with the
                                                                          Fungibility Mechanisms up to the full amount of
                                                                          the Indebtedness; and
                                                                          (D) no later than 90 days following the termination
                                                                          of the Transition Services Agreement, any excess
                                                                          funds in the Wind Down Budget Reserve that are
                                                                          not required to address or pay the Allowed
                                                                          Administrative Claims or priority Claims for
                                                                          which the Wind Down Budget Reserve was
                                                                          established to address up to the full amount of the
                                                                          Indebtedness.
                                                                          (ii) As and when received, in accordance with the
                                                                          Cash Collateral Order, promptly upon receipt, any
                                                                          Cash the Debtors have on hand, including, for the
                                                                          avoidance of doubt, such funds received by the
                                                                          Debtors after the Closing other than funds
                                                                          received pursuant to the Transition Services
                                                                          Agreement.
                                                                          (iii) On the Effective Date, the Litigation Trust
                                                                          Prepetition Lender Interests.




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                   General Unsecured
                   Claims
                   Estimated Recovery                       Entitled to     General Unsecured Claims shall receive its Pro
             4     (%): Unknown,            Impaired
                                                            Vote            Rata share of the Litigation Trust GUC Interests.
                   contingent on
                   Litigation Trust
                   recoveries

                   Intercompany Claims                      Presumed to
                                                                            Intercompany Claims will either be reinstated or
                                            Unimpaired /    Accept /
             5     Estimated Recovery                                       canceled, extinguished, and discharged in the
                                            Impaired        Deemed to
                   (%): N/A                                                 discretion of the Debtors.
                                                            Reject

                   Intercompany Interests                   Presumed to     Intercompany Interests will be (i) transferred,
                                            Unimpaired /    Accept /        directly or indirectly, to the Purchaser, (ii)
             6     Estimated Recovery       Impaired        Deemed to       reinstated, or (iii) canceled, extinguished, and
                   (%): N/A                                 Reject          discharged in the discretion of the Debtors.
                   Subordinated Claims
                                                            Deemed to       Subordinated Claims shall be released, waived,
             7     Estimated Recovery       Impaired
                                                            Reject          and discharged for no consideration.
                   (%): 0.0%
                   Existing Interests                                       Existing Interests shall be deemed automatically
                                                            Deemed to
             8     Estimated Recovery       Impaired                        canceled, released, and extinguished for no
                                                            Reject
                   (%): 0.0%                                                consideration.


         AS DEMONSTRATED IN THE TABLE ABOVE, ONLY HOLDERS OF PREPETITION
         LENDER CLAIMS IN CLASS 3 AND HOLDERS OF GENERAL UNSECURED CLAIMS IN
         CLASS 4 ARE ENTITLED TO VOTE ON THE PLAN. ACCORDINGLY, A BALLOT FOR
         ACCEPTANCE OR REJECTION OF THE PLAN IS BEING PROVIDED ONLY TO HOLDERS
         OF PREPETITION LENDER CLAIMS IN CLASS 3 AND HOLDERS OF GENERAL
         UNSECURED CLAIMS IN CLASS 4.

         E.      Releases and Exculpation

                 Article VIII of the Plan proposes to release the Released Parties and to exculpate the
         Exculpated Parties. The releases by the Debtors, the Third-Party Releases, and the exculpation
         provisions included in the Plan are an integral part of the Debtors’ overall restructuring efforts and
         are an essential element of the Plan.

                All of the Released Parties are being consensually released by the Debtors. All of the
         Released Parties have made substantial and valuable contributions to the Debtors’ restructuring
         through efforts to negotiate and implement the Plan and the Sale, which will maximize and
         preserve value for the benefit of all parties in interest.

                 Moreover, the Debtors are not aware of any viable claims that their estates may have
         against Insiders and believe that a release of potential estate claims against the Insiders is warranted
         under the circumstances. In particular, the Debtors considered, as discussed below, whether
         preserving possible claims related to prepetition retention payments to certain management
         employees is warranted. On July 10, 2024, more than three months before commencing the
         Chapter 11 Cases, True Value Company, LLC’s board approved retention payments totaling
         approximately $1.765 million for eight key employees, including the CEO, CFO, CMO, and



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         several senior vice presidents and vice presidents. 4 These payments, ranging from $76,000 to
         $568,000, were designed to retain employees who were vital to the company’s restructuring efforts.
         In addition, on October 11, 2024, the Debtors made a retention payment to the Chief Human
         Resources Officer of True Value Company, LLC in the amount of $125,000. The board recognized
         the significant risk of attrition among these employees during a period of financial distress and
         uncertainty, including the possibility of losing their jobs after a change in control. Additionally,
         these employees were expected to face increased workloads and pressures, which heightened
         concerns about their compensation and attrition.

                 Recipients were required to remain with the company until March 30, 2025 or 30 days
         following a change-in-control transaction. If they resigned or were terminated for cause before this
         date, they would have been obligated to repay the payments within 10 days. The payments matched
         the employees’ target annual cash bonus for 2024, which was agreed would no longer be available
         to them.

                Ultimately, all the recipients of the retention payments were instrumental in maintaining
         business operations pre- and postpetition, preparing for the bankruptcy cases, and facilitating the
         value-maximizing sale to Do it Best as a going concern. Notably, none of these key employees
         resigned or were terminated for cause during the retention period.

                 The Debtors evaluated potential estate claims related to these retention payments both
         before they were made and in connection with deciding whether a release of the estates’ possible
         claims related thereto is warranted. After an inquiry led by the Debtors’ independent director with
         the assistance of Glenn Agre—both retained after the payments were made—the board has
         determined that any potential claims against the recipients of the payments or the board for
         approving the payments are weak and that the costs of pursuing them would outweigh the benefits.
         Preference claims, for example, would be undermined because the payments were for future
         services, not antecedent debt. Moreover, the payments were in exchange for significant value by
         the recipients, who maintained business operations and facilitated the value-maximizing going
         concern sale of the Debtors’ business. This would provide a robust defense against constructive
         fraudulent transfer claims. In addition, the Debtors believe that litigation defense costs would be
         covered by their insurer, reducing any non-merits-based incentives for a quick settlement.

                 Only Holders of Claims that vote to accept the Plan, and Holders of Claims who are deemed
         to reject, but “opt in” to the Third-Party Releases will be bound by the Third-Party Releases.
         Accordingly, each of the Released Parties and the Exculpated Parties is entitled to the benefit of
         the release and exculpation provisions. Moreover, the release and exculpation provisions contain
         carve-outs for gross negligence, willful misconduct, and fraud.

                 Based on the foregoing, the Debtors believe that the releases and exculpations in the Plan
         are necessary and appropriate and comply with applicable bankruptcy law. Moreover, the Debtors
         will present evidence at the Combined Hearing to demonstrate the basis for and propriety of the
         release and exculpation provisions. The release, exculpation, injunction, and related provisions


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             In addition to the payments made to senior-level employees, approximately $450,000 in aggregate retention
             payments were made to fifteen key lower-level employees.


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         that are contained in the Plan are copied in Article IV of this Disclosure Statement, under the
         section titled “Effect of the Plan on Claims and Interests” (Article VIII).

         F.      Voting Deadline

                Detailed voting instructions will be provided with each Ballot. Additional detail is also
         included in Article V of this Disclosure Statement. Please carefully review that section.

             IF YOU ARE ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, A
             BALLOT IS ENCLOSED FOR THE PURPOSE OF VOTING ON THE PLAN. PLEASE
             REFER TO THE INSTRUCTIONS ACCOMPANYING THE BALLOTS FOR MORE
             INFORMATION REGARDING VOTING REQUIREMENTS TO ENSURE THAT
             YOUR BALLOT IS PROPERLY AND TIMELY SUBMITTED SO THAT YOUR VOTE
             MAY BE COUNTED.

                TO BE COUNTED, YOUR BALLOT WITH YOUR SIGNATURE INDICATING YOUR
         ACCEPTANCE OR REJECTION OF THE PLAN MUST BE RECEIVED NO LATER THAN
         4:00 P.M. (EASTERN TIME) ON MARCH 14, 2025 (THE “VOTING DEADLINE”).

                YOU ARE URGED TO COMPLETE, DATE, SIGN, AND PROMPTLY MAIL OR
         SUBMIT THROUGH THE E-BALLOTING PORTAL THE BALLOT ENCLOSED WITH THE
         NOTICE. PLEASE BE SURE TO COMPLETE THE BALLOT PROPERLY AND LEGIBLY,
         AND IDENTIFY THE EXACT AMOUNT OF YOUR CLAIM AND THE NAME OF THE
         CREDITOR. IF YOU ARE A HOLDER OF A CLAIM ENTITLED TO VOTE ON THE PLAN
         AND YOU DID NOT RECEIVE A BALLOT, YOU RECEIVED A DAMAGED BALLOT OR
         YOU LOST YOUR BALLOT, OR IF YOU HAVE ANY QUESTIONS CONCERNING THE
         DISCLOSURE STATEMENT, THE PLAN OR PROCEDURES FOR VOTING ON THE PLAN,
         PLEASE CONTACT OMNI AGENT SOLUTIONS, INC. (“OMNI” OR THE “SOLICITATION
         AGENT”) VIA EMAIL TO TRUEVALUEINQUIRIES@OMNIAGNT.COM OR BY CALLING
         (866) 771-0561 (U.S. & CANADA) OR +1 (818) 356-8633 (INTERNATIONAL). THE
         SOLICITATION AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
         ADVICE.

              THE DEBTORS URGE ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON
         THE PLAN TO VOTE TO ACCEPT THE PLAN.

                                         ARTICLE II
                         GENERAL INFORMATION REGARDING THE DEBTORS

         A.      Overview

                 As described in further detail herein, prior to the filing of the Chapter 11 Cases, the Debtors
         negotiated and entered into the Stalking Horse Agreement (as defined herein) with the Stalking
         Horse Bidder. Through the Chapter 11 Cases, the Debtors conducted a competitive public
         marketing process, supported by the Stalking Horse Bidder, to sell all or substantially all of the
         Debtors’ assets as a going concern pursuant to Section 363 of the Bankruptcy Code (the “Sale”)
         and distribute the proceeds of the Sale to creditors. The Sale closed on November 22, 2024.

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         B.       The Debtors’ Business and Employees

                  1.     Business Overview

                  True Value was one of the world’s leading hardware wholesalers, with a globally
         recognized retail brand. Founded in 1855 as Hibbard Spencer Bartlett & Company, the True Value
         brand dates to 1932, when it was introduced as a line of hand tools. Cotter & Company acquired
         Hibbard, along with the True Value brand, in 1963. Decades later, in 1997, Cotter & Company
         merged with ServiStar Coast to Coast Corporation to form TruServ Corporation, which was
         renamed True Value Company in 2005. Historically, True Value was fully owned by a cooperative
         of its retailers, but in 2018, an outside investor acquired approximately 70% of the Company’s
         equity. The 2018 transaction brought an influx of cash and allowed True Value to partially de-
         lever its balance sheet. Through the cooperative, certain of True Value’s retailers continue to own
         approximately 30% of the Company.

                  True Value offered approximately 75,000 different products, making it a one-stop-shop for
         its retail store customers. In 2023, nine different product categories eclipsed $130 million in total
         handled and direct sales: (1) Hardware Lumber & Building ($319.8 million); (2) Outdoor Living
         & Tools ($235.1 million); (3) Paint ($221.3 million); (4) Plumbing & Heating ($217.6 million);
         (5) Lawn & Garden ($187.6 million); (6) Home ($168.6 million); (7) Farm, Ranch & Automotive
         ($137.2 million); (8) Hand & Power Tools ($135.4 million); and (9) Electrical & Light ($135.0
         million). Miscellaneous products accounted for an additional $78.1 million in handled and direct
         sales.

                 In addition to sourcing and selling national branded products (e.g., Stanley Black & Decker,
         Scotts, Proctor & Gamble, Weber Grills, General Electric Lighting, and many others), True Value
         also offered a portfolio of 11 private label brands. Because True Value paid less to source its
         private label products, it could offer them to retailers at lower price points, allowing the retailers
         to achieve higher margins when selling to end consumers. These private label brands included
         GreenThumb®, covering 18 categories of Lawn & Garden and Outdoor Tools; EasyCare®
         premium paints, manufactured at the Debtors’ facility in Cary, Illinois; and Master Mechanic®,
         including high-quality tools, accessories, plumbing supplies and repair items, electrical supplies,
         and farm and ranch products to provide the backbone of the independent hardware store.

               True Value’s approximately 4,500 customers, located across the United States and in
         upwards of sixty (60) other countries, were divided into six (6) general categories:

              •   Core Accounts: This was True Value’s long-tenured base. Prior to the Petition Date,
                  approximately 2,200 retail stores nationwide bore the True Value name. The average core
                  account customer had been a retail partner of True Value for twenty-four (24) years. In
                  2023, core accounts accounted for $1.119 billion in gross billings on $858 million in
                  handled sales, yielding a wholesale margin of $220 million.

              •   Strategic Accounts: The Debtors had strategic merchandising relationships with 12 multi-
                  store chains that sold True Value products across 475 store fronts. In 2023, strategic
                  accounts produced $200 million in gross billings on $158 million in handled sales, yielding
                  a wholesale margin of $35 million.


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                 •    E-commerce: True Value had partnered with Amazon to sell through its e-commerce
                      channel. In 2023, fifty-six (56) Amazon e-commerce store fronts/accounts accounted for
                      $54 million in gross billings on $49 million in handled sales, for a wholesale margin of $8
                      million in the e-commerce marketplace.

                 •    International: True Value customers had a significant presence in Central America and
                      the Caribbean Islands. In 2023, 220 international store fronts produced $138 million in
                      gross billings on $41 million in handled sales. True Value’s wholesale margin was $11
                      million.

                 •    Secondary: Secondary customers utilized True Value when their primary supplier was out
                      of stock or didn’t offer a product. In 2023, 475 store fronts accounted for $83 million in
                      gross billings on $62 million of handled sales to True Value’s secondary customers. True
                      Value’s wholesale margin was $14 million.

                 •    Specialty Business: True Value supplied certain specialty businesses that service the farm
                      and ranch, nursery, and commercial industrial segments. In 2023, 1,460 store fronts
                      accounted for $169 million in gross billings and $73 million in handled sales in this
                      business line. True Value’s wholesale margin was $16 million.

                      2.        Supply Chain and Distribution

                The Company sourced approximately 75,000 products from an expansive network of more
         than 2,000 suppliers. In 2023, approximately 93% of products were purchased from domestic
         suppliers; 5% were purchased from suppliers in China; and the remaining 2% were purchased from
         suppliers in other countries. The supplier network was highly diversified—in 2023, no one
         supplier accounted for more than 2.9% of total products purchased, and the top ten suppliers
         accounted for 16.2% of products purchased (those products spread across nine product categories).
         True Value’s strong relationships with suppliers increased its ability to achieve favorable price
         reductions, inventory recoveries, and competitive discounts and rebates, allowing it to boost its
         own margins.

                      True Value’s supply chain relied on twelve (12) leased distribution centers:

                     Location             Facility Sq. Ft.   Lease Exp. Date    Employees       2023 Sales
             1       Wilkes-Barre, PA     1,025,000          Sept. 2040         314             $215 million
             2       Corsicana, TX        754,000            Dec. 2036          125             $156 million
             3       Harvard, IL          1,346,000          Feb. 2030          286             $128 million
             4       Springfield, OR      523,000            Dec. 2036          112             $118 million
             5       Atlanta, GA          619,000            Dec. 2036          173             $116 million
             6       Cleveland, OH        393,000            Aug. 2042          100             $107 million
             7       Kingman, AZ          354,000            Dec. 2036          59              $81 million
             8       Kansas City, MO      398,000            Dec. 2036          64              $67 million
             9       Mankato, MN          310,000            Nov. 2041          56              $64 million


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                  Location             Facility Sq. Ft.   Lease Exp. Date    Employees      2023 Sales
             10   Woodland, CA         341,000            Dec. 2036          57             $55 million
             11   Manchester, NH       439,000            Jul. 2033          93             Phasing Out
                                                                                            Inventory Holding
             12   Denver, CO           355,000            Jan. 2027          76
                                                                                            – Phasing Out

                  Additionally, the Debtors owned and operated their paint manufacturing plant in Cary,
         Illinois, one of the ten largest paint manufacturing facilities in the world and the only facility in
         the United States capable of manufacturing latex, oil-based, and aerosol paints under one roof.
         The paint manufacturing plant was sold to the Purchaser.

                   3.        The Debtors’ Employees

                 As of the Petition Date, the Debtors employed approximately 1,950 employees (the
         “Employees”), with approximately 115 sales Employees (the “Sale Employees”), 1,370
         Employees in warehouse, distribution, and manufacturing roles, and the remaining Employees in
         corporate and other support positions. All of the Debtors’ Employees were located in the United
         States. More than 98% of the Debtors’ Employees worked full-time, and the remaining employees
         worked part-time.

                Approximately 270 of the Debtors’ Employees were represented (the “Represented
         Employees”) by three unions affiliated with the International Brotherhood of Teamsters (the
         “Unions”). All of the Represented Employees worked in warehouse and distribution roles. The
         Debtors’ relationships with the Unions are reflected in three separate collective bargaining
         agreements. Prior to the Petition Date, the Debtors decided to cease operations at their Manchester,
         NH distribution center by the end of the 2024 calendar year and had negotiated the terms of the
         closure with the Union representing Employees at that location.

                 To supplement its workforce, separate and apart from the Employees, the Debtors utilized
         individuals who provide a range of services to the Debtors on a contractual basis. The Debtors
         worked with approximately three part-time independent contractors who work directly for the
         Debtors (the “Independent Contractors”) and provide human resources, risk management, and
         benefits administration support and consulting services. Independent Contractors were paid
         directly by the Debtors, in arrears. The Debtors also enlisted the services of temporary workers,
         each of whom was employed by and paid through third-party service providers.

                   4.        Market and Competition

                 The Debtors operated in a large, relatively fragmented wholesale hardware distribution
         market in the United States. Based on internal estimates, the Company estimated the total market
         size, excluding big box retailers such as Home Depot and Lowe’s, at $38 billion in 2023. Fifty-
         one percent of this market was captured by regional distributors, followed by Ace Hardware (22%),
         Do it Best Co-op (12%), Orgill (10%), and the Company (5%). Wholesalers provide value through
         a bulk-purchasing and low-margins strategy, which delivers lower costs to hardware retailers and
         end customers.



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         C.     The Debtors’ Prepetition Corporate and Capital Structure

                1.      The Debtors’ Corporate Structure and Headquarters

                 The Company operated in a holding company structure, with non-Debtors TV Holdco,
         L.L.C. and TV Holdco I, L.L.C. at the top, then Debtor TV Holdco II, L.L.C. acting as a direct and
         indirect holding company for each of the Debtor subsidiaries, including TVC, that conduct
         operations.

               The Company’s corporate headquarters is currently located at 8600 W. Bryn Mawr Ave.,
         Chicago, IL 60631.

                2.      The Debtors’ Capital Structure

                 As of the Petition Date, the Debtors had approximately $238.2 million in total funded
         indebtedness under their Credit Facility (as defined below). In addition, the Debtors had
         obligations under certain issued and outstanding Letters of Credit and the PNC Commercial Card
         Program (each as defined below).

                                (i)     The Credit Facility

                 On April 20, 2018, TVC entered into that certain Credit Agreement (as amended by
         Amendment No. 1 to Credit Agreement, dated as of September 16, 2021, as further amended by
         Amendment No. 2 to Credit Agreement, dated as of November 2, 2022, as further amended by
         Amendment No. 3 to Credit Agreement, dated as of January 24, 2023, as further amended by
         Amendment No. 4 (as defined below), dated as of August 26, 2024, and as further amended by
         Amendment No. 5 (as defined below), dated as of September 9, 2024, the “Credit Agreement”) by
         and among TVC, as a borrower, and each of Distributors Hardware, L.L.C., TV GPMC, L.L.C.,
         True Value Retail, L.L.C., TrueValue.com Company, L.L.C., TV TSLC, L.L.C., and True Value
         Virginia L.L.C., as additional borrowers (together with TVC, the “Borrowers”), TV Holdco II
         L.L.C., as guarantor (the “Guarantor” and, together with the Borrowers, the “Loan Parties”), PNC
         Bank, National Association, as administrative agent (in such capacity, the “Administrative Agent”),
         and the lenders and issuing banks party thereto (the “Prepetition Lenders” and, together with the
         Administrative Agent, the “Prepetition Secured Parties”), pursuant to which the Prepetition
         Lenders provided term loans, revolving loan commitments, and other financial accommodations
         to the Loan Parties (the “Credit Facility”).

                  The Credit Facility consisted of (i) a term loan with $18.75 million outstanding after
         amortization as of the Petition Date and (ii) an up to $300 million asset-based revolving credit
         facility, subject to a borrowing base, and was secured by a first-priority security interest in and lien
         on substantially all of the Loan Parties’ assets, subject to certain exclusions (the “Prepetition
         Collateral”). The Prepetition Collateral included, among other things, inventory, accounts
         receivable, certain fee-owned real property and subsidiary equity interests. The borrowing base,
         as of October 5, 2024, was $260.6 million.

                 On August 26, 2024, the Loan Parties entered into a Temporary Waiver and Amendment
         No. 4 to the Credit Agreement (“Amendment No. 4” or the “First Waiver”) which, among other
         things, temporarily waived certain Events of Default, reduced the aggregate revolving credit

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         commitments to $350,000,000 from $450,000,000, and pursuant to which the Loan Parties agreed
         that on and after August 27, 2024, all obligations under the Credit Agreement have, or shall be
         deemed to have, borne, and shall continue to bear, interest at a rate per annum equal to the Alternate
         Base Rate plus 3.50% (the “Amended Applicable Rate”), irrespective of whether the rate of such
         interest on or after such date was previously calculated using a rate other than the Amended
         Applicable Rate.

                On September 9, 2024, the Loan Parties entered into the Second Temporary Waiver and
         Amendment No. 5 to the Credit Agreement (“Amendment No. 5” or the “Second Waiver”) which,
         among other things, temporarily waived certain Events of Default and further reduced the
         aggregate revolving credit commitments to $300,000,000 from $350,000,000.

                                (ii)    Letters of Credit

                 The Debtors were required to provide security to secure their obligations under certain
         Insurance Policies (as defined below), historical insurance policies, and the Customs Bond (as
         defined below). To satisfy these obligations, the Debtors obtained a letter of credit facility
         pursuant to that certain Amended and Restated Substitute Insurance Collateral Facility Agreement
         (the “LC Facility Agreement”), dated as of September 25, 2024, by and between 1970 Group, Inc.
         (“1970 Group”) and the Debtors (the “LC Facility”). Under the LC Facility, in exchange for a fee,
         1970 Group arranged for the issuance and renewal of six letters of credit (the “Letters of Credit”)
         for the benefit of the insurers and the Customs Bond issuer. As of the Petition Date, the total
         amount outstanding on the Letters of Credit was approximately $11.31 million. None of the
         Letters of Credit were drawn upon. The LC Facility Agreement requires that the Debtors maintain
         their Insurance Policies in full force and effect and generally pay their obligations under the
         insurance policies as they become due.

                                (iii)   PNC Commercial Card Program

                 On December 21, 2018, TVC entered into that certain PNC Commercial Card Program
         Authorization and Agreement (as amended by the Amendment to PNC Commercial Card Program
         Authorization and Agreement, dated as of May 6, 2022, and as supplemented by the PNC
         Commercial Card Program Term and Conditions (version May 2018), the “PNC Card Agreement”)
         with PNC Bank, National Association (“PNC”), one of the lenders under the Credit Facility.
         Pursuant to the PNC Card Agreement, PNC extended credit to TVC by establishing one or more
         commercial card programs with an aggregate maximum limit of $25 million (the “PNC
         Commercial Card Program”). The Debtors maintain corporate cards under the PNC Commercial
         Card Program in the ordinary course of business to pay vendors and for certain work-related
         expenses, including “in the field” and employee travel expenses. Because of PNC’s participation
         as a lender in the Credit Facility, the credit extended under the PNC Commercial Card Program is
         secured by a first-priority security interest in and lien on the Prepetition Collateral. On July 31,
         2024, September 5, 2024, September 30, 2024, and October 11, 2024, PNC unilaterally reduced
         the aggregate maximum limit under the PNC Commercial Card Program to $4.5 million, $3.0
         million (with a further contemplated reduction to $2.5 million effective shortly thereafter),
         $500,000, and $100,000, respectively. As of the Petition Date, the Company maintained a small
         credit balance under the PNC Commercial Card Program.



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                                (iv)    Common Equity Interests

                 Non-Debtor Acon owns approximately 99% of Class A units outstanding and issued in TV
         Holdco, L.L.C. Non-Debtor TV Cooperative Company owns 100% of Class B units outstanding
         and issued in TV Holdco, L.L.C. Non-debtor individuals collectively own 100% of Class E units
         outstanding and issued in TV Holdco, L.L.C. Non-Debtor TV Holdco, L.L.C. owns 100% of the
         equity interests in non-Debtor TV Holdco I, L.L.C. Non-Debtor TV Holdco I, L.L.C. owns 100%
         of the equity interests in Debtor TV Holdco II, L.L.C. Debtor TV Holdco II, L.L.C. owns 100%
         of the equity interests in True Value Company, L.L.C. True Value Company, L.L.C. owns 100%
         of the equity interests in each of the remaining Debtor subsidiaries.

         D.     Summary of Events Leading to the Chapter 11 Filings

                1.      Consequences of the COVID-19 Pandemic

                When the world shut down in the early months of the COVID-19 pandemic, demand for
         hardware products increased. As a point of reference, approximately 1,350 of True Value’s retail
         customers provide True Value with point of sale data. At those 1,350 stores, there were
         approximately 44.6 million total retail transactions in 2019; in 2020, there were approximately
         50.8 million. At the same time, the entire industry experienced major supply chain disruptions.
         The Company’s fill rate (i.e., the percentage of orders it could ship from available stock without
         any lost sales, backorders, or other inventory shortages) dropped from over 95% in January 2020
         to below 75% in July 2020. Increased transaction volumes and product scarcity exacerbated the
         Company’s challenges, with freight, labor, product, and financing costs escalating significantly.
         Raw material constraints led to price increases of 25-30%. Despite the Company’s best efforts,
         some of their customers added a secondary supplier to maximize their ability to quickly meet end
         consumer demand.

                 Management swiftly took action to improve fill rates by removing redundancies, making
         internal changes to the Company’s inventory team to refocus on key product areas, implementing
         an offline planning process for highly seasonal products and imports, and building out an
         optimized ordering module for True Value customers. However, the Company continued to
         struggle in winning back the business of those customers who added secondary suppliers.

                 Following the initial COVID spike in demand, transaction volume began to normalize. In
         2021, retail transactions at reporting stores fell to 48.3 million; in 2022, to 44.4 million; in 2023,
         to 41.6 million; and in 2024, based on year-to-date sales and go-forward projections, to 39.7
         million. In addition, its customers built up high inventory positions in the latter half of the
         pandemic, which resulted in further reductions in purchasing (even beyond reductions resulting
         from the drop in demand). The Company believed that as much as 80% of the decline in sales
         from 2023 to 2024 can be attributed to slower retail traffic, fewer retail transactions, and a milder
         winter, which affected the broader industry.




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                2.      Liquidity Challenges

                                (i)     Decreased Sales

                 Beginning in 2023, the Company began implementing difficult decisions to right-size its
         cost structure and responsibly manage the business in light of the numerous economic challenges
         it faced that were depressing its sales, including the impact of COVID described above, supply
         chain disruptions, and inflation. The Company negotiated with vendors to achieve favorable
         pricing and worked to optimize delivery routes by minimizing miles driven and providing fixed
         order and delivery days. Additionally, the Company anticipated phasing out two of its twelve
         distribution centers by consolidating less profitable centers with the ten driving the vast majority
         of profits. Certain Employees were impacted by reductions in force.

                Also in 2023, the Company approached its lenders in hopes of negotiating a credit
         agreement amendment to provide additional cushion based on the projected drop in sales and short-
         term liquidity challenges it anticipated that it would face as a result. Ultimately, despite the
         Debtors’ good faith efforts, no such agreement was reached.

                                (ii)    Borrowing Base Reduction and Prefunding Requirements

                 The Company’s borrowing capacity under the Credit Agreement was tied to a formula
         called the “borrowing base.” The borrowing base calculation took into account the value of certain
         collateral pledged under the Credit Agreement. One component of this calculation is the value of
         the Company’s inventory, which value is determined via an annual appraisal. In May 2024, the
         Prepetition Lenders had the Debtors’ inventory appraised by Hilco Valuation Services. The
         appraisal valued the Debtors’ inventory more conservatively than the Debtors believe was
         warranted, leading to a $13.6 million reduction in True Value’s borrowing base under the Credit
         Agreement.

                  Additionally, in June 2024, the Prepetition Lenders imposed a pre-funding requirement for
         ACH payments, a departure from the Debtors’ historical practices upon which they had relied for
         budgeting and disbursement purposes. The pre-funding requirement and reduced borrowing base
         left the Debtors without sufficient liquidity to operate their business on customary terms.

                                (iii)   Cash Dominion

                In July 2024, the Prepetition Lenders implemented cash dominion (which the Company
         disputed), sweeping the Debtors’ cash on a daily basis and applying it to the outstanding principal
         amount of the revolving loans. These measures froze the Debtors’ liquidity, making the Debtors
         dependent on the Prepetition Lenders for daily funding to maintain basic operations. As a result,
         the Debtors were required to engage in nearly daily and, at times, contentious negotiations with
         the Prepetition Lenders over planned disbursements. Over that period, approximately $105.1
         million was applied to reduce the outstanding balance under the Credit Facility to $238.2 million.

                3.      Waiver Negotiations

                In July 2024, facing material reductions in its borrowing capacity, cash dominion, and
         associated liquidity issues, the Debtors began negotiating the First Waiver with the Administrative

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         Agent to (i) avoid or (ii) limit the operational consequences of any potential default under the
         Credit Agreement. The goal of the First Waiver was to provide the Company with the runway to
         complete a going concern restructuring transaction.

                 On August 26, 2024, following more than a month of negotiations, the Debtors and the
         Prepetition Lenders entered into the First Waiver. The First Waiver waived certain specified
         events of default by the Debtors through August 30, 2024, subject to an optional extension by the
         Prepetition Lenders. It also obligated the Prepetition Lenders to fund the Debtors’ operations
         during the First Waiver period, which lasted approximately five days from signing to expiration.
         The Debtors continued to receive funding from the Prepetition Lenders following the expiration
         of the First Waiver period on a discretionary basis.

                 In exchange, the Debtors incurred a $1.85 million amendment fee, released claims against
         the Prepetition Lenders and agreed to various milestones relating to the ongoing sale process,
         including an August 30, 2024 deadline for potential buyers to submit indications of interest
         regarding a potential acquisition of the Debtors or their assets (as extended, the “Indication of
         Interest Deadline”). In addition, the First Waiver incorporated several amendments to the Credit
         Agreement as described above.

                 On September 9, 2024, the parties executed the Second Waiver. The Second Waiver
         waived certain specified events of default by the Debtors through September 16, 2024. Similar to
         the First Waiver, the Second Waiver obligated the Prepetition Lenders to fund the Debtors’
         operations during the Second Waiver period, which lasted approximately seven days from signing
         to expiration. In exchange, the Debtors released claims against the Prepetition Lenders and agreed
         to various milestones relating to the ongoing sale and valuation processes, including a September
         6, 2024 deadline for certain updates on the economic benefits of the indications of interest received
         and a September 16, 2024 deadline for a valuation report of a hypothetical liquidation. In addition,
         the Second Waiver incorporated several amendments to the Credit Agreement as described above.

                 On September 17, 2024, after the expiration of the Second Waiver period, the banks
         declined to enter into further waivers, and the parties began a process whereby the Prepetition
         Lenders and Debtors negotiated funding amounts for certain, agreed upon, disbursements on an
         almost-daily basis while the Debtors negotiated with a competing bidder and worked to finalize
         the Stalking Horse Agreement with Do it Best.

                4.      Restructuring Efforts

                                (i)     Sale Process

                 In May 2024, the Company retained Houlihan Lokey Capital, Inc. (“Houlihan”) to explore
         liquidity solutions and other strategic alternatives. The Company believed that a robust marketing
         process for a going concern sale transaction would maximize value by preserving the going
         concern value of the business, preserving many jobs and capitalizing on a significant amount of
         synergy potential between the Company and potential partners.

                In July 2024, around the time that the Company began negotiating the First Waiver,
         Houlihan launched a formal sale process. In connection with this process, Houlihan contacted
         twenty-five (25) prospective strategic and financial buyers. Fifteen (15) of the potential buyers

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         executed non-disclosure agreements and were granted access to a virtual data room. Seven
         received management presentations. It was clear to prospective bidders that the Company was
         open to concluding a transaction as part of a chapter 11 case. Ultimately, five (5) potential buyers
         submitted indications of interest by the deadline to do so.

                 Following the submission of these indications of interest, the Debtors continued to solicit
         interest from potential buyers and worked with certain parties that submitted initial indications of
         interest in order to improve their proposed transaction terms. These efforts paid off, resulting in
         significantly improved proposals from two potential buyers, including Do it Best, a strategic and
         synergistic bidder who agreed to serve as the Stalking Horse Bidder in a court supervised process
         subject to higher or otherwise better bids. During the period leading up to the filing of these
         Chapter 11 Cases, the Debtors and Do it Best negotiated definitive documentation governing the
         Stalking Horse Bid. These terms are embodied in the Asset Purchase Agreement, dated as of
         October 13, 2024, among the Debtors and the Purchaser (the “Stalking Horse Agreement”), which
         is attached as Exhibit 2 to the proposed order attached to the Motion of Debtors for Entry of an
         Order (I) Establishing Bidding, Noticing, and Assumption and Assignment Procedures,
         (II) Approving the Sale of Substantially All of the Debtors’ Assets, and (III) Granting Related
         Relief [Docket No. 12] (the “Bidding Procedures Motion”), as amended by the Notice of Amended
         and Restated Asset Purchase Agreement [Docket No. 363]. Certain key terms of the Stalking
         Horse Agreement included:

             •   A sale of substantially all of the Debtors’ assets to the Stalking Horse Bidder pursuant to
                 Section 363 of the Bankruptcy Code;
             •   A $153 million cash consideration (the “Cash Consideration”);
             •   The assumption of certain liabilities, including the assumption and cure of a meaningful
                 number of contracts and the assumption of up to $45 million of trade payables that are
                 administrative claims (the “Assumed Liabilities” and together with the Cash Consideration,
                 the “Purchase Price”);
             •   The assumption and assignment to the Stalking Horse Bidder of certain contracts and leases
                 material to the operation of the business; and
             •   Employment offers to certain of the Debtors’ existing Employees at the closing of the Sale.

                 The Stalking Horse Agreement also contained customary representations and warranties of
         the parties and is subject to a number of closing conditions, including, among others:
         (i) Bankruptcy Court approval of the Sale; (ii) the accuracy of representations and warranties of
         the parties in all materials respects; and (iii) material compliance with the obligations set forth in
         the Stalking Horse Agreement.

                  The transaction negotiated with the Stalking Horse Bidder built on the Debtors’ months-
         long prepetition process and was supplemented during the postpetition marketing period
         contemplated by the bidding procedures, thereby providing further opportunity for interested
         bidders to formally bid for the Debtors’ assets and business operations. The consummation of the
         Stalking Horse Bid ensured that the Debtors’ business continued as a going concern, providing
         stability to the Debtors’ vendors and customer base and preserving many jobs.


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                  TVC’s board of directors (the “Board”) met regularly throughout the Debtors’ process of
         considering strategic alternatives and was kept apprised of the status of proposals and options
         available to the Debtors. In addition to numerous other meetings that were regularly held
         throughout the strategic alternatives process, at a meeting of the Board held on October 13, 2024,
         the Board, after full deliberation, determined that entering into the Stalking Horse Agreement,
         filing these Chapter 11 Cases, and pursuing an in-court sale of the Company pursuant to either the
         Plan or Section 363 of the Bankruptcy Code represented the highest and best offer available to the
         Debtors.

                 The Company, with the assistance of its advisors, carefully considered liquidation
         alternatives, including via an analysis prepared by Hilco Consumer-Retail. The Company agreed
         with the Prepetition Lenders to engage Hilco Consumer-Retail to conduct the analysis as part of
         negotiations regarding the Second Waiver and the commitment for stable funding during the
         waiver period and with the expectation that the Debtors and Prepetition Lenders would enter into
         a subsequent waiver. Ultimately, the Company determined that the Stalking Horse Bid and
         proposed bankruptcy sale process provided the most value-maximizing alternative.

                                (ii)    Hilco Liquidation Report

                 At the insistence of the Prepetition Secured Lenders, the Debtors retained Hilco Consumer-
         Retail (“Hilco”) to prepare a report showing anticipated recoveries for the Debtors’ stakeholders
         in a liquidation. On September 27, 2024, Hilco issued an Asset Liquidation Analysis (the “Hilco
         Report”) projecting recoveries in high case, mid case and low case liquidation scenarios with
         estimated recoveries ranging between approximately $185-271 million. The Hilco Report
         assumed a chapter 11 liquidation process that would take place over a 13-16 week period.

                However, following a close review of the Hilco Report and discussions with Hilco and the
         Debtors’ advisors, the Debtors determined that the Hilco Report was unreliable. Specifically, the
         Debtors believe that they identified numerous fundamental flaws in the methodologies relied upon
         by Hilco in preparing the Hilco Report, in particular, as it relates to the projected high-case scenario
         (and mid-case scenario, which simply averaged the low and high cases). The Debtors believe that
         the problematic assumptions, among other things, led to materially inflated projected inventory
         recoveries and accounts receivable collections. Accordingly, the Board determined that the
         Stalking Horse Bid presented the value maximizing alternative.

                                                  ARTICLE III
                                             THE CHAPTER 11 CASES

         A.     First Day Relief

                On the Petition Date, along with their voluntary petitions for relief under chapter 11 of the
         Bankruptcy Code (the “Petitions”), the Debtors filed several motions (the “First Day Motions”)
         designed to facilitate the administration of the Chapter 11 Cases and minimize disruption to the
         Debtors’ operations, by, among other things, easing the strain on the Debtors’ relationships with
         employees, vendors, and customers following the commencement of the Chapter 11 Cases. The
         First Day Motions, and all orders for relief entered in the Chapter 11 Cases, can be viewed free of
         charge upon written or other request to the Solicitation Agent by: (a) emailing the Solicitation


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         Agent at TrueValueInquiries@OmniAgnt.com with a reference to “True Value” in the subject line;
         (b) visiting the Debtors’ restructuring website at https://omniagentsolutions.com/TrueValue; or
         (c) calling the Solicitation Agent toll-free at (866) 771-0561 (U.S. & Canada) or +1 (818) 356-
         8633 (international). You may also obtain copies of any pleadings filed in the Chapter 11 Cases
         by visiting the Bankruptcy Court’s website at https://www.deb.uscourts.gov or the Clerk of the
         Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, where they are available
         for review between the hours 8:00 a.m. to 4:00 p.m. (prevailing Eastern Time). The following
         table provides a brief overview of the First Day Motions.

             MOTION                       RELIEF REQUESTED
             Administrative Motions
             Joint Administration         Authority to jointly administer the Debtors’ cases for procedural purposes only
             Redact         Personally
                                          Authority to redact personally identifiable information of individuals
             Identifiable Information
             Claims      and   Noticing
                                          Authority to retain Omni as claims and noticing agent
             Agent
             Operational Motions
             Employee
                                          Authority to pay prepetition wages, compensation and employee benefits and continue certain
             Compensation and
                                          employee benefit programs
             Benefits Programs
             Critical Vendors             Authority to pay certain prepetition critical vendors, foreign vendors and lien claimants
                                          Establishment of procedures for determining adequate assurance of payment for future utility
             Utilities
                                          services
                                          Authority to pay prepetition insurance obligations and maintain and renew insurance policies in the
             Insurance
                                          ordinary course
             Customer Programs            Authority to honor certain prepetition obligations to customers and continue customer programs
                                          Authority to pay prepetition sales, use, franchise, income, property, and other taxes and related fees,
             Taxes
                                          charges, and assessments
             Cash Collateral              Authority to use cash collateral and granting adequate protection to the Prepetition Lenders


                 On October 16, 2024, the Bankruptcy Court held a hearing (the “First Day Hearing”) at
         which it considered the First Day Motions. Following the First Day Hearing, the Bankruptcy Court
         entered certain orders granting the relief requested by the Debtors (the “First Day Orders”).
         Certain of the First Day Orders were entered on an interim basis and later approved on a final basis
         in the subsequent weeks.

                 The First Day Motions included the Debtors’ motion requesting authority to use cash
         collateral and granting adequate protection to the Prepetition Lenders [Docket No. 19] (the “Cash
         Collateral Motion”). On October 16, 2024, PNC filed a preliminary objection to the Cash
         Collateral Motion [Docket No. 67]. Following the First Day Hearing, the Debtors reached
         agreement with PNC on the Debtors’ interim use of Cash Collateral (as defined in the Cash
         Collateral Motion) to facilitate the Debtors’ urgent need for cash to protect the business and the
         value-maximizing going concern sale that could not be accomplished outside of these Chapter 11
         Cases. This agreement was reflected in the interim Cash Collateral order entered on October 18,
         2024 [Docket No. 106].


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                 Over the following two weeks, the Debtors worked tirelessly to reach consensual
         agreement with PNC on the use of Cash Collateral on a final basis, while also preparing to proceed
         with the request on a contested basis in the event a consensual agreement could not be reached. A
         second agreed interim Cash Collateral order was entered on October 28, 2024 [Docket No. 175]
         to allow more time for the parties to reach agreement. On October 29, 2024, the Debtors filed a
         reply in support of the Cash Collateral Motion and in response to PNC’s objection [Docket No.
         199] and PNC filed a supplemental objection [Docket No. 203]. A third agreed interim Cash
         Collateral order was entered on October 30, 2024 [Docket No. 224] in advance of a contested
         hearing on Cash Collateral held later that day.

                 Following numerous depositions, expedited discovery, and intensive negotiations among
         the parties, the Debtors announced on the record at a continued hearing on October 31, 2024 that
         an agreement had been reached with respect to the Debtors’ consensual use of Cash Collateral,
         which agreement was supported by the Committee (as defined below) and the Prepetition Lenders.
         The final Cash Collateral order was entered on November 4, 2024 [Docket No. 296].

         B.     Second Day Relief

                 In addition to the First Day Motions, the Debtors filed various motions seeking additional
         relief following the Petition Date, which were subsequently granted by the Bankruptcy Court
         (collectively, the “Second Day Orders”). In addition to the relief described below, the Second Day
         Orders included orders (i) establishing procedures for interim compensation and reimbursement
         of expenses for professionals [Docket No. 346] and (ii) authorizing the retention and compensation
         of professionals utilized in the ordinary course of business [Docket No. 390].

                1.      Retention of Professionals

                 The Second Day Orders also included orders authorizing the Debtors to retain, effective as
         of the Petition Date, the following professionals and advisors to assist the Debtors during the
         Chapter 11 Cases: (i) Skadden, Arps, Meagher & Flom LLP as counsel [Docket No. 435],
         (ii) Glenn Agre Bergman & Fuentes LLP as conflicts and efficiency counsel [Docket No. 424],
         (iii) Young Conaway Stargatt & Taylor, LLP as co-counsel [Docket No. 421], (iv) M3 Advisory
         Partners, LP to provide a Chief Transformation Officer and supporting personnel [Docket No. 419],
         (v) Houlihan as financial advisor and investment banker [Docket No. 418], and (vi) Omni as
         administrative agent.

                2.      Bar Dates

                 The Second Day Orders also included an order [Docket No. 262] (the “Bar Date Order”),
         establishing November 27, 2024 at 11:59 p.m. (prevailing Eastern Time) as the 503(b)(9) Bar Date,
         December 5, 2024 at 11:59 p.m. (prevailing Eastern Time) as the General Bar Date, April 14, 2024
         at 11:59 p.m. (prevailing Eastern Time) as the Governmental Bar Date, and separate bar dates for
         Claims arising from the Debtors’ rejection of executory contracts and unexpired leases and for
         Claims that the Debtors have amended in their Schedules. In addition, the Bankruptcy Court
         entered an order [Docket No. 577] (the “Administrative Expense Bar Date Order” and, together
         with the Bar Date Order, the “Bar Date Orders”) establishing December 23, 2024 at 11:59 p.m.



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         (prevailing Eastern Time) as the deadline for filing requests for allowance of administrative
         expense claims (collectively, the “Bar Dates”).

                 Pursuant to the Bar Date Orders, the Debtors’ claims and noticing agent, Omni, served
         notice of the Bar Dates on November 5, 2024 and November 22, 2024.

         C.     Appointment of Committees

                 On October 23, 2024, the Office of the United States Trustee for the District of Delaware
         (the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors in the Chapter 11
         Cases (the “Committee”). As of the date of this filing, the Committee comprised (i) STIHL Inc.,
         (ii) The Hillman Group, Inc., (iii) Black & Decker (US), Inc., (iv) Ryder Integrated Logistics, (v)
         Carhartt, Inc., (vi) The Sherwin-Williams Co. d/b/a Minwax, (vii) Pension Benefit Guaranty Corp.,
         and (viii) W.P. Carey Inc.

               The Committee retained Pachulski Stang Ziehl & Jones, LLP as counsel and Province,
         LLC as financial advisor. The Bankruptcy Court subsequently entered orders authorizing the
         employment and retention of these advisors by the Committee [Docket Nos. 694, 695].

                On December 3, 2024, the Bankruptcy Court entered an order authorizing and directing the
         U.S. Trustee to appoint an Official Committee of Retired Employees [Docket No. 655]. On
         January 2, 2025, the U.S. Trustee filed a statement that a committee of retired employees was not
         appointed due to a lack of response [Docket No. 746].

         D.     Sale Process

                1.      The Stalking Horse Bidder and Bidding Procedures

                 As described above, on October 13, 2024, the Debtors entered into the Stalking Horse
         Agreement with the Stalking Horse Bidder. The Stalking Horse Agreement contemplated the sale
         of substantially all of the Debtors’ assets to the Stalking Horse Bidder for a total of $153 million
         in cash paid to the Debtors at Closing and the assumption by the Purchaser of the Assumed
         Liabilities, among other key terms. The transactions contemplated by the Stalking Horse
         Agreement were subject to a Court-supervised sale process pursuant to the Debtors’ proposed
         bidding procedures, higher or better offers, and an auction.

                  In connection with the Sale, the Debtors filed the Bidding Procedures Motion on the
         Petition Date requesting entry of an order, among other things: (i) authorizing and approving
         bidding procedures (the “Bidding Procedures”) for soliciting other bids for the Debtors’ business,
         (ii) establishing notice procedures and approving the form of notice and manner of all procedures,
         protections, schedules, and agreements in connection with the proposed sale, (iii) approving
         procedures for the assumption and assignment of certain executory contracts and unexpired leases,
         (iv) scheduling the Sale hearing and related dates and deadlines, (v) approving the form and
         manner of the notice of the Sale hearing, and (vi) granting related relief, including authorizing and
         approving the Debtors’ entry into the Stalking Horse Agreement.

                As set forth in the Bidding Procedures Motion, the Debtors, in consultation with their
         professional advisors, worked extensively to implement a robust and expeditious Sale process. On

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         November 4, 2024, the Bankruptcy Court entered an order [Docket No. 297] (the “Bidding
         Procedures Order”) approving the Bidding Procedures and establishing, among other things,
         November 8, 2024 as the bid deadline and Sale objection deadline, November 11, 2024 as the
         auction date (if one were to be conducted), and November 12, 2024 as the hearing to approve the
         Sale. The description of the Stalking Horse Agreement and the Bidding Procedures contained
         herein does not purport to be complete and is qualified in its entirety by reference to the Plan, the
         Stalking Horse Agreement and the Bidding Procedures, as applicable.

                  The Stalking Horse Agreement served as the baseline for all prospective bidders to
         negotiate from, and was subject to higher or otherwise better bids for the Assets pursuant to the
         Bidding Procedures. To this end, Houlihan continued to market the Debtors’ Assets and contacted
         all third parties contacted as part of the prepetition sale process to inform them of the Chapter 11
         Cases, the Stalking Horse Agreement and the proposed Bidding Procedures, and to gauge their
         interest in participating in the postpetition Sale process.

                 The Debtors ultimately received no other qualifying bids for any of the Debtors’ Assets by
         the bid deadline. In accordance with the Bidding Procedures Order, the Debtors filed a notice
         [Docket No. 362] of cancellation of the auction and designation of the Stalking Horse Bidder as
         the Successful Bidder (as defined in the Bidding Procedures Order) and, ultimately, the Purchaser
         of the Assets.

                The Bankruptcy Court held a hearing and approved the Sale on November 12, 2024, and
         entered an order [Docket No. 411] memorializing approval of the Sale on November 13, 2024.
         The Sale closed on November 22, 2024.

                In accordance with the Cash Collateral Order and the Sale Order, all proceeds of the Sale
         and cash collateral of the Prepetition Lenders not otherwise designated pursuant to and as set forth
         in the Cash Collateral Order, are to be remitted to the Prepetition Lenders for permanent
         application toward the indefeasible payment of all Indebtedness (as defined in the Cash Collateral
         Order) owing by the Debtors to the Prepetition Lenders. The remaining proceeds of the Sale
         received from the Purchaser at the Closing and cash collateral of the Prepetition Lenders not
         otherwise designated pursuant to and as set forth in the Cash Collateral Order, which, in the
         aggregate, is projected to be approximately $[6.2] million as of the Effective Date, represent the
         majority of the Assets being used to fund the Plan.

                2.      The Transition Services Agreement

                To effectuate a smooth transition of the Debtors’ assets and business operations to the
         Purchaser as part of the Sale, the Purchaser and the Debtors entered into a transition services
         agreement (the “Transition Services Agreement”) on terms consistent with those set forth in the
         TSA Term Sheet (as defined in the Sale Order) attached as Exhibit H to the Asset Purchase
         Agreement filed at Docket No. 363. The Transition Services Agreement provides for a transition
         period of up to twelve (12) months following the Sale Closing date, which period may be extended
         by mutual agreement of the Purchaser and the Debtors or the Post-Effective Date Debtors, as
         applicable (the “Transition Period”). Pursuant to the Transition Services Agreement, the Debtors
         or the Post-Effective Date Debtors, as applicable, have been providing and shall continue to
         provide through the Transition Period certain transition services, including but not limited to:


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         (i) providing reasonable access to and use of information, data and assets in the possession of the
         Debtors or the Post-Effective Date Debtors, as applicable, needed by the Purchaser to effectuate a
         smooth transition of the Debtors’ assets and business operations; and (ii) services required for
         maintaining the Debtors’ assets, contracts and insurance policies. The remaining obligations of
         the Debtors or the Post-Effective Date Debtors, as applicable, under the Transition Services
         Agreement are minimal and the costs of such services provided by the Debtors or the Post-
         Effective Date Debtors, as applicable, are to be reimbursed by the Purchaser in accordance with
         the Transition Services Agreement.

         E.     Retiree Benefits

                 The Debtors provide certain self-funded postemployment medical, dental, and vision
         benefits, life insurance benefits, and death benefits to approximately 300 former employees in one
         or more plans (collectively, the “Retiree Plans” or “OPEB”). After review of the plans and related
         information, the Debtors believe that most of the Retiree Plans are unvested and therefore
         unilaterally terminable in their discretion after the Effective Date of the Plan. See In re Visteon
         Corp., 612 F.3d 210, 236 (3d Cir. 2010). They intend in connection with Confirmation to establish,
         for purposes of setting post-Effective Date reserves, that they may in fact terminate such Retiree
         Plans after the Effective Date, as they do not have the means to continue to maintain them.

                  The Debtors have also determined that certain of the Retiree Plans are or may be vested,
         and as such, are not unilaterally terminable after the Effective Date. The arguably vested plans are
         for (a) postemployment medical, dental, and vision benefits (affecting approximately four retirees
         in the aggregate) and (b) benefits under one death benefit plan (the so-called “Servistar Plan,”
         affecting approximately 264 retirees in the aggregate) (together, the “Ongoing Retiree Plans”).

                 Accordingly, on October 21, 2024, the Debtors filed a motion [Docket No. 116] seeking
         the appointment of an official committee of retired employees (a “retiree committee”) to negotiate
         the go-forward treatment of such Retiree Plans and resolution of claims thereunder. Although on
         December 3, 2024, the Court entered an order authorizing and directing the U.S. Trustee to appoint
         a retiree committee [Docket No. 655], on January 1, 2025, the U.S. Trustee filed a statement,
         however, that no retiree committee would be appointed as no retirees had responded to its inquiry
         inviting service on the committee [Docket No. 746].

                Because no retiree committee has been appointed, the Debtors now will seek the
         appointment of a disinterested, third-party fiduciary pursuant to Section 1114 or Section 105(a) of
         the Bankruptcy Code to represent the interests of the beneficiaries under the Ongoing Retiree Plans,
         including to negotiate modifications thereof, as well as to assist the Plan Administrator in making
         any OPEB distributions to retirees or their beneficiaries (the “Fiduciary”). See In re Westmoreland
         Coal Co., No. 18-35672 (DRJ) (Bankr. S.D. Tex. Jan. 2, 2019), ECF No. 943.

                 If the Court appoints the Fiduciary, the Debtors will, before Confirmation, seek to negotiate
         a settlement in respect of the Ongoing Retiree Plans under which they would reserve for and pay
         the net present cash value of the future entitlements under such plans. Subject to the Fiduciary’s
         evaluation of the proposal and Court approval, the Debtors would then fund a reserve with the
         amount of the settlement. The Fiduciary would also be authorized to engage in a notice and claims
         resolution process to facilitate paying each bona fide claimant their share of the settlement, which


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         process would be incorporated into the Plan, approved pursuant to the Confirmation Order, and
         administered following the Effective Date.

                 If any of the foregoing does not occur, the Debtors intend to fund a reserve, in trust, with
         (a) cash equal to the net present value of future entitlements under the Ongoing Retiree Plans and
         to obtain beneficiaries’ approval of the payment thereof, and (b) the amount of any Allowed
         Administrative Claims, if any, in respect of benefits due for the period prior to the Effective Date
         under the to-be-terminated unvested plans, in each case, for further distribution to beneficiaries.
         The Fiduciary would be responsible for managing the foregoing process.

                                                 ARTICLE IV
                                              SUMMARY OF PLAN

              THIS SECTION PROVIDES A SUMMARY OF THE PLAN. THE STATEMENTS
         CONTAINED IN THIS SECTION DO NOT PURPORT TO BE PRECISE OR COMPLETE
         STATEMENTS OF ALL THE TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS
         REFERRED TO THEREIN AND ARE QUALIFIED IN THEIR ENTIRETY BY AND ARE
         SUBJECT TO THE PLAN, THE EXHIBITS TO THE PLAN, AND THE DEFINITIONS
         CONTAINED IN THE PLAN. REFERENCE IS MADE TO THE PLAN, ATTACHED TO THIS
         DISCLOSURE STATEMENT AS EXHIBIT A, FOR THE FULL AND COMPLETE
         STATEMENTS OF SUCH TERMS AND PROVISIONS.

              THE PLAN ITSELF AND THE DOCUMENTS REFERRED TO THEREIN CONTROL
         THE ACTUAL TREATMENT OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS
         UNDER THE PLAN. UPON OCCURRENCE OF THE EFFECTIVE DATE, THE PLAN AND
         ALL SUCH DOCUMENTS WILL BE BINDING UPON ALL HOLDERS OF CLAIMS
         AGAINST AND INTERESTS IN THE DEBTORS AND THEIR ESTATES AND ALL OTHER
         PARTIES IN INTEREST. IN THE EVENT OF ANY CONFLICT BETWEEN THIS
         DISCLOSURE STATEMENT, ON THE ONE HAND, AND THE PLAN OR ANY OTHER
         OPERATIVE DOCUMENT, ON THE OTHER HAND, THE TERMS OF THE PLAN AND
         SUCH OTHER OPERATIVE DOCUMENT WILL CONTROL.

         THE PLAN CONTAINS CERTAIN IMPORTANT SETTLEMENT, RELEASE,
         EXCULPATION, AND INJUNCTION PROVISIONS. THOSE PROVISIONS ARE
         RESTATED BELOW FOR YOUR CONVENIENCE.

                  In this section, the Debtors provide a summary of certain key provisions of the Plan relating
         to, among other things, the: (i) payment of administrative expenses and priority claims,
         (ii) classification, treatment, and voting rights of creditors and equity holders, (iii) sources of
         funding for Distributions contemplated by the Plan, (iv) the orderly wind-down of the Debtors,
         and (v) releases, injunctions, and exculpations.

         A.     Plan Overview

                The following chart provides an overview of certain important provisions in the Plan:




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                                                                                                                           Location
             Category                    Description
                                                                                                                           in Plan

             Treatment of                Sets forth detailed information relating to the treatment of Administrative       Article II
             Administrative Expenses     Claims, Professional Claims and Priority Tax Claims.
             and other Priority Claims

             Classification and          Provides information relating to the classification and treatment of Claims       Article III
             Treatment of Claims and     and Interests, including proposed distributions under the Plan to creditors and
             Interests and Acceptance    equity holders as well as the terms for voting on and acceptance of the Plan.
             of the Plan

                                         Describes the means for implementing the Plan, including details regarding        Article IV
             Means for                   the funding for distributions under the Plan, the Post-Effective Date Debtors,
             Implementation              the Plan Administrator, the Litigation Trust and the Transition Services
                                         Agreement.

                                         Sets forth details regarding the assumption and rejection of executory            Article V
             Treatment of Executory
                                         contracts and unexpired leases, including with respect to claims arising from
             Contracts and Unexpired
                                         rejections, assumption cure determinations, employee compensation and
             Leases
                                         benefit programs, insurance policies and organizational documents.

             Procedures for Resolving    Provides procedures for resolving contingent, unliquidated, and disputed          Article VI
             Claims                      claims.

                                         Describes distributions under the Plan including, among other things, the         Article VII
             Distributions               record date for distributions, timing and calculation of amounts to be
                                         distributed, and rights and powers of the Distribution Agent.

             Settlement, Release, and    Sets forth settlements, releases, and injunctions under the Plan.                 Article VIII
             Injunction Provisions

                                         Sets forth the conditions precedent to confirmation of the Plan and the           Article IX
             Conditions Precedent
                                         Effective Date, including various required Bankruptcy Court approvals.

                                         Describes the matters over which the Bankruptcy Court will retain exclusive       Article X
             Retention of Jurisdiction
                                         jurisdiction following confirmation of the Plan.

                                         Covers miscellaneous relief, including, among other things, the binding           Article XI
                                         effect of the Plan, the dissolution of any statutory committees appointed in
             Miscellaneous
                                         the Chapter 11 Cases, the Debtors’ rights to modify or amend the Plan, and
                                         governing law.


         B.         Administrative Expenses and Priority Claims (Article II)

                In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
         and Priority Tax Claims of the kinds specified in Sections 507(a)(1) and 507(a)(8) of the




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         Bankruptcy Code have not been classified. As summarized in the chart below, Article II of the
         Plan describes the treatment of such claims.

             Claim                   Plan Treatment                                                                     Section

                                     Paid in full in cash (i) on the Effective Date, (ii) when the claim becomes due,
             Administrative Claims                                                                                      §2.1
                                     (iii) in the ordinary course or (iv) on such other agreed date.
             Professional Claims     Paid in full in cash in accordance with the procedures set forth in the Plan.      §2.2
                                     Paid in full in cash in accordance with Section 1129(a)(9)(C) of the Bankruptcy
             Priority Tax Claims                                                                                        §2.5
                                     Code.

         C.          Classification, Treatment, and Voting of Claims and Interests (Articles III & IV)

                 Section 1123 of the Bankruptcy Code provides that a plan must classify the claims and
         interests of a debtor’s creditors and equity interest holders. The Debtors are also required, under
         Section 1122 of the Bankruptcy Code, to classify Claims against and Interests in, the Debtors
         (except for certain claims classified for administrative convenience) into Classes that contain
         Claims and Interests that are substantially similar to the other Claims and Interests in such Class.

               IN ACCORDANCE WITH SECTION 1123 OF THE BANKRUPTCY CODE,
         ARTICLES III AND IV OF THE PLAN (I) DESIGNATE CLASSES OF CLAIMS AND
         INTERESTS AND (II) SPECIFY THE TREATMENT, INCLUDING WHETHER EACH CLASS
         IS IMPAIRED OR UNIMPAIRED, AND VOTING RIGHTS OF EACH CLASS. PLEASE
         REVIEW THESE ARTICLES OF THE PLAN CLOSELY. FOR A SUMMARY OF THESE
         TERMS AS WELL AS THE ESTIMATED PERCENTAGE RECOVERIES OF THE
         CLAIMS AND INTERESTS UNDER THE PLAN, PLEASE REFER TO THE TABLE
         INCLUDED IN THE INTRODUCTION TO THIS DISCLOSURE STATEMENT UNDER
         THE SECTION TITLED “VOTING RIGHTS, TREATMENT AND CLASSIFICATION
         OF CLAIMS AND INTERESTS UNDER THE PLAN.”

                 The Bankruptcy Code also requires that a plan provide the same treatment for each claim
         or interest of a particular class unless the claim holder or interest holder agrees to a less favorable
         treatment of its claim or interest. The Debtors believe that they have complied with such standard.
         If the Court finds otherwise, however, it could deny confirmation of the Plan if the Holders of
         Claims or Interests affected do not consent to the treatment afforded them under the Plan.

                The Plan, though proposed jointly, constitutes a separate plan for each of the Debtors and
         does not constitute a substantive consolidation of the Debtors’ Estates. The Plan provides for
         consolidation of the Debtors solely for voting, confirmation and distribution, but not for any other
         purpose. Therefore, all Claims against and Interests in a particular Debtor are placed in the Classes
         with respect to such Debtor. Classes that are not applicable as to a particular Debtor shall be
         eliminated as set forth more fully in Section 3.3(d) of the Plan.

                A Claim or Interest is placed in a particular Class for all purposes, including voting,
         Confirmation, and distribution under the Plan and under Sections 1122 and 1123(a)(1) of the
         Bankruptcy Code; provided, however, that a Claim or Interest is placed in a particular Class for
         the purpose of voting on the Plan and, to the extent applicable, receiving distributions pursuant to

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         the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in
         that Class and such Allowed Claim or Allowed Interest has not been satisfied, released, or
         otherwise settled prior to the Effective Date.

                 The Debtors believe that the Plan has classified all Claims and Interests in compliance with
         the provisions of Section 1122 of the Bankruptcy Code and applicable case law. It is possible that
         a Holder of a Claim or Interest may challenge the Debtors’ classification of Claims and Interests
         and that the Court may find that a different classification is required for the Plan to be confirmed.
         If such a situation develops, the Debtors intend, in accordance with the terms of the Plan, to make
         such permissible modifications to the Plan as may be necessary to permit its confirmation. Any
         such reclassification could adversely affect Holders of Claims by changing the composition of one
         or more Classes and the vote required of such Class or Classes for approval of the Plan. UNLESS
         SUCH MODIFICATION OF CLASSIFICATION MATERIALLY ADVERSELY
         AFFECTS THE TREATMENT OF A HOLDER OF A CLAIM AND REQUIRES
         RESOLICITATION, ACCEPTANCE OF THE PLAN BY ANY HOLDER OF A CLAIM
         OR INTEREST PURSUANT TO THIS SOLICITATION WILL BE DEEMED TO BE A
         CONSENT TO THE PLAN’S TREATMENT OF SUCH HOLDER OF A CLAIM
         REGARDLESS OF THE CLASS AS TO WHICH SUCH HOLDER ULTIMATELY IS
         DEEMED TO BE A MEMBER.

                 The amount of any Impaired Claim that ultimately is Allowed by the Court may vary from
         any estimated Allowed amount of such Claim and, accordingly, the total Claims that are ultimately
         Allowed by the Court with respect to each Impaired Class of Claims may also vary from any
         estimates contained in the Plan with respect to the aggregate Claims in any Impaired Class. Thus,
         the value of property that ultimately will be received by a particular Holder of an Allowed Claim
         may be adversely or favorably affected by the aggregate amount of Claims Allowed in the
         applicable Class.

                The Debtors believe that the consideration, if any, provided under the Plan to Holders of
         Claims and Interests reflects an appropriate resolution of their Claims and Interests, taking into
         account the differing nature and priority (including applicable contractual subordination) of such
         Claims and Interests. The Court must find, however, that a number of statutory tests are met before
         it may confirm the Plan. Many of these tests are designed to protect the interests of Holders of
         Claims or Interests who are not entitled to vote on the Plan, or do not vote to accept the Plan, but
         who will be bound by the provisions of the Plan if it is confirmed by the Court.

         D.     Voting on the Plan (Article III)

                 As described in Article V of this Disclosure Statement, only classes of claims or interests
         that are “impaired” under a plan and receive or retain some property under the plan on account of
         their claims or interests may vote to accept or reject such plan. Accordingly, only Holders of
         Prepetition Lender Claims in Class 3 and Holders of General Unsecured Claims in Class 4 are
         entitled to vote on the Plan.




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         E.     Means for Implementation of the Plan (Article IV)

                1.      Corporate Action

                 Upon the Effective Date, by virtue of entry of the Confirmation Order, all actions
         contemplated by the Plan (including any action to be undertaken by the Plan Administrator or the
         Litigation Trustee) shall be deemed authorized, approved, and, to the extent taken prior to the
         Effective Date, ratified without any requirement for further action by Holders of Claims or
         Interests, the Debtors, the Post-Effective Date Debtors, or any other Entity or Person. All matters
         provided for in the Plan involving the corporate structure of the Debtors, and any corporate action
         required by the Debtors in connection therewith, shall be deemed to have occurred and shall be in
         effect, without any requirement of further action by the Debtors or the Estates.

                2.      Effectuating Documents; Further Transactions

                 On and after the Effective Date, the Debtors, the Plan Administrator (on behalf of the Post-
         Effective Date Debtors) and the Litigation Trustee (on behalf of the Post-Effective Date Debtors),
         as applicable, is authorized to and may issue, execute, deliver, file or record such contracts,
         securities, instruments, releases, and other agreements or documents and take such actions as may
         be necessary or appropriate to effectuate, implement and further evidence the terms and conditions
         of the Plan without the need for any approvals, authorization, or consents except for those
         expressly required pursuant to the Plan.

                3.      Corporate Existence Post-Effective Date

                                (i)    Directors and Officers

                 Immediately following the occurrence of the Effective Date, (i) the respective boards of
         directors or managers, as applicable, and the current officers, of each of the Debtors, shall be
         terminated without cause and such members of the boards of directors or managers, as applicable,
         and the current officers of the Debtors shall be deemed to have resigned; and (ii) the Plan
         Administrator shall: (1) be appointed as the sole member of the board of directors or board of
         managers, as applicable, and the sole officer; (2) succeed as the sole Holder of Interests in each
         Post-Effective Date Debtor; (3) have the rights and powers of a debtor in possession under Section
         1107 of the Bankruptcy Code; (4) be a “representative of the estate” pursuant to Section 1123(b)(3)
         of the Bankruptcy Code; (5) be vested with the rights, powers, and benefits afforded to a “trustee”
         under Sections 704 and 1106 of the Bankruptcy Code; and (6) have such other rights, powers, and
         duties incidental to causing performance of the obligations under the Plan or otherwise as may be
         reasonably necessary.

                                (ii)   Organizational and Governance Documents

                Immediately following the occurrence of the Effective Date, the Post-Effective Date
         Debtors shall continue to exist in accordance with the laws of their respective states of formation
         and pursuant to their respective certificates of incorporation, by-laws, articles of formation,
         operating agreements, and other organizational documents in effect prior to the Effective Date,
         except to the extent such organizational documents are amended under the Plan, for the limited
         purposes of liquidating all of the assets of the Estates and making distributions in accordance with

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         the Plan. The Post-Effective Date Debtors shall exist for the limited purposes of completing the
         Debtors’ obligations under the Transition Services Agreement and fully administering the Estates.
         Promptly after performing all duties and functions that are consistent with the implementation of
         the Plan, the Confirmation Order, the Asset Purchase Agreement, and the Plan Administrator
         Agreement, the Plan Administrator shall be authorized and directed to take all actions to wind
         down, dissolve, or liquidate the Post-Effective Date Debtors. without the necessity for any other
         or further actions to be taken by or on behalf of such dissolving Post-Effective Date Debtors or
         any payments to be made in connection therewith, other than the filing of a certificate of
         dissolution with the appropriate governmental authorities, pursuant to Section 303 of the Delaware
         General Corporation Law codified at title 8 of the Delaware Code or other applicable state law.

                 The certificate and articles of in-corporation and by-laws of each Post-Effective Date
         Debtor shall be amended as necessary to satisfy the provisions of the Plan and the Bankruptcy
         Code and shall include, among other things, a provision (a) prohibiting the issuance of non-voting
         equity securities under Section 1123(a)(6) of the Bankruptcy Code and (b) limiting the activities
         of the Post-Effective Date Debtors to matters authorized under the Plan.

                4.      Settlement of Claims and Interests

                 Pursuant to Section 1123 of the Bankruptcy Code, and in consideration for the
         classification, distributions, releases, and other benefits provided under the Plan, on the Effective
         Date, the provisions of the Plan shall constitute a good-faith compromise and settlement of all
         Claims, Interests or Causes of Action that (a) are subject to compromise and settlement pursuant
         to the terms of the Plan; (b) have been released pursuant to Section 8.2 of the Plan; (c) have been
         released pursuant to Section 8.3 of the Plan; (d) are subject to the exculpation pursuant to Section
         8.4 of the Plan; or (e) are otherwise stayed or terminated pursuant to the terms of the Plan.

                5.      Plan Funding

                 All Cash necessary for the Debtors to fund distributions, make payments or otherwise
         satisfy any obligations under the Plan shall be funded in accordance with the Cash Collateral Order;
         provided that, to the extent the Transition Services Agreement requires the Debtors to make any
         payments or take any other actions associated therewith, the amount of any such payments or
         distributions or the cost of taking such actions shall be funded solely by the Purchaser. Except as
         set forth herein, any changes in intercompany account balances resulting from such transfers may
         be accounted for and/or settled in accordance with the Debtors’ historical intercompany account
         settlement practices and any such action will not violate the terms of the Plan.

                6.      Cancellation of Old Securities and Agreements

                 Except as otherwise provided in the Plan, on and after the Effective Date, all notes,
         instruments, certificates, agreements, indentures, mortgages, security documents, and other
         documents evidencing Claims or Interests, including, without limitation, Prepetition Lender
         Claims and Existing Interests, shall be deemed canceled and surrendered without any need for
         further action or approval of the Bankruptcy Court or any Holder or other Entity and the obligations
         of the Debtors, as applicable, thereunder or in any way related thereto shall be deemed satisfied in
         full and satisfied with the distributions, if any, provided hereunder, and the Administrative Agent


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         shall be released from all duties thereunder; provided that notwithstanding entry of the
         Confirmation Order or consummation of the Plan, any such indenture or agreement that governs
         the rights of the Holder of a Claim or Interest shall continue in effect solely for purposes of:
         (a) allowing Holders to receive distributions under the Plan; (b) allowing the Administrative Agent
         to enforce its rights, claims, and interests vis-à-vis any parties other than the Debtors or the Post-
         Effective Date Debtors; (c) allowing the Administrative Agent to make the distributions on
         account of Prepetition Lender Claims in accordance with the Plan (if any), as applicable;
         (d) preserving any rights of the Administrative Agent to payment of fees, expenses, and
         indemnification obligations as against any money or property distributable to Holders under the
         Credit Agreement, including any rights to priority of payment and/or to exercise charging liens;
         (e) allowing the Administrative Agent to exercise rights and obligations relating to the interests of
         Holders of Prepetition Lender Claims; (f) allowing the Administrative Agent to appear in the
         Chapter 11 Cases or in any proceeding in the Bankruptcy Court, including, but not limited, to
         enforce the respective obligations owed to such parties under the Plan; and (g) permitting the
         Administrative Agent to perform any functions that are necessary to effectuate the foregoing;
         provided, further, that except as provided herein, the preceding proviso shall not affect the
         settlement and release of Claims or Interests pursuant to the Bankruptcy Code, the Confirmation
         Order, or the Plan, as applicable, or result in any expense or liability to the Debtors.

                7.      Vesting of Assets

                 Except as otherwise provided in the Plan, the Asset Purchase Agreement, the Plan
         Supplement, or in any agreement, instrument, or other document incorporated herein or therein,
         on the Effective Date all property in each Debtor’s Estate, and all Causes of Action held by the
         Debtors or their Estates (except those released pursuant to the Plan or an order of the Bankruptcy
         Court) shall either be transferred to the Purchaser in accordance with the Asset Purchase
         Agreement or re-vest with the Post-Effective Date Debtors, as applicable, free and clear of all
         Liens, Claims, charges, and other encumbrances to the fullest extent possible under the Bankruptcy
         Code, and neither the Purchaser nor the Post-Effective Date Debtors shall have any liability for
         such Liens, Claims, charges, or other encumbrances whatsoever (other than to the extent provided
         in the Asset Purchase Agreement). On and after the Effective Date, except as provided in this Plan,
         the Purchaser (and, to the extent acting on behalf of the Post-Effective Date Debtors pursuant to
         this Plan, the Plan Administrator Agreement, or the Asset Purchase Agreement, the Plan
         Administrator) may operate their business and may (a) use, acquire, and dispose of property;
         (b) compromise or settle Claims, Interests, and Causes of Action; and (c) take any other action
         contemplated by the Plan, the Asset Purchase Agreement, the Plan Supplement, or the
         Confirmation Order, in each case, without Bankruptcy Court supervision or approval, and free of
         any Bankruptcy Code or Bankruptcy Rule restrictions, provided, however, that any derivative
         actions may be settled, voluntarily dismissed, or compromised only with court approval, to the
         extent that such court approval is required by Bankruptcy Rule 7023.1(c).

                8.      Plan Administrator

                                (i)     Appointment of the Plan Administrator

                From and after the Effective Date, a Person or Persons to be designated by the Debtors in
         consultation with the Committee shall serve as the Plan Administrator pursuant to the Plan


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         Administrator Agreement and the Plan, until the resignation or discharge and the appointment of
         a successor Plan Administrator in accordance with the Plan Administrator Agreement and the Plan.
         The Debtors shall include, in the Plan Supplement, the information set forth in Sections 1129(a)(4)
         and (5) of the Bankruptcy Code and the identity of Person or Entity who the Debtors have selected
         as the Plan Administrator. The appointment of the Plan Administrator shall be approved in the
         Confirmation Order, and such appointment shall be effective as of the Effective Date. The Plan
         Administrator shall have and perform all of the duties, responsibilities, rights and obligations set
         forth in the Plan and the Plan Administrator Agreement.

                                (ii)    The Plan Administrator Agreement

                 Prior to or on the Effective Date, the Debtors shall execute a Plan Administrator Agreement
         in substantially the same form as set forth in the Plan Supplement. Any nonmaterial modifications
         to the Plan Administrator Agreement made by the Debtors prior to the Effective Date are hereby
         ratified. The Plan Administrator Agreement will contain provisions permitting the amendment or
         modification of the Plan Administrator Agreement as necessary to implement the provisions of the
         Plan.

                              (iii) Rights, Powers, and Duties of the Debtors and the Plan
                        Administrator

                 On and after the Effective Date, the Plan Administrator will act for the Post-Effective Date
         Debtors in the same capacity as applicable to a board of managers or directors, or to officers,
         subject to the provisions of the Plan. All certificates of formation, membership agreements, and
         related documents are deemed amended by the Plan to permit and authorize the same without
         further action by any Entity and without Bankruptcy Court approval. From and after the Effective
         Date, the Plan Administrator will be the sole representative of, and will act for, the Post-Effective
         Date Debtors. Except as otherwise provided in the Plan, the Confirmation Order, or the Plan
         Administrator Agreement, the Plan Administrator shall be authorized and directed to take all
         corporate actions consistent with the Plan, the Confirmation Order, the Asset Purchase Agreement,
         all other applicable orders of the Bankruptcy Court, and the Plan Administrator Agreement, in
         each case, that are necessary and/or desirable to effectuate the terms of the Plan on behalf of the
         Post-Effective Date Debtors and use its reasonable best efforts to assist with or effectuate the
         transition of the Debtors’ business, wind down, dissolution, or liquidation of the Post-Effective
         Date Debtors and any non-Debtor Affiliates. In taking such actions, the Plan Administrator may
         control and exercise authority over any Assets, vested in the Post-Effective Date Debtors pursuant
         to the Plan, over the acquisition, management, and disposition thereof and over the management
         and conduct of the affairs of the Post-Effective Date Debtors. Such rights, powers and duties,
         which shall be exercisable by the Plan Administrator on behalf of the Post-Effective Date Debtors
         pursuant to the Plan and the Plan Administrator Agreement, shall include, among others,
         (a) making distributions to Holders of Allowed Claims and Interests as provided for in the Plan,
         (b) administering, reconciling and resolving Administrative Claims, Professional Claims,
         Restructuring Expenses, Priority Tax Claims and Other Priority Claims, (c) filing tax returns and
         paying taxes, (d) performing all obligations required of the Post-Effective Date Debtors under the
         Transition Services Agreement, (e) paying any Statutory Fees, (f) maintaining the books and
         records and accounts of the Debtors, (g) defending the Debtors in any pending or future litigation
         (except with respect to any counterclaims filed against the Litigation Trust), (h) selling,

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         abandoning, or otherwise fully administering the Estates, (i) closing the Chapter 11 Cases,
         (j) dissolving the Post-Effective Date Debtors, and (xi) performing other duties and functions that
         are consistent with the implementation of the Plan.

                                (iv)   Transition Services

                On the Effective Date, and continuing until the end of the Transition Period, the Plan
         Administrator shall serve as an appointed agent of the designated operator or as the operator of the
         Debtors in accordance with the Plan for the purpose of fulfilling any obligations thereunder.

                               (v)    Compensation of the Plan Administrator and Plan Administrator
                        Professionals

                 The Plan Administrator shall be compensated from the Plan Administration Reserve, in
         accordance with the Plan Administration Budget, and pursuant to the terms of the Plan
         Administrator Agreement. For the avoidance of doubt, any costs of the Plan Administrator
         associated with fulfilling the obligations under the Transition Services Agreement shall be funded
         directly by the Purchaser and will not be paid out of the Plan Administrative Reserve or calculated
         for purposes of the Plan Administration Budget.

                The Plan Administrator Professionals shall be entitled to reasonable compensation for
         services rendered and reimbursement of expenses incurred from the Plan Administration Reserve.
         Payment of the fees and expenses of the Plan Administrator and the Plan Administrator
         Professionals shall be made in the ordinary course of business; provided, however, that any
         disputes related to such fees and expenses shall be brought before the Bankruptcy Court.

                                (vi)   Indemnification of the Plan Administration Indemnified Parties

                 The Post-Effective Date Debtors shall indemnify and hold harmless the Plan
         Administration Indemnified Parties from and against and with respect to any and all liabilities,
         losses, damages, claims, costs and expenses, including, but not limited to, attorneys’ fees arising
         out of or due to their actions or omissions, or consequences of such actions or omissions, other
         than acts or omissions resulting from such Plan Administration Indemnified Party’s willful
         misconduct or gross negligence, with respect to the Debtors or the implementation or
         administration of the Plan or the Plan Administrator Agreement. To the extent any Plan
         Administration Indemnified Party asserts a claim for indemnification as provided above, the legal
         fees and related costs incurred by counsel to the Plan Administrator in monitoring and participating
         in the defense of such claims giving rise to the asserted right of indemnification shall be advanced
         to such Plan Administration Indemnified Party (and such Plan Administration Indemnified Party
         undertakes to repay such amounts if it ultimately shall be determined that such Plan Administration
         Indemnified Party is not entitled to be indemnified therefore) out of the Plan Administration
         Reserve or any insurance purchased using the Plan Administration Reserve. The indemnification
         provisions of the Plan Administrator Agreement shall remain available to and be binding upon any
         former Plan Administrator or the estate of any decedent of the Plan Administrator and shall survive
         the termination of the Plan Administrator Agreement.




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                                (vii)    Exculpation of the Plan Administrator

                  As of the Effective Date, to the extent not already included, the organizational documents
         of the Debtors shall be modified to provide for the exculpation of the Plan Administrator to the
         fullest extent permitted by applicable law.

                                (viii)   Insurance for the Plan Administrator

                 The Plan Administrator shall be authorized to obtain and pay for out of the Plan
         Administration Reserve all reasonably necessary insurance coverage for itself, its agents,
         representatives, employees or independent contractors, and the Post-Effective Date Debtors,
         including, but not limited to, coverage with respect to (a) any property that is or may in the future
         become the property of the Debtors or their Estates and (b) the liabilities, duties and obligations of
         the Plan Administrator and its agents, representatives, employees or independent contractors under
         the Plan Administrator Agreement (in the form of an errors and omissions policy or otherwise),
         the latter of which insurance coverage may remain in effect for a reasonable period of time as
         determined by the Plan Administrator after the termination of the Plan Administrator Agreement.

                9.      Litigation Trust

                                (i)      Establishment of the Litigation Trust

                 On or prior to the Effective Date, the Debtors and the Litigation Trustee shall execute the
         Litigation Trust Agreement in form and substance consistent with the terms set forth herein and
         otherwise reasonably acceptable to the Debtors and the Committee.

                 On the Effective Date, the Debtors shall (x) automatically be deemed to have transferred
         and assigned to the Litigation Trust all of their right, title, and interest in and to all the Retained
         Causes of Action, and, in accordance with Section 1141 of the Bankruptcy Code, all such Retained
         Causes of Action shall automatically vest in the Litigation Trust free and clear of all Liens, Claims,
         charges, encumbrances and interests, for the benefit of Holders of Allowed General Unsecured
         Claims and (y) transfer the Initial Litigation Trust Funded Amount to an account established by
         the Litigation Trust to fund the administration of such trust.

                 Immediately following the occurrence of the Effective Date, the Litigation Trustee shall be
         deemed appointed to serve as the trustee and administrator of the Litigation Trust. The Litigation
         Trust shall have standing to pursue, assert, litigate, and fully resolve the Litigation Trust Causes
         of Action, and neither the Debtors nor the Post-Effective Date Debtors shall have any interest in
         or with respect to the Retained Causes of Action or any Cash or assets contained in the Litigation
         Trust.

                 As set forth in the Plan, the Debtors anticipate transferring the Retained Causes of Action
         to the Litigation Trust on the Effective Date. The Litigation Trustee shall investigate any Retained
         Causes of Action and determine if any can be brought for the benefit of Holders of General
         Unsecured Claims and the Prepetition Lenders as and to the extent set forth in the Cash Collateral
         Order, who will be the beneficiaries of the Litigation Trust. There are a number of significant
         variables associated with projecting likely distributions to unsecured creditors, both with respect


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         to the value, if any, of the Retained Causes of Action, and the costs and expenses of pursuing such
         Retained Causes of Action, as well as administering the Litigation Trust.

                                 (ii)    Purpose of the Litigation Trust

                  The Litigation Trust shall be established for the purpose of (i) investigating, commencing,
         litigating, and settling the Retained Causes of Action, (ii) liquidation of the Litigation Trust’s
         assets, (iii) distribution of the Litigation Trust Distributable Proceeds, if any, to the Litigation Trust
         Beneficiaries, and (iv) performing such other duties as set forth in the Litigation Trust Agreement,
         in each case in accordance with Section 301.7701-4(d) of the Treasury Regulations, with no
         objective to continue or engage in the conduct of a trade or business.

                                 (iii)   The Litigation Trust Agreement

                 The Litigation Trust shall be administered by the Litigation Trustee in accordance with the
         Litigation Trust Agreement. The Litigation Trust Agreement may establish certain powers, duties,
         and authorities in addition to those explicitly stated herein, but only to the extent that such powers,
         duties, and authorities do not affect the status of the Litigation Trust as a liquidating trust for United
         States federal income tax purposes as discussed below. Upon execution of the Litigation Trust
         Agreement, the Litigation Trustee shall be authorized to take all steps necessary to complete the
         formation of the Litigation Trust. The Litigation Trustee shall serve as representative of the Estates
         under Section 1123(b) of the Bankruptcy Code for the purpose of (i) enforcing the Litigation Trust
         Causes of Action and (ii) administering the Litigation Trust and distributing its assets to the
         Litigation Trust Beneficiaries.

                                 (iv)    Powers and Duties of the Litigation Trustee

                 On and after the Effective Date, the powers and duties of the Litigation Trustee shall
         include, inter alia, (i) analyzing Retained Causes of Action and determining whether to abandon,
         pursue, litigate, or settle such claims; (ii) retaining and compensating professionals, employees,
         and consultants to assist with the administration of the Litigation Trust; (iii) making distributions
         to the Litigation Trust Beneficiaries in accordance with the Plan and Litigation Trust Agreement;
         (iv) administering, reconciling, and resolving General Unsecured Claims; and (v) performing other
         duties and functions that are consistent with the purpose of the Litigation Trust.

                 In pursuing any Litigation Trust Causes of Action, the Litigation Trustee shall be deemed
         a trustee for all purposes under Section 108 of the Bankruptcy Code, shall be entitled to the tolling
         provisions provided under Section 108 of the Bankruptcy Code, and shall succeed to the Debtors’
         rights with respect to the periods in which any of the Litigation Trust Causes of Action may be
         brought under Section 546 of the Bankruptcy Code.

                                 (v)     Litigation Trust Treatment

                 In furtherance of the Plan, (i) the terms of the Litigation Trust shall be set forth in the
         Litigation Trust Agreement, (ii) the Litigation Trust shall be structured to qualify as a “liquidating
         trust” within the meaning of Section 301.7701-4(d) of the Treasury Regulations and in compliance
         with Rev. Proc. 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust” within the meaning of
         Sections 671 through 679 of the Tax Code to Holders of Allowed General Unsecured Claims,

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         consistent with the terms of the Plan, (iii) all parties (including the Debtors, the Post-Effective
         Date Debtors, the Litigation Trust Beneficiaries, and the Litigation Trustee) shall report
         consistently with such treatment, (iv) all parties shall report consistently with the valuation of the
         assets transferred to the Litigation Trust as determined by the Litigation Trustee (or its designee),
         (v) the Litigation Trustee shall be responsible for filing returns for the trust as a grantor trust
         pursuant to Section 1.671-4(a) of the Treasury Regulations, and (vi) the Litigation Trustee shall
         annually send to each holder of an interest in the Litigation Trust a separate statement regarding
         the receipts and expenditures of the trust as relevant for federal income tax purposes.

                                 (vi)    Litigation Trust Distributions

                Distributions from the Litigation Trust shall be made from the Litigation Trust
         Distributable Proceeds, in accordance with the Plan and the Litigation Trust Agreement.

                                 (vii)   Litigation Trust Expenses

                The Litigation Trust Expenses shall be paid from (i) the Initial Litigation Trust Funded
         Amount and (ii) the Cash proceeds, whether by settlement, adjudication or otherwise, of any
         Retained Causes of Action.

                 10.     Sale Order

                Notwithstanding anything to the contrary herein, nothing in the Plan shall affect, impair or
         supersede the Sale Order, which remains in full force and effect and governs in the event of any
         inconsistency with the Plan.

                 11.     Asbestos Litigation

                 As of the Petition Date, the Debtors were defendants in approximately 20 lawsuits alleging
         asbestos exposure from products purchased at the Debtors’ retail stores and seeking unliquidated
         damages amounts. Claims arising from these lawsuits are classified as General Unsecured Claims
         under the Plan, provided that nothing in the Plan will affect the rights of any plaintiff in any lawsuit
         from seeking a recovery from applicable insurance.

                 12.     Exemption from Certain Transfer Taxes

                 Pursuant to Section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
         the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
         or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other
         similar tax or governmental assessment to the fullest extent contemplated by Section 1146(a) of
         the Bankruptcy Code, and upon entry of the Confirmation Order, the appropriate state or local
         governmental officials or agents shall be directed to forgo the collection of any such tax or
         governmental assessment and to accept for filing and recordation any of the foregoing instruments
         or other documents without the payment of any such tax or governmental assessment.




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                13.     Preservation of Causes of Action

                 In accordance with Section 1123(b)(3) of the Bankruptcy Code, the Debtors and their
         Estates shall retain all of the Retained Causes of Action, which shall be vested in the Post-Effective
         Date Debtors on the Effective Date. The Litigation Trustee, on behalf of the Post-Effective Date
         Debtors, may enforce all rights to commence and pursue any and all Retained Causes of Action,
         whether arising before or after the Petition Date (including, without limitation, any actions or
         categories of actions specifically enumerated in a list of retained Causes of Action contained in the
         Plan Supplement), and all Retained Causes of Action shall be preserved notwithstanding the
         occurrence of the Effective Date or the dissolution of the Debtors. No Entity may rely on the
         absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement
         to any Retained Cause of Action against it as any indication that the Litigation Trustee will
         not pursue any and all available Retained Causes of Action against it. The Litigation Trustee
         expressly reserves all rights to prosecute any and all Retained Causes of Action against any
         Entity, except as otherwise expressly provided in the Plan.

                  The Litigation Trustee, in its sole and absolute discretion, shall determine whether to bring,
         settle, release, compromise, or enforce any Retained Causes of Action (or decline to do any of the
         foregoing) in accordance with the best interests of the Litigation Trust, and shall not be required
         to seek further approval of the Bankruptcy Court for such action; provided, however, the Litigation
         Trustee may settle, voluntarily dismiss, or compromise any derivative actions as such term is used
         in Bankruptcy Rule 7023.1(c) only with court approval, to the extent such court approval is
         required by Bankruptcy Rule 7023.1(c).

                  Unless any Causes of Action of the Debtors against an Entity are expressly waived,
         relinquished, exculpated, released, compromised, or settled in the Plan or an order of the
         Bankruptcy Court, or acquired by the Purchaser or otherwise released pursuant to the Asset
         Purchase Agreement, the Plan expressly reserves all of the Debtors’ Causes of Action for later
         adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
         collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise),
         or laches, shall apply to such Causes of Action upon, after, or as a consequence of Confirmation
         or consummation of the Plan.

         F.     Executory Contracts (Article V)

                1.      Assumption and Rejection of Executory Contracts

                 On the Effective Date, each Executory Contract shall be deemed rejected in accordance
         with, and subject to, Sections 365 and 1123 of the Bankruptcy Code as of the Effective Date, unless
         any such Executory Contract: (a) is designated as a Transferred Contract under the Asset Purchase
         Agreement; (b) is designated as an Assumed Contract on the Schedule of Assumed Executory
         Contracts or a Transferred Contract on a TSA Contract Notice or a Supplemental TSA Contract
         Notice (each as defined in the TSA Assumption Order); (c) has been previously assumed by the
         Debtors by Final Order of the Bankruptcy Court, including the Bidding Procedures Order, Sale
         Order and TSA Assumption Order, or has been assumed by the Debtors by order of the Bankruptcy
         Court as of the Effective Date, which order becomes a Final Order after the Effective Date; (d) is
         the subject of a motion to assume pending as of the Effective Date; or (e) is otherwise assumed


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         pursuant to the terms herein. The Rejection Damages Claims of counterparties to Executory
         Contracts that are deemed rejected as of the Effective Date shall be classified as General Unsecured
         Claims and shall be treated in accordance with Section 3.2(d) of the Plan.

                 As of the Effective Date, each Executory Contract that is designated as an Assumed
         Contract on the Schedule of Assumed Executory Contracts shall revest in and be fully enforceable
         by the Plan Administrator on behalf of the Post-Effective Date Debtors, except as modified by the
         provisions of the Plan, any Final Order of the Bankruptcy Court, or applicable law. The
         Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumption,
         assumption and assignment, or rejection, as the case may be, of such Executory Contracts, pursuant
         to Sections 365 and 1123 of the Bankruptcy Code as of the Effective Date. To the extent any
         provision in any Executory Contract assumed pursuant to the Plan (including any “change of
         control” provision) restricts or prevents, or purports to restrict or prevent, or is breached or deemed
         breached by, the Debtors’ assumption of or the assumption and assignment of such Executory
         Contract then such provision shall be deemed modified such that the transactions contemplated by
         the Plan will not entitle the non-Debtor party thereto to terminate such Executory Contract or to
         exercise any other default-related rights with respect thereto.

                 Rejection of any Executory Contract pursuant to the Plan or otherwise shall not constitute
         a termination of preexisting obligations owed to the Debtors under such contracts or leases. In
         particular, notwithstanding any non-bankruptcy law to the contrary, the Debtors, the Post-Effective
         Date Debtors, and the Plan Administrator expressly reserve and do not waive any right to receive,
         or any continuing obligation of a counterparty to provide, warranties, or continued maintenance
         obligations on goods previously purchased by the contracting Debtors from counterparties to
         rejected or repudiated Executory Contracts.

                Unless otherwise indicated, assumptions, assumptions and assignments, or rejections of
         Executory Contracts pursuant to the Plan are effective as of the Effective Date. Notwithstanding
         anything to the contrary in the Plan, Asset Purchase Agreement, or Plan Supplement, the Debtors
         reserve the right to, with the consent of the Purchaser, as required, alter, amend, modify, or
         supplement the Schedule of Assumed Executory Contracts and any TSA Contract Notice or
         Supplemental TSA Contract Notice at any time prior to the Effective Date, in accordance with the
         Assumption and Assignment Procedures, the Asset Purchase Agreement and the TSA Assumption
         Order, as applicable.

                2.      Rejection Damages Claim Procedures

                 Unless otherwise provided by a Bankruptcy Court order, any Rejection Damages Claim
         must be filed with the Claims and Solicitation Agent and served on the Plan Administrator and the
         Litigation Trustee no later than thirty (30) days after the filing of the notice of the occurrence of
         the Effective Date. Any Rejection Damages Claims that are not timely filed shall be Disallowed
         automatically and forever barred, estopped, and enjoined from assertion and shall not be
         enforceable against the Debtors or the Post-Effective Date Debtors without the need for any
         objection by the Debtors or the Litigation Trustee or any further notice to or action, order, or
         approval of the Bankruptcy Court, and all Rejection Damages Claims shall be deemed fully
         satisfied and released, notwithstanding anything in the Schedules or any Proofs of Claim to the



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         contrary. All Allowed Rejection Damages Claims shall be classified as General Unsecured Claims
         and shall be treated in accordance with Section 3.2(d) of the Plan.

                3.      Cure of Defaults for Assumed Executory Contracts

                              (i)      Proofs of Claim Based on Assumed Contracts or Transferred
                        Contracts

                 Any and all Proofs of Claim based on Executory Contracts that have been designated as
         Transferred Contracts or Assumed Contracts, except Proofs of Claim asserting Cure Amount,
         pursuant to the order approving such assumption or assumption and assignment, including the
         Confirmation Order, shall be deemed Disallowed and expunged from the claims register as of the
         Effective Date without any further notice to or action, order, or approval of the Bankruptcy Court.

                               (ii)    Cure Proceedings and Payments

                 With respect to each of the Transferred Contracts and Assumed Contracts, the Debtors
         have designated or shall designate a proposed Cure Amount in the Cure Notice and the
         determination of the Cure Amount shall be governed by the Bankruptcy Court’s order related
         thereto. Except with respect to Executory Contracts for which the Cure Amount is zero dollars,
         or for which the Cure Amount is in dispute, (i) with respect to Transferred Contacts, the Cure
         Amount shall be satisfied by the Purchaser; and (ii) with respect to Assumed Contracts, the Cure
         Amount shall be satisfied by the Plan Administrator on behalf of the Post-Effective Date Debtors,
         in each case, in accordance with the terms of the TSA Assumption Order, Bidding Procedures,
         Sale Order, Asset Purchase Agreement (including the Transition Services Agreement), or on such
         other terms as may be ordered by the Bankruptcy Court or agreed upon by the parties to the
         applicable Executory Contract without any further notice to or action, order, or approval of the
         Bankruptcy Court.

                 Any provisions or terms of a Transferred Contract or Assumed Contract that are, or may
         be, alleged to be in default, shall be satisfied solely by payment of the Cure Amount, or by an
         agreed-upon waiver of the Cure Amount. If there is a dispute regarding such Cure Amount, the
         ability of the Purchaser or Plan Administrator, as applicable, to provide “adequate assurance of
         future performance” within the meaning of Section 365 of the Bankruptcy Code, or any other
         matter pertaining to assumption or assignment, then payment of the Cure Amount shall occur as
         soon as reasonably practicable after entry of a Final Order resolving such dispute, approving such
         assumption, or as may be agreed upon by the Purchaser or the Plan Administrator, as applicable,
         and the counterparty to the Executory Contract; provided, however, that the Purchaser or the Plan
         Administrator (on behalf of the Post-Effective Date Debtors), as applicable, shall have the right
         either to reject or nullify the assumption of any Executory Contract after entry of a Final Order
         determining the Cure Amount or any request for adequate assurance of future performance
         required to assume such Executory Contract.

                 Assumption or assumption and assignment of any Executory Contract pursuant to the Plan,
         the Sale Order, the Asset Purchase Agreement, the TSA Assumption Order, or otherwise, shall
         result in the full release and satisfaction of any Cure Amount, Claims, or defaults, whether
         monetary or nonmonetary, including defaults of provisions restricting the change in control or


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         ownership interest composition or other bankruptcy-related defaults, arising under any assumed
         Executory Contract at any time prior to the effective date of assumption, as applicable.

                                (iii)   Cure Notice

                 The Debtors shall serve the Cure Notice on counterparties to any Assumed Contracts or
         Transferred Contracts in accordance with the terms of the applicable orders of the Bankruptcy
         Court, including in the case of Transferred Contracts, the TSA Assumption Order. If no Cure
         Objection is timely received, (a) the non-Debtor party to the assumed Executory Contract shall be
         deemed to have consented to the assumption or assumption and assignment of the applicable
         Executory Contract and shall be forever barred from asserting any objection with regard to such
         assumption, and (b) the proposed Cure Amount shall be controlling, notwithstanding anything to
         the contrary in any applicable Executory Contract or other document as of the date of the filing of
         the Plan, and the non-Debtor party to an applicable Executory Contract shall be deemed to have
         consented to the Cure Amount and shall be forever barred from asserting, collecting, or seeking to
         collect any additional amounts relating thereto against the Debtors, the Post-Effective Date
         Debtors, the Purchaser, or the property of any of the foregoing.

                                (iv)    Cure Objections

                 If a proper and timely Cure Objection is filed by the applicable Cure Objection Deadline,
         including in the case of Transferred Contracts, in accordance with the TSA Assumption Order, the
         Cure Amount shall be equal to (a) the amount agreed to between the Debtors, Plan Administrator
         (on behalf of the Post-Effective Date Debtors), or Purchaser, as applicable, and the applicable
         counterparty or (b) to the extent the Plan Administrator (on behalf of the Post-Effective Date
         Debtors), or Purchaser, as applicable, and counterparty do not reach an agreement regarding any
         Cure Amount or any other matter related to assumption, the Bankruptcy Court shall determine the
         Allowed amount of such Cure Amount and any related issues. Objections, if any, to the proposed
         assumption and/or Cure Amount must be in writing, filed with the Bankruptcy Court, and served
         in hard-copy form on the parties identified in the Cure Notice so that they are actually received by
         the Cure Objection Deadline.

                 If a Cure Objection is timely filed and received in accordance with the applicable
         procedures, and the parties do not reach a consensual resolution of such objection, a hearing with
         respect to such objection shall be held at such time scheduled by the Bankruptcy Court. Cure
         Objections will not be treated as objections to Confirmation of the Plan.

               4.    Modifications, Amendments, Restatements, Supplements, Restatements, and
         Other Agreements

                 Unless otherwise provided in the Plan, each Executory Contract that is assumed shall
         include all modifications, amendments, supplements, restatements, or other agreements that in any
         manner affect such Executory Contract, and all rights related thereto, if any, including all
         easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any
         other interests, unless any of the foregoing agreements have been previously rejected or repudiated
         or are rejected or repudiated pursuant to the Plan. Modifications, amendments, supplements, and
         re-statements to prepetition Executory Contracts that have been executed by the Debtors during


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         the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory Contract,
         or the validity, priority, or amount of any Claims that may arise in connection therewith.

                5.      Reservation of Rights

                 Neither the exclusion nor inclusion of any contract or lease on the Schedule of Assumed
         Executory Contracts, nor anything contained in the Plan, shall constitute an admission by the
         Debtors that any such contract or lease is in fact an Executory Contract or that the Debtors, the
         Plan Administrator, or any of their Affiliates, has any liability thereunder. If there is a dispute
         regarding whether a contract or lease is or was executory or unexpired at the time of assumption
         or rejection, the Debtors or the Plan Administrator, as applicable, shall have forty-five (45) days
         following entry of a Final Order resolving such dispute to alter their treatment of such contract or
         lease.

                6.      Employee Compensation and Benefit Programs

                 Except as otherwise provided in the Plan, the Asset Purchase Agreement or the Plan
         Supplement, on and after the Effective Date, the Post-Effective Date Debtors may, but are not
         required to, honor in the ordinary course of business, any employee benefit plans (as defined in
         Section 3(3) of the Employee Retirement Income Security Act of 1974) and any other contracts,
         agreements, policies, programs, and plans for, among other things, employment, compensation,
         health care, disability and other welfare benefits, deferred compensation benefits, severance
         policies and benefits, retirement benefits, workers’ compensation insurance and accidental death
         and dismemberment insurance that, as of immediately prior to the Petition Date are, and as of
         immediately prior to the Effective Date continue to be, sponsored, maintained, or contributed to
         by any of the Debtors for the directors, officers, employees and other service providers of any of
         the Debtors who served in such capacity at any time.

                 Nothing contained herein shall entitle any Person to any benefit or alleged entitlement
         under any policy, program, or plan that has expired or been terminated before the Effective Date,
         or restore, reinstate, or revive any such expired benefit plan or alleged entitlement under any such
         expired benefit plan. Nothing herein shall limit, diminish, or otherwise alter the Post-Effective
         Date Debtors’ defenses, Claims, Causes of Action, or other rights with respect to any benefit plan,
         whether expired or unexpired.

                 Except as otherwise provided in the Plan, the Asset Purchase Agreement, or the Plan
         Supplement, none of (a) the Debtors’ emergence from chapter 11 of the Bankruptcy Code as
         contemplated by the Plan or (b) the consummation of the transactions provided in the Plan (or
         otherwise contemplated by the Sale and the Plan to occur prior to or on or about the Effective
         Date), in each case alone or together with any other event, shall (i) entitle any current or former
         director, officer, employee or other service provider of any of the Debtors to any payment or
         benefit, (ii) accelerate the time of payment or vesting or trigger any payment or funding of
         compensation or benefits under, or increase the amount payable or trigger any other obligation
         under, any benefit plan or expired benefit plan or (iii) limit or restrict the right of the Debtors or
         Post-Effective Date Debtors to merge, amend or terminate any benefit plan, in each case including
         as a result of a “change in control” or similar provision or as a result of giving rise to any Person



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         to terminate his or her service with the Debtors or Post-Effective Date Debtors for “good reason”
         or similar provision.

                7.      Insurance Policies

                 Except as otherwise provided in the Plan, the Asset Purchase Agreement, or the Plan
         Supplement, all insurance policies pursuant to which any Debtor has any obligations in effect as
         of the Effective Date shall be deemed and treated as Executory Contracts pursuant to the Plan and,
         unless such insurance policy is assumed or assumed and assigned in accordance with Section 5.1
         of the Plan, such insurance policy shall be deemed to be rejected in accordance with, and subject
         to, Sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

                8.      D&O Policies

                  The Debtors or the Plan Administrator on behalf of the Post-Effective Date Debtors, as
         applicable, shall maintain D&O Policies providing coverage for those insureds currently covered
         by such policies for the remaining term of such policies and shall maintain runoff policies or tail
         coverage under policies in effect as of the Effective Date for a period of six (6) years after the
         Effective Date, to the fullest extent permitted by such provisions, in each case insuring such parties
         in respect of any claims, demands, suits, Causes of Action, or proceedings against such insureds
         in at least the scope and amount as currently maintained by the Debtors. Nothing in the Plan shall
         be deemed to impair any Entity’s claim, if any, to proceeds of the D&O Policies or the priority of
         payment on such claim, if any, under the D&O Policies. Notwithstanding any other provision in
         the Plan, all D&O Policies shall be deemed and treated as Executory Contracts pursuant to the
         Plan and shall be assumed by the Post-Effective Date Debtors, shall remain in full force and effect
         thereafter and shall continue as obligations of the Post-Effective Date Debtors in accordance with
         their respective terms, and all such D&O Policies shall vest in the Post-Effective Date Debtors.

                9.      Indemnification Obligations

                 Except as otherwise provided in the Plan or the Confirmation Order, to the fullest extent
         permitted by applicable law, any and all obligations of the Debtors pursuant to their corporate
         charters, bylaws, limited liability company agreements, memorandum and articles of association,
         or other organizational documents or agreements to indemnify officers, directors or employees, in
         each case solely in their capacity as such, employed by the Debtors (i) on and/or after the Petition
         Date or (ii) prior to the Petition Date (but only to the extent necessary to preserve the D&O Policies)
         with respect to all present and future actions, suits, and proceedings against the Debtors or such
         officers, directors or employees based upon any act or omission for or on behalf of the Debtors
         shall not be discharged, impaired, or otherwise affected by the Plan; provided, that, the Debtors or
         the Plan Administrator on behalf of the Post-Effective Date Debtors, as applicable, shall not
         indemnify any such officers, directors or employees of the Debtors for any Claims or Causes of
         Action arising out of or relating to any act or omission for which indemnification is barred under
         applicable law or that is excluded under the terms of the foregoing organizational documents or
         applicable agreements governing the Debtors’ indemnification obligations.                   The Plan
         Administrator on behalf of the Post-Effective Date Debtors shall not indemnify any Entities for
         any Claims or Causes of Action arising out of or relating to any act or omission that is a criminal
         act or constitutes intentional fraud, gross negligence or willful misconduct. Except as otherwise


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         provided in the Plan, all such indemnification obligations shall be deemed and treated as Executory
         Contracts that are assumed by the Debtors under the Plan.

                10.     Nonoccurrence of the Effective Date

                 In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
         jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
         Leases pursuant to Section 365(d)(4) of the Bankruptcy Code, unless such deadline(s) have expired.

         G.     Procedures for Resolving Disputed Claims and Interests (Article VI)

                1.      Determination of Claims and Interests

                  After the Effective Date, the Plan Administrator or the Litigation Trustee, as the case may
         be, shall have and retain any and all rights and defenses the Debtors had with respect to any Claim
         or Interest immediately prior to the Effective Date, including the Causes of Action retained
         pursuant to Section 4.12 of the Plan, except with respect to any Claim or Interest deemed Allowed
         under the Plan. Except as expressly provided in the Plan or in any order entered in the Chapter 11
         Cases prior to the Effective Date, including the Confirmation Order, no Claim or Interest shall
         become an Allowed Claim or Interest unless and until such Claim or Interest is deemed Allowed
         or the Bankruptcy Court has entered a Final Order, including the Confirmation Order, in the
         Chapter 11 Cases allowing such Claim or Interest. All settled Claims approved prior to the
         Effective Date pursuant to a Final Order of the Bankruptcy Court, pursuant to Bankruptcy Rule
         9019 or otherwise, shall be binding on all parties. For the avoidance of doubt, any Claim
         determined and liquidated pursuant to (a) an order of the Bankruptcy Court or (b) applicable non-
         bankruptcy law (which determination has not been stayed, reversed, or amended and as to which
         determination or any revision, modification, or amendment thereof as to which the time to appeal
         or seek review or rehearing has expired and no appeal or petition for review or rehearing was filed
         or, if filed, remains pending) shall be deemed an Allowed Claim in such liquidated amount and
         satisfied in accordance with the Plan. Nothing contained in Section 6.1 of the Plan shall constitute
         or be deemed a waiver of any claim, right, or Cause of Action that the Debtors or the Post-Effective
         Date Debtors may have against any Entity in connection with or arising out of any Claim, including
         any rights under Section 157(b) of title 28 of the United States Code.

                2.      Claims Administration Responsibility

                 Notwithstanding anything to the contrary herein, after the Effective Date: (a) the Plan
         Administrator shall have responsibility for administering, disputing, objecting to, compromising,
         or otherwise resolving all Claims, except for General Unsecured Claims and Prepetition Lender
         Claims; (b) the Litigation Trustee shall have responsibility for administering, disputing, objecting
         to, compromising, or otherwise resolving General Unsecured Claims; and (c) the Administrative
         Agent shall have responsibility for administering, disputing, objecting to, compromising, or
         otherwise resolving all Prepetition Lender Claims. Nothing herein is intended to limit the right of
         any party in interest from objecting to any Claims, except to the extent such Claims, including the
         Prepetition Lender Claims, have already been Allowed, and, subject, however, to any limitation in
         any prior order of the Bankruptcy Court, including the Cash Collateral Order.



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                3.      Objections to Claims

                  Unless otherwise extended by the Bankruptcy Court, any objections to Claims (other than
         Administrative Claims) shall be served and filed on or before the Claims Objection Deadline (or
         such later date as may be established by the Bankruptcy Court upon request of the Litigation
         Trustee without further notice to parties-in-interest). Notwithstanding any authority to the contrary,
         an objection to a Claim shall be deemed properly served on the Holder of the Claim if the Debtors
         or the Litigation Trustee effect service in any of the following manners: (a) in accordance with
         Federal Rule of Civil Procedure 4, as modified and made applicable by Bankruptcy Rule 7004;
         (b) to the extent counsel for a Holder of a Claim or Interest is unknown, by first class mail, postage
         prepaid, on the signatory on the proof of Claim or other representative identified on the proof of
         Claim or any attachment thereto (or at the last known addresses of such Holder if no proof of
         Claim is filed or if the Debtors have been notified in writing of a change of address); or (c) by first
         class mail, postage prepaid, on any counsel that has appeared on behalf of the Holder of the Claim
         in the Chapter 11 Cases and has not withdrawn such appearance.

                4.      Disallowance of Claims

                  Except as otherwise agreed, any and all Proofs of Claim filed after the applicable deadline
         for filing such Proofs of Claim shall be deemed Disallowed and expunged as of the Effective Date
         without any further notice to, or action, order, or approval of the Bankruptcy Court, and Holders
         of such Claims shall not receive any distributions on account of such Claims, unless any such late
         proof of Claim is deemed timely filed by a Final Order of the Bankruptcy Court. Nothing herein
         shall in any way alter, impair, or abridge the rights of the Debtors, the Litigation Trustee, or other
         parties-in-interest to object to Claims on the grounds that they are time-barred or otherwise subject
         to disallowance or modification. Except as set forth in section 6.7, nothing in the Plan shall
         preclude amendments to timely filed Proofs of Claim to the extent permitted by applicable law.
         All Claims of any Person or Entity from which property is sought by the Debtors under Section
         542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Litigation Trustee allege
         is a transferee of a transfer that is avoidable under Section 522(f), 522(h), 544, 545, 547, 548, 549,
         or 724(a) of the Bankruptcy Code shall be Disallowed if (a) the Person or Entity, on the one hand,
         and the Debtors or the Litigation Trustee, on the other hand, agree or the Bankruptcy Court has
         determined by Final Order that such Entity or transferee is liable to turn over any property or
         monies under any of the aforementioned Sections of the Bankruptcy Code and (b) such Person or
         Entity or transferee has failed to turn over such property by the date set forth in such agreement or
         Final Order.

                5.      Estimation of Claims

                 Before the Effective Date, the Debtors, and after the Effective Date, the Litigation Trustee
         (on behalf of the Post-Effective Date Debtors), may (but are not required to) at any time request
         that the Bankruptcy Court estimate a Disputed Claim pursuant to Section 502(c) of the Bankruptcy
         Code for any reason, regardless of whether any party previously has objected to such Claim or
         whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
         retain jurisdiction to estimate any such Disputed Claim, including during the litigation of any
         objection to any Disputed Claim or during the pendency of any appeal relating to such objection.
         In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim, that


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         estimated amount shall constitute a maximum limitation on such Claim for all purposes under the
         Plan, without prejudice to the Holder of such Claim’s right to request that estimation should be for
         the purpose of determining the Allowed amount of such Claim, and the Plan Administrator or
         Litigation Trustee, as the case may be, may elect to pursue any supplemental proceedings to object
         to any ultimate distribution on such Claim. All of the objection, estimation, settlement, and
         resolution procedures set forth in the Plan are cumulative and not necessarily exclusive of one
         another. All estimation procedures set forth in the Plan shall be applied in accordance with Section
         502(c) of the Bankruptcy Code. Disputed Claims may be estimated and subsequently
         compromised, settled, withdrawn, or resolved by any mechanism approved by the Plan or the
         Bankruptcy Court.

                6.      No Interest on Claims

                 Unless otherwise specifically provided for in the Plan or as otherwise required by Section
         506(b) of the Bankruptcy Code, postpetition interest shall not accrue or be paid on Claims or
         Interests, and no Holder of a Claim or Interest shall be entitled to interest accruing on or after the
         Petition Date on any Claim or Interest. Additionally, and without limiting the foregoing, unless
         otherwise specifically provided for in the Plan or as otherwise required by Section 506(b) of the
         Bankruptcy Code, interest shall not accrue or be paid on any Disputed Claim in respect of the
         period from the Effective Date to the date a final distribution is made, when and if such Disputed
         Claim becomes an Allowed Claim.

                7.      Amendments to Claims

                 On or after the Effective Date, except as otherwise provided herein, a Claim may not be
         filed or amended without the authorization of the Bankruptcy Court or the Post-Effective Date
         Debtors, and, to the extent such authorization is not received, any such new or amended Claim
         filed shall be deemed Disallowed in full and expunged without any further notice to or action,
         order, or approval of the Bankruptcy Court.

         H.     Provisions Governing Distributions (Article VII)

                1.      Distributions Allowed as of the Effective Date

                 Except as otherwise provided in the Plan or a Final Order, or as agreed to by the relevant
         parties, distributions under the Plan on account of Claims Allowed on or before the Effective Date
         shall be made on the Distribution Date; provided that (a) Allowed Administrative Claims with
         respect to liabilities incurred by the Debtors in the ordinary course of business during the Chapter
         11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or performed in the
         ordinary course of business in accordance with the terms and conditions of any controlling
         agreements, course of dealing, course of business, or industry practice and (b) in accordance with
         Article II of the Plan, Allowed Priority Tax Claims, unless otherwise agreed, shall be treated in
         accordance with the terms set forth in Section 1129(a)(9)(C) of the Bankruptcy Code. To the
         extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim
         shall be paid in accordance with the terms of any agreement between the Debtors and the Holder
         of such Claim, or as may be due and payable under applicable non-bankruptcy law, or in the
         ordinary course of business.


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                2.      Distribution on Account of Claims Allowed After the Effective Date

                                (i)     No Distributions Pending Allowance

                No payments or distributions shall be made with respect to all or any portion of a Disputed
         Claim unless and until all objections to such Disputed Claim have been settled or withdrawn or
         have been determined by a Final Order of the Bankruptcy Court, and the Disputed Claim has
         become an Allowed Claim.

                                (ii)    Payments and Distributions on Disputed Claims

                  Except as otherwise provided in the Plan, a Final Order, or as agreed to by the relevant
         parties, distributions under the Plan on account of Disputed Claims that become Allowed after the
         Effective Date shall be made on the first day that is thirty (30) Business Days after the Disputed
         Claims become Allowed Claims; provided that (i) Disputed Administrative Claims with respect to
         liabilities incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases
         or assumed by the Debtors on or before the Effective Date that become Allowed after the Effective
         Date shall be paid or performed in the ordinary course of business in accordance with the terms
         and conditions of any controlling agreements, course of dealing, course of business, or industry
         practice and (ii) Disputed Priority Tax Claims that become Allowed Priority Tax Claims after the
         Effective Date shall be treated as Allowed Priority Tax Claims in accordance with the Plan and
         paid.

                                (iii)   Special Rules for Distributions to Holders of Disputed Claims

                  Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by
         the relevant parties, no payments or distributions shall be made with respect to a Disputed Claim
         until all such disputes in connection with such Disputed Claim have been resolved by settlement
         or agreement among the relevant parties, or by Final Order.

                3.      Timing and Calculation of Amounts to Be Distributed

                 Except as otherwise provided herein, on the Distribution Date, each Holder of an Allowed
         Claim shall receive the full amount of the distributions that the Plan provides for Allowed Claims
         in the applicable Class. Except as otherwise provided in the Plan, or any order of the Bankruptcy
         Court, Holders of Claims shall not be entitled to interest, dividends, or accruals on the distributions
         provided for in the Plan, regardless of whether such distributions are delivered on or at any time
         after the Effective Date.

                4.      Delivery of Distributions

                                (i)     Record Date for Distributions

                 On the Distribution Record Date, any party responsible for making distributions shall be
         authorized and entitled to recognize only those Holders of Claims listed on the register for Claims
         as of the close of business on the Distribution Record Date. Notwithstanding the foregoing, if a
         Claim is transferred twenty (20) or fewer days before the Distribution Date, the Distribution Agent
         shall make distributions to the transferee only to the extent practical and, in any event, only if the

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         relevant transfer form contains an unconditional and explicit certification and waiver of any
         objection to the transfer by the transferor. The Administrative Agent shall have no obligation to
         recognize any transfer of any applicable Claims occurring after the close of business on the
         Distribution Record Date and shall instead be entitled to recognize and deal for all purposes under
         the Plan with only those Holders of record on their respective lender registers as of the close of
         business on the Distribution Record Date.

                                (ii)    Cash Distributions

                 Distributions of Cash may be made either by check drawn on a domestic bank or wire
         transfer from a domestic bank, at the option of the Post-Effective Date Debtors, except that Cash
         payments made to foreign creditors may be made in such funds and by such means as are necessary
         or customary in a particular foreign jurisdiction.

                                (iii)   Delivery of Distributions in General

                 Except as otherwise provided in the Plan, the Distribution Agent shall make distributions
         to Holders of Allowed Claims at the address for each such Holder as indicated in the Debtors’
         records as of the date of any such distribution, including the address set forth in any Proof of Claim
         filed by that Holder; provided that the manner of such distributions shall be determined at the
         discretion of the Post-Effective Date Debtors. The Distribution Agent shall not incur any liability
         whatsoever on account of any distributions under the Plan.

                                (iv)    Delivery of Distributions on Account of Prepetition Lender Claims

                 In the case of Holders of Prepetition Lender Claims, the Administrative Agent shall be
         deemed to be the Holder of such Claims for purposes of distributions to be made hereunder. The
         Distribution Agent shall make all distributions on account of such Claims to the Administrative
         Agent or as directed by the Administrative Agent, in the Administrative Agent’ sole discretion.
         The Administrative Agent shall, at its option, hold or direct such distributions for the beneficial
         Holders of such Allowed Claims, as applicable; provided, however, that the Administrative Agent
         shall retain all rights under its respective agreement in connection with delivery of distributions to
         the beneficial Holders of such Allowed Claims, including rights on account of its charging lien;
         provided, further, however, that the Debtors’ obligations to make distributions pursuant to the Plan
         shall be deemed satisfied upon delivery of distributions to the Administrative Agent or the Entity
         or Entities designated by the Administrative Agent. The Administrative Agent shall not be
         required to give any bond, surety, or other security for the performance of their duties with respect
         to such distributions.

                5.      Currency

                 Except as otherwise provided in the Plan or Bankruptcy Court order, as of the Effective
         Date, any Claim asserted in currency other than U.S. dollars shall be automatically deemed
         converted to the equivalent U.S. dollar value using the exchange rate as of the Effective Date at
         4:00 p.m. (prevailing Eastern Time), mid-range spot rate of exchange for the applicable currency
         as published in the next The Wall Street Journal following the Effective Date.



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                6.      Distribution Agent (if any)

                 The Distribution Agent shall make all distributions required under the Plan, subject to the
         terms and provisions of the Plan. If the Distribution Agent is an independent third party designated
         to serve in such capacity, such Distribution Agent shall receive, without further Court approval,
         reasonable compensation from the Plan Administration Reserve for distribution services rendered
         pursuant to the Plan and reimbursement of reasonable out-of-pocket expenses. No Distribution
         Agent shall be required to give any bond or surety or other security for the performance of its
         duties. The Distribution Agent shall be authorized and directed to rely upon the Debtors’ books
         and records and, as applicable, the Plan Administrator’s representatives and professionals in
         determining Allowed Claims not entitled to distributions under the Plan in accordance with the
         terms and conditions of the Plan. The Distribution Agent shall be empowered to (a) effect all
         actions and execute all agreements, instruments, and other documents necessary to perform its
         duties under the Plan; (b) make all distributions contemplated hereby; (c) employ professionals to
         represent it with respect to its responsibilities; and (d) exercise such other powers as may be vested
         in the Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by
         the Distribution Agent to be necessary and proper to implement the provisions hereof.

                7.      Undeliverable Distributions

                                (i)     Holders of Undeliverable Distributions

                 If any distribution to a Holder of a Claim is returned as undeliverable, no further
         distributions to such Holder of such Claim shall be made unless and until the Distribution Agent
         or Administrative Agent is notified of then-current address of such Holder of the Claim, at which
         time all missed distributions shall be made to such Holder of the Claim without interest on the next
         Periodic Distribution Date. Amounts in respect of undeliverable distributions shall be returned
         (1) if prior to the Dissolution Date, to the Debtors, and (2) if after the Dissolution Date, to the
         Administrative Agent to be redistributed, in each case, until such distributions are claimed.

                                (ii)    Reversion

                 Any distribution under the Plan that is an Unclaimed Distribution for a period of six months
         after such distribution shall be deemed unclaimed property under Section 347(b) of the Bankruptcy
         Code and such Unclaimed Distribution shall revert to and vest in the Post-Effective Date Debtors.
         Upon vesting, the Claim of any Holder or successor to such Holder with respect to such property
         shall be canceled and forever barred, notwithstanding federal or state escheat, abandoned, or
         unclaimed property laws to the contrary. The provisions of the Plan regarding undeliverable
         distributions and Unclaimed Distributions shall apply with equal force to distributions that are
         issued by the Distribution Agent made pursuant to any indenture or Certificate (but only with
         respect to the initial distribution by the applicable trustee, agent, servicer, or other authorized
         representative to Holders that are entitled to be recognized under the relevant indenture or
         Certificate and not with respect to Entities to whom those recognized Holders distribute),
         notwithstanding any provision in such indenture or Certificate to the contrary and notwithstanding
         any otherwise applicable federal or state escheat, abandoned, or unclaimed property law.

                8.      De Minimis Distributions


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                 Notwithstanding any other provision of the Plan to the contrary, the Distribution Agent and
         Administrative Agent shall not be required to make a distribution on account of an Allowed Claim
         or Interest if the aggregate amount of distributions to be made is less than $50 (whether Cash or
         otherwise) and shall not be required to make partial distributions or payments of fractions of dollars.
         Whenever any payment or distribution of a fraction of a dollar under the Plan would otherwise be
         called for, the actual payment or distribution shall reflect a rounding of such fraction to the nearest
         whole dollar (up or down), with half dollars or less being rounded down.

                9.      Surrender of Securities or Instruments

                 As a condition precedent to receiving any distribution on account of its Allowed Claim,
         each Holder of a Claim or Interest shall be deemed to have surrendered the certificates or other
         documentation underlying each such Claim, and all such surrendered certificates and other
         documentation shall be deemed to be canceled pursuant to Article IV of the Plan, except to the
         extent otherwise provided in the Plan.

                10.     Compliance Matters

                 In connection with the Plan, to the extent applicable, the Distribution Agent shall comply
         with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
         and all distributions pursuant to the Plan shall be subject to such withholding and reporting
         requirements. Notwithstanding any provision in the Plan to the contrary, the Distribution Agent
         shall be authorized to take all actions necessary or appropriate to comply with such withholding
         and reporting requirements, including liquidating a portion of the distribution to be made under
         the Plan to generate sufficient funds to pay applicable withholding taxes, withholding distributions
         pending receipt of information necessary to facilitate such distributions, or establishing any other
         mechanisms it believes are reasonable and appropriate. The Debtors and Plan Administrator
         reserve the right to allocate all distributions made under the Plan in compliance with all applicable
         wage garnishments, alimony, child support, and other spousal awards, Liens, and encumbrances.

                11.     Claims Paid or Payable by Third Parties

                 The Claims and Solicitation Agent shall reduce in full a Claim to the extent that the Holder
         of such Claim receives payment in full on account of such Claim from a party that is not the
         Distribution Agent without any further notice to or action, order, or approval of the Bankruptcy
         Court. To the extent a Holder of a Claim receives a distribution on account of such Claim and
         receives payment from a party that is not the Distribution Agent on account of such Claim, such
         Holder shall, within two weeks of receipt thereof, repay or return the distribution under the Plan
         to the Distribution Agent, to the extent the Holder’s total recovery on account of such Claim from
         the third party and under the Plan exceeds the amount of such Claim as of the date of any such
         distribution under the Plan.

                12.     Setoffs

                 Except as otherwise expressly provided for in the Plan, the Debtors, pursuant to the
         Bankruptcy Code (including Section 553 of the Bankruptcy Code), applicable non-bankruptcy law,
         or as may be agreed to by the Holder of a Claim, may set off against any Allowed Claim and the
         distributions to be made pursuant to the Plan on account of such Allowed Claim, any Claims, rights,

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         and Causes of Action of any nature that the Debtors or the Post-Effective Date Debtors, as
         applicable, may hold against the Holder of such Allowed Claim, to the extent such Claims, rights,
         or Causes of Action against such Holder have not been otherwise compromised or settled on or
         prior to the Effective Date (whether pursuant to the Plan or otherwise); provided, however, that
         neither the failure to effect such a setoff nor the allowance of any Claim pursuant to the Plan shall
         constitute a waiver or release by the Debtors of any such Claims, rights, and Causes of Action that
         the Debtors may possess against such Holder. In no event shall any Holder of Claims be entitled
         to set off any Claim against any Claim, right, or Cause of Action of the Debtors, unless such Holder
         has filed a motion with the Bankruptcy Court requesting the authority to perform such setoff on or
         before the Confirmation Date or has otherwise indicated in a timely filed proof of Claim or
         otherwise that such Holder asserts, has, or intends to preserve any right of setoff pursuant to
         Section 553 of the Bankruptcy Code or otherwise.

                13.     Allocation of Plan Distributions Between Principal and Interest

                To the extent that any Allowed Claim entitled to a distribution under the Plan is composed
         of indebtedness and accrued but unpaid interest thereon, such distribution shall, to the extent
         permitted by applicable law, be allocated for federal income tax purposes to the principal amount
         of the Claim first and then, to the extent the consideration exceeds the principal amount of the
         Claim, to the portion of such Claim representing accrued but unpaid interest.

         I.     Effect of Plan on Claims and Interests (Article VIII)

                1.      Compromise and Settlement

                 Pursuant to Bankruptcy Rule 9019(a), the Debtors may compromise and settle various
         (a) Claims or Interests and (b) Causes of Action that the Debtors have against other Persons or
         Entities up to the Effective Date. After the Effective Date, any such right shall pass to the
         Litigation Trustee to the extent provided in the Plan without the need for further approval of the
         Bankruptcy Court; provided, however, the Litigation Trustee may settle derivative claims/causes
         of action as such term is used in Bankruptcy Rule 7023.1(c), if any, only with court approval, to
         the extent that such court approval is required by Bankruptcy Rule 7023.1(c).

                2.      Releases by the Debtors

                 Pursuant to Section 1123(b) of the Bankruptcy Code, as of the Effective Date, for good
         and valuable consideration, the adequacy of which is hereby confirmed, the Debtors and
         their Estates, as applicable, in each case on behalf of themselves and their respective
         successors, assigns, and representatives, and any and all other Entities who may purport to
         assert any Claim or Cause of Action, directly or derivatively, by, through, for, or because of
         any of the foregoing Entities, shall be deemed to have conclusively, absolutely,
         unconditionally, irrevocably, and forever released, waived, and discharged the Released
         Parties from any and all Claims, obligations, rights, suits, damages, Causes of Action,
         remedies, and liabilities whatsoever, including any derivative Claims, asserted or assertable
         on behalf of the Debtors or their Estates, whether known or unknown, foreseen or unforeseen,
         existing or hereinafter arising, in law, equity, or otherwise, that the Debtors, or the Estates
         would have been legally entitled to assert in their own right (whether individually or


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         collectively) or on behalf of the Holder of any Claim or Interest or any other Entity, based
         on or in any way relating to, or in any manner arising from, in whole or in part, the Debtors,
         the Debtors’ prepetition and postpetition, in- or out-of-court restructuring and sale efforts,
         the Chapter 11 Cases, the Sale, the purchase, sale, or rescission of the purchase or sale of any
         security of the Debtors, the subject matter of, or the transactions or events giving rise to, any
         Claim or Interest that is treated in the Plan, the business or contractual arrangements
         between any Debtor and any Released Party, the restructuring of Claims and Interests prior
         to or in the Chapter 11 Cases, the negotiation, preparation, entry, and execution of the Cash
         Collateral Order, the negotiation, formulation, preparation, dissemination and filing of the
         Plan (including, for the avoidance of doubt, the Plan Supplement), the Disclosure Statement,
         the Asset Purchase Agreement, the Sale Order or related agreements, instruments, or other
         documents, the pursuit of the Sale, the pursuit of consummation of the Sale, the pursuit of
         Confirmation of the Plan, the pursuit of consummation of the Plan, the administration and
         implementation of the Plan, or upon any other act or omission, transaction, agreement, event,
         or other occurrence taking place on or before the Effective Date of the Plan; provided that,
         nothing in this Section 8.2 shall be construed to release the Released Parties from their gross
         negligence, willful misconduct, or fraud as determined by a Final Order. Notwithstanding
         anything to the contrary in the foregoing, the releases set forth above do not release any post-
         Effective Date obligation or liability of any Person or Entity under the Plan, the Asset
         Purchase Agreement, the Sale Order, the Cash Collateral Order, or any document,
         instrument, or agreement (including those set forth in the Plan Supplement) executed to
         implement the Plan.

                 Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
         of the Debtor Release, which includes by reference each of the related provisions and
         definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s
         finding that the Debtor Release is: (a) in exchange for the good and valuable consideration
         provided by the Released Parties, (b) a good-faith settlement and compromise of the claims
         released by the Debtor Release; (c) given and made after due notice and opportunity for
         hearing; and (d) a bar to any of the Debtors or the Estates or any other Entities from
         asserting any claim, Cause of Action, or liability related thereto, of any kind whatsoever,
         against any of the Released Parties or their property, released pursuant to the Debtor Release.

                3.     Releases by Releasing Parties

                As of the Effective Date, for good and valuable consideration, the adequacy of which
         is hereby confirmed, including the obligations of the Debtors under the Plan and the
         contributions of the Released Parties to facilitate and implement the Plan, to the fullest extent
         permissible under applicable law, as such law may be extended after the Effective Date, each
         of the Releasing Parties shall be deemed to have conclusively, absolutely, unconditionally,
         irrevocably, and forever released, waived, and discharged each Released Party and each
         other Releasing Party from any and all Claims, Interests, obligations, rights, suits, damages,
         Causes of Action, remedies, and liabilities whatsoever, whether known or unknown, foreseen
         or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, including any
         derivative claims, asserted or assertable on behalf of any of the Debtors or the Estates, that
         such Entity would have been legally entitled to assert (whether individually or collectively),
         based on or in any way relating to, or in any manner arising from, in whole or in part, the

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         Debtors, the Debtors’ prepetition and postpetition, in- or out-of-court restructuring and sale
         efforts, the Chapter 11 Cases, the Sale, the purchase, sale, or rescission of the purchase or
         sale of any security of the Debtors, the subject matter of, or the transactions or events giving
         rise to, any Claim or Interest that is treated in the Plan, the business or contractual
         arrangements between any Debtor and any Released Party, the restructuring of Claims and
         Interests prior to or in the Chapter 11 Cases, the negotiation, preparation, entry, and
         execution of the Cash Collateral Order, the negotiation, formulation, preparation,
         dissemination and filing of the Plan (including, for the avoidance of doubt, the Plan
         Supplement), the Disclosure Statement, the Asset Purchase Agreement, the Sale Order, or
         related agreements, instruments, or other documents, the pursuit of the Sale, the pursuit of
         consummation of the Sale, the pursuit of Confirmation of the Plan, the pursuit of
         consummation of the Plan, the administration and implementation of the Plan, or upon any
         other act or omission, transaction, agreement, event, or other occurrence taking place on or
         before the Effective Date of the Plan related to the Debtors and the Chapter 11 Cases;
         provided that, nothing in this Section 8.3 shall be construed to release the Released Parties
         or Releasing Parties from their gross negligence, willful misconduct, or fraud as determined
         by a Final Order. Notwithstanding anything to the contrary in the foregoing, the releases
         set forth above do not release (a) any post-Effective Date obligation or liability of any Entity
         under the Plan, the Asset Purchase Agreement, the Sale Order, the Cash Collateral Order,
         or any document, instrument, or agreement (including those set forth in the Plan Supplement)
         executed to implement the Plan; or (b) any asbestos claims or any personal injury claims, in
         each case that have been or may be asserted against insurance or non-debtor third parties,
         unless such non-debtor third parties are Released Parties.

                Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
         of the Releasing Party Release, which includes by reference each of the related provisions
         and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s
         finding that the Releasing Party Release is: (a) consensual, (b) in exchange for the good and
         valuable consideration provided by the Released Parties, (c) a good-faith settlement and
         compromise of claims released by the Releasing Party Release; (d) given and made after due
         notice and opportunity for hearing; and (e) a bar to any of the Releasing Parties asserting
         any claim, Cause of Action, or liability related thereto, of any kind whatsoever, against any
         of the Released Parties or Releasing Parties or their property, released pursuant to the
         Releasing Party Release.

                4.     Exculpation and Limitation of Liability

                Effective as of the Effective Date, to the fullest extent permissible under applicable
         law and without affecting or limiting either the Debtor Release or the Releasing Party
         Release, and notwithstanding anything herein to the contrary, each Exculpated Party is
         hereby released and exculpated from any claim, obligation, Cause of Action, or liability for
         any action taken or omitted to be taken during the period commencing on the Petition Date
         through and including the Effective Date in connection with, or related to formulating,
         negotiating, soliciting, preparing, disseminating, confirming, administering, or
         implementing the Plan, or consummating the Plan, the Disclosure Statement, the Cash
         Collateral Order, the Asset Purchase Agreement, the Chapter 11 Cases, or any contract,
         instrument, release, or other agreement or document created or entered into in connection

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         with the Plan or any other postpetition act taken or omitted to be taken in connection with
         or in contemplation of the restructuring of the Debtors; provided that, nothing in Section 8.4
         of the Plan shall be construed to release the Exculpated Parties from their gross negligence,
         willful misconduct, or fraud as determined by a Final Order. Each Exculpated Party has,
         and upon completion of the Plan shall be deemed to have, participated in good faith and in
         compliance with the applicable laws with regard to the restructuring of Claims and Interests
         in the Chapter 11 Cases, the negotiation, formulation, or preparation of the agreements,
         instruments, or other documents pursuant to the Plan, and the solicitation and distribution
         of the Plan and, therefore, is not, and on account of such distributions shall not be, liable at
         any time for the violation of any applicable law, rule, or regulation governing the solicitation
         of acceptances or rejections of the Plan or such distributions made pursuant to the Plan.
         Notwithstanding anything to the contrary in the foregoing, the exculpation set forth above
         does not release any post-Effective Date obligation or liability of any Entity under the Plan,
         Asset Purchase Agreement, or any document, instrument, or agreement (including those set
         forth in the Plan Supplement) executed to implement the Plan.

                5.      Injunction

                 In accordance with Bankruptcy Code Section 1141(d)(3), the Plan does not discharge the
         Debtors. Bankruptcy Code Section 1141(c) nevertheless provides, among other things, that the
         property dealt with by the Plan is free and clear of all Claims and interests against the Debtors,
         and Bankruptcy Code Section 1141(a) provides that the Plan, as confirmed, will be binding to
         the extent provided therein. As such, no Entity holding a Claim against the Debtors may receive
         any payment from, or seek recourse against, any assets that are to be distributed under the Plan
         other than assets required to be distributed to that Entity under the Plan. All parties are precluded
         from asserting against any property to be distributed under the Plan any Claims, rights, Causes of
         Action, liabilities, or Interests based upon any act, omission, transaction, or other activity that
         occurred before the Effective Date except as expressly provided in the Plan or the Confirmation
         Order.

                 Except as otherwise provided in the Plan or the Confirmation Order, all Entities who have
         held, hold, or may hold claims, Interests, Causes of Action, or liabilities that: (1) are subject to
         compromise and settlement pursuant to the terms of the Plan; (2) have been released pursuant to
         the Plan; (3) were purchased and released by the Purchaser in connection with the Sale; (4) are
         subject to exculpation pursuant to the Plan; or (5) are otherwise satisfied, stayed, released, or
         terminated pursuant to the terms of the Plan, are permanently enjoined and precluded, from and
         after the Effective Date, from commencing or continuing in any manner, any action or other
         proceeding, including on account of any claims, interests, Causes of Action, or liabilities that have
         been compromised or settled against the Debtors or any Entity so released or exculpated (or the
         property or estate of any Entity, directly or indirectly, so released or exculpated) on account of, or
         in connection with or with respect to, any discharged, released, settled, compromised, or
         exculpated claims, interests, Causes of Action, or liabilities, including being permanently enjoined
         and precluded, from and after the Effective Date, from taking any of the following actions against,
         as applicable, the Debtors, the Post-Effective Date Debtors, the Litigation Trust, the Released
         Parties, or Exculpated Parties (as applicable): (a) commencing or continuing in any manner any
         action or other proceeding of any kind on account of or in connection with or with respect to any
         such claims or interests; (b) enforcing, attaching, collecting, or recovering by any manner or means

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         any judgment, award, decree, or order against such Entities on account of or in connection with or
         with respect to any such claims or interests; (c) creating, perfecting, or enforcing any Lien or
         encumbrance of any kind against such Entities or the property or the estate of such Entities on
         account of or in connection with or with respect to any such claims or interests; (d) asserting any
         right of setoff or subrogation of any kind against any obligation due from such Entities or against
         the property of such Entities on account of or in connection with or with respect to any such claims
         or interests unless such Entity has timely asserted such setoff right in a document filed with the
         Bankruptcy Court explicitly preserving such setoff (i.e., a Proof of Claim or motion asserting such
         rights), and notwithstanding an indication of a Claim or Interest or otherwise that such Entity
         asserts, has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and
         (e) commencing or continuing in any manner any action or other proceeding of any kind on account
         of or in connection with or with respect to any such claims or interests released, exculpated, or
         settled pursuant to the Plan.

                 Upon the Bankruptcy Court’s entry of the Confirmation Order, all Holders of Claims and
         Interests and other parties in interest, along with their respective present or former employees,
         agents, officers, directors, or principals, shall be enjoined from taking any actions to interfere with
         the implementation or consummation of this Plan by the Debtors, the Post-Effective Date Debtors,
         the Litigation Trust, and their respective affiliates, employees, advisors, officers and directors, or
         agents.

                6.      Subordinated Claims

                 Except as otherwise provided in the Plan, the allowance, classification, and treatment of all
         Allowed Claims and the respective distributions and treatments under the Plan take into account
         and conform to the relative priority and rights of the Claims in each Class in connection with any
         contractual, legal, and equitable subordination rights relating thereto, whether arising under
         general principles of equitable subordination, Section 510(b) of the Bankruptcy Code, or otherwise.
         All Claims and all rights and claims between or among Holders of Claims relating in any manner
         whatsoever to distributions on account of Claims or Interests, based upon any claimed
         subordination rights, whether asserted or unasserted, legal or equitable, shall be deemed satisfied
         by the distributions under the Plan to Holders of Claims having such subordination rights, and such
         subordination rights shall be deemed waived, released and terminated as of the Effective Date.
         Except as otherwise specifically provided for in the Plan, distributions to the various Classes of
         Claims hereunder shall not be subject to levy, garnishment, attachment, or like legal process by
         any Holder of a Claim by reason of any subordination rights or otherwise, so that each Holder of
         a Claim shall have and receive the benefit of the distributions in the manner set forth in the Plan

                Except as otherwise provided in the Plan, the right of the Debtors or the Litigation Trustee
         on behalf of the Post-Effective Date Debtors to seek subordination of any Claim or Interest
         pursuant to Section 510 of the Bankruptcy Code is fully reserved, and the treatment afforded any
         Claim or Interest that becomes a Subordinated Claim at any time shall be modified to reflect such
         subordination. Unless the Plan or the Confirmation Order otherwise provide, no distributions shall
         be made on account of a Claim subordinated pursuant to Section 8.6 of the Plan unless ordered by
         the Bankruptcy Court.



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                 7.      Protection Against Discriminatory Treatment

                 Consistent with Section 525 of the Bankruptcy Code, no Governmental Unit shall
         discriminate against the Debtors or deny, revoke, suspend, or refuse to renew a license, permit,
         charter, franchise, or other similar grant to, condition such a grant to, discriminate with respect to
         such a grant against, the Post-Effective Date Debtors, or another Entity with whom the Post-
         Effective Date Debtors have been associated, solely because the Post-Effective Date Debtors have
         been debtors under chapter 11, have been insolvent before the commencement of the Chapter 11
         Cases, or have not paid a debt that is settled and released in the Chapter 11 Cases.

                 8.      Release of Liens

                  Except as otherwise provided in the Plan, or in any contract, instrument, release, or other
         agreement or document created pursuant to the Plan, on the Effective Date, all mortgages, deeds
         of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
         released, and all of the right, title, and interest of any Holder of such mortgages, deeds of trust,
         Liens, pledges, or other security interests shall revert to the Post-Effective Date Debtors and their
         successors and assigns.

                 9.      Reimbursement or Contribution

                If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
         pursuant to Section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
         contingent as of the Effective Date, such Claim shall be forever Disallowed notwithstanding
         Section 502(j) of the Bankruptcy Code, unless prior to the Effective Date (a) such Claim has been
         adjudicated as non-contingent or (b) the relevant Holder of a Claim has filed a contingent proof of
         Claim on account of such Claim and a Final Order has been entered determining such Claim as no
         longer contingent.

         J.      Conditions Precedent to the Effective Date (Article IX)

                 1.      Conditions Precedent to the Effective Date of the Plan

               The following are conditions precedent to the occurrence of the Effective Date, each of
         which may be satisfied or waived in accordance with Section 9.2 of the Plan:

                (a)     the Plan and Confirmation Order shall be in form reasonably acceptable to the
         Debtors and, solely with respect to any provision that may adversely affect the Purchaser, as
         applicable, which consent or waiver shall not be unreasonably withheld, conditioned, or delayed;

                (b)   the Bankruptcy Court shall have entered the Disclosure Statement Order and the
         Confirmation Order and, each shall be a Final Order;

               (c)     the Professional Claims Reserve shall have been funded in Cash in full and the Plan
         Administration Reserve shall have been funded with the amount provided in the Plan
         Administration Budget;




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                (d)     All Restructuring Expenses incurred or estimated to be incurred as of the Effective
         Date shall have been paid in full;

                 (e)     all authorizations, consents, certifications, approvals, rulings, no action letters,
         opinions or other documents, or actions necessary to implement the Plan shall have been executed
         and tendered for delivery to the required parties and, to the extent required, filed with the applicable
         Governmental Units in accordance with applicable laws, and all conditions precedent to the
         effectiveness of such documents and agreements shall have been satisfied or waived pursuant to
         the terms thereof (or will be satisfied and waived substantially concurrently with the occurrence
         of the Effective Date);

                (f)     the Plan Administrator shall have been appointed and shall have assumed all rights
         and responsibilities under the Plan and the Plan Administrator Agreement;

                 (g)     the Litigation Trust Agreement shall have been executed, and the Litigation Trustee
         shall have been appointed and shall have assumed all rights and responsibilities under the Plan and
         the Litigation Trust Agreement; and

                 (h)      all Statutory Fees then due and payable to the U.S. Trustee shall have been paid and
         satisfied in full.

                2.      Waiver of Conditions Precedent

                The conditions set forth in Section 9.1 of the Plan may be waived, in whole or in part, the
         Debtors without notice, leave, or order of the Bankruptcy Court or any formal action other than
         proceeding to confirm or consummate the Plan; provided that, solely with respect to any condition
         that may adversely affect the Purchaser or the Prepetition Secured Parties, subject to such party’s
         consent (which in each instance shall not be unreasonably withheld).

                3.      Notice of Effective Date

                 The Plan Administrator shall file with the Bankruptcy Court a notice of the occurrence of
         the Effective Date within a reasonable period of time after the conditions in Section 9.1 of the Plan
         have been satisfied or waived pursuant to Section 9.2 of the Plan.

                4.      Effect of Non-Occurrence of Conditions to Consummation

                 If, prior to consummation of the Plan, the Confirmation Order is vacated pursuant to a Final
         Order, then. except as provided in any order of the Bankruptcy Court vacating the Confirmation
         Order, the Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure
         Statement shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action,
         (b) prejudice in any manner the rights of the Debtors or any other Entity, or (c) constitute an
         admission, acknowledgment, offer, or undertaking of any sort by the Debtors or any other Entity.




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         K.      Bankruptcy Court Jurisdiction (Article X)

                 1.      Retention of Jurisdiction

                 Pursuant to Sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy Court shall
         have jurisdiction of all matters arising out of, and related to, the Chapter 11 Cases and the Plan
         (without prejudice to the rights, if any, of any party in interest to seek to withdraw the bankruptcy
         reference pursuant to 28 U.S.C. § 157(d) and related law with respect to any issue or proceeding
         subject to mandatory or discretionary withdrawal), including jurisdiction to:

                 (a)     resolve any matters related to Executory Contracts, including: (i) the assumption,
         assumption and assignment, or rejection of any Executory Contract to which a Debtor is a party or
         with respect to which a Debtor may be liable, and to hear and determine, and, if necessary, liquidate
         any Claims arising therefrom including Cure Amount pursuant to Section 365 of the Bankruptcy
         Code; (ii) any potential contractual obligation under any Executory Contract that is assumed (or
         assumed and assigned); (iii) the Post-Effective Date Debtors’ amendment, modification, or
         supplement after the Effective Date, pursuant to Article V of the Plan, of the lists of Executory
         Contracts to be assumed (or assumed and assigned) or rejected or otherwise; and (iv) any dispute
         regarding whether a contract or lease is or was executory, expired or terminated;

                 (b)     adjudicate any and all adversary proceedings, applications, and contested matters
         that may be commenced or maintained pursuant to the Chapter 11 Cases, the Plan, or that were the
         subject of proceedings before the Bankruptcy Court, prior to the Effective Date, proceedings to
         adjudicate the allowance of Disputed Claims and Disputed Interests, and all controversies and
         issues arising from or relating to any of the foregoing;

                 (c)    ensure that distributions to Holders of Allowed Claims and Interests are
         accomplished as provided herein and adjudicate any and all disputes arising from or relating to
         distributions under the Plan;

                 (d)      allow in whole or in part, disallow in whole or in part, determine, liquidate, classify,
         estimate, or establish the priority, secured or unsecured status, or amount of any Claim or Interest,
         including hearing and determining any and all objections to the allowance or estimation of Claims
         or Interests filed, both before and after Confirmation of the Plan, including any objections to the
         classification of any Claim or Interest, and the resolution of request for payment of any
         Administrative Claim;

                (e)    issue injunctions, enter and implement other orders, or take such other actions as
         may be necessary or appropriate to restrain interference by any Entity with consummation or
         enforcement of the Plan;

                 (f)    determine any other matters that may arise in connection with or relate to the Plan,
         the Disclosure Statement, the Confirmation Order, or, subject to any applicable forum selection
         clause, any contract, instrument, release, or other document created in connection with the Plan or
         the Disclosure Statement;

                 (g)     enter and implement such orders as may be appropriate if the Confirmation Order
         is for any reason stayed, revoked, modified, and/or vacated;

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                 (h)     enter and implement such orders as may be necessary or appropriate to execute,
         implement or consummate the provisions of the Plan or the Asset Purchase Agreement and all
         contracts, instruments, releases, and other agreements and documents created in connection with
         the Plan, the Plan Supplement, and the Disclosure Statement;

                (i)     enter and enforce any order for the sale of property pursuant to Sections 363, 1123
         or 1146(a) of the Bankruptcy Code;

                (j)     consider any modifications of the Plan, to cure any defect or omission, or to
         reconcile any inconsistency in any order of the Bankruptcy Court, including the Confirmation
         Order;

                (k)   hear and determine all applications for allowance of compensation and
         reimbursement of expenses of Professionals authorized pursuant to the Bankruptcy Code or the
         Plan;

                (l)     determine requests for the payment of Claims entitled to priority under Section
         507(a)(1) of the Bankruptcy Code;

               (m)    adjudicate, decide, or resolve any and all matters related to Section 1141 of the
         Bankruptcy Code;

                 (n)     hear and determine all disputes involving the existence, nature, scope, or
         enforcement of the exculpations, injunctions and releases granted in connection with and under
         the Plan, including under Article VIII of the Plan;

                 (o)      enforce the injunction, release and exculpation provisions set forth in Article VIII
         of the Plan;

                 (p)    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
         in connection with consummation of the Plan, including the interpretation, implementation, or
         enforcement of the Plan and the Confirmation Order, as applicable, including disputes arising
         under agreements, documents, or instruments executed in connection with the Plan or any disputes
         arising in connection with any Entity’s obligations incurred in connection with the Plan;

                (q)    hear and determine all suits or adversary proceedings to recover assets of the
         Debtors and property of their Estates, wherever located;

                (r)     hear and determine matters concerning state, local, and federal taxes in accordance
         with Sections 346, 505, and 1146 of the Bankruptcy Code;

                (s)    grant any consensual request to extend the deadline for assuming or rejecting
         unexpired leases pursuant to Section 365(d)(4) of the Bankruptcy Code;

                (t)       enter a Final Decree closing the Chapter 11 Cases;

                (u)       hear any other matter not inconsistent with the Bankruptcy Code; and



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                (v)     enforce all orders previously entered by the Bankruptcy Court.

                  From the Confirmation Date through the Effective Date, the Bankruptcy Court shall retain
         jurisdiction with respect to each of the foregoing items and all other matters that were subject to
         its jurisdiction prior to the Confirmation Date. Nothing contained herein shall be construed to
         increase, decrease, or otherwise modify the independence, sovereignty, or jurisdiction of the
         Bankruptcy Court.

         L.     Miscellaneous Provisions (Article XI)

                1.      Binding Effect

                 Upon the Effective Date, the Plan shall be binding upon and inure to the benefit of the
         Debtors, all current and former Holders of Claims, all current and former Holders of Interests, and
         all other parties-in-interest and their respective heirs, successors, and assigns, and resolve any
         matters related to Executory Contracts, including: (i) the assumption, assumption and assignment,
         or rejection of any Executory Contract to which a Debtor is a party or with respect to which a
         Debtor may be liable, and to hear and determine, and, if necessary, liquidate any Claims arising
         therefrom, including Cure Amount, pursuant to Section 365 of the Bankruptcy Code; (ii) any
         potential contractual obligation under any Executory Contract that is assumed (or assumed and
         assigned); (iii) the Post-Effective Date Debtors’ amendment, modification, or supplement after the
         Effective Date.

                2.      Payment of Statutory Fees

                  All Statutory Fees payable on or before the Effective Date shall be paid by the Debtors in
         full in Cash on the Effective Date. On and after the Effective Date, the Post-Effective Date Debtors,
         the Plan Administrator, and the Litigation Trust shall be jointly and severally liable for paying any
         and all Statutory Fees in full in Cash when due in each Chapter 11 Case for each quarter (including
         any fraction thereof) until the earliest of such Chapter 11 Case being closed, dismissed or converted
         to a case under chapter 7 of the Bankruptcy Code. The Debtors shall file all monthly operating
         reports due before the Effective Date when they become due, using UST Form 11-MOR. After
         the Effective Date, the Post-Effective Date Debtors, the Plan Administrator, and the Litigation
         Trust shall file with the Bankruptcy Court a post-confirmation quarterly report for each Chapter
         11 Case for each quarter (including any fraction thereof) such case is pending, using UST Form
         11-PCR. Notwithstanding anything to the contrary in the Plan, (i) Statutory Fees are Allowed; (ii)
         the U.S. Trustee shall not be required to file any proof of claim or any other request(s) for payment
         with respect to Statutory Fees; and (iii) the U.S. Trustee shall not be treated as providing any
         release under the Plan.

                3.      Statutory Committee Dissolution

                 On the Effective Date, any statutory committee appointed in the Chapter 11 Cases,
         including the Committee, shall dissolve, and members thereof shall be released from all rights and
         duties from or related to the Chapter 11 Cases; provided, however, that the Committee will stay in
         existence solely for the limited purpose of filing and prosecuting final fee applications.



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                4.      Modification and Amendment

                 Except as otherwise specifically provided in the Plan, subject to certain restrictions and
         requirements set forth in Section 1127 of the Bankruptcy Code, the Debtors reserve the right to
         modify the Plan, subject to any applicable consent rights set forth herein, whether such
         modification is material or immaterial prior to Confirmation, and seek Confirmation consistent
         with the Bankruptcy Code and, as appropriate, not re-solicit votes on such modified Plan. Subject
         to certain restrictions and requirements set forth in Section 1127 of the Bankruptcy Code and
         Bankruptcy Rule 3019 (as well as those restrictions on modifications set forth in the Plan) and any
         consent rights as set forth herein, the Debtors expressly reserve their respective rights to revoke or
         withdraw, to alter, amend or modify the Plan with respect to each Debtor, one or more times,
         before or after Confirmation, and, to the extent necessary, may initiate proceedings in the
         Bankruptcy Court to so alter, amend or modify the Plan after Confirmation, or remedy any defect
         or omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the
         Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of
         the Plan; provided that any modifications or amendments, whether before or after Confirmation,
         that impact the treatment of the Prepetition Lender Claims shall require the consent of the
         Administrative Agent (whose consent may not be unreasonably withheld).

                5.      Confirmation of Plan

                The Debtors request Confirmation of the Plan under Section 1129(b) of the Bankruptcy
         Code with respect to any Impaired Class that does not accept the Plan pursuant to Section 1126 of
         the Bankruptcy Code. The Debtors reserve the right to amend the Plan to any extent, if any, that
         Confirmation pursuant to Section 1129(b) of the Bankruptcy Code requires modification.

                6.      Additional Document

                 On or before the Effective Date, the Debtors may file with the Bankruptcy Court such
         agreements or other documents as may be necessary or appropriate to effectuate and further
         evidence the terms and conditions of the Plan. The Debtors or the Plan Administrator, as
         applicable, and Holders of Claims receiving distributions pursuant to the Plan and all other parties
         in interest shall, from time to time, prepare, execute, and deliver any agreements or documents and
         take any other actions as may be necessary or advisable to effectuate the provision and intent of
         the Plan.

                7.      Revocation, Withdrawal, Non-Consummation

                 The Debtors reserve the right to revoke or withdraw the Plan at any time prior to the
         Effective Date and file subsequent chapter 11 plans. If the Debtors revoke or withdraw the Plan
         prior to the Effective Date, or if the Confirmation Date or the Effective Date does not occur, then
         the Plan, any settlement or compromise embodied in the Plan (including the fixing or limiting to
         an amount certain Claims or Class of Claims or the allocation of the distributions to be made
         hereunder), the assumption or rejection of Executory Contracts effected by the Plan, and any
         document or agreement executed pursuant to the Plan shall be null and void in all respects. In
         such event, nothing contained herein or in the Disclosure Statement, and no acts taken in
         preparation for consummation of the Plan, shall be deemed to constitute a waiver or release of any


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         Claims, Interests, or Causes of Action by or against the Debtors or any other Entity, to prejudice
         in any manner the rights and defenses of the Debtors, the Holder of a Claim or Interest, or any
         Entity in any further proceedings involving the Debtors, or to constitute an admission,
         acknowledgment, offer, or undertaking of any sort by the Debtors or any other Entity.

                8.      Notices

                After the Effective Date, any pleading, notice, or other document required by the Plan to
         be served on or delivered on the parties below shall be served as follows:

                If to the Debtors:

                        True Value Company, L.L.C.
                        8600 West Bryn Mawr Ave.
                        Chicago, IL, 60631

                With copies (which shall not constitute notice) to:

                        Skadden, Arps, Slate, Meagher & Flom LLP
                        320 S. Canal St.
                        Chicago, IL 60606
                        Attention: Ron E. Meisler (Ron.Meisler@skadden.com)
                                   Jennifer Madden (Jennifer.Madden@skadden.com)

                        One Manhattan West
                        395 9th Ave.
                        New York, NY 10001
                        Attention: Evan A. Hill (Evan.Hill@skadden.com)
                                   Moshe S. Jacob (Moshe.Jacob@skadden.com)

                        920 North King Street
                        Wilmington, Delaware 19801
                        Attention: Joseph O. Larkin (Joseph.Larkin@skadden.com)

                        - and -

                        Glenn Agre Bergman & Fuentes LLP
                        1185 Avenue of the Americas, 22nd Floor
                        New York, New York 10036
                        Attention: Andrew K. Glenn (aglenn@glennagre.com)
                                   Malak S. Doss (mdoss@glennagre.com)

                        - and -

                        Young Conaway Stargatt & Taylor, LLP
                        One Rodney Square
                        1000 North King Street


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                        Wilmington, Delaware 19801
                        Attention: Edmon L. Morton (emorton@ycst.com)
                                   Timothy R. Powell (tpowell@ycst.com)

                If to the Office of the United States Trustee:

                        Office of the United States Trustee
                        844 King Street, Suite 2207, Lockbox 35
                        Wilmington, DE 19801
                        Attention: Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov)

                If to the Prepetition Lenders:

                        Blank Rome LLP
                        1201 Market Street, Suite 800
                        Wilmington, DE 19801
                        Attention: Regina S. Kelbon (regina.kelbon@blankrome.com)
                                   Stanley B. Tarr (Stanley.tarr@blankrome.com)

                        One Logan Square
                        130 North 18th Street
                        Philadelphia, PA 19103
                        Attention: John E. Lucian (john.lucian@blankrome.com)

                9.      Term of Injunctions or Stays

                 Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
         in effect in the Chapter 11 Cases pursuant to Sections 105 or 362 of the Bankruptcy Code or any
         order of the Bankruptcy Court, and existing on the Confirmation Date (excluding any injunctions
         or stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
         the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
         remain in full force and effect in accordance with their terms.

                10.     Governing Law

                 Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal law,
         rule or regulation is applicable, or to the extent that an exhibit, supplement, or other document
         related to the Plan, provides otherwise, the Plan shall be governed by and construed in accordance
         with the laws of the State of Delaware, without giving effect to the principles of conflict of laws
         thereof that would require application of the law of another jurisdiction. Corporate governance
         matters shall be governed by the laws of the state of incorporation, formation, or functional
         equivalent thereof, as applicable, of the applicable Post-Effective Date Debtor.

                11.     Entire Agreement

                Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
         negotiations, promises, covenants, agreements, understandings, and representations on such
         subjects, all of which have become merged and integrated into the Plan.

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                12.     Severability

                 If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
         to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
         interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
         consistent with the original purpose of the term or provision held to be invalid, void, or
         unenforceable, and such term or provision shall then be applicable as altered or interpreted.
         Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
         provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
         or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
         constitute a judicial determination and shall provide that each term and provision of the Plan, as it
         may have been altered or interpreted in accordance with the foregoing, is (a) valid and enforceable
         pursuant to its terms, (b) integral to the Plan and may not be deleted or modified without the
         consent of the Debtors, and (c) non-severable and mutually dependent.

                13.     No Waiver or Estoppel

                 Upon the Effective Date, each Holder of a Claim or Interest shall be deemed to have waived
         any right to assert that its Claim or Interest should be Allowed in a certain amount, in a certain
         priority, be secured, or not be subordinated by virtue of an agreement made with the Debtors and/or
         their counsel or any other party, if such agreement was not disclosed in the Plan, the Disclosure
         Statement, or papers filed with the Bankruptcy Court; provided however, that this provision is
         without prejudice to any Government Unit whose claims are subject to the Governmental Bar Date.

                                      ARTICLE V
             VOTING REQUIREMENTS; ACCEPTANCE AND CONFIRMATION OF THE PLAN

         A.     General

                  The Bankruptcy Code requires that, in order to confirm the Plan, the Court must make a
         series of findings concerning the Plan and the Debtors, including that (i) the Plan has classified
         Claims in a permissible manner; (ii) the Plan complies with applicable provisions of the
         Bankruptcy Code; (iii) the Plan has been proposed in good faith and not by any means forbidden
         by law; (iv) the disclosure required by Section 1125 of the Bankruptcy Code has been made; (v) the
         Plan has been accepted by the requisite votes of Holders of Claims (except to the extent that
         cramdown is available under Section 1129(b) of the Bankruptcy Code); (vi) the Plan is feasible
         and confirmation is not likely to be followed by the liquidation or the need for further financial
         reorganization of the Debtors unless such liquidation or reorganization is proposed in the Plan;
         (vii) the Plan is in the “best interests” of all Holders of Claims in an Impaired Class by providing
         to such Holders on account of their Claims property of a value, as of the Effective Date, that is not
         less than the amount that such Holders would receive or retain in a chapter 7 liquidation, unless
         each Holder of a Claim in such Class has accepted the Plan; and (viii) all fees and expenses payable
         under 28 U.S.C. § 1930, as determined by the Court at the hearing on confirmation, have been paid
         or the Plan provides for the payment of such fees on the Effective Date.




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              B. Parties in Interest Entitled to Vote

                 Pursuant to the Bankruptcy Code, only Classes of Claims that are “impaired” (as defined
         in Section 1124 of the Bankruptcy Code) under the Plan are entitled to vote to accept or reject the
         Plan. A Class is impaired if the legal, equitable or contractual rights to which the Claims of that
         Class entitled the Holders of such Claims are modified, other than by curing defaults and
         reinstating the Claims. Classes that are not impaired are not entitled to vote on the Plan and are
         conclusively presumed to have accepted the Plan. In addition, Classes that receive no distributions
         under the Plan are not entitled to vote on the Plan and are deemed to have rejected the Plan.

         C.       Classes Impaired and Entitled to Vote Under the Plan

                 The Debtors are soliciting votes to accept or reject the Plan only from Holders of
         Prepetition Lender Claims in Class 3 and Holders of General Unsecured Claims in Class 4, which
         Holders are impaired under the Plan and entitled to vote on the Plan.

                 Holders of Claims and Interests in Classes 7 and 8 are deemed to reject the Plan and are
         not entitled to vote. Holders of Claims in Classes 1 and 2 are presumed to accept the Plan and are
         not entitled to vote. Holders of Claims and Interests in Classes 5 and 6 (i) will either be deemed
         to reject the Plan or presumed to accept the Plan and (ii) are not entitled to vote. The Debtors are
         not soliciting votes on the Plan from Holders of Claims or Interests in these Classes.

                Please refer to the table above in the Introduction to this Disclosure Statement under
         “Voting Rights, Treatment and Classification of Claims and Interests Under the Plan” for more
         information.

         D.       The Solicitation Package

                 Only the Holders of Claims in Classes 3 and 4 as of the Voting Record Date (defined below)
         are entitled to vote on the Plan. Each Holder of a Claim in Classes 3 and 4 will receive a solicitation
         package consisting of the following materials:

              •   This Disclosure Statement (including the Plan, and other exhibits hereto and thereto); and

              •   A ballot (the “Ballot”), including the voting instructions.

         E.       Voting Procedures and Requirements

                The discussion of the procedures below is a summary of the solicitation and voting process.
         Detailed voting instructions will be provided with each Ballot.

                  1.     Ballots

                February 10, 2025 is the record date for voting on the Plan (the “Voting Record Date”).
         Accordingly, only Holders of record as of the Voting Record Date that are otherwise entitled to
         vote under the Plan will receive a Ballot and may vote on the Plan.




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                 In voting for or against the Plan, please use only the Ballot sent to you with this Disclosure
         Statement. If you are a Holder of a Claim in Classes 3 and 4 and did not receive a Ballot, if your
         Ballot is damaged or lost, or if you have any questions concerning voting procedures, please
         contact the Solicitation Agent via email to TrueValueInquiries@OmniAgnt.com or by calling (866)
         771-0561 (U.S. & Canada) or +1 (818) 356-8633 (international).

                 The Ballot also contains an election to “opt in” to the release provisions contained in
         Section 8.3 of the Plan. All persons who vote to accept the Plan and do not “opt out” of the releases
         contained in Section 8.3 of the Plan, or, who vote to reject the Plan and elect to “opt in” to the
         releases contained in Section 8.3 of the Plan, shall be deemed to have consented to and provided
         the releases contained in the Plan.

                 2.      Returning Ballots

                If you are entitled to vote to accept or reject the Plan, you should read carefully, complete,
         sign and return your Ballot, with your original signature, in the enclosed envelope or via Omni’s
         E-Balloting Portal.

              TO BE COUNTED, YOUR BALLOT WITH YOUR SIGNATURE INDICATING YOUR
         ACCEPTANCE OR REJECTION OF THE PLAN MUST BE RECEIVED NO LATER THAN
         THE VOTING DEADLINE OF 4:00 P.M. (EASTERN TIME) ON MARCH 14, 2025.

              THE DEBTORS URGE ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON
         THE PLAN TO VOTE TO ACCEPT THE PLAN.

                 3.      Ballots Not Counted

                  No Ballot will be counted toward confirmation of the Plan if, among other things:
         (1) it is received after the Voting Deadline (as may be extended by the Debtors); (2) it is illegible
         or contains insufficient information to permit the identification of the Holder of the Claim; (3) it
         was transmitted by means other than as specifically set forth in the Ballots, including facsimile,
         email, or by any means of electronic submission other than Omni’s E-Ballot platform; (4) it was
         cast by an entity that is not entitled to vote on the Plan; (5) it was sent to any person or entity other
         than the Solicitation Agent; (6) it does not contain an original signature if submitted by mail,
         courier, or hand delivery or an electronic signature if submitted through Omni’s E-Ballot platform;
         (7) the Solicitation Agent cannot match it to an existing database record; (8) it is submitted on a
         form other than the official form sent by Omni; (9) any Ballot (other than a master Ballot) that
         casts part of its vote in the same Class to accept the Plan and part to reject the Plan or (10) it is not
         clearly marked to either accept or reject the Plan or it is marked both to accept and reject the Plan.
         Please refer to your Ballot for additional requirements with respect to voting to accept or
         reject the Plan.

              ANY BALLOT RECEIVED AFTER THE VOTING DEADLINE THAT IS
         OTHERWISE IN COMPLIANCE WITH THE SOLICITATION AND VOTING
         PROCEDURES PROVIDED IN THIS ARTICLE V OF THE DISCLOSURE STATEMENT
         OR THE DIRECTIONS AND REQUIREMENTS SET FORTH IN YOUR BALLOT WILL
         NOT BE COUNTED WITH RESPECT TO VOTING ON THE PLAN WITHOUT THE
         CONSENT OF THE COMPANY.

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                4.      Waivers of Defects, Irregularities, etc.

                  Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form,
         eligibility (including time of receipt), acceptance, and revocation or withdrawals of Ballots will be
         determined by Omni and/or the Debtors, as applicable, in their sole discretion. The Debtors reserve
         the right to reject any and all Ballots submitted by any of their respective creditors not in proper
         form, the acceptance of which would, in the opinion of the Debtors or their counsel, as applicable,
         be unlawful. The Debtors further reserve their respective rights to waive any defects or
         irregularities or conditions of delivery as to any particular Ballot by any of their creditors. Unless
         waived, any defects or irregularities in Ballots returned to the Solicitation Agent or the Debtors
         must be cured within such time as the Debtors determine, unless otherwise ordered by the
         Bankruptcy Court. Neither the Debtors nor any other person will be under any duty to provide
         notification of defects or irregularities with respect to deliveries of Ballots nor will the Debtors or
         any other person incur any liabilities for failure to provide such notification. Unless otherwise
         directed by the Bankruptcy Court, delivery of such Ballots will not be deemed to have been made
         until such irregularities have been cured or waived. Ballots previously furnished (and as to which
         any irregularities have not theretofore been cured or waived) will be invalidated.

                5.      Voting Amount

                The amount of Prepetition Lender Claims for voting purposes only will be established
         based on the amounts of the applicable loan positions held by each Holder of such Claim(s) as of
         the Voting Record Date, as evidenced by the applicable books and records maintained by the
         Administrative Agent, which was provided to the Debtors or the Solicitation Agent in electronic
         Microsoft Excel format promptly following the Voting Record Date.

         F.     Acceptance of Plan

                 As a condition to confirmation, the Bankruptcy Code requires that each class of impaired
         claims vote to accept the Plan, except under certain circumstances. See “Confirmation Without
         Necessary Acceptances; Cramdown” below. A plan is accepted by an impaired class of claims if
         holders of at least two-thirds in dollar amount and more than one-half in number of claims of those
         that vote in such class vote to accept the plan. Only those holders of claims who actually vote
         count in these tabulations. Holders of claims who fail to vote are not counted as either accepting
         or rejecting the Plan. At least one voting Class, excluding the votes of insiders, must actually vote
         to accept the Plan.

                In addition to this voting requirement, Section 1129 of the Bankruptcy Code requires that
         the Plan be accepted by each Holder of a Claim or Interest in an impaired class or that the Plan
         otherwise be found by the Court to be in the best interests of each Holder of a Claim or Interest in
         such class. See “Best Interests Test” below. Moreover, each impaired class must accept the Plan
         for the Plan to be confirmed without application of the “fair and equitable” and “unfair
         discrimination” tests set forth in Section 1129(b) of the Bankruptcy Code discussed below. See
         “Confirmation Without Necessary Acceptances; Cramdown” below.




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         G.     Confirmation Without Necessary Acceptances; Cramdown

                   In the event that any impaired class of Claims or Interests does not accept the Plan, the
         Debtors nevertheless may move for confirmation of the Plan. The Plan may be confirmed, even
         if it is not accepted by all impaired classes, if the Plan has been accepted by at least one impaired
         class of Claims, and the Plan meets the “cramdown” requirements set forth in Section 1129(b) of
         the Bankruptcy Code. Section 1129(b) of the Bankruptcy Code requires that the Court find that
         the Plan (i) “does not discriminate unfairly” and (ii) is “fair and equitable,” with respect to each
         non-accepting impaired class of claims or interests.

                 Here, because Classes 7 and 8 are (or may be) deemed to reject the Plan, and certain
         Holders of Claims or Interests under Class 5 and 6 are deemed (or may be) deemed to reject the
         Plan and Classes 3 and 4 are entitled to vote on the Plan, the Debtors will seek confirmation of the
         Plan from the Court by satisfying the “cramdown” requirements set forth in Section 1129(b) of the
         Bankruptcy Code. The Debtors believe that such requirements are satisfied as no Claim or Interest
         Holder junior to those in Classes 5, 6, 7 and 8 will receive any property under the Plan.

                1.      No Unfair Discrimination

                 A plan “does not discriminate unfairly” if (a) the legal rights of a nonaccepting class are
         treated in a manner that is consistent with the treatment of other classes whose legal rights are
         similar to those of the nonaccepting class, and (b) no class receives payments in excess of that
         which it is legally entitled to receive for its claims or interests. The Debtors believe that under the
         Plan all impaired Classes of Claims and Interests are treated in a manner that is consistent with the
         treatment of other Classes of Claims and Interests that are similarly situated, if any, or the Debtors
         have a legitimate business reason for such treatment, and no class of Claims or Interests will
         receive payments or property with an aggregate value greater than the aggregate value of the
         Allowed Claims or Allowed Interests in such Class. Accordingly, the Debtors believe the Plan
         does not discriminate unfairly as to any Impaired Class of Claims or Interests.

                2.      Fair and Equitable Test

                  With respect to a dissenting class of claims or interests, the “fair and equitable” standard
         requires that a plan provide that either the claims or interests in each class received everything to
         which they are legally entitled or that classes junior in priority to the class receive nothing. The
         strict requirement of the allocation of full value to dissenting classes before any junior class can
         receive distribution is known as the “absolute priority rule.”

                 The Bankruptcy Code establishes different “fair and equitable” tests for holders of secured
         claims, unsecured claims and interests, which may be summarized as follows:

                         a.     Secured Claims. Either (i) each holder of a claim in an impaired class of
         secured claims retains its liens securing its secured claim and it receives on account of its secured
         claim deferred cash payments having a present value equal to the amount of its allowed secured
         claim, (ii) each holder of a claim in an impaired class of secured claims realizes the indubitable
         equivalent of its allowed secured claim or (iii) the property securing the claim is sold free and clear
         of liens, with such liens to attach to the proceeds and the treatment of such liens on proceeds as
         provided in clause (i) or (ii) of this subparagraph.

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                         b.      Unsecured Claims. Either (i) each holder of a claim in an impaired class of
         unsecured claims receives or retains under the plan property of a value equal to the amount of its
         allowed claim or (ii) the holders of claims and interests that are junior to the claims of the
         dissenting class will not receive any property under the chapter 11 plan, subject to the applicability
         of the judicial doctrine of contributing new value.

                          c.     Interests. Either (i) each holder of an equity interest in an impaired class of
         interests will receive or retain under the chapter 11 plan property of a value equal to the greater of
         (a) the fixed liquidation preference or redemption price, if any, of such stock or (b) the value of
         the stock or (ii) the holders of interests that are junior to the stock will not receive any property
         under the chapter 11 plan, subject to the applicability of the judicial doctrine of contributing new
         value.

                  As discussed above, the Debtors believe that the distributions provided under the Plan
         satisfy the absolute priority rule.

                                            ARTICLE VI
                           FEASIBILITY AND BEST INTERESTS OF CREDITORS

         A.      Best Interests Test and Liquidation Analysis

                 As noted above, even if the Plan is accepted by the Holders of each class of Claims and
         Interests, the Bankruptcy Code requires a bankruptcy court to determine that the Plan is in the best
         interests of all Holders of Claims or Interests that are impaired by that Plan and that have not
         accepted the Plan. The “best interests” test, as set forth in Section 1129(a)(7) of the Bankruptcy
         Code, requires a bankruptcy court to find either that all members of an impaired class of Claims
         or Interests have accepted the Plan or that the Plan will provide a member who has not accepted
         the Plan with a recovery of property of a value, as of the effective date of the Plan, that is not less
         than the amount that such Holder would recover if the debtor were liquidated under chapter 7 of
         the Bankruptcy Code.

                 As described in the hypothetical liquidation analysis attached to this Disclosure Statement
         as Exhibit B, the Debtors submit that because of, among other things, (1) discounts to asset values
         caused in part by the forced nature of a sale of the Debtors’ assets in a chapter 7 liquidation scenario,
         (2) loss of value from sales caused by, among other things, business discontinuity and loss of
         employee knowledge, (3) the illiquid nature of certain of the assets and dis-synergies associated
         with a piecemeal liquidation, (4) associated delays in connection with a chapter 7 liquidation and
         (5) the incurrence of additional priority claims such as, among other things, the costs of payment
         of a statutorily allowed commission to the chapter 7 trustee and the costs of counsel and other
         professionals retained by the trustee, Holders of Impaired Claims and Interests will receive at least
         as great of a recovery under the proposed Plan as in a chapter 7 liquidation. The Debtors therefore
         believe that the Plan satisfies the Best Interests Test under Section 1129(a)(7) of the Bankruptcy
         Code. The Debtors caution that the assumptions used in the Liquidation Analysis may ultimately
         vary and actual recoveries in a chapter 7 liquidation could be substantially less than recoveries set
         forth in the Liquidation Analysis.




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         B.     Feasibility

                 Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of the Plan is not
         likely to be followed by the liquidation, or the need for further financial reorganization, of the
         Debtors or any successors to the Debtors under the Plan, unless such liquidation or reorganization
         is proposed in the Plan. Payments under the Plan are to be made from the Distributable Proceeds
         stemming primarily from the Sale and do not depend on future earnings of the Debtors.
         Accordingly, the Debtors believe that they will have sufficient resources to make all payments
         required pursuant to the Plan and that the Plan is feasible and meets the requirements of Section
         1129(a)(11) of the Bankruptcy Code.

                                              ARTICLE VII
                                        EFFECT OF CONFIRMATION

         A.     Binding Effect of Confirmation

                 Confirmation will bind the Debtors and all Holders of Claims and Interests to the
         provisions of the Plan, whether or not the Claim or Interest of any such Holder is Impaired under
         the Plan and whether or not any such Holder of a Claim or Interest has accepted the Plan.
         Confirmation will have the effect of converting all claims into rights to receive the treatment
         specified in Article III of the Plan and cancelling all Interests in Debtor TV Holdco II, LLC.

         B.     Good Faith

                 Confirmation of the Plan will constitute a finding that: (i) the Plan has been proposed in
         good faith and in compliance with applicable provisions of the Bankruptcy Code; and (ii) all
         solicitations of acceptances or rejections of the Plan have been in good faith and in compliance
         with applicable provisions of the Bankruptcy Code.

                                            ARTICLE VIII
                              CERTAIN RISK FACTORS TO BE CONSIDERED

              THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN RISKS,
         INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
         HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ
         AND CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE OTHER
         INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT TOGETHER WITH
         ANY ATTACHMENTS, EXHIBITS, OR DOCUMENTS INCORPORATED BY REFERENCE
         HERETO AND THE PLAN, BEFORE DECIDING WHETHER TO VOTE TO ACCEPT OR
         REJECT THE PLAN.

                 These risk factors should not, however, be regarded as constituting the only risks involved
         in connection with the Plan or its implementation. No representations concerning or related to the
         Debtors, the Chapter 11 Cases or the Plan are authorized by the Court or the Bankruptcy Code.
         Any representations or inducements made to secure your acceptance or rejection of the Plan that
         are not contained in, or included with, this Disclosure Statement should not be relied upon by you
         in arriving at your decision. New factors, risks and uncertainties emerge from time to time and it
         is not possible to predict all such factors, risks and uncertainties.

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         A.     Certain Bankruptcy Considerations

                1.      Risk of Non-Approval of the Disclosure Statement As Containing Adequate
                        Information

                This Disclosure Statement has not, as of the date hereof, been approved by the Bankruptcy
         Court as containing “adequate information” within the meaning of Section 1125(a) of the
         Bankruptcy Code. While the Debtors believe that this Disclosure Statement provides “adequate
         information” within the meaning of Section 1125(a), there can be no assurance that the Bankruptcy
         Court will reach the same conclusion.

                2.      Risk of Failing to Satisfy the Vote Requirement

                 The Plan is subject to a vote of Holders of Impaired Claims in voting classes and to
         Confirmation by the Bankruptcy Court. There can be no assurance that the requisite acceptances
         to confirm the Plan will be obtained. Thus, while the Debtors believe the Plan is confirmable
         under the standards set forth in Section 1129 of the Bankruptcy Code, there is no guarantee that
         the Plan will be accepted by the requisite Classes entitled to vote on the Plan. If votes are received
         in number and amount sufficient to enable the Bankruptcy Court to confirm the Plan, the Debtors
         intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In the event that
         sufficient votes are not received, the Debtors may seek to confirm an alternative chapter 11 plan.
         There can be no assurance that the terms of any such alternative chapter 11 plan would be similar
         or as favorable to the Holders of Allowed Claims and Interests as those proposed in the Plan.

                3.      Risk of Non-Confirmation of Plan

                 Even if the Holders of Claims who are entitled to vote accept the Plan, the Court, which
         may exercise substantial discretion as a court of equity, may choose not to confirm the Plan. For
         example, Section 1129 of the Bankruptcy Code requires, among other things, that the value of
         distributions to dissenting Holders of Claims or Interests may not be less than the value such
         Holders would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code.
         Although the Debtors believe the Plan meets such requirement, there can be no assurance the Court
         will reach the same conclusion or that modifications to the Plan will not be required for
         confirmation or that such modifications would not necessitate re-solicitation of votes. In the event
         that the Debtors are unable to get sufficient votes from the Holders of Claims who are entitled to
         vote to accept the Plan, the Debtors may seek to accomplish an alternative chapter 11 plan or seek
         to cram down the Plan on non-accepting classes. If the Plan is not confirmed, it is unclear what
         distributions Holders of Claims and Interests ultimately would receive with respect to their Claims
         and Interests in an alternative plan.

                4.      Risks Related to Possible Objections to the Plan

                There is a risk that certain parties could oppose and object to either the entirety of the Plan
         or specific provisions of the Plan. Although the Debtors believe that the Plan complies with all
         relevant Bankruptcy Code provisions, there can be no guarantee that a party in interest will not file
         an objection to the Plan or that the Bankruptcy Court will not sustain such an objection.

                5.      Risk of Non-Consensual Confirmation.

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                 If any impaired class of Claims or Interests does not accept or is deemed not to accept the
         Plan, the Court may nevertheless confirm the Plan at the Debtors’ request if at least one impaired
         class has voted to accept the Plan (with such acceptance being determined without including the
         vote of any “insider” in such class), and as to each impaired class that has not accepted the Plan,
         the Court determines that the Plan “does not discriminate unfairly” and is “fair and equitable”.
         The Debtors believe that the Plan satisfies these requirements.

                6.      Distributions to Holders of Allowed Claims Under the Plan

                 Projected distributions are based upon good faith estimates of the total amount of Claims
         ultimately Allowed and the funds available for distribution. Both the actual amount of Allowed
         Claims in a particular Class and the funds available for distribution to such Class may differ from
         the Debtors’ estimates. If the total amount of Allowed Claims in a Class is higher than the Debtors’
         estimates, or the funds available for distribution to such Class are lower than the Debtors’ estimates,
         the percentage recovery to Holders of Allowed Claims in such Class will be less than projected.

                7.      Classification and Treatment of Claims and Interests

                 Section 1122 of the Bankruptcy Code requires that the Plan classify Claims against, and
         Interests in, the Debtors. The Bankruptcy Code also provides that the Plan may place a Claim or
         Interest in a particular Class only if such Claim or Interest is substantially similar to the other
         Claims or Interests of such Class. The Debtors believe that all Claims and Interests have been
         appropriately classified in the Plan.

                 To the extent that the Bankruptcy Court finds that a different classification is required for
         the Plan to be confirmed, the Debtors would seek to modify the Plan to provide for whatever
         classification might be required for confirmation. Any such reclassification of creditors would be
         subject to the notice and hearing requirements of the Bankruptcy Code and there can be no
         assurance that the Bankruptcy Court, after finding that a classification was inappropriate and
         requiring a reclassification, would approve the Plan based upon such reclassification. Except to
         the extent that modification of classification in the Plan requires resolicitation, the Debtors will, in
         accordance with the Bankruptcy Code and the Bankruptcy Rules, seek a determination by the
         Bankruptcy Court that acceptance of the Plan of any Holder of Claims pursuant to this solicitation
         will constitute a consent to the Plan’s treatment of such Holder regardless of the Class as to which
         such Holder is ultimately deemed to be a member. The Debtors believe that under the Bankruptcy
         Rules, they would be required to resolicit votes for or against the Plan only when a modification
         adversely affects the treatment of the claim of any creditor or equity holder.

                 The Bankruptcy Code also requires that the Plan provide the same treatment for each Claim
         or Interest of a particular Class unless the Holder of a particular Claim or Interest agrees to a less
         favorable treatment of its Claim or Interest. The Debtors believe that the Plan complies with the
         requirement of equal treatment. To the extent that the Bankruptcy Court finds that the Plan does
         not satisfy such requirement, the Bankruptcy Court could deny confirmation of the Plan.

                Issues or disputes relating to classification and/or treatment could result in a delay in the
         confirmation of the Plan could increase the risk that the Plan will not be consummated.

                8.      Conditions Precedent to Consummation of the Plan

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                 The Plan provides for certain conditions that must be satisfied (or waived) prior to the
         Effective Date of the of the Plan and consummation of the transactions contemplated by the Plan.
         As of the date of this Disclosure Statement, there can be no assurance that any or all of the
         conditions in the Plan will be satisfied (or waived). Accordingly, there can be no assurance that
         the Plan will be confirmed by the Court. Further, if the Plan is confirmed, there can be no assurance
         that the Plan will be consummated.

                9.      Risk of Non-Occurrence of the Effective Date

                  Although the Debtors believe that the Effective Date may occur in short order after the
         Confirmation Date, there can be no assurance as to such timing, or as to whether the Effective Date
         will, in fact, occur.

                10.     Releases, Injunction, and/or Exculpation Provisions May Not Be Approved

                 Article VIII of the Plan provides for certain releases, injunctions, and exculpations for
         Claims and Causes of Action that may otherwise be asserted against the Debtors, the other
         Released Parties, and their respective Affiliates and Affiliates’ Representatives, as applicable. The
         release, injunction, and exculpation provisions included in the Plan may be subject to objection by
         parties in interest and may not be approved. If the release and/or exculpation provisions are not
         approved, certain parties may withdraw their support for the Plan.

                11.     The Debtors May Be Unable to Confirm the Plan and Exit from Chapter 11

                 As of the date hereof, the Debtors contemplate that the use of Cash Collateral will provide
         the Debtors with ample liquidity to fund administrative expenses during these Chapter 11 Cases.
         If confirmation does not occur expeditiously, the Chapter 11 Cases could result in, among other
         things, the Debtors’ inability to confirm the Plan.

                12.     Conversion into Chapter 7 Cases

                 If no chapter 11 plan can be confirmed, or if the Bankruptcy Court otherwise finds that it
         would be in the best interests of Holders of Claims and Interests, the Chapter 11 Cases may be
         converted to cases under chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be
         appointed to liquidate the Debtors’ assets for distribution in accordance with the order of priorities
         established by the Bankruptcy Code. See Article X hereof, as well as the Liquidation Analysis.
         However, as reflected in the Liquidation Analysis, the Debtors believe that recoveries in a
         converted chapter 7 case will be greatly reduced from the recoveries contemplated under the Plan.

                13.     Risk of Non-Dischargeability of Claims

                 During the Chapter 11 Cases, certain creditors may take the position their claims are non-
         dischargeable under the Bankruptcy Code. Such creditors may make such allegations at any time,
         notwithstanding the existence of deadlines established by the Bankruptcy Rules or applicable
         Court order, entry of the Confirmation Order, or the occurrence of the Effective Date. Such
         assertions of non-dischargeability could result in the denial of Confirmation, changes to the Plan,
         withdrawal of the Plan.


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                14.     Amendment of Plan Prior to Confirmation by Debtors

                 The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify
         the terms and conditions of the Plan or waive conditions thereto if and to the extent necessary or
         desirable for confirmation or approval of the Plan. The potential impact of any such amendment
         or waiver on Holders of Claims and Interests cannot presently be foreseen but may include a
         change in the economic impact of the Plan on some or all of the proposed Classes or a change in
         the relative rights of such Classes.

                15.     Litigation Risk

                 The Debtors are involved in various litigation, which so long as it remains unresolved
         represents a legal issue and potential Claim for monetary damages. Additionally, there is a risk of
         future litigation. Pending litigation or future litigation could result in a material judgment against
         the Debtors or the Purchaser. Such litigation, and any judgment in connection therewith, could
         have a material adverse effect on the Debtors.

                16.     Landlord Claims and Lease-Related Risks

                 The Debtors lease twelve (12) distribution centers, some which were included in the Sale
         and assigned to Do it Best in accordance with the Stalking Horse Agreement. Any remaining
         leases not assigned to Do it Best will be rejected, and claims arising from lease rejections will be
         treated as general unsecured claims. If disputes with landlords regarding rejection damages or
         other lease-related liabilities arise, the administration of the Debtors’ estate may incur additional
         costs, which could impact creditor recoveries.

         B.     Forward Looking Statements

                1.      Forward Looking Statements

                 This Disclosure Statement may contain “forward-looking statements” within the meaning
         of the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
         other than a recitation of historical fact and can be identified by the use of forward-looking
         terminology such as “may,” “expect,” “anticipate,” “estimate,” or “continue” or the negative
         thereof or other variations thereon or comparable terminology. The reader is cautioned that all
         forward-looking statements are necessarily speculative and there are certain risks and uncertainties
         that could cause actual events or results to differ materially from those referred to in such forward-
         looking statements. The Liquidation Analysis, distribution projections, and other information
         contained herein and attached hereto are estimates only, and the timing and amount of actual
         distributions to Holders of Allowed Claims may be affected by many factors that cannot be
         predicted. Therefore, any analyses, estimates, or recovery projections may or may not turn out to
         be accurate.

                2.      Books and Records

                The financial information contained in this Disclosure Statement has not been audited. In
         preparing this Disclosure Statement, the Debtors relied on financial data derived from their books
         and records that was available at the time of such preparation. Although the Debtors have used

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         their reasonable business judgment to ensure the accuracy of the financial information provided in
         this Disclosure Statement, and while the Debtors believe that such financial information fairly
         reflects, in all material respects, the financial results of the Debtors, the Debtors are unable to
         warrant or represent that the financial information contained in the Plan and attached hereto is
         without inaccuracies.

                3.      Projections and Estimates

                 There are uncertainties associated with any projections and estimates, and they should not
         be considered assurances or guarantees of the amount of funds or amount of Claims in the various
         Classes that might be allowed. The Company cautions each reader of this Disclosure Statement
         to carefully consider those factors set forth above and the acknowledgements contained in this
         “Risk Factors” section in this Article of the Disclosure Statement. Such factors have, in some
         instances, affected and in the future could affect the ability of the Company to achieve its projected
         results and may cause actual results to differ materially from those expressed in the Plan. The
         Company undertakes no obligation to update any forward-looking statements in this Disclosure
         Statement.

         C.     Certain Other Risks

                1.      Tax Considerations

                 There are a number of material income tax considerations, risks and uncertainties
         associated with consummation of the Plan and the Sale. Holders of Claims and other interested
         parties should read carefully the discussion of certain U.S. federal income tax consequences of the
         Plan set forth below.

         D.     Disclosure Statement Disclaimer

                1.      This Disclosure Statement Was Not Approved by the Securities and Exchange
                        Commission

                This Disclosure Statement was not filed with the SEC under the Securities Act or
         applicable state securities laws. Neither the SEC nor any state regulatory authority has passed
         upon the accuracy or adequacy of this Disclosure Statement, or the exhibits or the statements
         contained herein, and any representation to the contrary is unlawful.

                2.      No Legal or Tax Advice Is Provided to You by This Disclosure Statement

                 This Disclosure Statement is not legal advice to you. The contents of this Disclosure
         Statement should not be construed as legal, business or tax advice. Each Holder of a Claim or an
         Interest should consult his or her own legal counsel and accountant with regard to any legal, tax
         and other matters concerning his or her Claim or Interest. This Disclosure Statement may not be
         relied upon for any purpose other than to determine how to vote on the Plan or object to
         Confirmation of the Plan.




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                3.      No Admissions Made

                 The information and statements contained in this Disclosure Statement will neither
         (a) constitute an admission of any fact or liability by any Entity (including, without limitation, the
         Debtors) nor (b) be deemed evidence of the tax or other legal effects of the Plan on the Debtors,
         the Post-Effective Date Debtors, Holders of Allowed Claims or Interests, or any other parties in
         interest.

                4.      Failure to Identify Litigation Claims or Projected Objections

                 No reliance should be placed on the fact that a particular litigation Claim or projected
         objection to a particular Claim or Interest is, or is not, identified in this Disclosure Statement.

                5.      No Waiver of Right to Object or Right to Recover Transfers and Assets

                 The vote by a Holder of an Allowed Claim for or against the Plan does not constitute a
         waiver or release of any Claims or rights of the Debtors (or any party in interest, as the case may
         be) to object to that Holder’s Allowed Claim, or recover any preferential, fraudulent or other
         voidable transfer or assets, regardless of whether any Claims or Causes of Action of the Debtors
         or their Estates are specifically or generally identified herein.

                6.      Information Was Provided by the Debtors and Was Relied Upon by the
                        Debtors’ Advisors

                 Counsel to and other advisors retained by the Debtors have relied upon information
         provided by the Debtors in connection with the preparation of this Disclosure Statement. Although
         counsel to and other advisors retained by the Debtors have performed certain limited due diligence
         in connection with the preparation of this Disclosure Statement, they have not independently
         verified the information contained herein.

                7.      Potential Exists for Inaccuracies, and the Debtors Have No Duty to Update

                 The statements contained in this Disclosure Statement are made by the Debtors as of the
         date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
         that date does not imply that there has not been a change in the information set forth herein since
         that date. While the Debtors have used their reasonable business judgment so that the information
         provided in this Disclosure Statement and in the Plan is as accurate as possible, the Debtors
         nonetheless cannot, and do not, confirm the current accuracy of all statements appearing in this
         Disclosure Statement. Further, although the Debtors may subsequently update the information in
         this Disclosure Statement, the Debtors have no affirmative duty to do so unless ordered to do so
         by the Bankruptcy Court.

                8.      No Representations Outside this Disclosure Statement Are Authorized

                No representations concerning or relating to the Debtors, the Chapter 11 Cases, or the Plan
         are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
         Disclosure Statement or other materials included in the Solicitation Package. Any representations
         or inducements made to secure your acceptance or rejection of the Plan that are other than as

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         contained in, or included with, this Disclosure Statement should not be relied upon by you in
         arriving at your decision. You should promptly report unauthorized representations or
         inducements to the counsel for the Debtors, the counsel for the Committee and the United States
         Trustee.

         E.     Liquidation Under Chapter 7

                 If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter
         7 of the Bankruptcy Code, pursuant to which a trustee (or trustees) would be elected or appointed
         to liquidate the assets of the Debtors for distribution in accordance with the priorities established
         by the Bankruptcy Code. A discussion of the effects that a chapter 7 liquidation would have on
         the recoveries of Holders of Claims and the Debtors’ Liquidation Analysis is described herein and
         attached hereto as Exhibit B.

                                       ARTICLE IX
                  CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

                 The following discussion summarizes certain anticipated U.S. federal income tax
         consequences of the Plan to the Debtors and certain Holders of Claims that are impaired under the
         Plan and that are entitled to vote to accept or reject the Plan. This discussion is provided for
         information purposes only and is based on the Tax Code, Treasury regulations promulgated
         thereunder, judicial authorities, and current administrative rulings and practice, all as in effect as
         of the date hereof, and all of which are subject to change or differing interpretations, possibly with
         retroactive effect.

                 This discussion does not purport to address all aspects of U.S. federal income taxation that
         may be relevant to a particular Claimholder in light of its particular facts and circumstances, or to
         certain types of Claimholders subject to special treatment under the Tax Code (for example, non-
         U.S. taxpayers, governmental entities and entities exercising governmental authority, banks and
         certain other financial institutions, broker-dealers, insurance companies, tax-exempt organizations,
         real estate investment trusts, regulated investment companies, persons holding a Claim as part of
         a hedge, straddle, constructive sale, conversion transaction or other integrated transaction,
         Claimholders that are, or hold their Claims through, a partnership or other pass-through entity,
         persons that have a functional currency other than the U.S. dollar, dealers in securities or foreign
         currencies, employees of the Debtors, and persons who received their claims pursuant to the
         exercise of an employee stock option or otherwise as compensation). This discussion does not
         address any aspects of state, local, non-U.S. taxation or U.S. federal taxation other than income
         taxation. Furthermore, this discussion does not address the U.S. federal income tax consequences
         to Claimholders that are unimpaired under the Plan or Claimholders or Interest Holders that are
         not entitled to receive or retain any property under the Plan.

                If a partnership (including any entity treated as a partnership for U.S. federal income tax
         purposes) holds Claims, the U.S. federal income tax consequences to the partners of such
         partnership will depend on the activities of the partnership and the status of the partners. A
         partnership considering participating in the Plan should consult its tax advisor regarding the
         consequences to the partnership and its partners of the Plan.



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                 The tax treatment of Claimholders and the character, amount and timing of income, gain
         or loss recognized as a consequence of the Plan and the distributions provided for by the Plan may
         vary, depending upon, among other things: (i) whether the Claim (or portion thereof) constitutes a
         Claim for principal or interest; (ii) the type of consideration received by the Claimholder in
         exchange for the Claim and whether the Claimholder receives distributions under the Plan in more
         than one taxable year; (iii) whether the Claimholder is a citizen or resident of the United States for
         tax purposes, is otherwise subject to U.S. federal income tax on a net basis, or falls into any special
         class of taxpayers, such as those that are excluded from this discussion as noted above; (iv) the
         manner in which the Claimholder acquired the Claim; (v) the length of time that the Claim has
         been held; (vi) whether the Claim was acquired at a discount; (vii) whether the Claimholder has
         taken a bad debt deduction with respect to the Claim (or any portion thereof) in the current or prior
         years; (viii) whether the Claimholder has previously included accrued but unpaid interest with
         respect to the Claim; (ix) the method of tax accounting of the Claimholder; (x) whether the Claim
         is an installment obligation for U.S. federal income tax purposes; and (xi) whether the “market
         discount” rules are applicable to the Claimholder. Therefore, each Claimholder should consult its
         tax advisor for information that may be relevant to its particular situation and circumstances, and
         the particular tax consequences to such Claimholder of the transactions contemplated by the Plan.

                 A substantial amount of time may elapse between the date of this Disclosure Statement and
         the receipt of a final distribution under the Plan. Events occurring after the date of this Disclosure
         Statement, such as additional tax legislation, court decisions or administrative changes, could
         affect the U.S. federal income tax consequences of the Plan and the transactions contemplated
         thereunder. No ruling has been or will be sought from the Internal Revenue Code (the “IRS”) with
         respect to any of the tax aspects of the Plan, and no opinion of counsel has been or will be obtained
         by the Debtors with respect thereto. No representations are being made regarding the particular
         tax consequences of the confirmation or implementation of the Plan as to any Claimholder. This
         discussion is not binding upon the IRS or other taxing authorities. No assurance can be given that
         the IRS or another authority would not assert, or that a court would not sustain, a different position
         from any discussed herein. Accordingly, each Claimholder is strongly urged to consult its tax
         advisor regarding the U.S. federal, state, local, and non-U.S. tax consequences of the Plan to such
         Claimholder.

                 The following discussion is intended only as a summary of certain U.S. federal tax
         consequences of the Plan and is not a substitute for careful tax planning with a tax professional.
         The following discussion is for information purposes only and is not tax advice. The tax
         consequences are in many cases uncertain and may vary depending on a Claimholder’s particular
         circumstances. Accordingly, each Claimholder is strongly urged to consult its tax advisor
         regarding the U.S. federal, state, local, and applicable non-U.S. income and other tax consequences
         of the Plan.

         A.     Consequences to the Debtors

                 As a result of the consummation of the transactions contemplated by the Plan, the Debtors
         may realize substantial cancellation of indebtedness income (“CODI”). In general, absent an
         exception, a taxpayer will realize and recognize CODI upon satisfaction of its outstanding
         indebtedness for total consideration less than the amount of such indebtedness. CODI is taxable
         as ordinary income. The amount of CODI, in general, is the excess of (i) the adjusted issue price

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         of the indebtedness discharged, over (ii) the sum of (x) the issue price of any new indebtedness of
         the taxpayer issued, (y) the amount of cash paid, and (z) the fair market value of any other
         consideration given in exchange for such indebtedness at the time of the exchange. There are
         exceptions to the recognition of CODI. For example, a taxpayer is not required to include CODI
         in gross income if either the taxpayer is under the jurisdiction of a court in a case under the
         Bankruptcy Code and the discharge of debt occurs pursuant to that case, or the taxpayer is insolvent,
         as specifically defined for U.S. federal income tax purposes, at the time the CODI is triggered.

         B.     Consequences to Claimholders

                1.      Gain or Loss

                 A Holder of an Allowed Claim will generally recognize ordinary income to the extent that
         the amount of Cash or property received (or to be received) under the Plan is attributable to interest
         that accrued on a Claim but was not previously paid by the Debtor or included in income by the
         Holder of the Allowed Claim. See Article IX.B.3—“Allocation of Plan Distributions between
         Principal and Interest.” A Holder of an Allowed Claim will generally recognize gain or loss equal
         to the difference between the Holder’s adjusted basis in its Claim and the amount realized by the
         Holder upon consummation of the Plan that is not attributable to accrued but unpaid interest. The
         amount realized will equal the sum of Cash and the fair market value of other consideration
         received (or to be received). The character of any gain or loss that is recognized will depend upon
         a number of factors, including the status of the Holder of the Claim, the nature of the Claim in its
         hands, whether the Claim was purchased at a discount, whether and to what extent the creditor has
         previously claimed a bad debt deduction with respect to the Claim, and the creditor’s holding
         period of the Claim. Subject to the “market discount” rules described above, if the Claim in the
         creditor’s hands is a capital asset, the gain or loss realized will generally be characterized as a
         capital gain or loss. Such gain or loss will generally constitute long-term capital gain or loss if the
         Holder of the Claim held such Claim for longer than one year or short-term capital gain or loss if
         the Holder of the Claim held such Claim for less than one year. Long-term capital gains of non-
         corporate holders are taxed at preferential rates, and capital losses are subject to limitations on
         deductibility.

                 A Holder of an Allowed Claim who receives, in respect of its Claim, an amount that is less
         than its tax basis in such Claim may be entitled to a bad debt deduction if either: (i) the Holder is
         a corporation; or (ii) the Claim constituted (a) a debt created or acquired (as the case may be) in
         connection with a trade or business of the Holder or (b) a debt the loss from the worthlessness of
         which is incurred in the Holder’s trade or business. A Holder that has previously recognized a loss
         or deduction in respect of its Claim may be required to include in its gross income (as ordinary
         income) any amounts received under the Plan to the extent such amounts exceed the Holder’s
         adjusted basis in such Claim. Holders of Claims who were not previously required to include any
         accrued but unpaid interest with respect to in their gross income on a Claim may be treated as
         receiving taxable interest income to the extent any consideration they receive under the Plan is
         allocable to such interest. Holders previously required to include in their gross income any accrued
         but unpaid interest on a Claim may be entitled to recognize a deductible loss to the extent such
         interest is not satisfied under the Plan. Whether such losses qualify as ordinary losses under the
         Tax Code is unclear.



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                2.      Market Discount

                  The market discount provisions of the Tax Code may apply to Holders of Claims.
         Generally, if a Holder of a Claim purchased the Claim at a price less than such Claim’s principal
         amount, the difference would constitute “market discount” for federal income tax purposes. In
         general, a debt obligation other than a debt obligation with a fixed maturity of one year or less that
         is acquired by a holder in the secondary market (or, in certain circumstances, upon original
         issuance) is a “market discount bond” as to that holder if its stated redemption price at maturity
         (or, in the case of a debt obligation having OID, the revised issue price) exceeds the adjusted tax
         basis of the bond in the holder’s hands immediately after its acquisition. However, a debt
         obligation will not be a “market discount bond” if such excess is less than a statutory de minimis
         amount. Any gain recognized by such Holder on the receipt of Cash in respect of its Claim would
         be treated as ordinary income to the extent of such accrued but unrecognized market discount.

                3.      Allocation of Plan Distributions Between Principal and Interest

                 To the extent that any Allowed Claim entitled to a distribution under the Plan comprises
         indebtedness and accrued but unpaid interest thereon, the Debtors intend to take the position that,
         for income tax purposes, such distribution shall be allocated to the principal amount of the Allowed
         Claim first and then, to the extent the consideration exceeds the principal amount of the Allowed
         Claim, to the portion of such Allowed Claim representing accrued but unpaid interest. No
         assurances can be made in this regard. If, contrary to the Debtors’ intended position, such a
         distribution were treated as being allocated first to accrued but unpaid interest, a Holder of such
         an Allowed Claim would realize ordinary income with respect to the distribution in an amount
         equal to the accrued but unpaid interest not already taken into income under the Holder’s method
         of accounting, regardless of whether the Holder otherwise realized a loss as a result of the Plan.
         Conversely, a Holder generally would recognize a deductible loss to the extent that any accrued
         interest was previously included in its gross income and was not paid in full. To the extent that
         any portion of the distribution is treated as interest, Holders may be required to provide certain tax
         information in order to avoid the withholding of taxes.

         C.     Information Reporting and Backup Withholding

                Certain payments, including the payments with respect to Claims or Interests pursuant to
         the Plan, may be subject to information reporting to the IRS. Moreover, under certain
         circumstances, Claimholders may be subject to “backup withholding” at the applicable rate.
         Backup withholding is not an additional tax. Amounts withheld under the backup withholding
         rules may be credited against a Claimholder’s U.S. federal income tax liability, and a Claimholder
         may obtain a refund of any excess amounts withheld under the backup withholding rules by filing
         an appropriate claim for refund with the IRS (generally, a U.S. federal income tax return).

                  In addition, Treasury regulations generally require disclosure by a taxpayer on its U.S.
         federal income tax return of certain types of transactions in which the taxpayer participated,
         including, among other types of transactions, certain transactions that result in the taxpayer
         claiming a loss in excess of specified thresholds. Each Claimholder is strongly urged to consult
         its tax advisor regarding these regulations and whether the transactions contemplated by the Plan
         would be subject to these regulations and require disclosure on the Claimholder’s tax returns.


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         D.      Importance of Obtaining Professional Tax Assistance

                  The foregoing discussion is intended only as a summary of certain tax consequences of the
         Plan and is not a substitute for careful tax planning with a tax professional. The above discussion
         is for informational purposes only and is not tax advice. The tax consequences are in many cases
         uncertain and may vary depending on a Claimholder’s particular circumstances. Accordingly,
         claimholders are urged to consult their tax advisors about the federal, state and local, and
         applicable foreign income and other tax consequences of the Plan.

                                      ARTICLE X
              ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

                 The Debtors believe that the Plan affords Holders of Claims and Interests the potential for
         the greatest realization on the Debtors’ assets and, therefore, is in the best interests of such Holders.
         If the Plan is not confirmed, however, alternatives include: (A) continuation of the Chapter 11
         Cases; or (B) liquidation of the Debtors under chapter 7 of the Bankruptcy Code.

         A.      Alternative Plans

                If the Plan is not confirmed, the Debtors or any other party in interest in the Chapter 11
         Cases (if the Debtors’ exclusive period in which to file a chapter 11 plan has expired) could
         propose a different plan or plans.

         B.      Liquidation Under Chapter 7 of the Bankruptcy Code

                 If the Plan or any other chapter 11 plan of the Debtors cannot be confirmed under Section
         1129(a) of the Bankruptcy Code, the Chapter 11 Cases may be converted to cases under chapter 7
         of the Bankruptcy Code, in which event a trustee (or trustees) would be elected or appointed to
         liquidate the Debtors’ assets for distribution to creditors pursuant to chapter 7 of the Bankruptcy
         Code. A liquidation under chapter 7 likely would result in smaller distributions made to creditors
         than that provided for in the Plan because of a number of factors. Please refer to the discussion
         regarding the Liquidation Analysis contained in Article VI of this Disclosure Statement
         (Feasibility and Best Interests of Creditors - Best Interests Test and Liquidation Analysis) for a
         description of these factors and other chapter 7 liquidation considerations.

                                            ARTICLE XI
                                   RECOMMENDATION AND CONCLUSION

                 The Debtors believe that confirmation and consummation of the Plan is in the best interests
         of the Debtors, their Estates and their creditors. The Plan provides for an equitable distribution to
         creditors. The Debtors believe that any alternative to confirmation of the Plan, such as liquidation
         under chapter 7 of the Bankruptcy Code, could result in significant delay, litigation and additional
         costs, as well as a reduction in the distributions to Holders of Claims in certain Classes.
         Consequently, the Debtors urge all eligible Holders of Impaired Claims to vote to ACCEPT the
         Plan, and to complete and return their Ballots so that they will be RECEIVED by the Solicitation
         Agent on or before the Voting Deadline.



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             Dated: Wilmington, Delaware
                    February 12, 2025

                                            TRUE VALUE COMPANY, L.L.C., on behalf of itself
                                            and its Debtor affiliates

                                            /s/ Kunal S. Kamlani
                                            Name: Kunal S. Kamlani
                                            Title: Chief Transformation Officer




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                                                 Exhibit A

             Second Amended Joint Chapter 11 Plan of True Value Company, L.L.C. and Its Debtor
                                                Affiliates




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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


             In re                                                                  Chapter 11

             TRUE VALUE COMPANY, L.L.C., et al.,                                    Case No. 24-12337 (KBO)

                               Debtors. 1                                           (Jointly Administered)


                            SECOND AMENDED JOINT CHAPTER 11 PLAN OF TRUE
                            VALUE COMPANY, L.L.C. AND ITS DEBTOR AFFILIATES

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                                                  Counsel to Debtors and Debtors-in-Possession

             Dated: February 12, 2025
                    Wilmington, Delaware




         1
                The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
                are as follows: True Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C. (7025); TV
                GPMC, L.L.C. (8136); True Value Retail, L.L.C. (7946); TrueValue.com Company, L.L.C. (6386); True Value
                Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The address of the Debtors’ corporate
                headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.
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                                                 INTRODUCTION

                 True Value Company, L.L.C. and its debtor affiliates in the above-captioned chapter 11
         cases propose this joint chapter 11 plan (as may be amended, supplemented, or otherwise modified
         from time to time, the “Plan”) for the resolution of the outstanding Claims against, and Interests
         in, the Debtors pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used and not
         otherwise defined herein shall have the meanings ascribed to such terms in Section 1.1 hereof or
         the Bankruptcy Code or Bankruptcy Rules. Although proposed jointly for administrative
         purposes, the Plan constitutes a separate Plan for each Debtor. Each Debtor is a proponent of the
         Plan within the meaning of Section 1129 of the Bankruptcy Code. The classifications of Claims
         and Interests set forth herein shall be deemed to apply separately with respect to each Plan
         proposed by each Debtor, as applicable. The Plan does not contemplate substantive consolidation
         of any of the Debtors. Holders of Claims and Interests should refer to the Disclosure Statement
         for a discussion of the Debtors’ history, business, assets, and operations, as well as a summary and
         description of the Plan and certain related matters.


             ALL HOLDERS OF CLAIMS WHO ARE ELIGIBLE TO VOTE ON THE PLAN ARE
               ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT
                (INCLUDING ALL EXHIBITS THERETO) IN THEIR ENTIRETIES BEFORE
                           VOTING TO ACCEPT OR REJECT THE PLAN.



                                         ARTICLE I
             DEFINED TERMS, RULES OF INTERPRETATION, AND COMPUTATION OF TIME

                  Section 1.1    Defined Terms

                         As used in the Plan, capitalized terms have the meanings set forth below.

                      1.1.1      “90 Day Buckets” means collectively the following items in the Cash
              Collateral Budget: “Employee Benefit Reserve”, “Vendor Payments”, “Tax Payments”, and
              “Critical Foreign Vendors.”

                     1.1.2      “90+ Day Buckets” means collectively the following items in the Cash
              Collateral Budget: “Total Professional Fees”, “UST Fees”, “Employee Benefit Claims
              Reserve”, and “Wind Down Budget Reserve.”

                     1.1.3       “Administrative Agent” means PNC Bank, National Association, as
              administrative agent under the Credit Agreement.

                     1.1.4        “Administrative Claim” means a Claim for costs and expenses of
              administration of the Debtors’ Estates pursuant to Sections 503(b), 507(a)(2), 507(b), or
              1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and expenses
              incurred after the Petition Date and through the Effective Date of preserving the Estates and
              operating the business of the Debtors (such as wages, salaries or commissions for services and


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             payments for goods and other services and leased premises); (b) Professional Claims;
             (c) Restructuring Expenses and (d) all fees and charges assessed against the Estates under
             chapter 123 of title 28 of the United States Code.

                     1.1.5       “Administrative Claim Bar Date” means the deadline for filing requests
             for payment of Administrative Claims, which shall be (a) December 23, 2024, at 11:59 p.m.
             (prevailing Eastern Time) with respect to Administrative Claims incurred from the Petition Date
             through November 22, 2024; and (b) 30 days after the Effective Date with respect to
             Administrative Claims incurred from November 22, 2024 through the Effective Date, unless
             otherwise ordered by the Bankruptcy Court, and except with respect to (i) Professional Claims,
             (ii) Restructuring Expenses, (iii) Administrative Claims Allowed by a Final Order of the
             Bankruptcy Court on or before the Effective Date, (iv) Administrative Claims that are not
             Disputed and arose in the ordinary course of business and were paid or are to be paid in
             accordance with the terms and conditions of the particular transaction giving rise to such
             Administrative Claim, or (v) Administrative Claims arising under chapter 123 of title 28 of the
             United States Code.

                     1.1.6       “Affiliate” has the meaning set forth in Section 101(2) of the Bankruptcy
             Code.

                    1.1.7         “Allowed” means (a) any Claim against the Debtors that has been listed by
             the Debtors in the Schedules, as such Schedules may be amended by the Debtors from time to
             time in accordance with Bankruptcy Rule 1009, as liquidated in amount and not disputed or
             contingent and for which no contrary proof of Claim has been filed, (b) any Claim listed on the
             Schedules or included in a timely filed proof of Claim, as to which no objection to allowance
             has been, or subsequently is, interposed in accordance with the Plan or prior to the expiration
             of such other applicable period of limitation fixed by the Bankruptcy Code, the Bankruptcy
             Rules, or the Bankruptcy Court, or as to which any objection has been determined by a Final
             Order to the extent such Final Order is in favor of the respective Holder, (c) any Claim expressly
             allowed by the Plan, or (d) any Claim expressly allowed by a Final Order.

                    1.1.8         “Ancillary Agreements” means, collectively, the agreements to be
             executed in connection with the transactions contemplated by the Asset Purchase Agreement,
             including, but not limited, to, the Transition Services Agreement.

                     1.1.9       “Asset Purchase Agreement” means the asset purchase agreement entered
             into by and between the Purchaser and the Debtors, dated as of November 10, 2024, which is
             attached as Exhibit 1 to the Sale Order, including all schedules and exhibits thereto, and as may
             be amended or modified from time to time.

                     1.1.10      “Assets” means all of the rights, title, and interests of the Debtors, of any
             nature in property of any kind, wherever located, as specified in Section 541 of the Bankruptcy
             Code.

                    1.1.11     “Assumed Contracts” means all Executory Contracts that are not
             Transferred Contracts but are designated as being assumed on the Schedule of Assumed
             Executory Contracts.


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                    1.1.12     “Assumption and Assignment Procedures” has the meaning set forth in
             the Bidding Procedures Order.

                     1.1.13       “Avoidance Actions” means any and all actual or potential Claims or
             Causes of Action to avoid a transfer of property or an obligation incurred by any of the Debtors
             pursuant to any applicable section of the Bankruptcy Code, including Sections 502(d), 544, 545,
             547, 548, 549, 550, 551, 553(b), and 724(a) of the Bankruptcy Code, or under similar or related
             state or federal statutes and common law.

                    1.1.14      “Bankruptcy Code” means title 11 of the United States Code, as amended
             from time to time and in effect during the pendency of these Chapter 11 Cases.

                     1.1.15     “Bankruptcy Court” means the United States Bankruptcy Court for the
             District of Delaware having jurisdiction over the Chapter 11 Cases and, to the extent of any
             reference made under Section 157 of title 28 of the United States Code, the unit of such District
             Court having jurisdiction over the Chapter 11 Cases under Section 151 of title 28 of the United
             States Code.

                     1.1.16     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
             promulgated by the United States Supreme Court under Section 2075 of title 28 of the United
             States Code, as amended from time to time, as applicable to the Chapter 11 Cases, and any local
             rules of the Bankruptcy Court.

                     1.1.17     “Bar Date” means, as applicable, the date of the General Bar Date,
             Administrative Claims Bar Date, Governmental Bar Date, and any other deadline set by the
             Bankruptcy Court for filing proofs of claim or requests for allowance of Administrative Claims
             in the Chapter 11 Cases.

                    1.1.18     “Bidding Procedures” means the competitive marketing and bidding
             process conducted by the Debtors for the Sale pursuant to the Bidding Procedures Order.

                    1.1.19       “Bidding Procedures Order” means the Order (I) Approving the Bid
             Protections; (II) Approving the Assumption and Assignment Procedures; (III) Authorizing and
             Approving the Form of Notice of the Sale of Substantially All of the Assets of the Debtors;
             (IV) Authorizing and Scheduling the Sale Hearing and Setting Other Related Dates and
             Deadlines; and (V) Granting Related Relief [Docket No. 297].

                   1.1.20     “Budget Reserve Buckets” means collectively the 90 Day Buckets and the
             90+ Day Buckets.

                    1.1.21       “Business Day” means any day, excluding Saturdays, Sundays, and “legal
             holidays” (as defined in Bankruptcy Rule 9006(a)).

                    1.1.22       “Cash” means legal tender of the United States of America.

                    1.1.23       “Cash Collateral Budget” means the budget attached to the Cash
             Collateral Order as Exhibit 2 (together with the detailed version of such budget in which, among



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             other things, each of the Budget Reserve Buckets is set forth), as the same may be modified
             from time to time as permitted by the Cash Collateral Order.

                      1.1.24      “Cash Collateral Order” means the Final Order (I)(A) Authorizing
             Debtors to Use Cash Collateral; (B) Granting Adequate Protection to Prepetition Lenders; and
             (C) Modifying the Automatic Stay; and (II) Granting Related Relief [Docket No. 296], including
             all exhibits thereto. Notwithstanding anything to the contrary herein, nothing in this Plan shall
             affect, impair or supersede the Cash Collateral Order, which remains in full force and effect
             and governs in the event of any inconsistency with the Plan.

                     1.1.25       “Causes of Action” means any action, claim, cause of action, controversy,
             third-party claim, demand, right, action, Lien, indemnity, contribution, guaranty, suit,
             obligation, liability, damage, judgment, account, defense, offset of any kind or character
             whatsoever, whether known, unknown, contingent or non-contingent, matured or unmatured,
             suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured or
             unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition
             Date, in contract or in tort, in law, or in equity or pursuant to any other theory of law. For the
             avoidance of doubt, a “Cause of Action” includes: (a) any right of setoff, counterclaim, or
             recoupment and any claim for breach of contract or for breach of duties imposed by law or in
             equity; (b) the right to object to Claims or Interests; (c) any Claim pursuant to Section 362 or
             chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress,
             and usury, and any other defense set forth in Section 558 of the Bankruptcy Code; and (e) any
             state or foreign law fraudulent transfer or similar claim.

                     1.1.26      “Certificate” means any instrument evidencing a Claim or an Interest.

                    1.1.27    “Chapter 11 Cases” means the chapter 11 cases of the Debtors pending in
             the Bankruptcy Court and being jointly administered under Case No. 24-12337.

                    1.1.28       “Claim” means a “claim” against one or more of the Debtors, as defined in
             Section 101(5) of the Bankruptcy Code.

                    1.1.29      “Claims and Solicitation Agent” means Omni Agent Solutions, in its
             capacity as “claims and noticing agent” for the Debtors, or any successor thereto.

                     1.1.30      “Claims Objection Deadline” means the deadline to object to a Claim,
             which shall be the date that is the later of (a) one-hundred and eighty (180) days after the
             Effective Date and (b) such other deadline as may be fixed by an order of the Bankruptcy Court
             for objecting to such Claims.

                     1.1.31      “Class” means a category of Claims or Interests classified together under
             the Plan pursuant to Sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                     1.1.32      “Closing” means the closing of the Sale, which occurred on November 22,
             2024.

                    1.1.33      “Combined Hearing” means the hearing(s) conducted by the Bankruptcy
             Court pursuant to Section 1128(a) of the Bankruptcy Code (a) to consider confirmation of the


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             Plan under Section 1129 of the Bankruptcy Code and (b) final approval of the adequacy of the
             disclosures contained in the Disclosure Statement under Section 1125 of the Bankruptcy Code,
             as such hearing may be adjourned or continued from time to time.

                    1.1.34      “Confirmation” means the entry, within the meaning of Bankruptcy Rules
             5003 and 9012, of the Confirmation Order, on the docket of the Chapter 11 Cases.

                    1.1.35       “Confirmation Date” means the date on which Confirmation occurs.

                    1.1.36      “Confirmation Order” means the order of the Bankruptcy Court
             confirming the Plan under Section 1129 of the Bankruptcy Code.

                     1.1.37       “Credit Agreement” means that certain Credit Agreement dated as of April
             20, 2018, by and among the Debtors, the Prepetition Lenders, and the Administrative Agent,
             including all agreements, notes, instruments, and any other documents delivered pursuant
             thereto or in connection therewith, as amended, supplemented, restated or otherwise modified
             prior to the Petition Date.

                     1.1.38     “Credit Facility” means all term loans, revolving loan commitments, and
             other financial accommodations provided to the Debtors by the Prepetition Secured Parties
             under the Credit Agreement.

                     1.1.39     “Creditors’ Committee” means the statutory committee of unsecured
             creditors appointed by the U.S. Trustee on October 23, 2024 pursuant to Section 1102(a)(1) of
             the Bankruptcy Code.

                     1.1.40      “Cure Amount” means the amount to be paid in Cash or by the distribution
             of other property (as the parties may agree or the Bankruptcy Court may order) as necessary to
             (i) cure a monetary default by the Debtors in accordance with the terms of an Executory
             Contract and (ii) permit the Debtors to assume such Executory Contract under Section 365(a)
             of the Bankruptcy Code.

                    1.1.41        “Cure Notice” means any notice that informs each counterparty to an
             Executory Contract of the timing and procedures relating to such assumption and assignment,
             and, to the extent applicable, (i) the title of the executory contract or unexpired lease, as
             applicable, (ii) the name of the counterparty to the executory contract or unexpired lease, as
             applicable, (iii) Debtors’ good faith estimate of the Cure Amount (if any) required in connection
             with the executory contract or unexpired lease, as applicable, (iv) with respect to Assumed
             Contracts to be assumed or Transferred Contracts to be assumed and assigned in connection
             with the Asset Purchase Agreement.

                    1.1.42       “Cure Objection” means an objection by a counterparty to an Executory
             Contract that is timely filed by the applicable Cure Objection Deadline.

                     1.1.43     “Cure Objection Deadline” means the applicable deadline for filing
             objections to a Cure Notice or proposed Cure Amount.




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                     1.1.44      “Cure Payment” means the payment of Cash or the distribution of other
             property (as the parties may agree or the Bankruptcy Court may order) as necessary to (i) cure
             a monetary default by the Debtors in accordance with the terms of an Executory Contract and
             (ii) permit the Debtors to assume such Executory Contract under Section 365(a) of the
             Bankruptcy Code.

                     1.1.45        “D&O Policies” means all directors’ and officers’ liability insurance
             policies (including any tail policy) issued or providing coverage to any of the Debtors covering
             potential liability of current or former directors, officers and/or employees of the Debtors.

                     1.1.46       “Debtor Release” means the release given on behalf of the Debtors and
             their Estates to the Released Parties as set forth in Section 8.2 of the Plan.

                    1.1.47       “Debtors” means True Value Company, L.L.C. and all of its affiliates that
             are debtors in the Chapter 11 Cases.

                    1.1.48      “Disallowed” means, with respect to any Claim, or any portion thereof, that
             such Claim, or such portion thereof, is not Allowed.

                    1.1.49      “Disclosure Statement” means the disclosure statement for the Plan, as
             may be amended, supplemented, or modified from time to time, including all exhibits and
             schedules thereto, which is prepared and distributed in accordance with the Bankruptcy Code,
             the Bankruptcy Rules, and any other applicable law.

                   1.1.50      “Disclosure Statement Order” means the Final Order entered by the
             Bankruptcy Court approving the Disclosure Statement.

                   1.1.51      “Disputed” means any Claim, or any portion thereof, that is not yet
             Allowed or Disallowed.

                    1.1.52       “Dissolution Date” means the date that the Debtors dissolve in accordance
             with applicable state law.

                    1.1.53

                     1.1.54     “Distribution” means a distribution under the Plan of property to a Holder
             of a Claim on account of such Claim.

                     1.1.55      “Distribution Agent” means (a) prior to the Effective Date, the Debtors
             and (b) on and after the Effective Date, the Plan Administrator, or, in each case, any Person
             designated by the Debtors or the Plan Administrator, as applicable, in the capacity of
             distribution agent under the Plan; provided that, distributions on account of Class 3 Claims shall
             be made to, or at the direction of the Administrative Agent in accordance with the Plan.

                    1.1.56       “Distribution Date” means the date(s) on which Holders of Allowed
             Claims are eligible to receive distributions under the Plan.




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                    1.1.57     “Distribution Record Date” means the date for determining which Holders
             of Allowed Claims are eligible to receive distributions under the Plan, which shall be (a) the
             Confirmation Date, or (b) such other date as designated by an order of the Bankruptcy Court.

                     1.1.58      “Do it Best” means Do it Best Corp., an Indiana corporation.

                     1.1.59      “Effective Date” means the first Business Day on which (a) all conditions
             precedent to the effectiveness of the Plan set forth in the Plan have been satisfied or waived in
             accordance with the terms of the Plan and (b) no stay of the Confirmation Order is in effect.
             Any action to be taken on the Effective Date may be taken on or as soon as reasonably
             practicable thereafter.

                     1.1.60      “Entity” has the meaning set forth in Section 101(15) of the Bankruptcy
             Code.

                    1.1.61      “Estates” means the bankruptcy estates of the Debtors created under
             Section 541 of the Bankruptcy Code.

                     1.1.62       “Exculpated Parties” means, collectively, each of the following in their
             respective capacities as such: (a) the Debtors; (b) the Estates; (c) the Creditors’ Committee and
             each of its current and former members (provided, for the avoidance of doubt, that former
             members of the Creditors’ Committee shall not be exculpated for any act or omission occurring
             after their tenure on the Creditors’ Committee); and (d) each of the preceding parties’ respective
             Related Parties, in each case, who served as a fiduciary of the Estates or on behalf of holders of
             General Unsecured Claims at any time between the Petition Date and the Effective Date of this
             Plan.

                     1.1.63      “Executory Contract” means any contract or unexpired lease of non-
             residential property to which any of the Debtors is a party that is subject to assumption or
             rejection under Section 365 of the Bankruptcy Code.

                     1.1.64     “Existing Interests” means any and all Interests in any of the Debtors that
             are not Intercompany Interests.

                    1.1.65      “Final Decree” means a final decree entered by the Bankruptcy Court
             closing the Chapter 11 Cases pursuant to Bankruptcy Rule 3022.

                     1.1.66       “Final Order” means an order, the operation or effect of which has not
             been stayed, reversed, or amended and as to which order the time to appeal, petition for
             certiorari, or move for reargument or rehearing has expired and as to which no appeal, petition
             for certiorari, or other proceedings for reargument or rehearing shall then be pending or as to
             which any right to appeal, petition for certiorari, reargue, or rehear shall have been waived in
             writing by all Entities possessing such right, or, in the event that an appeal, writ of certiorari,
             or reargument or rehearing thereof has been sought, such order shall have been affirmed by the
             highest court to which such order was appealed, or from which reargument or rehearing was
             sought or certiorari has been denied, and the time to take any further appeal, petition for
             certiorari, or move for reargument or rehearing shall have expired; provided, however, that the
             possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure or any analogous


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             rule under the Bankruptcy Rules may be filed with respect to such order shall not cause such
             order not to be a Final Order.

                     1.1.67      “Fungibility Mechanisms” means the rights, pursuant to the Cash
             Collateral Order, of the Debtors, the Post-Effective Date Debtors and the Plan Administrator to
             (i) use excess amounts within any of the 90 Day Buckets to fund any shortfall in any other 90
             Day Bucket, and (ii) use excess amounts within any 90+ Day Bucket to fund any shortfall in
             any other 90+ Day Bucket; provided, however, that no funds in any Budget Reserve Bucket
             may be moved to, or used to fund, any shortfalls in the 90+ Day Buckets established for “Total
             Professional Fees,” and the “Wind Down Budget Reserve,” as such terms are used in the Cash
             Collateral Budget.

                    1.1.68      “General Bar Date” means December 5, 2024 at 11:59 p.m. (prevailing
             Eastern Time).

                     1.1.69    “General Unsecured Claim” means any Claim that is not an
             Administrative Claim, Priority Tax Claim, Other Priority Claim, Other Secured Claim,
             Prepetition Lender Claim, or Intercompany Claims. For the avoidance of doubt, General
             Unsecured Claims include, without limitation, any Prepetition Lender Deficiency Claims.

                    1.1.70      “Governmental Bar Date” means April 14, 2025 at 11:59 p.m. (prevailing
             Eastern Time).

                   1.1.71     “Governmental Unit” has the meaning set forth in Section 101(27) of the
             Bankruptcy Code.

                     1.1.72     “Holder” means a holder of a Claim against, or Interest in, the Debtors.

                     1.1.73     “Impaired” has the meaning as defined in Section 1124 of the Bankruptcy
             Code.

                    1.1.74       “Initial Litigation Trust Funded Amount” means $150,000, to be funded
             by the Debtors, out of the “Wind Down Budget Reserve,” as such term is used in the Cash
             Collateral Budget, to the Litigation Trust in accordance with the terms of the Litigation Trust
             Agreement.

                    1.1.75      “Intercompany Claim” means a Claim held by a Debtor against another
             Debtor.

                    1.1.76      “Intercompany Interest” means any and all Interests in a Debtor held by
             another Debtor.

                     1.1.77      “Interest” means any issued, unissued, authorized, or outstanding shares of
             common stock, preferred stock, membership or limited liability company interests (whether
             certificated or uncertificated), any “equity security” (as defined in the Bankruptcy Code), or
             other instrument evidencing an ownership interest in a Debtor, whether or not transferable,
             together with any warrants, equity-based awards or contractual rights to purchase or acquire



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             such equity interests at any time and all rights arising with respect thereto that existed
             immediately before the Petition Date..

                    1.1.78       “Lien” has the meaning set forth in Section 101(37) of the Bankruptcy Code.

                     1.1.79      “Litigation Trust” means the trust to be established on the Effective Date
             for the benefit of Holders of Allowed General Unsecured Claims and the Prepetition Lenders
             in accordance with the Plan and the Litigation Trust Agreement.

                    1.1.80      “Litigation Trust Agreement” means the agreement establishing and
             governing the Litigation Trust, a form of which shall be filed with the Plan Supplement.

                  1.1.81        “Litigation Trust Assets” means (i) the Initial Litigation Trust Funded
             Amount and (ii) the Retained Causes of Action.

                    1.1.82       “Litigation Trust Beneficiaries” means all Holders entitled to Litigation
             Trust Distributable Proceeds.

                     1.1.83     “Litigation Trust Distributable Proceeds” means the Cash proceeds,
             whether by settlement, adjudication or otherwise, of any Retained Causes of Action net of any
             Litigation Trust Expenses.

                     1.1.84      “Litigation Trust Expenses” means any fees and expenses incurred by the
             Litigation Trustee (including, but not limited to, the compensation of the Litigation Trustee and
             the reasonable fees and expenses of professionals or other persons retained by the Litigation
             Trustee) in connection with the administration of the Litigation Trust.

                     1.1.85      “Litigation Trust GUC Interests” means all of the interests in the
             Litigation Trust other than the Litigation Trust Prepetition Lender Interests, which shall be
             distributed to the Holders of Allowed General Unsecured Claims, in accordance with the Plan
             and the Litigation Trust Agreement.

                     1.1.86      “Litigation Trust Prepetition Lender Interests” means the interests in
             (i) 50% of the proceeds from commercial tort claims pursued by the Litigation Trust and (ii) the
             proceeds from any other claims or causes of action pursued by the Litigation Trust. The
             Litigation Trust Prepetition Lender Interests shall be distributed to the Prepetition Lenders on
             account of their Prepetition Lender Claims in accordance with the Plan and the Litigation Trust
             Agreement and subject to the Cash Collateral Order.

                    1.1.87       “Litigation Trustee” means the Person or Persons appointed by the
             Debtors in consultation with the Creditors’ Committee as the Plan Administrator acting in the
             capacity as trustee of, and to administer, the Litigation Trust, and take such other actions as
             may be authorized under the Litigation Trust Agreement, along with any successor thereto.

                    1.1.88      “Other Priority Claim” means any Claim, other than an Administrative
             Claim or Priority Tax Claim, entitled to priority of payment as set forth in Section 507(a) of the
             Bankruptcy Code.



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                    1.1.89       “Other Secured Claim” means a Secured Claim, other than any Prepetition
             Lender Claim.

                     1.1.90      “Person” has the meaning set forth in Section 101(41) of the Bankruptcy
             Code.

                     1.1.91        “Petition Date” means the date on which the Debtors filed their voluntary
             petitions for relief commencing the Chapter 11 Cases.

                     1.1.92      “Plan” has the meaning set forth in the Introduction.

                      1.1.93      “Plan Administration Budget” means a budget to be prepared by the
             Debtors, which shall be consistent with the Cash Collateral Order and filed with the Bankruptcy
             Court as part of the Plan Supplement, and which may be amended from time to time by the
             Debtors or the Plan Administrator (including in the capacity as Litigation Trustee), as applicable,
             and which shall estimate the funds necessary to administer the Plan and wind down the Debtors’
             affairs, including the costs of holding and liquidating any Assets that are not Transferred Assets,
             reconciling, objecting to, and resolving Claims and Interests, making the distributions required
             by the Plan, prosecuting Causes of Action and Avoidance Actions, paying taxes, filing tax
             returns, paying the fees and expenses of the Plan Administrator and the Plan Administrator
             Professionals, providing for the purchase of errors and omissions insurance and/or other forms
             of indemnification for the Plan Administrator, satisfying any post-Closing obligations under
             Asset Purchase Agreement, and all such items and other costs of implementing the terms of the
             Plan and the Asset Purchase Agreement, and upon fulfilling all such obligations, any costs
             associated with dissolving the Post-Effective Date Debtors and their Affiliates; provided that,
             for the avoidance of doubt, any costs associated with fulfilling the obligations under the
             Transition Services Agreement shall be funded directly by the Purchaser and will not be
             calculated for purposes of the Plan Administration Budget.

                     1.1.94      “Plan Administration Indemnified Parties” means (a) the Plan
             Administrator (in its capacity as such and as the Litigation Trustee and as officer and director
             of the Debtors as of and following the Effective Date), (b) such individuals that may serve as
             officers and directors of the Post-Effective Date Debtors, if any, and (c) the Plan Administrator
             Professionals.

                      1.1.95       “Plan Administration Reserve” means a Cash reserve to be funded out of
             the “Wind Down Budget Reserve,” as such term is used in the Cash Collateral Budget, in the
             amount of the Plan Administration Budget, which, for the avoidance of doubt, is separate from
             the funds that will be provided by the Purchaser to fund any costs associated with the Post-
             Effective Date Debtors’ obligations under the Transition Services Agreement, which shall be
             covered directly by the Purchaser. A portion of the Plan Administration Reserve shall comprise
             the Initial Litigation Trust Funded Amounts.

                    1.1.96     “Plan Administrator” means the Person or Persons identified in the Plan
             Supplement (as determined by the Debtors in consultation with the Creditors’ Committee) and
             appointed on the Effective Date, who will serve as the trustee and administrator for the Post-




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             Effective Date Debtors, including as the Litigation Trustee, on and after the Effective Date in
             accordance with the Plan.

                    1.1.97      “Plan Administrator Agreement” means the agreement between the
             Debtors and the Plan Administrator specifying the rights, duties and responsibilities of the Plan
             Administrator under the Plan and providing for the Plan Administrator’s retention of the Plan
             Administrator Professionals, a form of which shall be filed with the Plan Supplement.

                    1.1.98       “Plan Administrator Professionals” means the agents, financial advisors,
             attorneys, consultants, independent contractors, representatives and other professionals of the
             Plan Administrator and the Post-Effective Date Debtors, in their capacities as such.

                     1.1.99      “Plan Supplement” means a supplemental appendix to the Plan containing,
             among other things, substantially final forms of documents, schedules, and exhibits relevant to
             the implementation of the Plan, to be filed with the Bankruptcy Court, including, among other
             things, the following: the Plan Administrator Agreement, the Plan Administration Budget, the
             Litigation Trust Agreement, the Schedule of Assumed Executory Contracts, and the Schedule
             of Retained Causes of Action. The Plan Supplement shall be filed with the Bankruptcy Court
             on or before the Plan Supplement Filing Date; provided that, through the Effective Date, the
             Debtors shall have the right to amend and supplement the Plan Supplement and any schedules,
             exhibits, or amendments thereto, in accordance with the terms of the Plan and the Litigation
             Trust Agreement.

                      1.1.100    “Plan Supplement Filing Date” means March 7, 2025 (prevailing Eastern
             Time).

                     1.1.101     “Post-Effective Date Debtors” means the Debtors as of and following the
             Effective Date.

                    1.1.102    “Prepetition Lenders” means the lenders and issuing banks party to the
             Credit Agreement.

                    1.1.103     “Prepetition Lender Claims” means a Claim arising under, derived from,
             or based on the Credit Agreement, other than any Prepetition Lender Deficiency Claims.

                    1.1.104     “Prepetition Lender Deficiency Claims” means, subject in all respects to
             the agreements set forth under the “Releases” section of the Cash Collateral Order, any
             unsecured Claim of a Holder of Prepetition Lender Claims arising under, derived from, or based
             on the Credit Agreement.

                     1.1.105     “Prepetition Lender Subordinated Liens” means the Prepetition Lenders’
             Liens on the cash collateral used to fund the Retained Funds and the Budget Reserve Buckets
             which Liens are subordinated pursuant to the Cash Collateral Order to the payment of the
             Allowed Administrative Claims and/or other Claims for which the Retained Funds and the
             Budget Reserve Buckets were established to address, and which lien subordination shall remain
             in effect notwithstanding a conversion of the Debtors’ Chapter 11 Cases to cases under chapter
             7.



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                    1.1.106    “Prepetition Secured Parties” means, collectively, the Administrative
             Agent and the Prepetition Lenders.

                     1.1.107    “Priority Tax Claim” means any Claim of a Governmental Unit entitled to
             priority of payment under Section 507(a)(8) of the Bankruptcy Code.

                     1.1.108     “Pro Rata” means the proportion that an Allowed Claim or Interest in a
             particular Class bears to the aggregate amount of Allowed Claims or Interests in that Class, or
             the proportion that Allowed Claims or Interests in a particular Class bear to the aggregate
             amount of Allowed Claims or Interests in a particular Class and other Classes entitled to share
             in the same recovery as such Allowed Claims or Allowed Interests under the Plan.

                     1.1.109    “Professional” means any Entity retained by order of the Bankruptcy Court
             in connection with these Chapter 11 Cases pursuant to Sections 327, 328, 330, 331, 503(b), or
             1103 of the Bankruptcy Code; provided, however, that Professional does not include any Entity
             retained pursuant to an order of the Bankruptcy Court authorizing the retention of “ordinary-
             course professionals” or the Plan Administrator Professionals.

                    1.1.110      “Professional Claim” means an Administrative Claim of a Professional for
             compensation for services rendered or reimbursement of costs, expenses, or other charges and
             disbursements incurred relating to services rendered or expenses incurred after the Petition Date
             and prior to and including the Confirmation Date.

                    1.1.111      “Professional Claim Estimate” means the sum of (a) the billed but unpaid
             fees and expenses of Professionals as of the Effective Date, and (b) the unbilled fees and
             expenses of Professionals estimated pursuant Section 2.2(b) of the Plan attributable to fees and
             expenses to be incurred as of the Effective Date; provided, however, that if a Professional does
             not provide an estimate pursuant to Section 2.2(b) of the Plan, the Debtors may estimate the
             unbilled fees and expenses of such Professional incurred as of the Effective Date.

                    1.1.112      “Professional Claims Reserve” means the interest-bearing escrow account,
             maintained by the Plan Administrator, on behalf of the Debtors, into which, subject to and in
             accordance with the Cash Collateral Order, Cash equal to the Professional Claim Estimate has
             been deposited under the Cash Collateral Order or shall be deposited on or before the Effective
             Date to fund all Professional Claims of Professionals.

                     1.1.113     “Purchaser” means Do it Best and, to the extent applicable, any Affiliates
             thereof.

                    1.1.114    “Rejection Damages Claim” means any Claim on account of the rejection
             of an Executory Contract pursuant to Section 365 of the Bankruptcy Code.

                     1.1.115       “Related Party” means each of, and in each case in its capacity as such,
             current and former directors, managers, officers, committee members, members of any
             governing body, equity holders (regardless of whether such interests are held directly or
             indirectly), affiliated investment funds or investment vehicles, managed accounts or funds,
             predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited
             partners, general partners, principals, members, management companies, fund advisors or


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             managers, employees, agents, trustees, advisory board members, financial advisors, attorneys
             (including any other attorneys or professionals retained by any current or former director or
             manager in his or her capacity as director or manager of an Entity), accountants, investment
             bankers, consultants, representatives, and other professionals and advisors and any such
             Person’s or Entity’s respective heirs, executors, estates, and nominees.

                     1.1.116    “Released Parties” means, collectively, each of the following in their
             respective capacities as such: (a) the Debtors’ and the Estates’ Related Parties; (b) the
             Prepetition Secured Parties; (c) the Creditors’ Committee and each of its current and former
             members; and (d) the Related Parties of each of the Entities in clauses (b) and (c).

                     1.1.117      “Releasing Parties” means, collectively, each of the following in their
             respective capacities as such: (a) the Released Parties; (b) all Holders of Claims or Interests that
             (i) vote to reject or abstain from voting on the Plan and (ii) check the box on the applicable
             ballot indicating that they “opt in” to granting the Releasing Party Releases; (c) all Holders of
             Claims or Interests that vote to accept the Plan and do not affirmatively “opt out” of granting
             the Releasing Party Releases; (d) all Holders of Claims or Interests that (i) are deemed to have
             rejected the Plan pursuant to Section 1126(g) of the Bankruptcy Code, and (ii) after receiving
             notice, affirmatively “opt in” to the Releasing Party Releases; (e) all Holders of Claims or
             Interests that (i) are deemed to have accepted the Plan pursuant to Section 1126(f) of the
             Bankruptcy Code and, (ii) after receiving notice, affirmatively “opt in” to the Releasing Party
             Releases; and (f) each Related Party of each Entity in the foregoing clauses (a) through (e),
             solely to the extent such Related Party may assert Claims or Causes of Action on behalf of or
             in a derivative capacity by or through an Entity in clause (a) through (e).

                    1.1.118      “Releasing Party Release” means the release given by each of the
             Releasing Parties to the Released Parties as set forth in Section 8.3 of the Plan.

                     1.1.119     “Representatives” means, with respect to any Person or Entity, such
             Person’s or Entity’s current and former principals, members, equity holders, managers, partners,
             agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
             consultants, representatives, experts, and other professionals acting in such capacity for such
             Person or Entity.

                    1.1.120      “Restructuring Expenses” means the reasonable and documented
             professional fees and expenses incurred pursuant to the Asset Purchase Agreement, the Cash
             Collateral Order, or other applicable agreement pursuant to which the Debtors have agreed to
             reimburse the reasonable professional fees and expenses of the respective party, to the extent
             such fees and expenses are not paid or contemplated to be paid from other sources.

                    1.1.121     “Retained Causes of Action” means all Causes of Action owned by the
             Debtors, other than any Causes of Action that are Transferred Assets under the Asset Purchase
             Agreement or released pursuant to the terms of the Plan or an order of the Bankruptcy Court.

                    1.1.122      “Retained Funds” shall have the meaning ascribed to such term in the Cash
             Collateral Order.




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                    1.1.123     “Sale Order” means the Order (A) Approving Sale of Substantially All of
             Debtors’ Assets Free and Clear of All Claims, Liens, Rights, Interests, and Encumbrances,
             (B) Authorizing Debtors to Enter Into and Perform Under Asset Purchase Agreement,
             (C) Approving Assumption and Assignment of Certain Executory Contracts, and (D) Granting
             Related Relief [Docket No. 411].

                    1.1.124     “Sale” means the sale of substantially all of the Debtors’ Assets to the
             Purchaser pursuant to the Asset Purchase Agreement and the Sale Order.

                    1.1.125    “Schedule of Assumed Executory Contracts” means the schedule of
             Executory Contracts to be assumed by the Debtors pursuant to the Plan, along with the proposed
             Cure Amount, if any, with respect to each such Executory Contract, in the form filed as part of
             the Plan Supplement, as the same may be amended, modified, or supplemented from time to
             time.

                     1.1.126     “Schedule of Retained Causes of Action” means the schedule of Retained
             Causes of Action, in the form filed as part of the Plan Supplement, as the same may be amended,
             modified, or supplemented from time to time. For the avoidance of doubt, exclusion of a Person
             or Entity on the schedule of Retained Causes of Action does not, and should not be interpreted
             to, mean that Causes of Action against such Person or Entity are released or waived under the
             Plan.

                     1.1.127       “Schedules” means the schedules of assets and liabilities, statements of
             financial affairs, lists of Holders of Claims and Interests and all amendments or supplements
             thereto filed by the Debtors with the Bankruptcy Court to the extent such filing is not waived
             pursuant to an order of the Bankruptcy Court.

                      1.1.128      “Secured Claim” means a Claim to the extent it is (a) secured by a Lien on
             property of a Debtor’s Estate, the amount of which is equal to or less than the value of such
             property (i) as set forth in the Plan, (ii) as agreed to by the Holder of such Claim and the Debtors,
             or (iii) as determined by a Final Order in accordance with Section 506(a) of the Bankruptcy
             Code, or (b) secured by the amount of any rights of setoff of the Holder thereof under Section
             553 of the Bankruptcy Code.

                    1.1.129      “Statutory Fees” means all fees and charges assessed against the Estates
             under Section 1930 of chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1-4001,
             plus any interest thereon pursuant to 31 U.S.C. § 3717.

                     1.1.130     “Subordinated Claim” means any Claim arising from rescission of a
             purchase or sale of an equity security of the Debtors or an Affiliate of the Debtors, for damages
             arising from the purchase or sale of such an equity security, for reimbursement or contribution
             allowed under Section 502 of the Bankruptcy Code on account of such a Claim or otherwise
             subordinated under Section 510 of the Bankruptcy Code.

                    1.1.131     “Transferred Assets” means all assets transferred to the Purchaser
             pursuant to the Asset Purchase Agreement.




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                     1.1.132    “Transferred Contracts” means collectively, all Executory Contracts that
             are assumed and assigned by the Debtors to the Purchaser under the Asset Purchase Agreement.

                     1.1.133      “Transition Services Agreement” means the Amended and Restated
             Transition Services Agreement Term Sheet among the Purchaser and Debtors, which is attached
             as Exhibit H to the Asset Purchase Agreement as the same may be modified or amended by the
             parties thereto as provided therein.

                   1.1.134    “TSA Assumption Order” means the Order Approving TSA Contract
             Assumption and Assignment Procedures [Docket No. 688].

                     1.1.135      “Unclaimed Distribution” means any distribution under the Plan on
             account of an Allowed Claim to a Holder that has not: (a) accepted a particular distribution or,
             in the case of distributions made by check, negotiated and/or cashed such check; (b) given
             notice to the Debtors or the Plan Administrator, as applicable, of an intent to accept a particular
             distribution; (c) responded to the Debtors’ or the Plan Administrator’s, as applicable, request
             for information necessary to facilitate a particular distribution; or (d) taken any other action
             necessary to facilitate such distribution.

                    1.1.136      “Unimpaired” means, with respect to a Class of Claims or Interests, a Class
             of Claims or Interests that is not Impaired.

                     1.1.137    “U.S. Trustee” means the Office of the United States Trustee for the
             District of Delaware.

                 Section 1.2     Rules of Interpretation

                  For purposes of the Plan, unless otherwise provided herein, (a) whenever from the context
         it is appropriate, each term, whether stated in the singular or the plural, shall include both the
         singular and the plural; (b) each pronoun stated in the masculine, feminine, or neuter shall include
         the masculine, feminine, and neuter; (c) any reference in the Plan to an existing document or
         schedule filed or to be filed means such document or schedule, as it may have been or may be
         amended, modified, or supplemented; (d) any reference to an Entity as a Holder of a Claim or
         Interest includes that Entity’s successors and assigns; (e) all references in the Plan to Sections,
         Articles, and Exhibits are references to Sections, Articles, and Exhibits of or to the Plan; (f) the
         words “herein,” “hereunder,” “hereto,” and the like refer to the Plan in its entirety rather than to a
         particular portion of the Plan; (g) captions and headings to Articles and Sections are inserted for
         convenience of reference only and are not intended to be a part of or to affect the interpretation of
         the Plan; (h) the rules of construction set forth in Section 102 of the Bankruptcy Code shall apply;
         (i) references to “shares,” “shareholders,” “directors,” and/or “officers” shall also include
         “membership units,” “members,” “managers,” or other functional equivalents, as applicable, as
         such terms are defined under the applicable state limited liability company or alternative
         comparable laws, as applicable; and (j) any immaterial effectuating provision may be interpreted
         by the Post-Effective Date Debtors in a manner that is consistent with the overall purpose and
         intent of the Plan without further order of the Bankruptcy Court.




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                 Section 1.3     Computation of Time

                In computing any period of time prescribed or allowed by the Plan, unless otherwise
         expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply. All references in the
         Plan to monetary figures shall refer to the legal tender of the United States of America, unless
         otherwise expressly provided.

                 Section 1.4     Exhibits

                 All Exhibits hereto are incorporated into and are part of the Plan as if set forth in full herein
         and such Exhibits shall be filed with the Bankruptcy Court on or before the Plan Supplement Filing
         Date. After the Plan Supplement is filed, copies of Exhibits may be obtained upon email request
         to the Claims and Solicitation Agent at TrueValueInquiries@OmniAgnt.com.

                 Section 1.5     Reference to the Debtors or the Post-Effective Date Debtors

                Except as otherwise specifically provided to the contrary, references in the Plan to the
         Debtors or the Post-Effective Date Debtors shall mean the Debtors and the Post-Effective Date
         Debtors, as applicable, to the extent the context requires.

               Section 1.6       References to the Asset Purchase Agreement and any Ancillary
         Agreements

                Except as otherwise specifically provided to the contrary, references in the Plan to the Asset
         Purchase Agreement shall also include any Ancillary Agreements entered in connection with the
         Asset Purchase Agreement.

                 Section 1.7     Controlling Document

                 In the event that there is any inconsistency between the Plan, the Plan Supplement or any
         other instrument or document created or executed pursuant to the Plan, the Disclosure Statement,
         and the Litigation Trust Agreement, the terms of the Plan shall govern. In the event that the
         provisions of the Plan, the Confirmation Order, the Disclosure Statement, the Plan Supplement,
         and the Litigation Trust Agreement conflict, the terms of the Confirmation Order shall govern.

                                         ARTICLE II
                        ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

                 Section 2.1     Administrative Claims

                 Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the
         Debtors or the Plan Administrator (on behalf of the Post-Effective Date Debtors), as applicable, to
         the extent an Administrative Claim has not already been paid in full or otherwise satisfied during
         the Chapter 11 Cases and except as otherwise provided in this Article II, each Holder of an Allowed
         Administrative Claim shall receive in full and final satisfaction and settlement of and in exchange
         for of its Allowed Administrative Claim an amount of Cash equal to the unpaid portion of such
         Allowed Administrative Claim: (a) if such Administrative Claim is Allowed on or prior to the
         Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then


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         due, when such Administrative Claim is due or as soon as reasonably practicable thereafter); (b)
         if such Administrative Claim is Allowed after the Effective Date, on the date such Administrative
         Claim is Allowed or as soon as reasonably practicable thereafter; (c) if the Allowed Administrative
         Claim is based on liabilities incurred by the Debtors in the ordinary course of their business after
         the Petition Date, in the ordinary course of business in accordance with the terms and conditions
         of the particular transaction giving rise to such Allowed Administrative Claim, without any further
         action by the Holder of such Allowed Administrative Claim; (d) at such time and upon such terms
         as may be agreed upon by the Holder of such Allowed Administrative Claim and the Debtors or
         the Post-Effective Date Debtors, as applicable; or (e) at such time and upon such terms as set forth
         in a Final Order of the Bankruptcy Court.

                All requests for payment of an Administrative Claim (other than Professional Claims or
         Administrative Claims that are not disputed and arose in the ordinary course of business) that
         accrued on or before the Effective Date must be filed with the Bankruptcy Court and served on the
         Debtors or the Plan Administrator (on behalf of the Post-Effective Date Debtors) no later than the
         Administrative Claims Bar Date or be forever barred. Holders of Administrative Claims (other
         than Professional Claims or Administrative Claims that are not disputed and arose in the ordinary
         course of business) that are required to, but do not, file and serve a request for payment of such
         Administrative Claims by the Administrative Claims Bar Date shall be forever barred, estopped,
         and enjoined from asserting such Administrative Claims against the Debtors, the Post-Effective
         Date Debtors, or their Estates, and such Administrative Claims shall be deemed discharged,
         compromised, settled, and released as of the Effective Date.

                 The Debtors or the Plan Administrator (on behalf of the Post-Effective Date Debtors), as
         applicable, in their sole and absolute discretion, may settle Administrative Claims in the ordinary
         course of business without further Bankruptcy Court approval. The Debtors or the Litigation
         Trustee may also choose to object to any Administrative Claim no later than forty-five (45) days
         after the Administrative Claims Bar Date, subject to extensions by the Bankruptcy Court,
         agreement in writing of the parties, or on motion of a party in interest approved by the Bankruptcy
         Court. Unless the Debtors or the Litigation Trustee (or other party with standing) object to a timely
         filed and properly served Administrative Claim, such Administrative Claim shall be deemed
         Allowed in the amount requested. In the event that the Debtors or the Litigation Trustee object to
         an Administrative Claim, the parties may confer to try to reach a settlement and, failing that, the
         Bankruptcy Court shall determine whether such Administrative Claim should be allowed and, if
         so, in what amount.

                Section 2.2     Professional Claims

                (a)     Final Fee Applications

                 All final requests for payment of Professional Claims must be filed no later than forty-five
         (45) days after the Effective Date. Objections to Professional Claims must be filed and served no
         later than twenty-one (21) days after the Filing of the Professional Claim. The Bankruptcy Court
         shall determine the Allowed amounts of such Professional Claims of Professionals after notice and
         a hearing in accordance with the procedures established by the Bankruptcy Court. Unless
         otherwise agreed to by the Debtors and the Professional, the Plan Administrator shall pay



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         Professional Claims that are Allowed by Final Order following the Effective Date in Cash within
         five (5) Business Days of the entry of such Final Order.

                (b)     Professional Claim Estimate

                 The Professionals shall reasonably estimate in good faith their respective Professional
         Claim prior to and as of the Effective Date and shall deliver such estimate to the Debtors no later
         than five (5) Business Days before the anticipated Effective Date; provided that such estimate shall
         not be considered an admission or limitation with respect to the fees and expenses of such
         Professional. If a Professional does not provide such estimate, the Debtors may estimate the
         unbilled fees and expenses of such Professional; provided that such estimate shall not be
         considered an admission or limitation with respect to the fees and expenses of such Professional.
         The total amount estimated as of the Effective Date shall consist of the Professional Claim
         Estimate.

                (c)     Professional Claims Reserve

                 On or before the Effective Date, the Debtors or the Plan Administrator (on behalf of the
         Post-Effective Date Debtors) shall establish and fund, in a manner consistent with the Cash
         Collateral Order, the Professional Claims Reserve with Cash equal to the Professional Claim
         Estimate. The Professional Claims Reserve shall be maintained in trust solely for the benefit of
         the Professionals to pay Professional Claims. Other than the Prepetition Lender Subordinated
         Liens, no Liens, Claims, or Interests shall encumber the Professional Claims Reserve in any way.
         When all such Allowed amounts owing to Professionals have been paid in full, any remaining
         amount in the Professional Claims Reserve shall be remitted to the Prepetition Lenders in
         accordance with the Cash Collateral Order.

                (d)     Post-Effective Date Retention

                 Upon the Effective Date, any requirement that Professionals comply with Sections 327
         through 331 of the Bankruptcy Code in seeking retention or compensation for services rendered
         after the Effective Date shall terminate, and the Plan Administrator shall be permitted to employ
         and pay Professionals and Plan Administrator Professionals in its discretion (including the fees
         and expenses incurred by professionals in preparing, reviewing, prosecuting, defending, or
         addressing any issues with respect to final fee applications). The Debtors or the Post-Effective
         Date Debtors, as applicable, may employ and pay any Professional for fees and expenses incurred
         after the Effective Date in the ordinary course of business without any further notice to or action,
         order, or approval of the Court. For the avoidance of doubt, professional persons employed or
         compensated by the Litigation Trust shall be employed and compensated by the Litigation Trust
         and not by the Debtors, their Estates or the Post-Effective Date Debtors.

                Section 2.3     Restructuring Expenses

                  The Restructuring Expenses incurred, or estimated to be incurred, up to and including the
         Effective Date, but not paid, shall be paid in full in Cash on or as soon as practicable after the
         Effective Date (to the extent not previously paid during the course of the Chapter 11 Cases) in
         accordance with, and subject to the Plan and the Cash Collateral Order, without any requirement
         to file a fee application with the Bankruptcy Court, without the need for itemized time detail, and

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         without any requirement for Bankruptcy Court review or approval. All Restructuring Expenses to
         be paid on the Effective Date shall be estimated prior to and as of the Effective Date and such
         estimates shall be delivered to the Debtors at least five (5) Business Days before the anticipated
         Effective Date (or such shorter period as the Debtors may agree); provided that such estimate shall
         not be considered an admission or limitation with respect to such Restructuring Expenses. On or
         as soon as reasonably practicable after the Effective Date, final invoices for all Restructuring
         Expenses incurred prior to and as of the Effective Date shall be submitted to the Debtors. In
         addition, the Debtors and the Post-Effective Date Debtors (as applicable) shall continue to pay,
         subject to the Cash Collateral Budget, pre- and post-Effective Date, when due and payable in the
         ordinary course, Restructuring Expenses whether incurred before, on, or after the Effective Date.

                Section 2.4     Plan Administration Reserve

                 Before the Effective Date, the Debtors shall establish and fund the Plan Administration
         Reserve with Cash equal to the Plan Administration Budget. The Plan Administration Reserve
         shall be maintained in trust solely for the benefit of the Plan Administrator to satisfy all obligations
         under the Plan Administrator Agreement, the Plan, the Asset Purchase Agreement, and any
         Ancillary Agreements. Such funds shall not be considered property of the Estates of the Debtors.
         Other than the Prepetition Lender Subordinated Liens, no Liens, Claims, or Interests shall
         encumber the Plan Administration Reserve in any way. For the avoidance of doubt, any costs
         incurred in connection with the obligations owed by the Post-Effective Date Debtors under the
         Transition Services Agreement shall be separately funded by the Purchaser to a separate bank
         account managed by the Plan Administrator on behalf of the Post-Effective Date Debtors.

                Section 2.5     Priority Tax Claims

                 Except to the extent that each Holder of an Allowed Priority Tax Claim agrees to a less
         favorable treatment, in full and final satisfaction and settlement of and in exchange for each
         Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in
         accordance with the terms set forth in Section 1129(a)(9)(C) of the Bankruptcy Code. To the
         extent any Allowed Priority Tax Claim is not due and owing on or before the Effective Date, such
         Claim shall be paid in accordance with the terms of any agreement between the Debtors and the
         Holder of such Claim, or when such Allowed Priority Tax Claim becomes due and payable under
         applicable non-bankruptcy law, or in the ordinary course of business. In the event an Allowed
         Priority Tax Claim is also a Secured Claim, such Claim shall, to the extent it is Allowed, be treated
         as an Other Secured Claim if such Claim is not otherwise paid in full.

                                      ARTICLE III
             CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

                Section 3.1     Classification of Claims and Interests

                  The Plan, though proposed jointly, constitutes a separate plan for each of the Debtors and
         does not constitute a substantive consolidation of the Debtors’ Estates. The Plan provides for
         consolidation of the Debtors solely for voting, confirmation and distribution, but not for any other
         purpose. Therefore, all Claims against and Interests in a particular Debtor are placed in the Classes
         set forth below with respect to such Debtor. Classes that are not applicable as to a particular Debtor


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         shall be eliminated as set forth more fully in Section 3.3(d) of the Plan. In accordance with Section
         1123(a)(1) of the Bankruptcy Code, Administrative Claims, and Priority Tax Claims of the kinds
         specified in Sections 507(a)(1) and 507(a)(8) of the Bankruptcy Code have not been classified and
         their treatment is set forth in Article II of the Plan.

                A Claim or Interest is placed in a particular Class for all purposes, including voting,
         Confirmation, and distribution under the Plan and under Sections 1122 and 1123(a)(1) of the
         Bankruptcy Code; provided, however, that a Claim or Interest is placed in a particular Class for
         the purpose of voting on the Plan and, to the extent applicable, receiving distributions pursuant to
         the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in
         that Class and such Allowed Claim or Allowed Interest has not been satisfied, released, or
         otherwise settled prior to the Effective Date.

                  Claims and Interests are divided into the numbered Classes set forth below:

             Class           Claim or Interest                      Status               Voting Rights
              1             Other Priority Claims              Unimpaired              Presumed to Accept
              2             Other Secured Claims               Unimpaired              Presumed to Accept
              3           Prepetition Lender Claims                Impaired              Entitled to Vote
              4          General Unsecured Claims                  Impaired              Entitled to Vote
                                                                                      Presumed to Accept or
              5             Intercompany Claims           Unimpaired/ Impaired
                                                                                        Deemed to Reject
                                                                                      Presumed to Accept or
              6            Intercompany Interests         Unimpaired/ Impaired
                                                                                        Deemed to Reject
              7             Subordinated Claims                    Impaired             Deemed to Reject
              8               Existing Interests                   Impaired             Deemed to Reject

                  Section 3.2     Treatment and Voting of Claims and Interests

                  (a)     Class 1 – Other Priority Claims

                                  (i)      Classification: Class 1 consists of all Other Priority Claims.

                                  (ii)    Treatment: Except as otherwise provided in the Plan, and except to
                  the extent that a Holder of an Allowed Other Priority Claim agrees to a less favorable
                  treatment, in full and final satisfaction, settlement, and release of and in exchange for each
                  and every Allowed Other Priority Claim, each such Holder of an Allowed Other Priority
                  Claim shall be paid in full in Cash as soon as reasonably practicable after the latest of
                  (1) the Effective Date; (2) thirty (30) days after the date when an Other Priority Claim
                  becomes an Allowed Other Priority Claim, or (3) such other date as agreed upon by the
                  Debtors or the Plan Administrator (on behalf of the Post-Effective Date Debtors) and the
                  Holder of such Other Priority Claim; provided, however, that Other Priority Claims that
                  arise in the ordinary course of the Debtors’ business and which are not due and payable on
                  or before the Effective Date shall be paid in the ordinary course of business in accordance
                  with the terms thereof.


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                          (iii) Impairment and Voting. Class 1 is Unimpaired, and Holders of
             Allowed Other Priority Claims are conclusively presumed to have accepted the Plan.

             (b)     Class 2 – Other Secured Claims

                            (i)     Classification. Class 2 consists of all Other Secured Claims.

                             (ii)    Treatment. Except as otherwise provided in the Plan, and except to
             the extent that a Holder of an Allowed Other Secured Claim agrees to a less favorable
             treatment, in full and final satisfaction, settlement, and release of and in exchange for each
             and every Allowed Other Secured Claim, each such Holder of an Allowed Other Secured
             Claim shall, at the sole option of the Debtors or the Plan Administrator (on behalf of the
             Post-Effective Date Debtors), as applicable, (1) be paid in full in Cash in an amount equal
             to such Allowed Other Secured Claim required to be paid pursuant to Section 506 of the
             Bankruptcy Code, as soon as reasonably practicable after the latest of (A) the Effective
             Date or (B) thirty (30) days after the date such Other Secured Claim becomes an Allowed
             Other Secured Claim, or (C) such other date as agreed upon by the Debtors or the Plan
             Administrator (on behalf of the Post-Effective Date Debtors) and the Holder of such Other
             Secured Claim; (2) delivery of collateral securing any such Claim; or (3) such other
             treatment rendering such Holder’s Allowed Other Secured Claim Unimpaired under the
             Bankruptcy Code; provided, that Other Secured Claims that arise in the ordinary course of
             the Debtors’ business and that are not due and payable on or before the Effective Date shall
             be paid in the ordinary course of business in accordance with the terms thereof; provided
             further, that nothing in this Section 3.2(b) or elsewhere in the Plan shall preclude the
             Debtors or the Litigation Trustee (on behalf of the Post-Effective Date Debtors), as
             applicable, from challenging the validity of any alleged Lien on any asset of the Debtors
             or the value of the property that secures any alleged Lien.

                          (iii) Impairment and Voting. Class 2 is Unimpaired, and Holders of
             Allowed Other Secured Claims are conclusively presumed to have accepted the Plan.

             (c)     Class 3 – Prepetition Lender Claims

                            (i)     Classification. Class 3 consists of all Prepetition Lender Claims.

                            (ii)    Allowance. The Prepetition Lender Claims shall be Allowed in the
             aggregate principal amount of $238.2 million plus accrued unpaid interest on the Allowed
             amount of the Prepetition Lender Claims under the Credit Agreement. For the avoidance
             of doubt, any Restructuring Expenses incurred by the Prepetition Secured Parties in
             connection with their participation in these Chapter 11 Cases shall be paid in accordance
             with Section 2.3 of the Plan.

                            (iii) Treatment. Except to the extent that a Holder of an Allowed
             Prepetition Lender Claim agrees to a less favorable treatment, in full and final satisfaction,
             settlement, and release of and in exchange for each and every Allowed Prepetition Lender
             Claim, each Holder of an Allowed Prepetition Lender Claim shall receive:

                            (1)     Subject to the terms and conditions of the Cash Collateral Order:


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                                       (A)        upon the conclusion of the Administrative Claims
                                       Reconciliation Period (as defined in the Cash Collateral Order),
                                       i.e., February 20, 2025, any Retained Funds that were not used,
                                       or identified for use on account of incurred or accrued
                                       Administrative Claims that have been reconciled, by the
                                       Debtors’ Estates to pay Allowed Administrative Claims up to
                                       the full amount of the Indebtedness (as defined in the Cash
                                       Collateral Order);

                                       (B)         no later than 90 days following the closing of the Sale
                                       (i.e., February 20, 2025), any excess funds in any of the 90 Day
                                       Buckets that are not required to address or pay the Allowed
                                       Administrative Claims or priority Claims for which such 90
                                       Day Buckets were established to address, or to cover shortfalls
                                       in other 90 Day Buckets in accordance with the Fungibility
                                       Mechanisms up to the full amount of the Indebtedness;

                                       (C)        no later than the earlier of (1) the Effective Date and
                                       (2) 90 days following the termination of the Transition Services
                                       Agreement, any excess funds in any of the 90+ Day Buckets
                                       other than the Wind Down Budget Reserve that are not required
                                       to address or pay the Allowed Administrative Claims or priority
                                       Claims for which such 90+ Day Buckets were established to
                                       address, or to cover shortfalls in other reserves in accordance
                                       with the Fungibility Mechanisms up to the full amount of the
                                       Indebtedness; and

                                       (D)       no later than 90 days following the termination of the
                                       Transition Services Agreement, any excess funds in the Wind
                                       Down Budget Reserve that are not required to address or pay
                                       the Allowed Administrative Claims or priority Claims for
                                       which the Wind Down Budget Reserve was established to
                                       address up to the full amount of the Indebtedness.

                           (2)     As and when received, in accordance with the Cash Collateral Order,
                                   promptly upon receipt, any Cash the Debtors have on hand,
                                   including, for the avoidance of doubt, such funds received by the
                                   Debtors after the Closing other than funds received pursuant to the
                                   Transition Services Agreement.

                           (3)     On the Effective Date, the Litigation Trust Prepetition Lender
                                   Interests.

                            (iv)  On the Effective Date, the Prepetition Lenders’ liens, including the
             Prepetition Lender Subordinated Liens, shall be subject to and consistent with the Cash
             Collateral Order.



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                          (v)     Impairment and Voting. Class 3 is Impaired, and Holders of
             Allowed Prepetition Lender Claims are entitled to vote to accept or reject the Plan.

             (d)     Class 4 – General Unsecured Claims

                            (i)     Classification. Class 4 consists of all General Unsecured Claims.

                          (ii)    Treatment. On the Effective Date, each Holder of a General
             Unsecured Claim shall receive its Pro Rata share of the Litigation Trust GUC Interests.

                          (iii) Impairment and Voting. Class 4 is Impaired, and Holders of General
             Unsecured Claims are entitled to vote to accept or reject the Plan.

             (e)     Class 5 – Intercompany Claims

                            (i)     Classification. Class 5 consists of all Intercompany Claims.

                             (ii)   Treatment. On the Effective Date, all Intercompany Claims shall be:
             (1) reinstated; (2) canceled, released, waived, and discharged; or (3) otherwise settled in
             the Debtors’ or the Post-Effective Date Debtors’ sole discretion.

                             (iii) Impairment and Voting. Holders of Intercompany Claims that are
             reinstated are conclusively presumed to accept the Plan pursuant to Section 1126(f) and
             Holders of Intercompany Claims that are canceled, released and discharged under the Plan
             without any distribution are deemed to reject pursuant to Section 1126(g) of the Bankruptcy
             Code, respectively. Therefore, Holders of Allowed Intercompany Claims are not entitled
             to vote to accept or reject the Plan, and the votes of such Holders will not be solicited with
             respect to such Allowed Intercompany Claims.

             (f)     Class 6 – Intercompany Interests

                            (i)     Classification. Class 6 consists of all Intercompany Interests.

                             (ii)    Treatment. On the Effective Date, all Intercompany Interests shall
             be: (1) reinstated; (2) canceled, released, waived, and discharged; or (3) otherwise settled
             in the Debtors’ or the Post-Effective Date Debtors’ sole discretion.

                             (iii) Impairment and Voting. Holders of Intercompany Interests that are
             reinstated are conclusively presumed to accept the Plan pursuant to Section 1126(f) and
             Holders of Intercompany Interests that are canceled, released and discharged under the
             Plan without any distribution are deemed to reject pursuant to Section 1126(g) of the
             Bankruptcy Code, respectively. Therefore, Holders of Allowed Intercompany Interests are
             not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be
             solicited with respect to such Allowed Intercompany Interest.

             (g)     Class 7 – Subordinated Claims

                            (i)     Classification. Class 7 consists of all Subordinated Claims, if any.


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                                (ii)    Treatment. On the Effective Date, all Subordinated Claims shall be
                canceled, released, extinguished and discharged, and Holders of Subordinated Claims shall
                not receive or retain any property under the Plan on account of such Claims.

                                (iii) Impairment and Voting. Class 7 is Impaired, and Holders of
                Subordinated Claims are deemed to have rejected the Plan pursuant to Section 1126(g) of
                the Bankruptcy Code. Therefore, Holders of Subordinated Claims are not entitled to vote
                to accept or reject the Plan, and the votes of such Holders will not be solicited with respect
                to such Claims.

                (h)     Class 8 – Existing Interests

                               (i)     Classification. Class 8 consists of all Existing Interests.

                              (ii)    Treatment. On the Effective Date, all Existing Interests shall be
                canceled without any distribution on account of such Existing Interest

                                (iii) Impairment and Voting. Class 8 is Impaired and Holders of Existing
                Interests are deemed to have rejected the Plan pursuant to Section 1126(g) of the
                Bankruptcy Code. Therefore, Holders of Existing Interests are not entitled to vote to accept
                or reject the Plan, and the votes of such Holders will not be solicited with respect to such
                Interests.

                Section 3.3    Voting, Presumptions, and Solicitation.

                (a)     Classes Entitled to Vote; Acceptance

                 Classes 3 and 4 are Impaired and are entitled to vote to accept or reject the Plan. An
         Impaired Class of Claims shall have accepted the Plan if (a) Holders of at least 2/3 in amount of
         the Allowed Claims actually voting in such Class have voted to accept the Plan and (b) Holders of
         more than 1/2 in number of the Allowed Claims actually voting in such Class have voted to accept
         the Plan.

                (b)     Conclusively Presumed Acceptance by Unimpaired Classes

                Pursuant to Section 1126(f) of the Bankruptcy Code, Classes 1 and 2, and certain Holders
         of Claims or Interests under Class 5 or Class 6 are Unimpaired and are conclusively presumed to
         have accepted the Plan. Accordingly, such Holders are not entitled to vote to accept or reject the
         Plan and the vote of such Holders shall not be solicited.

                (c)     Deemed to Reject by Certain Impaired Classes

                 Pursuant to Section 1126(g) of the Bankruptcy Code, Classes 7 and 8, and certain Holders
         of Claims or Interests under Class 5 or Class 6 are fully Impaired and are deemed to have rejected
         the Plan. Accordingly, such Holders are not entitled to vote to accept or reject the Plan and the
         vote of such Holders shall not be solicited.




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                (d)     Elimination of Classes

                 To the extent applicable, any Class that does not contain any Allowed Claims or any Claims
         or Interests temporarily Allowed for voting purposes under Bankruptcy Rule 3018 as of the date
         of commencement of the Combined Hearing for all Debtors or with respect to any particular
         Debtor shall be deemed to have been deleted from the Plan for all Debtors or for such particular
         Debtor, as applicable, for purposes of (a) voting to accept or reject the Plan and (b) determining
         whether it has accepted or rejected the Plan under Section 1129(a)(8) of the Bankruptcy Code.

                (e)     Deemed Acceptance If No Votes Cast

                 If no Holders of Claims or Interests eligible to vote in a particular Class vote to accept or
         reject the Plan, the Plan shall be deemed accepted by Holders of such Claims or Interests in such
         Class.

                (f)     Cramdown

                  To the extent necessary with respect to Classes 4, 7 and 8, the Debtors shall request
         Confirmation of the Plan under Section 1129(b) of the Bankruptcy Code. The Debtors reserve the
         right to modify, amend, or withdraw the Plan, with respect to all Debtors or any individual Debtor,
         to the extent, if any, that Confirmation pursuant to Section 1129(b) of the Bankruptcy Code
         requires modification.

                (g)     Controversy Concerning Impairment

                If a controversy arises as to whether any Claims or Interests, or any Class thereof, is
         Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on
         or before the Confirmation Date.

                                           ARTICLE IV
                              MEANS OF IMPLEMENTATION OF THE PLAN

                Section 4.1     Corporate Action

                 Upon the Effective Date, by virtue of entry of the Confirmation Order, all actions
         contemplated by the Plan (including any action to be undertaken by the Plan Administrator or the
         Litigation Trustee) shall be deemed authorized, approved, and, to the extent taken prior to the
         Effective Date, ratified without any requirement for further action by Holders of Claims or
         Interests, the Debtors, Post-Effective Date Debtors, or any other Entity or Person. All matters
         provided for in this Plan involving the corporate structure of the Debtors, and any corporate action
         required by the Debtors in connection therewith, shall be deemed to have occurred and shall be in
         effect, without any requirement of further action by the Debtors or the Estates.

                Section 4.2     Effectuating Documents; Further Transactions

                 On and after the Effective Date, the Debtors, the Plan Administrator (on behalf of the Post-
         Effective Date Debtors) and the Litigation Trustee (on behalf of the Post-Effective Date Debtors),
         as applicable, is authorized to and may issue, execute, deliver, file or record such contracts,


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         securities, instruments, releases, and other agreements or documents and take such actions as may
         be necessary or appropriate to effectuate, implement and further evidence the terms and conditions
         of the Plan without the need for any approvals, authorization, or consents except for those
         expressly required pursuant to the Plan.

                Section 4.3     Corporate Existence Post-Effective Date

                (a)     Directors and Officers

                 Immediately following the occurrence of the Effective Date, (i) the respective boards of
         directors or managers, as applicable, and the current officers, of each of the Debtors, shall be
         terminated without cause and such members of the boards of directors or managers, as applicable,
         and the current officers of the Debtors shall be deemed to have resigned; and (ii) the Plan
         Administrator shall: (1) be appointed as the sole member of the board of directors or board of
         managers, as applicable, and the sole officer; (2) succeed as the sole Holder of Interests in each
         Post-Effective Date Debtor; (3) have the rights and powers of a debtor in possession under Section
         1107 of the Bankruptcy Code; (4) be a “representative of the estate” pursuant to Section 1123(b)(3)
         of the Bankruptcy Code; (5) be vested with the rights, powers, and benefits afforded to a “trustee”
         under Sections 704 and 1106 of the Bankruptcy Code; and (6) have such other rights, powers, and
         duties incidental to causing performance of the obligations under the Plan or otherwise as may be
         reasonably necessary.

                (b)     Organizational and Governance Documents

                 Immediately following the occurrence of the Effective Date, the Post-Effective Date
         Debtors shall continue to exist in accordance with the laws of their respective states of formation
         and pursuant to their respective certificates of incorporation, by-laws, articles of formation,
         operating agreements, and other organizational documents in effect prior to the Effective Date,
         except to the extent such organizational documents are amended under the Plan, for the limited
         purposes of liquidating all of the assets of the Estates and making distributions in accordance with
         the Plan. The Post-Effective Date Debtors shall exist for the limited purposes of completing the
         Debtors’ obligations under the Transition Services Agreement and fully administering the Estates.
         Promptly after performing all duties and functions that are consistent with the implementation of
         the Plan, the Confirmation Order, the Asset Purchase Agreement, and the Plan Administrator
         Agreement, the Plan Administrator shall be authorized and directed to take all actions to wind
         down, dissolve, or liquidate the Post-Effective Date Debtors without the necessity for any other or
         further actions to be taken by or on behalf of such dissolving Post-Effective Date Debtors or any
         payments to be made in connection therewith, other than the filing of a certificate of dissolution
         with the appropriate governmental authorities, pursuant to Section 303 of the Delaware General
         Corporation Law codified at title 8 of the Delaware Code or other applicable state law.

                 The certificate and articles of in-corporation and by-laws of each Post-Effective Date
         Debtor shall be amended as necessary to satisfy the provisions of the Plan and the Bankruptcy
         Code and shall include, among other things, a provision (a) prohibiting the issuance of non-voting
         equity securities under Section 1123(a)(6) of the Bankruptcy Code and (b) limiting the activities
         of the Post-Effective Date Debtors to matters authorized under the Plan.



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                Section 4.4     Settlement of Claims and Interests

                 Pursuant to Section 1123 of the Bankruptcy Code, and in consideration for the
         classification, distributions, releases, and other benefits provided under the Plan, on the Effective
         Date, the provisions of the Plan shall constitute a good-faith compromise and settlement of all
         Claims, Interests or Causes of Action that (a) are subject to compromise and settlement pursuant
         to the terms of the Plan; (b) have been released pursuant to Section 8.2 of the Plan; (c) have been
         released pursuant to Section 8.3 of the Plan; (d) are subject to the exculpation pursuant to Section
         8.4 of the Plan; or (e) are otherwise stayed or terminated pursuant to the terms of the Plan.

                Section 4.5     Plan Funding

                 All Cash necessary for the Debtors to fund distributions, make payments or otherwise
         satisfy any obligations under the Plan shall be funded in accordance with the Cash Collateral Order;
         provided that, to the extent the Transition Services Agreement requires the Debtors to make any
         payments or take any other actions associated therewith, the amount of any such payments or
         distributions or the cost of taking such actions shall be funded solely by the Purchaser. Except as
         set forth herein, any changes in intercompany account balances resulting from such transfers may
         be accounted for and/or settled in accordance with the Debtors’ historical intercompany account
         settlement practices and any such action will not violate the terms of the Plan.

                Section 4.6     Cancellation of Old Securities and Agreements

                 Except as otherwise provided in the Plan, on and after the Effective Date, all notes,
         instruments, certificates, agreements, indentures, mortgages, security documents, and other
         documents evidencing Claims or Interests, including, without limitation, Prepetition Lender
         Claims and Existing Interests, shall be deemed canceled and surrendered without any need for
         further action or approval of the Bankruptcy Court or any Holder or other Entity and the obligations
         of the Debtors, as applicable, thereunder or in any way related thereto shall be deemed satisfied in
         full and satisfied with the distributions, if any, provided hereunder, and the Administrative Agent
         shall be released from all duties thereunder; provided that notwithstanding entry of the
         Confirmation Order or consummation of the Plan, any such indenture or agreement that governs
         the rights of the Holder of a Claim or Interest shall continue in effect solely for purposes of:
         (a) allowing Holders to receive distributions under the Plan; (b) allowing the Administrative Agent
         to enforce its rights, claims, and interests vis-à-vis any parties other than the Debtors or the Post-
         Effective Date Debtors; (c) allowing the Administrative Agent to make the distributions on
         account of Prepetition Lender Claims in accordance with the Plan (if any), as applicable;
         (d) preserving any rights of the Administrative Agent to payment of fees, expenses, and
         indemnification obligations as against any money or property distributable to Holders under the
         Credit Agreement, including any rights to priority of payment and/or to exercise charging liens;
         (e) allowing the Administrative Agent to exercise rights and obligations relating to the interests of
         Holders of Prepetition Lender Claims; (f) allowing the Administrative Agent to appear in the
         Chapter 11 Cases or in any proceeding in the Bankruptcy Court, including, but not limited, to
         enforce the respective obligations owed to such parties under the Plan; and (g) permitting the
         Administrative Agent to perform any functions that are necessary to effectuate the foregoing;
         provided, further, that except as provided herein, the preceding proviso shall not affect the



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         settlement and release of Claims or Interests pursuant to the Bankruptcy Code, the Confirmation
         Order, or the Plan, as applicable, or result in any expense or liability to the Debtors.

                Section 4.7    Vesting of Assets

                 Except as otherwise provided in the Plan, the Asset Purchase Agreement, the Plan
         Supplement, or in any agreement, instrument, or other document incorporated herein or therein,
         on the Effective Date all property in each Debtor’s Estate, and all Causes of Action held by the
         Debtors or their Estates (except those released pursuant to the Plan or an order of the Bankruptcy
         Court) shall either be transferred to the Purchaser in accordance with the Asset Purchase
         Agreement or re-vest with the Post-Effective Date Debtors, as applicable, free and clear of all
         Liens, Claims, charges, and other encumbrances to the fullest extent possible under the Bankruptcy
         Code, and neither the Purchaser nor the Post-Effective Date Debtors shall have any liability for
         such Liens, Claims, charges, or other encumbrances whatsoever (other than to the extent provided
         in the Asset Purchase Agreement). On and after the Effective Date, except as provided in this Plan,
         the Purchaser (and, to the extent acting on behalf of the Post-Effective Date Debtors pursuant to
         this Plan, the Plan Administrator Agreement, or the Asset Purchase Agreement, the Plan
         Administrator) may operate their business and may (a) use, acquire, and dispose of property;
         (b) compromise or settle Claims, Interests, and Causes of Action; and (c) take any other action
         contemplated by the Plan, the Asset Purchase Agreement, the Plan Supplement, or the
         Confirmation Order, in each case, without Bankruptcy Court supervision or approval, and free of
         any Bankruptcy Code or Bankruptcy Rule restrictions, provided, however, that any derivative
         actions may be settled, voluntarily dismissed, or compromised only with court approval, to the
         extent that such court approval is required by Bankruptcy Rule 7023.1(c).

                Section 4.8    Plan Administrator.

                (a)     Appointment of the Plan Administrator

                 From and after the Effective Date, a Person or Persons to be designated by the Debtors in
         consultation with the Creditors’ Committee shall serve as the Plan Administrator pursuant to the
         Plan Administrator Agreement and the Plan, until the resignation or discharge and the appointment
         of a successor Plan Administrator in accordance with the Plan Administrator Agreement and the
         Plan. The Debtors shall include, in the Plan Supplement, the information set forth in Sections
         1129(a)(4) and (5) of the Bankruptcy Code and the identity of Person or Entity who the Debtors
         have selected as the Plan Administrator. The appointment of the Plan Administrator shall be
         approved in the Confirmation Order, and such appointment shall be effective as of the Effective
         Date. The Plan Administrator shall have and perform all of the duties, responsibilities, rights and
         obligations set forth in the Plan and the Plan Administrator Agreement.

                (b)     The Plan Administrator Agreement

                 Prior to or on the Effective Date, the Debtors shall execute a Plan Administrator Agreement
         in substantially the same form as set forth in the Plan Supplement. Any nonmaterial modifications
         to the Plan Administrator Agreement made by the Debtors prior to the Effective Date are hereby
         ratified. The Plan Administrator Agreement will contain provisions permitting the amendment or




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         modification of the Plan Administrator Agreement as necessary to implement the provisions of the
         Plan.

                (c)     Rights, Powers, and Duties of the Debtors and the Plan Administrator

                  On and after the Effective Date, the Plan Administrator will act for the Post-Effective Date
         Debtors in the same capacity as applicable to a board of managers or directors, or to officers,
         subject to the provisions of the Plan. All certificates of formation, membership agreements, and
         related documents are deemed amended by the Plan to permit and authorize the same without
         further action by any Entity and without Bankruptcy Court approval. From and after the Effective
         Date, the Plan Administrator will be the sole representative of, and will act for, the Post-Effective
         Date Debtors. Except as otherwise provided in the Plan, the Confirmation Order, or the Plan
         Administrator Agreement, the Plan Administrator shall be authorized and directed to take all
         corporate actions consistent with the Plan, the Confirmation Order, the Asset Purchase Agreement,
         all other applicable orders of the Bankruptcy Court, and the Plan Administrator Agreement, in
         each case, that are necessary and/or desirable to effectuate the terms of the Plan on behalf of the
         Post-Effective Date Debtors and use its reasonable best efforts to assist with or effectuate the
         transition of the Debtors’ business, wind down, dissolution, or liquidation of the Post-Effective
         Date Debtors and any non-Debtor Affiliates. In taking such actions, the Plan Administrator may
         control and exercise authority over any Assets, vested in the Post-Effective Date Debtors pursuant
         to the Plan, over the acquisition, management, and disposition thereof and over the management
         and conduct of the affairs of the Post-Effective Date Debtors. Such rights, powers and duties,
         which shall be exercisable by the Plan Administrator on behalf of the Post-Effective Date Debtors
         pursuant to the Plan and the Plan Administrator Agreement, shall include, among others,
         (a) making distributions to Holders of Allowed Claims and Interests as provided for in the Plan,
         (b) administering, reconciling and resolving Administrative Claims, Professional Claims,
         Restructuring Expenses, Priority Tax Claims and Other Priority Claims, (c) filing tax returns and
         paying taxes, (d) performing all obligations required of the Post-Effective Date Debtors under the
         Transition Services Agreement, (e) paying any Statutory Fees, (f) maintaining the books and
         records and accounts of the Debtors, (g) defending the Debtors in any pending or future litigation
         (except with respect to any counterclaims filed against the Litigation Trust), (h) selling,
         abandoning, or otherwise fully administering the Estates, (i) closing the Chapter 11 Cases,
         (j) dissolving the Post-Effective Date Debtors, and (xi) performing other duties and functions that
         are consistent with the implementation of the Plan.

                (d)     Transition Services

                On the Effective Date, and continuing until the end of the term under the Transition
         Services Agreement, the Plan Administrator shall serve as an appointed agent of the designated
         operator or as the operator of the Debtors in accordance with the Plan for the purpose of fulfilling
         any obligations thereunder.

                (e)     Compensation of the Plan Administrator and Plan Administrator Professionals

                               (i)     The Plan Administrator shall be compensated from the Plan
                Administration Reserve, in accordance with the Plan Administration Budget, and pursuant
                to the terms of the Plan Administrator Agreement. For the avoidance of doubt, any costs


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                of the Plan Administrator associated with fulfilling the obligations under the Transition
                Services Agreement shall be funded directly by the Purchaser and will not be paid out of
                the Plan Administrative Reserve or calculated for purposes of the Plan Administration
                Budget.

                              (ii)    The Plan Administrator Professionals shall be entitled to reasonable
                compensation for services rendered and reimbursement of expenses incurred from the Plan
                Administration Reserve. Payment of the fees and expenses of the Plan Administrator and
                the Plan Administrator Professionals shall be made in the ordinary course of business;
                provided, however, that any disputes related to such fees and expenses shall be brought
                before the Bankruptcy Court.

                (f)     Indemnification of the Plan Administration Indemnified Parties

                 The Post-Effective Date Debtors shall indemnify and hold harmless the Plan
         Administration Indemnified Parties from and against and with respect to any and all liabilities,
         losses, damages, claims, costs and expenses, including, but not limited to, attorneys’ fees arising
         out of or due to their actions or omissions, or consequences of such actions or omissions, other
         than acts or omissions resulting from such Plan Administration Indemnified Party’s willful
         misconduct or gross negligence, with respect to the Debtors or the implementation or
         administration of the Plan or the Plan Administrator Agreement. To the extent any Plan
         Administration Indemnified Party asserts a claim for indemnification as provided above, the legal
         fees and related costs incurred by counsel to the Plan Administrator in monitoring and participating
         in the defense of such claims giving rise to the asserted right of indemnification shall be advanced
         to such Plan Administration Indemnified Party (and such Plan Administration Indemnified Party
         undertakes to repay such amounts if it ultimately shall be determined that such Plan Administration
         Indemnified Party is not entitled to be indemnified therefore) out of the Plan Administration
         Reserve or any insurance purchased using the Plan Administration Reserve. The indemnification
         provisions of the Plan Administrator Agreement shall remain available to and be binding upon any
         former Plan Administrator or the estate of any decedent of the Plan Administrator and shall survive
         the termination of the Plan Administrator Agreement.

                (g)     Exculpation of the Plan Administrator

                  As of the Effective Date, to the extent not already included, the organizational documents
         of the Debtors shall be modified to provide for the exculpation of the Plan Administrator to the
         fullest extent permitted by applicable law.

                (h)     Insurance for the Plan Administrator

                 The Plan Administrator shall be authorized to obtain and pay for out of the Plan
         Administration Reserve all reasonably necessary insurance coverage for itself, its agents,
         representatives, employees or independent contractors, and the Post-Effective Date Debtors,
         including, but not limited to, coverage with respect to (a) any property that is or may in the future
         become the property of the Debtors or their Estates and (b) the liabilities, duties and obligations of
         the Plan Administrator and its agents, representatives, employees or independent contractors under
         the Plan Administrator Agreement (in the form of an errors and omissions policy or otherwise),


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         the latter of which insurance coverage may remain in effect for a reasonable period of time as
         determined by the Plan Administrator after the termination of the Plan Administrator Agreement.

                 Section 4.9     Litigation Trust

                 (a)     Establishment of the Litigation Trust

                 On or prior to the Effective Date, the Debtors and the Litigation Trustee shall execute the
         Litigation Trust Agreement in form and substance consistent with the terms set forth herein and
         otherwise reasonably acceptable to the Debtors and the Creditors’ Committee.

                 On the Effective Date, the Debtors shall (x) automatically be deemed to have transferred
         and assigned to the Litigation Trust all of their right, title, and interest in and to all the Retained
         Causes of Action, and, in accordance with Section 1141 of the Bankruptcy Code, all such Retained
         Causes of Action shall automatically vest in the Litigation Trust free and clear of all Liens, Claims,
         charges, encumbrances and interests, for the benefit of Holders of Allowed General Unsecured
         Claims and (y) transfer the Initial Litigation Trust Funded Amount to an account established by
         the Litigation Trust to fund the administration of such trust.

                 Immediately following the occurrence of the Effective Date, the Litigation Trustee shall be
         deemed appointed to serve as the trustee and administrator of the Litigation Trust. The Litigation
         Trust shall have standing to pursue, assert, litigate, and fully resolve the Litigation Trust Causes
         of Action, and neither the Debtors nor the Post-Effective Date Debtors shall have any interest in
         or with respect to the Retained Causes of Action or any Cash or assets contained in the Litigation
         Trust.

                 (b)     Purpose of the Litigation Trust

                  The Litigation Trust shall be established for the purpose of (i) investigating, commencing,
         litigating, and settling the Retained Causes of Action, (ii) liquidation of the Litigation Trust’s
         assets, (iii) distribution of the Litigation Trust Distributable Proceeds, if any, to the Litigation Trust
         Beneficiaries, and (iv) performing such other duties as set forth in the Litigation Trust Agreement,
         in each case in accordance with Section 301.7701-4(d) of the Treasury Regulations, with no
         objective to continue or engage in the conduct of a trade or business.

                 (c)     The Litigation Trust Agreement

                 The Litigation Trust shall be administered by the Litigation Trustee in accordance with the
         Litigation Trust Agreement. The Litigation Trust Agreement may establish certain powers, duties,
         and authorities in addition to those explicitly stated herein, but only to the extent that such powers,
         duties, and authorities do not affect the status of the Litigation Trust as a liquidating trust for United
         States federal income tax purposes as discussed below. Upon execution of the Litigation Trust
         Agreement, the Litigation Trustee shall be authorized to take all steps necessary to complete the
         formation of the Litigation Trust. The Litigation Trustee shall serve as representative of the Estates
         under Section 1123(b) of the Bankruptcy Code for the purpose of (i) enforcing the Litigation Trust
         Causes of Action and (ii) administering the Litigation Trust and distributing its assets to the
         Litigation Trust Beneficiaries.



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                (d)     Powers and Duties of the Litigation Trustee

                 On and after the Effective Date, the powers and duties of the Litigation Trustee shall
         include, inter alia, (i) analyzing Retained Causes of Action and determining whether to abandon,
         pursue, litigate, or settle such claims; (ii) retaining and compensating professionals, employees,
         and consultants to assist with the administration of the Litigation Trust; (iii) making distributions
         to the Litigation Trust Beneficiaries in accordance with the Plan and Litigation Trust Agreement;
         (iv) administering, reconciling and resolving General Unsecured Claims; and (v) performing other
         duties and functions that are consistent with the purpose of the Litigation Trust.

                 In pursuing any Litigation Trust Causes of Action, the Litigation Trustee shall be deemed
         a trustee for all purposes under Section 108 of the Bankruptcy Code, shall be entitled to the tolling
         provisions provided under Section 108 of the Bankruptcy Code, and shall succeed to the Debtors’
         rights with respect to the periods in which any of the Litigation Trust Causes of Action may be
         brought under Section 546 of the Bankruptcy Code.

                (e)     Litigation Trust Treatment

                 In furtherance of the Plan, (i) the terms of the Litigation Trust shall be set forth in the
         Litigation Trust Agreement, (ii) the Litigation Trust shall be structured to qualify as a “liquidating
         trust” within the meaning of Section 301.7701-4(d) of the Treasury Regulations and in compliance
         with Rev. Proc. 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust” within the meaning of
         Sections 671 through 679 of the Tax Code to Holders of Allowed General Unsecured Claims,
         consistent with the terms of the Plan, (iii) all parties (including the Debtors, the Post-Effective
         Date Debtors, the Litigation Trust Beneficiaries, and the Litigation Trustee) shall report
         consistently with such treatment, (iv) all parties shall report consistently with the valuation of the
         assets transferred to the Litigation Trust as determined by the Litigation Trustee (or its designee),
         (v) the Litigation Trustee shall be responsible for filing returns for the trust as a grantor trust
         pursuant to Section 1.671-4(a) of the Treasury Regulations, and (vi) the Litigation Trustee shall
         annually send to each holder of an interest in the Litigation Trust a separate statement regarding
         the receipts and expenditures of the trust as relevant for federal income tax purposes.

                (f)     Litigation Trust Distributions

                Distributions from the Litigation Trust shall be made from the Litigation Trust
         Distributable Proceeds, in accordance with the Plan and the Litigation Trust Agreement.

                (g)     Litigation Trust Expenses

                The Litigation Trust Expenses shall be paid from (i) the Initial Litigation Trust Funded
         Amount and (ii) the Cash proceeds, whether by settlement, adjudication or otherwise, of any
         Retained Causes of Action.

                Section 4.10 Sale Order

                Notwithstanding anything to the contrary herein, nothing in this Plan shall affect, impair
         or supersede the Sale Order, which remains in full force and effect and governs in the event of any
         inconsistency with the Plan.


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                Section 4.11 Exemption from Certain Transfer Taxes

                 Pursuant to Section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
         the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
         or similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other
         similar tax or governmental assessment to the fullest extent contemplated by Section 1146(a) of
         the Bankruptcy Code, and upon entry of the Confirmation Order, the appropriate state or local
         governmental officials or agents shall be directed to forgo the collection of any such tax or
         governmental assessment and to accept for filing and recordation any of the foregoing instruments
         or other documents without the payment of any such tax or governmental assessment.

                Section 4.12 Preservation of Causes of Action

                 In accordance with Section 1123(b)(3) of the Bankruptcy Code, the Debtors and their
         Estates shall retain all of the Retained Causes of Action, which shall be vested in the Post-Effective
         Date Debtors on the Effective Date. The Litigation Trustee, on behalf of the Post-Effective Date
         Debtors, may enforce all rights to commence and pursue any and all Retained Causes of Action,
         whether arising before or after the Petition Date (including, without limitation, any actions or
         categories of actions specifically enumerated in a list of retained Causes of Action contained in the
         Plan Supplement), and all Retained Causes of Action shall be preserved notwithstanding the
         occurrence of the Effective Date or the dissolution of the Debtors. No Entity may rely on the
         absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement
         to any Retained Cause of Action against it as any indication that the Litigation Trustee will
         not pursue any and all available Retained Causes of Action against it. The Litigation Trustee
         expressly reserves all rights to prosecute any and all Retained Causes of Action against any
         Entity, except as otherwise expressly provided in the Plan.

                  The Litigation Trustee, in its sole and absolute discretion, shall determine whether to bring,
         settle, release, compromise, or enforce any Retained Causes of Action (or decline to do any of the
         foregoing) in accordance with the best interests of the Litigation Trust, and shall not be required
         to seek further approval of the Bankruptcy Court for such action; provided, however, the Litigation
         Trustee may settle, voluntarily dismiss, or compromise any derivative actions as such term is used
         in Bankruptcy Rule 7023.1(c) only with court approval, to the extent such court approval is
         required by Bankruptcy Rule 7023.1(c).

                  Unless any Causes of Action of the Debtors against an Entity are expressly waived,
         relinquished, exculpated, released, compromised, or settled in the Plan or an order of the
         Bankruptcy Court, or acquired by the Purchaser or otherwise released pursuant to the Asset
         Purchase Agreement, the Plan expressly reserves all of the Debtors’ Causes of Action for later
         adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
         collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise),
         or laches, shall apply to such Causes of Action upon, after, or as a consequence of Confirmation
         or consummation of the Plan.




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                                                ARTICLE V
                                           EXECUTORY CONTRACTS

                  Section 5.1 Assumption and Rejection of Executory ContractsOn the Effective Date,
         each Executory Contract shall be deemed rejected in accordance with, and subject to, Sections 365
         and 1123 of the Bankruptcy Code as of the Effective Date, unless any such Executory Contract:
         (a) is designated as a Transferred Contract under the Asset Purchase Agreement; (b) is designated
         as an Assumed Contract on the Schedule of Assumed Executory Contracts or a Transferred
         Contract on a TSA Contract Notice or a Supplemental TSA Contract Notice (each as defined in
         the TSA Assumption Order); (c) has been previously assumed by the Debtors by Final Order of
         the Bankruptcy Court, including the Bidding Procedures Order, Sale Order and TSA Assumption
         Order, or has been assumed by the Debtors by order of the Bankruptcy Court as of the Effective
         Date, which order becomes a Final Order after the Effective Date; (d) is the subject of a motion to
         assume pending as of the Effective Date; or (e) is otherwise assumed pursuant to the terms herein.
         The Rejection Damages Claims of counterparties to Executory Contracts that are deemed rejected
         as of the Effective Date shall be classified as General Unsecured Claims and shall be treated in
         accordance with Section 3.2(d) of the Plan.

                 As of the Effective Date, each Executory Contract that is designated as an Assumed
         Contract on the Schedule of Assumed Executory Contracts shall revest in and be fully enforceable
         by the Plan Administrator on behalf of the Post-Effective Date Debtors, except as modified by the
         provisions of the Plan, any Final Order of the Bankruptcy Court, or applicable law. The
         Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumption,
         assumption and assignment, or rejection, as the case may be, of such Executory Contracts, pursuant
         to Sections 365 and 1123 of the Bankruptcy Code as of the Effective Date. To the extent any
         provision in any Executory Contract assumed pursuant to the Plan (including any “change of
         control” provision) restricts or prevents, or purports to restrict or prevent, or is breached or deemed
         breached by, the Debtors’ assumption of or the assumption and assignment of such Executory
         Contract then such provision shall be deemed modified such that the transactions contemplated by
         the Plan will not entitle the non-Debtor party thereto to terminate such Executory Contract or to
         exercise any other default-related rights with respect thereto.

                 Rejection of any Executory Contract pursuant to the Plan or otherwise shall not constitute
         a termination of preexisting obligations owed to the Debtors under such contracts or leases. In
         particular, notwithstanding any non-bankruptcy law to the contrary, the Debtors, the Post-Effective
         Date Debtors, and the Plan Administrator expressly reserve and do not waive any right to receive,
         or any continuing obligation of a counterparty to provide, warranties, or continued maintenance
         obligations on goods previously purchased by the contracting Debtors from counterparties to
         rejected or repudiated Executory Contracts.

                Unless otherwise indicated, assumptions, assumptions and assignments, or rejections of
         Executory Contracts pursuant to the Plan are effective as of the Effective Date. Notwithstanding
         anything to the contrary in the Plan, Asset Purchase Agreement, or Plan Supplement, the Debtors
         reserve the right to, with the consent of the Purchaser, as required, alter, amend, modify, or
         supplement the Schedule of Assumed Executory Contracts and any TSA Contract Notice or
         Supplemental TSA Contract Notice at any time prior to the Effective Date, in accordance with the



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         Assumption and Assignment Procedures, the Asset Purchase Agreement and the TSA Assumption
         Order, as applicable.

                Section 5.2     Rejection Damages Claim Procedures

                 Unless otherwise provided by a Bankruptcy Court order, any Rejection Damages Claim
         must be filed with the Claims and Solicitation Agent and served on the Plan Administrator and the
         Litigation Trustee no later than thirty (30) days after the filing of the notice of the occurrence of
         the Effective Date. Any Rejection Damages Claims that are not timely filed shall be Disallowed
         automatically and forever barred, estopped, and enjoined from assertion and shall not be
         enforceable against the Debtors or the Post-Effective Date Debtors without the need for any
         objection by the Debtors or the Litigation Trustee or any further notice to or action, order, or
         approval of the Bankruptcy Court, and all Rejection Damages Claims shall be deemed fully
         satisfied and released, notwithstanding anything in the Schedules or any Proofs of Claim to the
         contrary. All Allowed Rejection Damages Claims shall be classified as General Unsecured Claims
         and shall be treated in accordance with Section 3.2(d) of the Plan.

                Section 5.3     Cure of Defaults for Assumed Executory Contracts

                (a)     Proofs of Claim Based on Assumed Contracts or Transferred Contracts

                 Any and all Proofs of Claim based on Executory Contracts that have been designated as
         Transferred Contracts or Assumed Contracts, except Proofs of Claim asserting Cure Amount,
         pursuant to the order approving such assumption or assumption and assignment, including the
         Confirmation Order, shall be deemed Disallowed and expunged from the claims register as of the
         Effective Date without any further notice to or action, order, or approval of the Bankruptcy Court.

                (b)     Cure Proceedings and Payments

                 With respect to each of the Transferred Contracts and Assumed Contracts, the Debtors
         have designated or shall designate a proposed Cure Amount in the Cure Notice and the
         determination of the Cure Amount shall be governed by the Bankruptcy Court’s order related
         thereto. Except with respect to Executory Contracts for which the Cure Amount is zero dollars,
         or for which the Cure Amount is in dispute, (i) with respect to Transferred Contacts, the Cure
         Amount shall be satisfied by the Purchaser; and (ii) with respect to Assumed Contracts, the Cure
         Amount shall be satisfied by the Plan Administrator on behalf of the Post-Effective Date Debtors,
         in each case, in accordance with the terms of the TSA Assumption Order, Bidding Procedures,
         Sale Order, Asset Purchase Agreement (including the Transition Services Agreement), or on such
         other terms as may be ordered by the Bankruptcy Court or agreed upon by the parties to the
         applicable Executory Contract without any further notice to or action, order, or approval of the
         Bankruptcy Court.

                 Any provisions or terms of a Transferred Contract or Assumed Contract that are, or may
         be, alleged to be in default, shall be satisfied solely by payment of the Cure Amount, or by an
         agreed-upon waiver of the Cure Amount. If there is a dispute regarding such Cure Amount, the
         ability of the Purchaser or Plan Administrator, as applicable, to provide “adequate assurance of
         future performance” within the meaning of Section 365 of the Bankruptcy Code, or any other
         matter pertaining to assumption or assignment, then payment of the Cure Amount shall occur as

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         soon as reasonably practicable after entry of a Final Order resolving such dispute, approving such
         assumption, or as may be agreed upon by the Purchaser or the Plan Administrator, as applicable,
         and the counterparty to the Executory Contract; provided, however, that the Purchaser or the Plan
         Administrator (on behalf of the Post-Effective Date Debtors), as applicable, shall have the right
         either to reject or nullify the assumption of any Executory Contract after entry of a Final Order
         determining the Cure Amount or any request for adequate assurance of future performance
         required to assume such Executory Contract.

                 Assumption or assumption and assignment of any Executory Contract pursuant to the Plan,
         the Sale Order, the Asset Purchase Agreement, the TSA Assumption Order, or otherwise, shall
         result in the full release and satisfaction of any Cure Amount, Claims, or defaults, whether
         monetary or nonmonetary, including defaults of provisions restricting the change in control or
         ownership interest composition or other bankruptcy-related defaults, arising under any assumed
         Executory Contract at any time prior to the effective date of assumption, as applicable.

                (c)     Cure Notice

                 The Debtors shall serve the Cure Notice on counterparties to any Assumed Contracts or
         Transferred Contracts in accordance with the terms of the applicable orders of the Bankruptcy
         Court, including in the case of Transferred Contracts, the TSA Assumption Order. If no Cure
         Objection is timely received, (a) the non-Debtor party to the assumed Executory Contract shall be
         deemed to have consented to the assumption or assumption and assignment of the applicable
         Executory Contract and shall be forever barred from asserting any objection with regard to such
         assumption, and (b) the proposed Cure Amount shall be controlling, notwithstanding anything to
         the contrary in any applicable Executory Contract or other document, and the non-Debtor party to
         an applicable Executory Contract shall be deemed to have consented to the Cure Amount and shall
         be forever barred from asserting, collecting, or seeking to collect any additional amounts relating
         thereto against the Debtors, the Post-Effective Date Debtors, the Purchaser, or the property of any
         of the foregoing.

                (d)     Cure Objections

                 If a proper and timely Cure Objection is filed by the applicable Cure Objection Deadline,
         including in the case of Transferred Contracts, in accordance with the TSA Assumption Order, the
         Cure Amount shall be equal to (a) the amount agreed to between the Debtors, Plan Administrator
         (on behalf of the Post-Effective Date Debtors), or Purchaser, as applicable, and the applicable
         counterparty or (b) to the extent the Plan Administrator (on behalf of the Post-Effective Date
         Debtors), or Purchaser, as applicable, and counterparty do not reach an agreement regarding any
         Cure Amount or any other matter related to assumption, the Bankruptcy Court shall determine the
         Allowed amount of such Cure Amount and any related issues. Objections, if any, to the proposed
         assumption and/or Cure Amount must be in writing, filed with the Bankruptcy Court, and served
         in hard-copy form on the parties identified in the Cure Notice so that they are actually received by
         the Cure Objection Deadline.

                If a Cure Objection is timely filed and received in accordance with the applicable
         procedures, and the parties do not reach a consensual resolution of such objection, a hearing with



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         respect to such objection shall be held at such time scheduled by the Bankruptcy Court. Cure
         Objections will not be treated as objections to Confirmation of the Plan.

         Section 5.4    Modifications, Amendments, Restatements, Supplements, Restatements, and
                        Other Agreements

                  Unless otherwise provided in the Plan, each Executory Contract that is assumed shall
         include all modifications, amendments, supplements, restatements, or other agreements that in any
         manner affect such Executory Contract, and all rights related thereto, if any, including all
         easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any
         other interests, unless any of the foregoing agreements have been previously rejected or repudiated
         or are rejected or repudiated pursuant to the Plan. Modifications, amendments, supplements, and
         re-statements to prepetition Executory Contracts that have been executed by the Debtors during
         the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory Contract,
         or the validity, priority, or amount of any Claims that may arise in connection therewith.

                Section 5.5     Reservation of Rights

                 Neither the exclusion nor inclusion of any contract or lease on the Schedule of Assumed
         Executory Contracts, nor anything contained in the Plan, shall constitute an admission by the
         Debtors that any such contract or lease is in fact an Executory Contract or that the Debtors, the
         Plan Administrator, or any of their Affiliates, has any liability thereunder. If there is a dispute
         regarding whether a contract or lease is or was executory or unexpired at the time of assumption
         or rejection, the Debtors or the Plan Administrator, as applicable, shall have forty-five (45) days
         following entry of a Final Order resolving such dispute to alter their treatment of such contract or
         lease.

                Section 5.6     Employee Compensation and Benefit Programs

                 Except as otherwise provided in the Plan, the Asset Purchase Agreement or the Plan
         Supplement, on and after the Effective Date, the Post-Effective Date Debtors may, but are not
         required to, honor in the ordinary course of business, any employee benefit plans (as defined in
         Section 3(3) of the Employee Retirement Income Security Act of 1974) and any other contracts,
         agreements, policies, programs, and plans for, among other things, employment, compensation,
         health care, disability and other welfare benefits, deferred compensation benefits, severance
         policies and benefits, retirement benefits, workers’ compensation insurance and accidental death
         and dismemberment insurance that, as of immediately prior to the Petition Date are, and as of
         immediately prior to the Effective Date continue to be, sponsored, maintained, or contributed to
         by any of the Debtors for the directors, officers, employees and other service providers of any of
         the Debtors who served in such capacity at any time.

                 Nothing contained herein shall entitle any Person to any benefit or alleged entitlement
         under any policy, program, or plan that has expired or been terminated before the Effective Date,
         or restore, reinstate, or revive any such expired benefit plan or alleged entitlement under any such
         expired benefit plan. Nothing herein shall limit, diminish, or otherwise alter the Post-Effective
         Date Debtors’ defenses, Claims, Causes of Action, or other rights with respect to any benefit plan,
         whether expired or unexpired.


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                 Except as otherwise provided in the Plan, the Asset Purchase Agreement, or the Plan
         Supplement, none of (a) the Debtors’ emergence from chapter 11 of the Bankruptcy Code as
         contemplated by the Plan or (b) the consummation of the transactions provided in the Plan (or
         otherwise contemplated by the Sale and the Plan to occur prior to or on or about the Effective
         Date), in each case alone or together with any other event, shall (i) entitle any current or former
         director, officer, employee or other service provider of any of the Debtors to any payment or
         benefit, (ii) accelerate the time of payment or vesting or trigger any payment or funding of
         compensation or benefits under, or increase the amount payable or trigger any other obligation
         under, any benefit plan or expired benefit plan or (iii) limit or restrict the right of the Debtors or
         Post-Effective Date Debtors to merge, amend or terminate any benefit plan, in each case including
         as a result of a “change in control” or similar provision or as a result of giving rise to any Person
         to terminate his or her service with the Debtors or Post-Effective Date Debtors for “good reason”
         or similar provision.

                Section 5.7     Insurance Policies

                 Except as otherwise provided in the Plan, the Asset Purchase Agreement, or the Plan
         Supplement, all insurance policies pursuant to which any Debtor has any obligations in effect as
         of the Effective Date shall be deemed and treated as Executory Contracts pursuant to the Plan and,
         unless such insurance policy is assumed or assumed and assigned in accordance with Section 5.1
         of the Plan, such insurance policy shall be deemed to be rejected in accordance with, and subject
         to, Sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

                Section 5.8     D&O Policies

                 The Debtors or the Plan Administrator on behalf of the Post-Effective Date Debtors, as
         applicable, shall maintain D&O Policies providing coverage for those insureds currently covered
         by such policies for the remaining term of such policies and shall maintain runoff policies or tail
         coverage under policies in effect as of the Effective Date for a period of six years after the Effective
         Date, to the fullest extent permitted by such provisions, in each case insuring such parties in respect
         of any claims, demands, suits, Causes of Action, or proceedings against such insureds in at least
         the scope and amount as currently maintained by the Debtors. Nothing in the Plan shall be deemed
         to impair any Entity’s claim, if any, to proceeds of the D&O Policies or the priority of payment on
         such claim, if any, under the D&O Policies. Notwithstanding any other provision in the Plan, all
         D&O Policies shall be deemed and treated as Executory Contracts pursuant to the Plan and shall
         be assumed by the Post-Effective Date Debtors, shall remain in full force and effect thereafter and
         shall continue as obligations of the Post-Effective Date Debtors in accordance with their respective
         terms, and all such D&O Policies shall vest in the Post-Effective Date Debtors.

                Section 5.9     Indemnification Obligations

                 Except as otherwise provided in the Plan or the Confirmation Order, to the fullest extent
         permitted by applicable law, any and all obligations of the Debtors pursuant to their corporate
         charters, bylaws, limited liability company agreements, memorandum and articles of association,
         or other organizational documents or agreements to indemnify officers, directors or employees, in
         each case solely in their capacity as such, employed by the Debtors (i) on and/or after the Petition
         Date or (ii) prior to the Petition Date (but only to the extent necessary to preserve the D&O Policies)


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         with respect to all present and future actions, suits, and proceedings against the Debtors or such
         officers, directors or employees based upon any act or omission for or on behalf of the Debtors
         shall not be discharged, impaired, or otherwise affected by the Plan; provided, that, the Debtors or
         the Plan Administrator on behalf of the Post-Effective Date Debtors, as applicable, shall not
         indemnify any such officers, directors or employees of the Debtors for any Claims or Causes of
         Action arising out of or relating to any act or omission for which indemnification is barred under
         applicable law or that is excluded under the terms of the foregoing organizational documents or
         applicable agreements governing the Debtors’ indemnification obligations.                 The Plan
         Administrator on behalf of the Post-Effective Date Debtors shall not indemnify any Entities for
         any Claims or Causes of Action arising out of or relating to any act or omission that is a criminal
         act or constitutes intentional fraud, gross negligence or willful misconduct. Except as otherwise
         provided in the Plan, all such indemnification obligations shall be deemed and treated as Executory
         Contracts that are assumed by the Debtors under the Plan.

                Section 5.10 Nonoccurrence of the Effective Date

                 In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
         jurisdiction with respect to any request to extend the deadline for assuming or rejecting unexpired
         leases pursuant to Section 365(d)(4) of the Bankruptcy Code, unless such deadline(s) have expired.

                                     ARTICLE VI
                PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND INTERESTS

                Section 6.1     Determination of Claims and Interests

                  After the Effective Date, the Plan Administrator or the Litigation Trustee, as the case may
         be, shall have and retain any and all rights and defenses the Debtors had with respect to any Claim
         or Interest immediately prior to the Effective Date, including the Causes of Action retained
         pursuant to Section 4.12 of the Plan, except with respect to any Claim or Interest deemed Allowed
         under the Plan. Except as expressly provided in the Plan or in any order entered in the Chapter 11
         Cases prior to the Effective Date, including the Confirmation Order, no Claim or Interest shall
         become an Allowed Claim or Interest unless and until such Claim or Interest is deemed Allowed
         or the Bankruptcy Court has entered a Final Order, including the Confirmation Order, in the
         Chapter 11 Cases allowing such Claim or Interest. All settled Claims approved prior to the
         Effective Date pursuant to a Final Order of the Bankruptcy Court, pursuant to Bankruptcy Rule
         9019 or otherwise, shall be binding on all parties. For the avoidance of doubt, any Claim
         determined and liquidated pursuant to (a) an order of the Bankruptcy Court or (b) applicable non-
         bankruptcy law (which determination has not been stayed, reversed, or amended and as to which
         determination or any revision, modification, or amendment thereof as to which the time to appeal
         or seek review or rehearing has expired and no appeal or petition for review or rehearing was filed
         or, if filed, remains pending) shall be deemed an Allowed Claim in such liquidated amount and
         satisfied in accordance with the Plan. Nothing contained in this Section 6.1 shall constitute or be
         deemed a waiver of any claim, right, or Cause of Action that the Debtors or the Post-Effective
         Date Debtors may have against any Entity in connection with or arising out of any Claim, including
         any rights under Section 157(b) of title 28 of the United States Code.




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                Section 6.2     Claims Administration Responsibility

                 Notwithstanding anything to the contrary herein, after the Effective Date: (a) the Plan
         Administrator shall have responsibility for administering, disputing, objecting to, compromising,
         or otherwise resolving all Claims, except for General Unsecured Claims and Prepetition Lender
         Claims; (b) the Litigation Trustee shall have responsibility for administering, disputing, objecting
         to, compromising, or otherwise resolving General Unsecured Claims; and (c) the Administrative
         Agent shall have responsibility for administering, disputing, objecting to, compromising, or
         otherwise resolving all Prepetition Lender Claims. Nothing herein is intended to limit the right of
         any party in interest from objecting to any Claims, except to the extent such Claims, including the
         Prepetition Lender Claims, have already been Allowed, and, subject, however, to any limitation in
         any prior order of the Bankruptcy Court, including the Cash Collateral Order.

                Section 6.3     Objections to Claims

                 Unless otherwise extended by the Bankruptcy Court, any objections to Claims (other than
         Administrative Claims) shall be served and filed on or before the Claims Objection Deadline (or
         such later date as may be established by the Bankruptcy Court upon request of the Litigation
         Trustee without further notice to parties-in-interest). Notwithstanding any authority to the contrary,
         an objection to a Claim shall be deemed properly served on the Holder of the Claim if the Debtors
         or the Litigation Trustee effect service in any of the following manners: (a) in accordance with
         Federal Rule of Civil Procedure 4, as modified and made applicable by Bankruptcy Rule 7004; (b)
         to the extent counsel for a Holder of a Claim or Interest is unknown, by first class mail, postage
         prepaid, on the signatory on the proof of Claim or other representative identified on the proof of
         Claim or any attachment thereto (or at the last known addresses of such Holder if no proof of
         Claim is filed or if the Debtors have been notified in writing of a change of address); or (c) by first
         class mail, postage prepaid, on any counsel that has appeared on behalf of the Holder of the Claim
         in the Chapter 11 Cases and has not withdrawn such appearance.

                Section 6.4     Disallowance of Claims

                  Except as otherwise agreed, any and all Proofs of Claim filed after the applicable deadline
         for filing such Proofs of Claim shall be deemed Disallowed and expunged as of the Effective Date
         without any further notice to, or action, order, or approval of the Bankruptcy Court, and Holders
         of such Claims shall not receive any distributions on account of such Claims, unless any such late
         proof of Claim is deemed timely filed by a Final Order of the Bankruptcy Court. Nothing herein
         shall in any way alter, impair, or abridge the rights of the Debtors, the Litigation Trustee, or other
         parties-in-interest to object to Claims on the grounds that they are time-barred or otherwise subject
         to disallowance or modification. Except as set forth in section 6.7, nothing in the Plan shall
         preclude amendments to timely filed Proofs of Claim to the extent permitted by applicable law.
         All Claims of any Person or Entity from which property is sought by the Debtors under Section
         542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Litigation Trustee allege
         is a transferee of a transfer that is avoidable under Section 522(f), 522(h), 544, 545, 547, 548, 549,
         or 724(a) of the Bankruptcy Code shall be Disallowed if (a) the Person or Entity, on the one hand,
         and the Debtors or the Litigation Trustee, on the other hand, agree or the Bankruptcy Court has
         determined by Final Order that such Entity or transferee is liable to turn over any property or
         monies under any of the aforementioned Sections of the Bankruptcy Code and (b) such Person or


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         Entity or transferee has failed to turn over such property by the date set forth in such agreement or
         Final Order.

                Section 6.5     Estimation of Claims

                 Before the Effective Date, the Debtors, and after the Effective Date, the Litigation Trustee
         (on behalf of the Post-Effective Date Debtors), may (but are not required to) at any time request
         that the Bankruptcy Court estimate a Disputed Claim pursuant to Section 502(c) of the Bankruptcy
         Code for any reason, regardless of whether any party previously has objected to such Claim or
         whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
         retain jurisdiction to estimate any such Disputed Claim, including during the litigation of any
         objection to any Disputed Claim or during the pendency of any appeal relating to such objection.
         In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim, that
         estimated amount shall constitute a maximum limitation on such Claim for all purposes under the
         Plan, without prejudice to the Holder of such Claim’s right to request that estimation should be for
         the purpose of determining the Allowed amount of such Claim, and the Plan Administrator or
         Litigation Trustee, as the case may be, may elect to pursue any supplemental proceedings to object
         to any ultimate distribution on such Claim. All of the objection, estimation, settlement, and
         resolution procedures set forth in the Plan are cumulative and not necessarily exclusive of one
         another. All estimation procedures set forth in the Plan shall be applied in accordance with Section
         502(c) of the Bankruptcy Code. Disputed Claims may be estimated and subsequently
         compromised, settled, withdrawn, or resolved by any mechanism approved by the Plan or the
         Bankruptcy Court.

                Section 6.6     No Interest on Claims

                 Unless otherwise specifically provided for in the Plan or as otherwise required by Section
         506(b) of the Bankruptcy Code, postpetition interest shall not accrue or be paid on Claims or
         Interests, and no Holder of a Claim or Interest shall be entitled to interest accruing on or after the
         Petition Date on any Claim or Interest. Additionally, and without limiting the foregoing, unless
         otherwise specifically provided for in the Plan or as otherwise required by Section 506(b) of the
         Bankruptcy Code, interest shall not accrue or be paid on any Disputed Claim in respect of the
         period from the Effective Date to the date a final distribution is made, when and if such Disputed
         Claim becomes an Allowed Claim.

                Section 6.7     Amendments to Claims

                 On or after the Effective Date, except as otherwise provided herein, a Claim may not be
         filed or amended without the authorization of the Bankruptcy Court or the Post-Effective Date
         Debtors, and, to the extent such authorization is not received, any such new or amended Claim
         filed shall be deemed Disallowed in full and expunged without any further notice to or action,
         order, or approval of the Bankruptcy Court.




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                                            ARTICLE VII
                                PROVISIONS GOVERNING DISTRIBUTIONS

                Section 7.1     Distributions Allowed as of the Effective Date

                 Except as otherwise provided in the Plan or a Final Order, or as agreed to by the relevant
         parties, distributions under the Plan on account of Claims Allowed on or before the Effective Date
         shall be made on the Distribution Date; provided that (a) Allowed Administrative Claims with
         respect to liabilities incurred by the Debtors in the ordinary course of business during the Chapter
         11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or performed in the
         ordinary course of business in accordance with the terms and conditions of any controlling
         agreements, course of dealing, course of business, or industry practice and (b) in accordance with
         Article II of the Plan, Allowed Priority Tax Claims, unless otherwise agreed, shall be treated in
         accordance with the terms set forth in Section 1129(a)(9)(C) of the Bankruptcy Code. To the
         extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim
         shall be paid in accordance with the terms of any agreement between the Debtors and the Holder
         of such Claim, or as may be due and payable under applicable non-bankruptcy law, or in the
         ordinary course of business.

         Section 7.2    Distribution on Account of Claims Allowed After the Effective Date

                (a)     No Distributions Pending Allowance

                No payments or distributions shall be made with respect to all or any portion of a Disputed
         Claim unless and until all objections to such Disputed Claim have been settled or withdrawn or
         have been determined by a Final Order of the Bankruptcy Court, and the Disputed Claim has
         become an Allowed Claim.

                (b)     Payments and Distributions on Disputed Claims

                  Except as otherwise provided in the Plan, a Final Order, or as agreed to by the relevant
         parties, distributions under the Plan on account of Disputed Claims that become Allowed after the
         Effective Date shall be made on the first day that is thirty (30) Business Days after the Disputed
         Claims become Allowed Claims; provided that (i) Disputed Administrative Claims with respect to
         liabilities incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases
         or assumed by the Debtors on or before the Effective Date that become Allowed after the Effective
         Date shall be paid or performed in the ordinary course of business in accordance with the terms
         and conditions of any controlling agreements, course of dealing, course of business, or industry
         practice and (ii) Disputed Priority Tax Claims that become Allowed Priority Tax Claims after the
         Effective Date shall be treated as Allowed Priority Tax Claims in accordance with the Plan and
         paid.

                (c)     Special Rules for Distributions to Holders of Disputed Claims

                  Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by
         the relevant parties, no payments or distributions shall be made with respect to a Disputed Claim
         until all such disputes in connection with such Disputed Claim have been resolved by settlement
         or agreement among the relevant parties, or by Final Order.


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                Section 7.3     Timing and Calculation of Amounts to Be Distributed

                 Except as otherwise provided herein, on the Distribution Date, each Holder of an Allowed
         Claim shall receive the full amount of the distributions that the Plan provides for Allowed Claims
         in the applicable Class. Except as otherwise provided in the Plan, or any order of the Bankruptcy
         Court, Holders of Claims shall not be entitled to interest, dividends, or accruals on the distributions
         provided for in the Plan, regardless of whether such distributions are delivered on or at any time
         after the Effective Date.

                Section 7.4     Delivery of Distributions

                (a)     Record Date for Distributions

                 On the Distribution Record Date, any party responsible for making distributions shall be
         authorized and entitled to recognize only those Holders of Claims listed on the register for Claims
         as of the close of business on the Distribution Record Date. Notwithstanding the foregoing, if a
         Claim is transferred twenty (20) or fewer days before the Distribution Date, the Distribution Agent
         shall make distributions to the transferee only to the extent practical and, in any event, only if the
         relevant transfer form contains an unconditional and explicit certification and waiver of any
         objection to the transfer by the transferor. The Administrative Agent shall have no obligation to
         recognize any transfer of any applicable Claims occurring after the close of business on the
         Distribution Record Date and shall instead be entitled to recognize and deal for all purposes under
         the Plan with only those Holders of record on their respective lender registers as of the close of
         business on the Distribution Record Date.

                (b)     Cash Distributions

                 Distributions of Cash may be made either by check drawn on a domestic bank or wire
         transfer from a domestic bank, at the option of the Post-Effective Date Debtors, except that Cash
         payments made to foreign creditors may be made in such funds and by such means as are necessary
         or customary in a particular foreign jurisdiction.

                (c)     Delivery of Distributions in General

                 Except as otherwise provided in the Plan, the Distribution Agent shall make distributions
         to Holders of Allowed Claims at the address for each such Holder as indicated in the Debtors’
         records as of the date of any such distribution, including the address set forth in any Proof of Claim
         filed by that Holder; provided that the manner of such distributions shall be determined at the
         discretion of the Post-Effective Date Debtors. The Distribution Agent shall not incur any liability
         whatsoever on account of any distributions under the Plan.

                (d)     Delivery of Distributions on Account of Prepetition Lender Claims

                In the case of Holders of Prepetition Lender Claims, the Administrative Agent shall be
         deemed to be the Holder of such Claims for purposes of distributions to be made hereunder. The
         Distribution Agent shall make all distributions on account of such Claims to the Administrative
         Agent or as directed by the Administrative Agent, in the Administrative Agent’ sole discretion.
         The Administrative Agent shall, at its option, hold or direct such distributions for the beneficial


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         Holders of such Allowed Claims, as applicable; provided, however, that the Administrative Agent
         shall retain all rights under its respective agreement in connection with delivery of distributions to
         the beneficial Holders of such Allowed Claims, including rights on account of its charging lien;
         provided, further, however, that the Debtors’ obligations to make distributions pursuant to the Plan
         shall be deemed satisfied upon delivery of distributions to the Administrative Agent or the Entity
         or Entities designated by the Administrative Agent. The Administrative Agent shall not be
         required to give any bond, surety, or other security for the performance of their duties with respect
         to such distributions.

                Section 7.5     Currency

                 Except as otherwise provided in the Plan or Bankruptcy Court order, as of the Effective
         Date, any Claim asserted in currency other than U.S. dollars shall be automatically deemed
         converted to the equivalent U.S. dollar value using the exchange rate as of the Effective Date at
         4:00 p.m. (prevailing Eastern Time), mid-range spot rate of exchange for the applicable currency
         as published in the next The Wall Street Journal following the Effective Date.

                Section 7.6     Distribution Agent (if any)

                 The Distribution Agent shall make all distributions required under the Plan, subject to the
         terms and provisions of the Plan. If the Distribution Agent is an independent third party designated
         to serve in such capacity, such Distribution Agent shall receive, without further Court approval,
         reasonable compensation from the Plan Administration Reserve for distribution services rendered
         pursuant to the Plan and reimbursement of reasonable out-of-pocket expenses. No Distribution
         Agent shall be required to give any bond or surety or other security for the performance of its
         duties. The Distribution Agent shall be authorized and directed to rely upon the Debtors’ books
         and records and, as applicable, the Plan Administrator’s representatives and professionals in
         determining Allowed Claims not entitled to distributions under the Plan in accordance with the
         terms and conditions of the Plan. The Distribution Agent shall be empowered to (a) effect all
         actions and execute all agreements, instruments, and other documents necessary to perform its
         duties under the Plan; (b) make all distributions contemplated hereby; (c) employ professionals to
         represent it with respect to its responsibilities; and (d) exercise such other powers as may be vested
         in the Distribution Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by
         the Distribution Agent to be necessary and proper to implement the provisions hereof.

                Section 7.7     Undeliverable Distributions

                (a)     Holders of Undeliverable Distributions

                 If any distribution to a Holder of a Claim is returned as undeliverable, no further
         distributions to such Holder of such Claim shall be made unless and until the Distribution Agent
         or Administrative Agent is notified of then-current address of such Holder of the Claim, at which
         time all missed distributions shall be made to such Holder of the Claim without interest on the next
         Periodic Distribution Date. Amounts in respect of undeliverable distributions shall be returned
         (1) if prior to the Dissolution Date, to the Debtors, and (2) if after the Dissolution Date, to the
         Administrative Agent to be redistributed, in each case, until such distributions are claimed.




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                (b)     Reversion

                 Any distribution under the Plan that is an Unclaimed Distribution for a period of six months
         after such distribution shall be deemed unclaimed property under Section 347(b) of the Bankruptcy
         Code and such Unclaimed Distribution shall revert to and vest in the Post-Effective Date Debtors.
         Upon vesting, the Claim of any Holder or successor to such Holder with respect to such property
         shall be canceled and forever barred, notwithstanding federal or state escheat, abandoned, or
         unclaimed property laws to the contrary. The provisions of the Plan regarding undeliverable
         distributions and Unclaimed Distributions shall apply with equal force to distributions that are
         issued by the Distribution Agent made pursuant to any indenture or Certificate (but only with
         respect to the initial distribution by the applicable trustee, agent, servicer, or other authorized
         representative to Holders that are entitled to be recognized under the relevant indenture or
         Certificate and not with respect to Entities to whom those recognized Holders distribute),
         notwithstanding any provision in such indenture or Certificate to the contrary and notwithstanding
         any otherwise applicable federal or state escheat, abandoned, or unclaimed property law.

                Section 7.8     De Minimis Distributions

                 Notwithstanding any other provision of the Plan to the contrary, the Distribution Agent and
         Administrative Agent shall not be required to make a distribution on account of an Allowed Claim
         or Interest if the aggregate amount of distributions to be made is less than $50 (whether Cash or
         otherwise) and shall not be required to make partial distributions or payments of fractions of dollars.
         Whenever any payment or distribution of a fraction of a dollar under the Plan would otherwise be
         called for, the actual payment or distribution shall reflect a rounding of such fraction to the nearest
         whole dollar (up or down), with half dollars or less being rounded down.

                Section 7.9     Surrender of Securities or Instruments

                 As a condition precedent to receiving any distribution on account of its Allowed Claim,
         each Holder of a Claim or Interest shall be deemed to have surrendered the certificates or other
         documentation underlying each such Claim, and all such surrendered certificates and other
         documentation shall be deemed to be cancelled pursuant to Article IV of the Plan, except to the
         extent otherwise provided in the Plan.

                Section 7.10 Compliance Matters

                 In connection with the Plan, to the extent applicable, the Distribution Agent shall comply
         with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
         and all distributions pursuant to the Plan shall be subject to such withholding and reporting
         requirements. Notwithstanding any provision in the Plan to the contrary, the Distribution Agent
         shall be authorized to take all actions necessary or appropriate to comply with such withholding
         and reporting requirements, including liquidating a portion of the distribution to be made under
         the Plan to generate sufficient funds to pay applicable withholding taxes, withholding distributions
         pending receipt of information necessary to facilitate such distributions, or establishing any other
         mechanisms it believes are reasonable and appropriate. The Debtors and Plan Administrator
         reserve the right to allocate all distributions made under the Plan in compliance with all applicable
         wage garnishments, alimony, child support, and other spousal awards, Liens, and encumbrances.


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                Section 7.11 Claims Paid or Payable by Third Parties

                 The Claims and Solicitation Agent shall reduce in full a Claim to the extent that the Holder
         of such Claim receives payment in full on account of such Claim from a party that is not the
         Distribution Agent without any further notice to or action, order, or approval of the Bankruptcy
         Court. To the extent a Holder of a Claim receives a distribution on account of such Claim and
         receives payment from a party that is not the Distribution Agent on account of such Claim, such
         Holder shall, within two weeks of receipt thereof, repay or return the distribution under the Plan
         to the Distribution Agent, to the extent the Holder’s total recovery on account of such Claim from
         the third party and under the Plan exceeds the amount of such Claim as of the date of any such
         distribution under the Plan.

                Section 7.12 Setoffs

                  Except as otherwise expressly provided for in the Plan, the Debtors, pursuant to the
         Bankruptcy Code (including Section 553 of the Bankruptcy Code), applicable non-bankruptcy law,
         or as may be agreed to by the Holder of a Claim, may set off against any Allowed Claim and the
         distributions to be made pursuant to the Plan on account of such Allowed Claim, any Claims, rights,
         and Causes of Action of any nature that the Debtors or the Post-Effective Date Debtors, as
         applicable, may hold against the Holder of such Allowed Claim, to the extent such Claims, rights,
         or Causes of Action against such Holder have not been otherwise compromised or settled on or
         prior to the Effective Date (whether pursuant to the Plan or otherwise); provided, however, that
         neither the failure to effect such a setoff nor the allowance of any Claim pursuant to the Plan shall
         constitute a waiver or release by the Debtors of any such Claims, rights, and Causes of Action that
         the Debtors may possess against such Holder. In no event shall any Holder of Claims be entitled
         to set off any Claim against any Claim, right, or Cause of Action of the Debtors, unless such Holder
         has filed a motion with the Bankruptcy Court requesting the authority to perform such setoff on or
         before the Confirmation Date or has otherwise indicated in a timely filed proof of Claim or
         otherwise that such Holder asserts, has, or intends to preserve any right of setoff pursuant to
         Section 553 of the Bankruptcy Code or otherwise.

                Section 7.13 Allocation of Plan Distributions Between Principal and Interest

                To the extent that any Allowed Claim entitled to a distribution under the Plan is composed
         of indebtedness and accrued but unpaid interest thereon, such distribution shall, to the extent
         permitted by applicable law, be allocated for federal income tax purposes to the principal amount
         of the Claim first and then, to the extent the consideration exceeds the principal amount of the
         Claim, to the portion of such Claim representing accrued but unpaid interest.

                                           ARTICLE VIII
                              EFFECT OF PLAN ON CLAIMS AND INTERESTS

                Section 8.1     Compromise and Settlement

                 Pursuant to Bankruptcy Rule 9019(a), the Debtors may compromise and settle various
         (a) Claims or Interests and (b) Causes of Action that the Debtors have against other Persons or
         Entities up to the Effective Date. After the Effective Date, any such right shall pass to the
         Litigation Trustee to the extent provided in the Plan without the need for further approval of the

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         Bankruptcy Court; provided, however, the Litigation Trustee may settle derivative claims/causes
         of action as such term is used in Bankruptcy Rule 7023.1(c), if any, only with court approval, to
         the extent that such court approval is required by Bankruptcy Rule 7023.1(c).

                Section 8.2    Releases by the Debtors

                 Pursuant to Section 1123(b) of the Bankruptcy Code, as of the Effective Date, for good
         and valuable consideration, the adequacy of which is hereby confirmed, the Debtors and
         their Estates, as applicable, in each case on behalf of themselves and their respective
         successors, assigns, and representatives, and any and all other Entities who may purport to
         assert any Claim or Cause of Action, directly or derivatively, by, through, for, or because of
         any of the foregoing Entities, shall be deemed to have conclusively, absolutely,
         unconditionally, irrevocably, and forever released, waived, and discharged the Released
         Parties from any and all Claims, obligations, rights, suits, damages, Causes of Action,
         remedies, and liabilities whatsoever, including any derivative Claims, asserted or assertable
         on behalf of the Debtors or their Estates, whether known or unknown, foreseen or unforeseen,
         existing or hereinafter arising, in law, equity, or otherwise, that the Debtors, or the Estates
         would have been legally entitled to assert in their own right (whether individually or
         collectively) or on behalf of the Holder of any Claim or Interest or any other Entity, based
         on or in any way relating to, or in any manner arising from, in whole or in part, the Debtors,
         the Debtors’ prepetition and postpetition, in- or out-of-court restructuring and sale efforts,
         the Chapter 11 Cases, the Sale, the purchase, sale, or rescission of the purchase or sale of any
         security of the Debtors, the subject matter of, or the transactions or events giving rise to, any
         Claim or Interest that is treated in the Plan, the business or contractual arrangements
         between any Debtor and any Released Party, the restructuring of Claims and Interests prior
         to or in the Chapter 11 Cases, the negotiation, preparation, entry, and execution of the Cash
         Collateral Order, the negotiation, formulation, preparation, dissemination and filing of the
         Plan (including, for the avoidance of doubt, the Plan Supplement), the Disclosure Statement,
         the Asset Purchase Agreement, the Sale Order or related agreements, instruments, or other
         documents, the pursuit of the Sale, the pursuit of consummation of the Sale, the pursuit of
         Confirmation of the Plan, the pursuit of consummation of the Plan, the administration and
         implementation of the Plan, or upon any other act or omission, transaction, agreement, event,
         or other occurrence taking place on or before the Effective Date of the Plan; provided that,
         nothing in this Section 8.2 shall be construed to release the Released Parties from their gross
         negligence, willful misconduct, or fraud as determined by a Final Order. Notwithstanding
         anything to the contrary in the foregoing, the releases set forth above do not release any post-
         Effective Date obligation or liability of any Person or Entity under the Plan, the Asset
         Purchase Agreement, the Sale Order, the Cash Collateral Order, or any document,
         instrument, or agreement (including those set forth in the Plan Supplement) executed to
         implement the Plan.

                 Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
         of the Debtor Release, which includes by reference each of the related provisions and
         definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s
         finding that the Debtor Release is: (a) in exchange for the good and valuable consideration
         provided by the Released Parties, (b) a good-faith settlement and compromise of the claims
         released by the Debtor Release; (c) given and made after due notice and opportunity for


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         hearing; and (d) a bar to any of the Debtors or the Estates or any other Entities from
         asserting any claim, Cause of Action, or liability related thereto, of any kind whatsoever,
         against any of the Released Parties or their property, released pursuant to the Debtor Release.

                Section 8.3    Releases by Releasing Parties

                 As of the Effective Date, for good and valuable consideration, the adequacy of which
         is hereby confirmed, including the obligations of the Debtors under the Plan and the
         contributions of the Released Parties to facilitate and implement the Plan, to the fullest extent
         permissible under applicable law, as such law may be extended after the Effective Date, each
         of the Releasing Parties shall be deemed to have conclusively, absolutely, unconditionally,
         irrevocably, and forever released, waived, and discharged each Released Party and each
         other Releasing Party from any and all Claims, Interests, obligations, rights, suits, damages,
         Causes of Action, remedies, and liabilities whatsoever, whether known or unknown, foreseen
         or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, including any
         derivative claims, asserted or assertable on behalf of any of the Debtors or the Estates, that
         such Entity would have been legally entitled to assert (whether individually or collectively),
         based on or in any way relating to, or in any manner arising from, in whole or in part, the
         Debtors, the Debtors’ prepetition and postpetition, in- or out-of-court restructuring and sale
         efforts, the Chapter 11 Cases, the Sale, the purchase, sale, or rescission of the purchase or
         sale of any security of the Debtors, the subject matter of, or the transactions or events giving
         rise to, any Claim or Interest that is treated in the Plan, the business or contractual
         arrangements between any Debtor and any Released Party, the restructuring of Claims and
         Interests prior to or in the Chapter 11 Cases, the negotiation, preparation, entry, and
         execution of the Cash Collateral Order, the negotiation, formulation, preparation,
         dissemination and filing of the Plan (including, for the avoidance of doubt, the Plan
         Supplement), the Disclosure Statement, the Asset Purchase Agreement, the Sale Order, or
         related agreements, instruments, or other documents, the pursuit of the Sale, the pursuit of
         consummation of the Sale, the pursuit of Confirmation of the Plan, the pursuit of
         consummation of the Plan, the administration and implementation of the Plan, or upon any
         other act or omission, transaction, agreement, event, or other occurrence taking place on or
         before the Effective Date of the Plan related to the Debtors and the Chapter 11 Cases;
         provided that, nothing in this Section 8.3 shall be construed to release the Released Parties or
         Releasing Parties from their gross negligence, willful misconduct, or fraud as determined by
         a Final Order. Notwithstanding anything to the contrary in the foregoing, the releases set
         forth above do not release (a) any post-Effective Date obligation or liability of any Entity
         under the Plan, the Asset Purchase Agreement, the Sale Order, the Cash Collateral Order,
         or any document, instrument, or agreement (including those set forth in the Plan Supplement)
         executed to implement the Plan; or (b) any asbestos claims or any personal injury claims, in
         each case that have been or may be asserted against insurance or non-debtor third parties,
         unless such non-debtor third parties are Released Parties.

                Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
         of the Releasing Party Release, which includes by reference each of the related provisions
         and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s
         finding that the Releasing Party Release is: (a) consensual, (b) in exchange for the good and
         valuable consideration provided by the Released Parties, (c) a good-faith settlement and


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         compromise of claims released by the Releasing Party Release; (d) given and made after due
         notice and opportunity for hearing; and (e) a bar to any of the Releasing Parties asserting
         any claim, Cause of Action, or liability related thereto, of any kind whatsoever, against any
         of the Released Parties or Releasing Parties or their property, released pursuant to the
         Releasing Party Release.

                Section 8.4     Exculpation and Limitation of Liability

                 Effective as of the Effective Date, to the fullest extent permissible under applicable
         law and without affecting or limiting either the Debtor Release or the Releasing Party
         Release, and notwithstanding anything herein to the contrary, each Exculpated Party is
         hereby released and exculpated from any claim, obligation, Cause of Action, or liability for
         any action taken or omitted to be taken during the period commencing on the Petition Date
         through and including the Effective Date in connection with, or related to formulating,
         negotiating, soliciting, preparing, disseminating, confirming, administering, or
         implementing the Plan, or consummating the Plan, the Disclosure Statement, the Cash
         Collateral Order, the Asset Purchase Agreement, the Chapter 11 Cases, or any contract,
         instrument, release, or other agreement or document created or entered into in connection
         with the Plan or any other postpetition act taken or omitted to be taken in connection with
         or in contemplation of the restructuring of the Debtors; provided that, nothing in this Section
         8.4 shall be construed to release the Exculpated Parties from their gross negligence, willful
         misconduct, or fraud as determined by a Final Order. Each Exculpated Party has, and upon
         completion of the Plan shall be deemed to have, participated in good faith and in compliance
         with the applicable laws with regard to the restructuring of Claims and Interests in the
         Chapter 11 Cases, the negotiation, formulation, or preparation of the agreements,
         instruments, or other documents pursuant to the Plan, and the solicitation and distribution
         of the Plan and, therefore, is not, and on account of such distributions shall not be, liable at
         any time for the violation of any applicable law, rule, or regulation governing the solicitation
         of acceptances or rejections of the Plan or such distributions made pursuant to the Plan.
         Notwithstanding anything to the contrary in the foregoing, the exculpation set forth above
         does not release any post-Effective Date obligation or liability of any Entity under the Plan,
         Asset Purchase Agreement, or any document, instrument, or agreement (including those set
         forth in the Plan Supplement) executed to implement the Plan.

                Section 8.5     Injunction

                  In accordance with Bankruptcy Code Section 1141(d)(3), the Plan does not discharge the
         Debtors. Bankruptcy Code Section 1141(c) nevertheless provides, among other things, that the
         property dealt with by the Plan is free and clear of all Claims and interests against the Debtors, and
         Bankruptcy Code Section 1141(a) provides that the Plan, as confirmed, will be binding to the
         extent provided therein. As such, no Entity holding a Claim against the Debtors may receive any
         payment from, or seek recourse against, any assets that are to be distributed under the Plan other
         than assets required to be distributed to that Entity under the Plan. All parties are precluded from
         asserting against any property to be distributed under the Plan any Claims, rights, Causes of Action,
         liabilities, or Interests based upon any act, omission, transaction, or other activity that occurred
         before the Effective Date except as expressly provided in the Plan or the Confirmation Order.



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                 Except as otherwise provided in the Plan or the Confirmation Order, all Entities who have
         held, hold, or may hold claims, Interests, Causes of Action, or liabilities that: (1) are subject to
         compromise and settlement pursuant to the terms of the Plan; (2) have been released pursuant to
         the Plan; (3) were purchased and released by the Purchaser in connection with the Sale; (4) are
         subject to exculpation pursuant to the Plan; or (5) are otherwise satisfied, stayed, released, or
         terminated pursuant to the terms of the Plan, are permanently enjoined and precluded, from and
         after the Effective Date, from commencing or continuing in any manner, any action or other
         proceeding, including on account of any claims, interests, Causes of Action, or liabilities that have
         been compromised or settled against the Debtors or any Entity so released or exculpated (or the
         property or estate of any Entity, directly or indirectly, so released or exculpated) on account of, or
         in connection with or with respect to, any discharged, released, settled, compromised, or
         exculpated claims, interests, Causes of Action, or liabilities, including being permanently enjoined
         and precluded, from and after the Effective Date, from taking any of the following actions against,
         as applicable, the Debtors, the Post-Effective Date Debtors, the Litigation Trust, the Released
         Parties, or Exculpated Parties (as applicable): (a) commencing or continuing in any manner any
         action or other proceeding of any kind on account of or in connection with or with respect to any
         such claims or interests; (b) enforcing, attaching, collecting, or recovering by any manner or means
         any judgment, award, decree, or order against such Entities on account of or in connection with or
         with respect to any such claims or interests; (c) creating, perfecting, or enforcing any Lien or
         encumbrance of any kind against such Entities or the property or the estate of such Entities on
         account of or in connection with or with respect to any such claims or interests; (d) asserting any
         right of setoff or subrogation of any kind against any obligation due from such Entities or against
         the property of such Entities on account of or in connection with or with respect to any such claims
         or interests unless such Entity has timely asserted such setoff right in a document filed with the
         Bankruptcy Court explicitly preserving such setoff (i.e., a Proof of Claim or motion asserting such
         rights), and notwithstanding an indication of a Claim or Interest or otherwise that such Entity
         asserts, has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and
         (e) commencing or continuing in any manner any action or other proceeding of any kind on account
         of or in connection with or with respect to any such claims or interests released, exculpated, or
         settled pursuant to the Plan.

                 Upon the Bankruptcy Court’s entry of the Confirmation Order, all Holders of Claims and
         Interests and other parties in interest, along with their respective present or former employees,
         agents, officers, directors, or principals, shall be enjoined from taking any actions to interfere with
         the implementation or consummation of this Plan by the Debtors, the Post-Effective Date Debtors,
         the Litigation Trust, and their respective affiliates, employees, advisors, officers and directors, or
         agents.

                Section 8.6     Subordinated Claims

                Except as otherwise provided in the Plan, the allowance, classification, and treatment of all
         Allowed Claims and the respective distributions and treatments under the Plan take into account
         and conform to the relative priority and rights of the Claims in each Class in connection with any
         contractual, legal, and equitable subordination rights relating thereto, whether arising under
         general principles of equitable subordination, Section 510(b) of the Bankruptcy Code, or otherwise.
         All Claims and all rights and claims between or among Holders of Claims relating in any manner
         whatsoever to distributions on account of Claims or Interests, based upon any claimed


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         subordination rights, whether asserted or unasserted, legal or equitable, shall be deemed satisfied
         by the distributions under the Plan to Holders of Claims having such subordination rights, and such
         subordination rights shall be deemed waived, released and terminated as of the Effective Date.
         Except as otherwise specifically provided for in the Plan, distributions to the various Classes of
         Claims hereunder shall not be subject to levy, garnishment, attachment, or like legal process by
         any Holder of a Claim by reason of any subordination rights or otherwise, so that each Holder of
         a Claim shall have and receive the benefit of the distributions in the manner set forth in the Plan

                Except as otherwise provided in the Plan, the right of the Debtors or the Litigation Trustee
         on behalf of the Post-Effective Date Debtors to seek subordination of any Claim or Interest
         pursuant to Section 510 of the Bankruptcy Code is fully reserved, and the treatment afforded any
         Claim or Interest that becomes a Subordinated Claim at any time shall be modified to reflect such
         subordination. Unless the Plan or the Confirmation Order otherwise provide, no distributions shall
         be made on account of a Claim subordinated pursuant to this Section 8.6 unless ordered by the
         Bankruptcy Court.

                 Section 8.7     Protection Against Discriminatory Treatment

                 Consistent with Section 525 of the Bankruptcy Code, no Governmental Unit shall
         discriminate against the Debtors or deny, revoke, suspend, or refuse to renew a license, permit,
         charter, franchise, or other similar grant to, condition such a grant to, discriminate with respect to
         such a grant against, the Post-Effective Date Debtors, or another Entity with whom the Post-
         Effective Date Debtors have been associated, solely because the Post-Effective Date Debtors have
         been debtors under chapter 11, have been insolvent before the commencement of the Chapter 11
         Cases, or have not paid a debt that is settled and released in the Chapter 11 Cases.

                 Section 8.8     Release of Liens

                  Except as otherwise provided in the Plan, or in any contract, instrument, release, or other
         agreement or document created pursuant to the Plan, on the Effective Date, all mortgages, deeds
         of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
         released, and all of the right, title, and interest of any Holder of such mortgages, deeds of trust,
         Liens, pledges, or other security interests shall revert to the Post-Effective Date Debtors and their
         successors and assigns.

                 Section 8.9     Reimbursement or Contribution

                If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
         pursuant to Section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
         contingent as of the Effective Date, such Claim shall be forever Disallowed notwithstanding
         Section 502(j) of the Bankruptcy Code, unless prior to the Effective Date (a) such Claim has been
         adjudicated as non-contingent or (b) the relevant Holder of a Claim has filed a contingent proof of
         Claim on account of such Claim and a Final Order has been entered determining such Claim as no
         longer contingent.




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                                          ARTICLE IX
                          CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

                Section 9.1     Conditions Precedent to the Effective Date of the Plan

               The following are conditions precedent to the occurrence of the Effective Date, each of
         which may be satisfied or waived in accordance with Section 9.2 of the Plan:

                (a)     the Plan and Confirmation Order shall be in form reasonably acceptable to the
         Debtors and, solely with respect to any provision that may adversely affect the Purchaser, as
         applicable, which consent or waiver shall not be unreasonably withheld, conditioned, or delayed;

                (b)    the Bankruptcy Court shall have entered the Disclosure Statement Order and the
         Confirmation Order and, each shall be a Final Order;

               (c)     the Professional Claims Reserve shall have been funded in Cash in full and the Plan
         Administration Reserve shall have been funded with the amount provided in the Plan
         Administration Budget;

                (d)     All Restructuring Expenses incurred or estimated to be incurred as of the Effective
         Date shall have been paid in full;

                 (e)     all authorizations, consents, certifications, approvals, rulings, no action letters,
         opinions or other documents, or actions necessary to implement the Plan shall have been executed
         and tendered for delivery to the required parties and, to the extent required, filed with the applicable
         Governmental Units in accordance with applicable laws, and all conditions precedent to the
         effectiveness of such documents and agreements shall have been satisfied or waived pursuant to
         the terms thereof (or will be satisfied and waived substantially concurrently with the occurrence
         of the Effective Date);

                (f)     the Plan Administrator shall have been appointed and shall have assumed all rights
         and responsibilities under the Plan and the Plan Administrator Agreement;

                 (g)     the Litigation Trust Agreement shall have been executed, and the Litigation Trustee
         shall have been appointed and shall have assumed all rights and responsibilities under the Plan and
         the Litigation Trust Agreement; and

                 (h)      all Statutory Fees then due and payable to the U.S. Trustee shall have been paid and
         satisfied in full.

                Section 9.2     Waiver of Conditions Precedent

                The conditions set forth in Section 9.1 of the Plan may be waived, in whole or in part, the
         Debtors without notice, leave, or order of the Bankruptcy Court or any formal action other than
         proceeding to confirm or consummate the Plan; provided that, solely with respect to any condition
         that may adversely affect the Purchaser or the Prepetition Secured Parties, subject to such party’s
         consent (which in each instance shall not be unreasonably withheld).



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                Section 9.3      Notice of Effective Date

                 The Plan Administrator shall file with the Bankruptcy Court a notice of the occurrence of
         the Effective Date within a reasonable period of time after the conditions in Section 9.1 of the Plan
         have been satisfied or waived pursuant to Section 9.2 of the Plan.

                Section 9.4      Effect of Non-Occurrence of Conditions to Consummation

                 If, prior to consummation of the Plan, the Confirmation Order is vacated pursuant to a Final
         Order, then except as provided in any order of the Bankruptcy Court vacating the Confirmation
         Order, the Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure
         Statement shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action,
         (b) prejudice in any manner the rights of the Debtors or any other Entity, or (c) constitute an
         admission, acknowledgment, offer, or undertaking of any sort by the Debtors or any other Entity.

                                             ARTICLE X
                                    BANKRUPTCY COURT JURISDICTION

                Section 10.1 Retention of Jurisdiction

                 Pursuant to Sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy Court shall
         have jurisdiction of all matters arising out of, and related to, the Chapter 11 Cases and the Plan
         (without prejudice to the rights, if any, of any party in interest to seek to withdraw the bankruptcy
         reference pursuant to 28 U.S.C. § 157(d) and related law with respect to any issue or proceeding
         subject to mandatory or discretionary withdrawal), including jurisdiction to:

                 (a)     resolve any matters related to Executory Contracts, including: (i) the assumption,
         assumption and assignment, or rejection of any Executory Contract to which a Debtor is a party or
         with respect to which a Debtor may be liable, and to hear and determine, and, if necessary, liquidate
         any Claims arising therefrom including Cure Amount pursuant to Section 365 of the Bankruptcy
         Code; (ii) any potential contractual obligation under any Executory Contract that is assumed (or
         assumed and assigned); (iii) the Post-Effective Date Debtors’ amendment, modification, or
         supplement after the Effective Date, pursuant to Article V of the Plan, of the lists of Executory
         Contracts to be assumed (or assumed and assigned) or rejected or otherwise; and (iv) any dispute
         regarding whether a contract or lease is or was executory, expired or terminated;

                 (b)     adjudicate any and all adversary proceedings, applications, and contested matters
         that may be commenced or maintained pursuant to the Chapter 11 Cases, the Plan, or that were the
         subject of proceedings before the Bankruptcy Court, prior to the Effective Date, proceedings to
         adjudicate the allowance of Disputed Claims and Disputed Interests, and all controversies and
         issues arising from or relating to any of the foregoing;

                 (c)    ensure that distributions to Holders of Allowed Claims and Interests are
         accomplished as provided herein and adjudicate any and all disputes arising from or relating to
         distributions under the Plan;

                (d)      allow in whole or in part, disallow in whole or in part, determine, liquidate, classify,
         estimate, or establish the priority, secured or unsecured status, or amount of any Claim or Interest,


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         including hearing and determining any and all objections to the allowance or estimation of Claims
         or Interests filed, both before and after Confirmation of the Plan, including any objections to the
         classification of any Claim or Interest, and the resolution of request for payment of any
         Administrative Claim;

                (e)    issue injunctions, enter and implement other orders, or take such other actions as
         may be necessary or appropriate to restrain interference by any Entity with consummation or
         enforcement of the Plan;

                 (f)    determine any other matters that may arise in connection with or relate to the Plan,
         the Disclosure Statement, the Confirmation Order, or, subject to any applicable forum selection
         clause, any contract, instrument, release, or other document created in connection with the Plan or
         the Disclosure Statement;

                 (g)     enter and implement such orders as may be appropriate if the Confirmation Order
         is for any reason stayed, revoked, modified, and/or vacated;

                (h)      enter and implement such orders as may be necessary or appropriate to execute,
         implement or consummate the provisions of the Plan or the Asset Purchase Agreement and all
         contracts, instruments, releases, and other agreements and documents created in connection with
         the Plan, the Plan Supplement, and the Disclosure Statement;

                (i)     enter and enforce any order for the sale of property pursuant to Sections 363, 1123
         or 1146(a) of the Bankruptcy Code;

                (j)     consider any modifications of the Plan, to cure any defect or omission, or to
         reconcile any inconsistency in any order of the Bankruptcy Court, including the Confirmation
         Order;

                (k)   hear and determine all applications for allowance of compensation and
         reimbursement of expenses of Professionals authorized pursuant to the Bankruptcy Code or the
         Plan;

                (l)     determine requests for the payment of Claims entitled to priority under Section
         507(a)(1) of the Bankruptcy Code;

               (m)    adjudicate, decide, or resolve any and all matters related to Section 1141 of the
         Bankruptcy Code;

                 (n)     hear and determine all disputes involving the existence, nature, scope, or
         enforcement of the exculpations, injunctions and releases granted in connection with and under
         the Plan, including under Article VIII of the Plan;

                 (o)    enforce the injunction, release and exculpation provisions set forth in Article VIII
         of the Plan;

                (p)    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
         in connection with consummation of the Plan, including the interpretation, implementation, or


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         enforcement of the Plan and the Confirmation Order, as applicable, including disputes arising
         under agreements, documents, or instruments executed in connection with the Plan or any disputes
         arising in connection with any Entity’s obligations incurred in connection with the Plan;

                (q)    hear and determine all suits or adversary proceedings to recover assets of the
         Debtors and property of their Estates, wherever located;

                (r)     hear and determine matters concerning state, local, and federal taxes in accordance
         with Sections 346, 505, and 1146 of the Bankruptcy Code;

                (s)    grant any consensual request to extend the deadline for assuming or rejecting
         unexpired leases pursuant to Section 365(d)(4) of the Bankruptcy Code;

                (t)     enter a Final Decree closing the Chapter 11 Cases;

                (u)     hear any other matter not inconsistent with the Bankruptcy Code; and

                (v)     enforce all orders previously entered by the Bankruptcy Court.

                  From the Confirmation Date through the Effective Date, the Bankruptcy Court shall retain
         jurisdiction with respect to each of the foregoing items and all other matters that were subject to
         its jurisdiction prior to the Confirmation Date. Nothing contained herein shall be construed to
         increase, decrease, or otherwise modify the independence, sovereignty, or jurisdiction of the
         Bankruptcy Court.

                                                   ARTICLE XI

                                       MISCELLANEOUS PROVISIONS

                Section 11.1 Binding Effect

                 Upon the Effective Date, the Plan shall be binding upon and inure to the benefit of the
         Debtors, all current and former Holders of Claims, all current and former Holders of Interests, and
         all other parties-in-interest and their respective heirs, successors, and assigns, and resolve any
         matters related to Executory Contracts, including: (i) the assumption, assumption and assignment,
         or rejection of any Executory Contract to which a Debtor is a party or with respect to which a
         Debtor may be liable, and to hear and determine, and, if necessary, liquidate any Claims arising
         therefrom, including Cure Amount, pursuant to Section 365 of the Bankruptcy Code; (ii) any
         potential contractual obligation under any Executory Contract that is assumed (or assumed and
         assigned); (iii) the Post-Effective Date Debtors’ amendment, modification, or supplement after the
         Effective Date.

                Section 11.2 Payment of Statutory Fees

                  All Statutory Fees payable on or before the Effective Date shall be paid by the Debtors in
         full in Cash on the Effective Date. On and after the Effective Date, the Post-Effective Date Debtors,
         the Plan Administrator, and the Litigation Trust shall be jointly and severally liable for paying any
         and all Statutory Fees in full in Cash when due in each Chapter 11 Case for each quarter (including


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         any fraction thereof) until the earliest of such Chapter 11 Case being closed, dismissed or converted
         to a case under chapter 7 of the Bankruptcy Code. The Debtors shall file all monthly operating
         reports due before the Effective Date when they become due, using UST Form 11-MOR. After
         the Effective Date, the Post-Effective Date Debtors, the Plan Administrator, and the Litigation
         Trust shall file with the Bankruptcy Court a post-confirmation quarterly report for each Chapter
         11 Case for each quarter (including any fraction thereof) such case is pending, using UST Form
         11-PCR. Notwithstanding anything to the contrary in the Plan, (i) Statutory Fees are Allowed; (ii)
         the U.S. Trustee shall not be required to file any proof of claim or any other request(s) for payment
         with respect to Statutory Fees; and (iii) the U.S. Trustee shall not be treated as providing any
         release under the Plan.

                Section 11.3 Statutory Committee Dissolution

                 On the Effective Date, any statutory committee appointed in the Chapter 11 Cases,
         including the Creditors’ Committee, shall dissolve, and members thereof shall be released from all
         rights and duties from or related to the Chapter 11 Cases; provided, however, that the Creditors’
         Committee will stay in existence solely for the limited purpose of filing and prosecuting final fee
         applications.

                Section 11.4 Modification and Amendment

                 Except as otherwise specifically provided in the Plan, subject to certain restrictions and
         requirements set forth in Section 1127 of the Bankruptcy Code, the Debtors reserve the right to
         modify the Plan, subject to any applicable consent rights set forth herein, whether such
         modification is material or immaterial prior to Confirmation, and seek Confirmation consistent
         with the Bankruptcy Code and, as appropriate, not re-solicit votes on such modified Plan. Subject
         to certain restrictions and requirements set forth in Section 1127 of the Bankruptcy Code and
         Bankruptcy Rule 3019 (as well as those restrictions on modifications set forth in the Plan) and any
         consent rights as set forth herein, the Debtors expressly reserve their respective rights to revoke or
         withdraw, to alter, amend or modify the Plan with respect to each Debtor, one or more times,
         before or after Confirmation, and, to the extent necessary, may initiate proceedings in the
         Bankruptcy Court to so alter, amend or modify the Plan after Confirmation, or remedy any defect
         or omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the
         Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of
         the Plan; provided that any modifications or amendments, whether before or after Confirmation,
         that impact the treatment of the Prepetition Lender Claims shall require the consent of the
         Administrative Agent (whose consent may not be unreasonably withheld).

                Section 11.5 Confirmation of Plan

                The Debtors request Confirmation of the Plan under Section 1129(b) of the Bankruptcy
         Code with respect to any Impaired Class that does not accept the Plan pursuant to Section 1126 of
         the Bankruptcy Code. The Debtors reserve the right to amend the Plan to any extent, if any, that
         Confirmation pursuant to Section 1129(b) of the Bankruptcy Code requires modification.




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                Section 11.6 Additional Document

                 On or before the Effective Date, the Debtors may file with the Bankruptcy Court such
         agreements or other documents as may be necessary or appropriate to effectuate and further
         evidence the terms and conditions of the Plan. The Debtors or the Plan Administrator, as
         applicable, and Holders of Claims receiving distributions pursuant to the Plan and all other parties
         in interest shall, from time to time, prepare, execute, and deliver any agreements or documents and
         take any other actions as may be necessary or advisable to effectuate the provision and intent of
         the Plan.

                Section 11.7 Revocation, Withdrawal, Non-Consummation

                 The Debtors reserve the right to revoke or withdraw the Plan at any time prior to the
         Effective Date and file subsequent chapter 11 plans. If the Debtors revoke or withdraw the Plan
         prior to the Effective Date, or if the Confirmation Date or the Effective Date does not occur, then
         the Plan, any settlement or compromise embodied in the Plan (including the fixing or limiting to
         an amount certain Claims or Class of Claims or the allocation of the distributions to be made
         hereunder), the assumption or rejection of Executory Contracts effected by the Plan, and any
         document or agreement executed pursuant to the Plan shall be null and void in all respects. In
         such event, nothing contained herein or in the Disclosure Statement, and no acts taken in
         preparation for consummation of the Plan, shall be deemed to constitute a waiver or release of any
         Claims, Interests, or Causes of Action by or against the Debtors or any other Entity, to prejudice
         in any manner the rights and defenses of the Debtors, the Holder of a Claim or Interest, or any
         Entity in any further proceedings involving the Debtors, or to constitute an admission,
         acknowledgment, offer, or undertaking of any sort by the Debtors or any other Entity.

                Section 11.8 Notices

                After the Effective Date, any pleading, notice, or other document required by the Plan to
         be served on or delivered on the parties below shall be served as follows:

                If to the Debtors:

                        True Value Company, L.L.C.
                        8600 West Bryn Mawr Ave.
                        Chicago, IL, 60631

                        With copies (which shall not constitute notice) to:

                        Skadden, Arps, Slate, Meagher & Flom LLP
                        320 S. Canal St.
                        Chicago, IL 60606
                        Attention: Ron E. Meisler (Ron.Meisler@skadden.com)
                                   Jennifer Madden (Jennifer.Madden@skadden.com)

                        One Manhattan West
                        395 9th Ave.
                        New York, NY 10001


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                    Attention: Evan A. Hill (Evan.Hill@skadden.com)
                               Moshe S. Jacob (Moshe.Jacob@skadden.com)

                    920 North King Street
                    Wilmington, DE 19801
                    Attention: Joseph O. Larkin (Joseph.Larkin@skadden.com)

                    - and -

                    Glenn Agre Bergman & Fuentes LLP
                    1185 Avenue of the Americas, 22nd Floor
                    New York, NY 10036
                    Attention: Andrew K. Glenn (aglenn@glennagre.com)
                               Malak S. Doss (mdoss@glennagre.com)

                    - and -

                    Young Conaway Stargatt & Taylor, LLP
                    One Rodney Square
                    1000 North King Street
                    Wilmington, DE 19801
                    Attention: Edmon L. Morton (emorton@ycst.com)
                               Timothy R. Powell (tpowell@ycst.com)

             If to the Office of the United States Trustee:

                    Office of the United States Trustee
                    844 King Street, Suite 2207, Lockbox 35
                    Wilmington, DE 19801
                    Attention: Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov)

             If to the Prepetition Lenders:

                    Blank Rome LLP
                    1201 Market Street, Suite 800
                    Wilmington, DE 19801
                    Attention: Regina S. Kelbon (regina.kelbon@blankrome.com)
                               Stanley B. Tarr (Stanley.tarr@blankrome.com)

                    One Logan Square
                    130 North 18th Street
                    Philadelphia, PA 19103
                    Attention: John E. Lucian (john.lucian@blankrome.com)




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                Section 11.9 Term of Injunctions or Stays

                 Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
         in effect in the Chapter 11 Cases pursuant to Sections 105 or 362 of the Bankruptcy Code or any
         order of the Bankruptcy Court, and existing on the Confirmation Date (excluding any injunctions
         or stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
         the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
         remain in full force and effect in accordance with their terms.

                Section 11.10 Governing Law

                 Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal law,
         rule or regulation is applicable, or to the extent that an exhibit, supplement, or other document
         related to the Plan, provides otherwise, the Plan shall be governed by and construed in accordance
         with the laws of the State of Delaware, without giving effect to the principles of conflict of laws
         thereof that would require application of the law of another jurisdiction. Corporate governance
         matters shall be governed by the laws of the state of incorporation, formation, or functional
         equivalent thereof, as applicable, of the applicable Post-Effective Date Debtor.

                Section 11.11 Entire Agreement

                Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
         negotiations, promises, covenants, agreements, understandings, and representations on such
         subjects, all of which have become merged and integrated into the Plan.

                Section 11.12 Severability

                 If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
         to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
         interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
         consistent with the original purpose of the term or provision held to be invalid, void, or
         unenforceable, and such term or provision shall then be applicable as altered or interpreted.
         Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
         provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
         or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
         constitute a judicial determination and shall provide that each term and provision of the Plan, as it
         may have been altered or interpreted in accordance with the foregoing, is (a) valid and enforceable
         pursuant to its terms, (b) integral to the Plan and may not be deleted or modified without the
         consent of the Debtors, and (c) non-severable and mutually dependent.

                Section 11.13 No Waiver or Estoppel

                 Upon the Effective Date, each Holder of a Claim or Interest shall be deemed to have waived
         any right to assert that its Claim or Interest should be Allowed in a certain amount, in a certain
         priority, be secured, or not be subordinated by virtue of an agreement made with the Debtors and/or
         their counsel or any other party, if such agreement was not disclosed in the Plan, the Disclosure
         Statement, or papers filed with the Bankruptcy Court; provided however, that this provision is



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         without prejudice to any Governmental Unit whose claims are subject to the Governmental Bar
         Date.




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             Dated: Wilmington, Delaware
                    February 12, 2025




                                            Respectfully submitted,



                                            TRUE VALUE COMPANY, L.L.C., on behalf of itself
                                            and its Debtor affiliates

                                            /s/ Kunal S. Kamlani
                                            Name: Kunal S. Kamlani
                                            Title: Chief Transformation Officer




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                                      Exhibit B

                                 Liquidation Analysis




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                  LIQUIDATION ANALYSIS FOR TRUE VALUE COMPANY, L.L.C., et al.1


I.        INTRODUCTION

         Under the “best interests of creditors” test set forth in section 1129(a)(7) of the Bankruptcy Code, a
bankruptcy court may not confirm a plan under chapter 11 of the Bankruptcy Code unless each holder of an allowed
claim or interest in an impaired class either: (a) accepts the plan; or (b) will receive or retain property on account of
such claim or interest of a value, as of the Conversion Date (defined below) of the plan, that is not less than the amount
such holder would receive or retain if the debtor were liquidated under chapter 7 of the Bankruptcy Code.

         To demonstrate that the proposed plan satisfies the “best interests of creditors” test, the Debtors, with the
assistance of their advisors, have prepared the following hypothetical liquidation analysis presenting recoveries
available assuming a hypothetical liquidation (the “Liquidation Analysis”), which is based upon certain assumptions
discussed in the Disclosure Statement and in the accompanying notes to this Liquidation Analysis.

          This Liquidation Analysis sets forth an estimated range of recovery values for each Class of Claims and
Interests that may be realizable upon the disposition of assets pursuant to a hypothetical chapter 7 liquidation of the
Debtors’ estates. As illustrated by this Liquidation Analysis, Holders of First Lean Secured Claims would receive a
lower recovery in a hypothetical liquidation than they would under the Plan. Further, no Holder of a Claim or Interest
would receive or retain property under the Plan of a value that is less than such Holder would receive in a hypothetical
chapter 7 liquidation. Accordingly, and as set forth in greater detail below, the Debtors believe that the Plan satisfies
the “best interests of creditors” test set forth in section 1129(a)(7) of the Bankruptcy Code.

Statement of Limitations

          The preparation of a liquidation analysis is an uncertain process involving the extensive use of significant
estimates and assumptions that, although considered reasonable by the Debtors based upon their business judgment
and input from their advisors, are inherently subject to significant business, economic, and competitive uncertainties
and contingencies beyond the control of the Debtors, their management, and their advisors. Inevitably, some
assumptions in this Liquidation Analysis would not materialize in an actual chapter 7 liquidation, and unanticipated
events and circumstances could materially affect the ultimate results in an actual chapter 7 liquidation. This
Liquidation Analysis was prepared for the sole purpose of generating a reasonable, good faith estimate of the proceeds
that would be generated if the Debtors’ assets were liquidated in accordance with chapter 7 of the Bankruptcy Code.
This Liquidation Analysis is not intended, and should not be used, for any other purpose. The underlying financial
information in this Liquidation Analysis and values stated herein have not been subject to any review, compilation, or
audit by any independent accounting firm. In addition, various liquidation decisions upon which certain assumptions
are based, are subject to change. As a result, the actual amount of Claims that would ultimately be Allowed against
the Debtors’ Estates could vary significantly from the estimates stated herein, depending on the nature and amount of
Claims asserted during the pendency of the hypothetical chapter 7 cases. Similarly, the value of the Debtors’ assets
in a liquidation scenario is uncertain and could vary significantly from the values set forth in this Liquidation Analysis.

      NEITHER THE DEBTORS NOR THEIR ADVISORS MAKE ANY REPRESENTATION OR
WARRANTY THAT THE ACTUAL RESULTS OF A CHAPTER 7 LIQUIDATION OF THE DEBTORS’
ESTATES WOULD OR WOULD NOT, IN WHOLE OR IN PART, APPROXIMATE THE ESTIMATES AND
ASSUMPTIONS REPRESENTED IN THIS LIQUIDATION ANALYSIS. THE ACTUAL LIQUIDATION VALUE
OF THE DEBTORS’ ESTATES IS SPECULATIVE AND RESULTS COULD VARY MATERIALLY FROM
ESTIMATES PROVIDED IN THIS LIQUIDATION ANALYSIS.




1    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Disclosure Statement for the Joint Chapter 11 Plan of True Value Company, L.L.C. and Its Debtor Affiliates
      [Docket No. 797] (the “Disclosure Statement”).
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      THIS LIQUIDATION ANALYSIS IS A HYPOTHETICAL EXERCISE THAT HAS BEEN PREPARED
FOR THE SOLE PURPOSE OF PRESENTING A REASONABLE, GOOD FAITH ESTIMATE OF THE
PROCEEDS THAT WOULD BE REALIZED IF THE DEBTORS WERE LIQUIDATED IN ACCORDANCE WITH
CHAPTER 7 OF THE BANKRUPTCY CODE AS OF THE PLAN CONVERSION DATE. THIS LIQUIDATION
ANALYSIS IS NOT INTENDED AND SHOULD NOT BE USED FOR ANY OTHER PURPOSE. THIS
LIQUIDATION ANALYSIS DOES NOT PURPORT TO BE A VALUATION OF THE DEBTORS’ ASSETS AS A
GOING CONCERN, AND THERE MAY BE A SIGNIFICANT DIFFERENCE BETWEEN THIS LIQUIDATION
ANALYSIS AND THE VALUES THAT MAY BE REALIZED OR CLAIMS GENERATED IN AN ACTUAL
LIQUIDATION. NOTHING CONTAINED IN THIS LIQUIDATION ANALYSIS IS INTENDED TO BE, OR
CONSTITUTES, A CONCESSION, ADMISSION, OR ALLOWANCE OF ANY CLAIM AGAINST OR
INTEREST IN THE DEBTORS. THE ACTUAL AMOUNT OR PRIORITY OF ALLOWED CLAIMS AND
INTERESTS IN THE CHAPTER 11 CASES COULD MATERIALLY DIFFER FROM THE ESTIMATED
AMOUNTS SET FORTH AND USED IN THIS LIQUIDATION ANALYSIS. THE DEBTORS RESERVE ALL
RIGHTS TO SUPPLEMENT, MODIFY, OR AMEND THE ANALYSIS SET FORTH HEREIN.

Basis of Presentation

         This Liquidation Analysis has been prepared assuming that the Debtors convert their current chapter 11 cases
to cases under chapter 7 of the Bankruptcy Code on or about March 28, 2025 (the “Conversion Date”). Except as
otherwise noted herein, this Liquidation Analysis is based upon the unaudited balance sheets of the Debtors, and those
values, in total, are assumed to be representative of the Debtors’ assets and liabilities as of the Conversion Date.
Certain balances, including cash, and certain receipts and expenses have been projected forward or estimated as of the
Conversion Date. As noted above, the assets available to the Debtors in an actual liquidation may differ from the
assets assumed to be available pursuant to this Liquidation Analysis.

          In preparing this Liquidation Analysis, the Debtors estimated Allowed Claims based upon the claims register
prepared by Omni Agent Solutions and the First, Second, and Third Omnibus Claim Objections. In addition, this
Liquidation Analysis includes estimates for Claims not currently asserted in the chapter 11 cases, but which could be
asserted and Allowed in a chapter 7 liquidation, including unpaid chapter 11 Administrative Claims, chapter 7
Administrative Claims such as liquidation and wind-down expenses, trustee fees, tax liabilities, and professional fees
attributable to the liquidation and wind-down. To date, the Bankruptcy Court has not estimated or otherwise fixed the
total amount of Allowed Claims that were used for purposes of preparing this Liquidation Analysis. Therefore, the
Debtors’ estimate of Allowed Claims set forth in this Liquidation Analysis should not be relied on for any other
purpose, including determining the value of any distributions to be made on account of Allowed Claims and Interests
under the Plan.

Conversion Date and Appointment of a Chapter 7 Trustee

          This Liquidation Analysis assumes that on the Conversion Date, the Bankruptcy Court would appoint a
chapter 7 trustee to oversee the liquidation of the Debtors’ estates, during which time all of the Debtors’ assets would
be sold or surrendered and the cash proceeds, net of liquidation-related costs, would then be distributed to creditors in
accordance with applicable law. There can be no assurance, however, that the liquidation would be completed within
a certain timeframe, nor is there any assurance that the recoveries assigned to the assets would in fact be realized. In
accordance with section 704 of the Bankruptcy Code, a trustee must, among other duties, collect and convert the
property of the estate as expeditiously (generally at distressed prices) as is compatible with the best interests of parties
in interest. The Liquidation Analysis is an estimate and is subject to material change and revision in all respects, and
takes a conservative approach to analyzing the value to Holders of Claims in a chapter 7 liquidation.

Additional Global Notes and Assumptions

         This Liquidation Analysis should be read in conjunction with the following global notes and assumptions:

1.   Unaudited Financial Statements. This Liquidation Analysis contains numerous estimates. Except as otherwise
     noted herein, available recoveries are based upon the unaudited financial statements and balance sheets of the
     Debtors as projected as of the Conversion Date.




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2.    Chapter 7 Liquidation Costs. The Debtors have assumed that a hypothetical chapter 7 liquidation would last
      approximately twelve (12) months, in order to pursue sales of substantially all remaining assets and collect
      receivables as well as to arrange distributions and otherwise administer and close the estates. In an actual
      liquidation, the length of the wind-down process could vary significantly, thereby impacting recoveries.
      Accordingly, there can be no assurance that the values reflected in this Liquidation Analysis would be realized if
      the Debtors were, in fact, to undergo such a liquidation.

3.    Distribution of Net Proceeds. Pursuant to section 726 of the Bankruptcy Code, Allowed Administrative Claims
      incurred by the chapter 7 trustee, including expenses affiliated with selling the Debtors’ assets, are entitled to
      payment in full prior to any distribution to chapter 11 Administrative Claims or Other Priority Claims.
      The estimates used in this Liquidation Analysis for these expenses include estimates for operational expenses and
      certain legal, accounting, and other professionals, as well as an assumed 3.0% fee based upon liquidated assets
      payable to the chapter 7 trustee. Any remaining net Cash would then be distributed to creditors in accordance
      with applicable law.

      Under the absolute priority rule, no junior creditor at a given entity would receive any distribution until all senior
      creditors are paid in full, and no equity holder at such entity would receive any distribution until all creditors at
      such entity are paid in full. The assumed distributions to creditors as reflected in this Liquidation Analysis are
      estimated in accordance with the absolute priority rule.

4.    Certain Exclusions and Assumptions. This Liquidation Analysis does not include detailed estimates for the tax
      consequences that may be triggered upon the liquidation and sale events included in the analysis. Such tax
      consequences may be material.

II.       CONCLUSIONS


      THE DEBTORS HAVE DETERMINED, AS SUMMARIZED IN THE FOLLOWING ANALYSIS,
      THAT CONFIRMATION OF THE PLAN WILL PROVIDE CREDITORS WITH A RECOVERY
      THAT IS GREATER THAN OR EQUAL TO WHAT THEY WOULD OTHERWISE RECEIVE IN
      CONNECTION WITH A LIQUIDATION OF THE DEBTORS UNDER CHAPTER 7 OF THE
      BANKRUPTCY CODE.




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                           ($ in millions)
                           Ref #                                                                                            Chapter 11 Plan            Chapter 7 Liquidation
                               1       Pro Forma Cash Balance                                                                                  $6.2                         $6.2
                               2       Tax Receivable                                                                                           0.2                          0.1
                               3       Tenant Improvements                                                                                        –                            –
                               4       Utility Deposits                                                                                         0.2                          0.2
                               5       Causes of Action                                                                                        TBD                          TBD
                                     Total Estimated Distributable Value                                                                      $6.6                         $6.5

                              6      Post-Effective Date Wind Down Budget                                                                     ($1.1)                      ($1.1)
                              7      Chapter 7 Trustee Fee                                                                                         –                       (0.2)
                              8      Chapter 7 Professional Fees                                                                                   –                       (2.8)
                                    Total Fees                                                                                                ($1.1)                      ($4.1)

                                    Proceeds Available for the Benefit of Creditors                                                           $5.5                         $2.3

                                    Administrative Claims
                              9      503(b)(9) Claims                                                                                             –                           –
                              10     Post-Petition Vendor and Other Claims                                                                        –                           –
                                    Total Administrative Recovery                                                                                 –                           –

                                    Priority Unsecured Claims
                              11     Priority Tax Claims                                                                                      ($3.0)                      ($1.4)
                              12     Employee Claims                                                                                           (0.6)                       (0.3)
                              13     UST Fees                                                                                                  (0.5)                       (0.2)
                              14     OPEB Claims                                                                                               (0.7)                       (0.3)
                              15     IBNR Claims                                                                                               (0.4)                       (0.2)
                                    Total Priority Unsecured Recovery                                                                         ($5.2)                      ($2.3)

                                    First Lien Secured Claims
                              16     ABL Facility                                                                                             ($0.3)                          –
                              17     Term Loan                                                                                                     –                          –
                                    Total First Lien Secured Recovery                                                                         ($0.3)                          –

                                    General Unsecured Claims
                              18     Estimated GUC Pool                                                                                           –                           –
                                    Total General Unsecured Claim Recovery                                                                        –                           –

                                    Proceeds Available for the Benefit of Subordinated Claims and Equity Interests                                –                           –

                                    Estimated Recoveries to Creditors
                                     Administrative Claims                                                                                        –                           –
                                     Priority Unsecured Claims                                                                           100.0%                          45.3%
                                     Secured Claims                                                                                           0.7%                            –
                                     General Unsecured Claims                                                                                     –                           –
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                                    Notes
                                    The pro forma cash balance assumes an Effective Date of March 28, 2025, in the Chapter 11 Plan case. The Chapter 7 Liquidation case assumes the cases
                                    convert on March 28, 2025. The pro forma cash balance is compromised of the forecast ending cash balance as of January 28, 2025, which is then reduced
                              1
                                    for operating disbursements through March 28, 2025. The pro forma cash balances exclude bank accounts being operated on behalf of the buyer for the
                                    Transition Services Agreement. The funds in those bank accounts are assets of the buyer, but the bank accounts themselves represent Estate property.

                                    Tax Receivables represent tax refunds owed to the Estate. The Chapter 11 Plan case assumes a full recovery during the Post-Effective Date period; the
                              2
                                    Chapter 7 Liquidation case assumes a partial recovery due to the expedited wind down of the Estate.

                                    Tenant Improvements represent potential refunds owed to the Estate for certain leases associated with the Company's distribution centers. Both the Chapter
                              3
                                    11 Plan case and Chapter 7 Liquidation case assume no recovery during the Post-Effective Date period.

                                    Utility Deposits represent funds the Estate has placed in escrow for potential disbursements to utility providers. The deposits are assumed to be returned to
                              4
                                    the Estate in the Post-Effective Date period.

                                    For purposes of the illustrative Liquidation Analysis, no values have been ascribed to any potential litigation and causes of action. The Cash Collateral Order
                              5     requires any proceeds related to commercial tort claims and insider avoidance actions to be distributed equally between the First Lien Secured Claims and
                                    General Unsecured Claims.

                                    The Post-Effective Date Wind Down Budget in the Chapter 11 Plan case includes funds for the wind-down period, professional fees, and other disbursements
                              6     based on the Cash Collateral Order. Both the Chapter 11 Plan and Chapter 7 Liquidation cases assume the Wind Down Budget is used in the Post-Effective
                                    Date period.

                                    Trustee fees include all fees paid to the Trustee by the Debtors, consistent with the fee structure set forth in the Bankruptcy Code. The Trustee fee is
                              7     estimated at 3% of all distributions to creditors from gross asset proceeds (including cash), inclusive of payments of Chapter 7 and Chapter 11 administrative
                                    claims and all prepetition claims. See 11 U.S.C. § 326(a)

                                    Trustee professional fees include all fees paid to professionals hired by the Trustee to assist with effectuating the liquidation and wind down of the Estate. The
                              8     illustrative analysis assumes elevated professional fees (compared to the Chapter 11 Plan case) due to the lack of knowledge and relationships held by the
                                    Chapter 7 Trustee (and other professionals) with key counterparties that will be required to effectuate the wind-down of the Estate.

                                    Administrative expense claims for the value of any goods received by the debtor within 20 days before the commencement of the bankruptcy case, sold to the
                                    debtor in the ordinary course of business. See 11 U.S.C. § 503(b)(9). This represents the forecast of the remaining 503(b)(9) Administrative Claims that have
                              9
                                    not been assumed by the buyer, are the Estate's obligation, and are unpaid as of March 28, 2025. All 503(b)(9) Administrative Claims that are the Estate's
                                    obligation are forecast to be paid before the Effective Date.

                                    Post-Petition Vendor and Other Claims represent the forecast outstanding payables for vendor and other administrative claims to be assumed by the Estate.
                              10    This represents the forecast of the remaining administrative claims that have not been assumed by the buyer, are the Estate's obligation, and are unpaid as of
                                    March 28, 2025. All Post-Petition Vendor and Other Claims that are the Estate's obligation are forecast to be paid before the Effective Date.

                                    Estimated remaining claims, based on those filed through January 23, 2025, for certain taxes owed to governmental units given priority status, including
                              11    income, property, and sales taxes, before the Effective Date for the Debtor's Chapter 11 plan or conversion to Chapter 7 Liquidation. See 11 U.S.C. §
                                    507(a)(8).
                                    Estimated remaining claims for employee benefits, including accrued and unpaid benefits and severance pay, as of the transaction close. See 11 U.S.C. §
                              12
                                    507(a)(4) and (a)(5).

                                    UST Fees represent the forecast fees for the US Trustee based on the Debtor's estimated disbursements through March 28, 2025. The timing of the
                              13
                                    disbursement of the UST fees is assumed to be after the Chapter 11 Plan Effective Date.
                                    OPEB Claims represent Other Post-Employment Benefit obligations of the Estate, which are assumed to be disbursed after the Chapter 11 Plan Effective
                              14
                                    Date.
                                    IBNR Claims represent incurred but not reported claims by Estate employees for medical, dental, and other coverage. The IBNR Claims represent the forecast
                              15
                                    remaining claims for Estate Employees that are assumed to occur after the Chapter 11 Plan Effective Date.
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                                    Claims secured by a first-priority lien on the debtor’s assets. See 11 U.S.C. § 506. The First Lien Secured Claim ABL projected distribution does not include a
                              16    forecast distribution to the Secured Claimants following a 90-day reconciliation period of reserve accounts after the sale closing, and prior to the Effective
                                    Date, as provided for in the Cash Collateral Order.

                                    Claims secured by a first-priority lien on the debtor’s assets. See 11 U.S.C. § 506. The First Lien Secured Claim Term Loan projected distribution does not
                              17    include a forecast distribution to the Secured Claimants following a 90-day reconciliation period of reserve accounts after the sale closing, and prior to the
                                    Effective Date, as provided for in the Cash Collateral Order.

                                    Represents any Claim, other than a Secured Claim, that is not an Administrative Claim (including, for the avoidance of doubt, a Professional Fee Claim), a Tax
                              18
                                    Priority Claim, a Priority Unsecured Claim, or a Prepetition Credit Agreement Claim.
